                   Case 24-12480-JTD              Doc 685        Filed 01/08/25         Page 1 of 149




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Moheen Ahmad, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

       On December 20, 2024, at my direction and under my supervision, employees of
Kroll caused the following document to be served (1) by the method set forth on the Core/2002
Service List attached hereto as Exhibit A, and (2) via First Class Mail on the Cure Parties
Service List attached hereto as Exhibit B:

             Notice of Possible Assumption and Assignment and Cure Costs with Respect to
              Executory Contracts and Unexpired Leases [Docket No. 487]

                                   [Remainder of page intentionally left blank]




1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
            Case 24-12480-JTD      Doc 685       Filed 01/08/25    Page 2 of 149




Dated: January 3, 2025
                                                                  /s/ Moheen Ahmad
                                                                   Moheen Ahmad
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 3, 2025, by Moheen Ahmad, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                             2                            SRF 84739
Case 24-12480-JTD   Doc 685   Filed 01/08/25   Page 3 of 149




                       Exhibit A
                                                                                Case 24-12480-JTD                           Doc 685                Filed 01/08/25                    Page 4 of 149
                                                                                                                                          Exhibit A
                                                                                                                                     Core/2002 Service List
                                                                                                                                    Served as set forth below

                                       DESCRIPTION                                                          NAME                                                    ADDRESS                                                  EMAIL        METHOD OF SERVICE

                                                                                                                                        Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A. Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP, Continental                                                     919 North Market Street                                         heilmanl@ballardspahr.com
Realty Corporation, Federal Realty OP LP, FR Grossmont, LLC, Prime/FRIT Mission                                                         11th Floor                                                      roglenl@ballardspahr.com
Hills, LLC, and ShopOne Centers REIT, Inc.                                          Ballard Spahr LLP                                   Wilmington DE 19801                                             vesperm@ballardspahr.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland                                                          Attn: Kevin M. Newman
Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                                         Barclay Damon Tower
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                                      125 East Jefferson Street
REIT,LP, and/or certain of their affiliates                                             Barclay Damon LLP                               Syracuse NY 13202                                               knewman@barclaydamon.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland                                                          Attn: Niclas A. Ferland
Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                                         545 Long Wharf Drive
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                                      Ninth Floor
REIT,LP, and/or certain of their affiliates                                             Barclay Damon LLP                               New Haven CT 06511                                              nferland@barclaydamon.com     Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland                                                          Attn: Scott L. Fleischer
Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                                         1270 Avenue of the Americas
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                                      Suite 501
REIT,LP, and/or certain of their affiliates                                             Barclay Damon LLP                               New York NY 10020                                               sfleischer@barclaydamon.com   Email

                                                                                                                                        Attn: Kevin G. Collins
                                                                                                                                        222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                             Barnes & Thornburg LLP                          Wilmington DE 19801                                             kevin.collins@btlaw.com       Email

                                                                                                                                        Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                                        222 Delaware Avenue, Suite 1200                                 kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                               Barnes & Thornburg LLP                          Wilmington DE 19801                                             mark.owens@btlaw.com          Email

Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan
LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC, Fundamentals Company,                                                             Attn: Ericka F. Johnson
Kinpark Associates, Laurie Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited                                                600 N. Market Street, Suite 400
Partnership, Esue LLC, Alisan LLC, and Roseff LLC                                        Bayard, P.A.                                   Wilmington DE 19801                                             ejohnson@bayardlaw.com        Email

                                                                                                                                        Attn: Kevin M. Capuzzi, Juan E. Martinez
                                                                                                                                        1313 North Market Street, Suite 1201                            kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC, TM2, LLC                                     Benesch Friedlander Coplan & Aronoff LLP        Wilmington DE 19801‐6101                                        jmartinez@beneschlaw.com      Email

                                                                                                                                        Attn: Benjamin Potts, Mae Oberste
                                                                                                                                        500 Delaware Avenue
                                                                                                                                        Suite 901                                                       benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass                   Bernstein Litowitz Berger & Grossmann LLP       Wilmington DE 19801                                             mae.oberste@blbglaw.com       Email

                                                                                                                                        Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                                        1251 Avenue of the Americas                                     jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass                   Bernstein Litowitz Berger & Grossmann LLP       New York NY 10020                                               thomas.james@blbglaw.com      Email

                                                                                                                                        Attn: Scott Blakeley
                                                                                                                                        530 Technology Drive
                                                                                                                                        Suite 100
Cousnel to Doctor's Best Inc                                                            Blakeley LC                                     Irvine CA 92618                                                 SEB@BlakeleyLC.com            Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                      Page 1 of 11
                                                                                Case 24-12480-JTD                             Doc 685          Filed 01/08/25                     Page 5 of 149
                                                                                                                                      Exhibit A
                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

                                       DESCRIPTION                                                           NAME                                               ADDRESS                                                       EMAIL       METHOD OF SERVICE

                                                                                                                                    Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L. Williams   mike.schaedle@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien Agent                                                 1201 N. Market Street, Suite 800                                 stanley.tarr@blankrome.com
and DIP Agent                                                                         Blank Rome LLP                                Wilmington DE 19801                                              jordan.williams@blankrome.com    Email

                                                                                                                                    Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                                    222 Delaware Ave
                                                                                                                                    Suite 1120                                                       kim@blockleviton.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass                 Block & Leviton, LLP                          Wilmington DE 19801                                              irene@blockleviton.com           Email
                                                                                                                                                                                                     fitzgeraldb@hcfl.gov
                                                                                                                                    Post Office Box 1110                                             stroupj@hcfl.gov
Counsel to Nancy C. Millan, Hillsborough County Tax Collector                         Brian T. FitzGerald                           Tampa FL 33601‐1110                                              connorsa@hcfl.gov                Email

                                                                                                                                    Attn: Kristen N. Pate
                                                                                                                                    350 N. Orleans Street
                                                                                                                                    Suite 300
Counsel to Brookfield Properties Retail Inc                                           Brookfield Properties Retail Inc              Chicago IL 60654‐1607                                            bk@bpretail.com                  Email

                                                                                                                                    Attn: Shawn M. Christianson
                                                                                                                                    425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                                        Buchalter, A Professional Corporation         San Francisco CA 94105‐3493                                      schristianson@buchalter.com      Email

                                                                                                                                    Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to                                                   222 Delaware Avenue, Suite 1030
DDR Carolina Pavilion, LP, Sylvan Park Apartments, LLC                                Burr & Forman LLP                             Wilmington DE 19801                                              jfalgowski@burr.com              Email

                                                                                                                                    Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina Pavilion,                                                  50 North Laura Street, Suite 3000                                esummers@burr.com
LP, Sylvan Park Apartments, LLC                                                       Burr & Forman LLP                             Jacksonville FL 32202                                            drobbins@burr.com                Email

                                                                                                                                    Attn: James H. Haithcock, III
                                                                                                                                    420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                                      Burr & Forman LLP                             Birmingham AL 35203                                              jhaithcock@burr.com              Email

                                                                                                                                    Attn: Richard J. McCord
                                                                                                                                    90 Merrick Avenue
                                                                                                                                    9th Floor
Counsel to 3644 Long Beach Road LLC                                                   Certilman Balin Adler & Hyman, LLP            East Meadow NY 11554                                             rmccord@certilmanbalin.com       Email

                                                                                                                                    Attn: Mark L. Desgrosseilliers
                                                                                                                                    Hercules Plaza
                                                                                                                                    1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                              Chipman Brown Cicero & Cole, LLP              Wilmington DE 19801                                              desgross@chipmanbrown.com        Email

                                                                                                                                    Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS                                                       901 Main Street, Suite 6000
Tempe, LLC, Vestar‐CPT Tempe Marketplace, LLC                                         Clark Hill PLC                                Dallas TX 75202                                                  ahornisher@clarkhill.com         Email

                                                                                                                                    Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS                                                       824 N. Market Street, Suite 710
Tempe, LLC, Vestar‐CPT Tempe Marketplace, LLC                                         Clark Hill PLC                                Wilmington DE 19801                                              kgrivner@clarkhill.com           Email

                                                                                                                                    Attn: John D. Landwehr
                                                                                                                                    231 Madison Street
Counsel to Missouri Boulevard Investment Company                                      Cook, Vetter, Doerhoff & Landwehr, P.C.       Jefferson City MO 65101                                          jlandwehr@cvdl.net               Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                  Page 2 of 11
                                                                              Case 24-12480-JTD                      Doc 685          Filed 01/08/25                   Page 6 of 149
                                                                                                                             Exhibit A
                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below

                                       DESCRIPTION                                                    NAME                                              ADDRESS                                          EMAIL          METHOD OF SERVICE

                                                                                                                           Attn: Belkys Escobar
                                                                                                                           One Harrison Street, SE, 5th Floor
                                                                                                                           PO Box 7000
Counsel to County of Loudoun, Virginia                                           County of Loudoun, Virginia               Leesburg VA 20177‐7000                               belkys.escobar@loudoun.gov          Email

                                                                                                                           Attn: William L. Siegel
                                                                                                                           901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                           Cowles & Thompson, P.C.                   Dallas TX 75202                                      bsiegel@cowlesthompson.com          Email

                                                                                                                           Attn: Brian L. Shaw
                                                                                                                           123 North Wacker Drive
                                                                                                                           Suite 1800
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23             Cozen O'Connor                            Chicago IL 60606                                     bshaw@cozen.com                     Email

                                                                                                                           Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                           1201 N. Market Street
                                                                                                                           Suite 1001                                           mbenedek@cozen.com
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23             Cozen O'Connor                            Wilmington DE 19801                                  kekiner@cozen.com                   Email

                                                                                                                           Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                                1105 North Market Street, Suite 901
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC               Cross & Simon, LLC                        Wilmington DE 19801                                  csimon@crosslaw.com                 Email

                                                                                                                           Attn: Kevin S. Mann
                                                                                                                           1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                   Cross & Simon, LLC                        Wilmington DE 19801                                  kmann@crosslaw.com                  Email

                                                                                                                           Attn: Stephen B. Porterfield
                                                                                                                           2311 Highland Avenue South
                                                                                                                           P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                      Dentons Sirote PC                         Birmingham AL 35255‐5727                             stephen.porterfield@dentons.com     Email

                                                                                                                           Attn: Christopher M. Winter, James C. Carignan
                                                                                                                           1201 N. Market Street, Suite 501                     cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                 Duane Morris LLP                          Wilmington DE 19801                                  jccarignan@duanemorris.com          Email

                                                                                                                           Attn: Michael T. Gustafson
                                                                                                                           320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates       Faegre Drinker Biddle & Reath LLP         Chicago IL 60606                                     mike.gustafson@faegredrinker.com    Email

                                                                                                                           Attn: Patrick A. Jackson
                                                                                                                           222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates       Faegre Drinker Biddle & Reath LLP         Wilmington DE 19801                                  patrick.jackson@faegredrinker.com   Email

                                                                                                                           Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                           919 North Market Street
                                                                                                                           12th Floor                                           bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                       Farnan LLP                                Wilmington DE 19801                                  mfarnan@farnanlaw.com               Email

                                                                                                                           Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                           3300 Great American Tower
                                                                                                                           301 East Fourth Street                               eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                      Frost Brown Todd LLP                      Cincinnati OH 45202                                  jkleisinger@fbtlaw.com              Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                         Page 3 of 11
                                                                                Case 24-12480-JTD                             Doc 685               Filed 01/08/25                     Page 7 of 149
                                                                                                                                            Exhibit A
                                                                                                                                     Core/2002 Service List
                                                                                                                                    Served as set forth below

                                       DESCRIPTION                                                           NAME                                                      ADDRESS                                                     EMAIL               METHOD OF SERVICE

                                                                                                                                         Attn: Sloane B. O’Donnell
                                                                                                                                         Union Trust Building
                                                                                                                                         501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                                  Frost Brown Todd LLP                               Pittsburgh PA 15219                                              sodonnell@fbtlaw.com                     Email

                                                                                                                                         Attn: Lorenzo Nunez
                                                                                                                                         PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                GM Financial Leasing                               Arlington TX 76096                                               Customer.service.bk@gmfinancial.com      Email

                                                                                                                                         Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                                         222 Delaware Avenue
                                                                                                                                         Suite 1600                                                       Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                            Greenberg Traurig, LLP                             Wilmington DE 19801                                              Dennis.Meloro@gtlaw.com                  Email

                                                                                                                                         Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port of                                                    Attn: Property Tax Division
Houston Authority, Harris County Hospital District, and Harris County Department of                                                      P.O. Box 2848
Education (hereinafter “Harris County”)                                               Harris County Attorney’s Office                    Houston TX 77252                                                 taxbankruptcy.cao@harriscountytx.gov     Email

                                                                                                                                         Attn: Phillip W. Nelson
                                                                                                                                         150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                       Holland & Knight LLP                               Chicago IL 60606                                                 phillip.nelson@hklaw.com                 Email

                                                                                                                                         Centralized Insolvency Operation
                                                                                                                                         P.O. Box 7346
IRS Insolvency Section                                                                Internal Revenue Service                           Philadelphia PA 19101‐7346                                                                                First Class Mail

Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties                                                               Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick      KDWBankruptcyDepartment@kelleydrye.com
Retail, Inc., Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL                                                      3 World Trade Center                                             rlehane@kelleydrye.com
Property Management (Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc.,                                                            175 Greenwich Street                                             jraviele@kelleydrye.com
Regency Centers, L.P., Shamrock A. Owner LLC, and SITE Centers Corp.                  Kelley Drye & Warren LLP                           New York NY 10007                                                aselick@kelleydrye.com                   Email

                                                                                                                                         Attn: Michelle Leeson, Paralegal, Collections Specialist, CFCA
                                                                                                                                         1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                              Ken Burton, Jr., Manatee County Tax Collector      Brandenton FL 34205‐7863                                         legal@taxcollector.com                   Email

                                                                                                                                         Attn: Scott A. Bachert
                                                                                                                                         1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier                                                      P. O. Box 9547
Dover LLC, Frontier Kissimmee LLC                                                     Kerrick Bachert PSC                                Bowling Green KY 42102‐9547                                                                               First Class Mail

                                                                                                                                         Attn: J. Daniel Albert, Michael McCutcheon
                                                                                                                                         280 King of Prussia Rd                                           dalbert@ktmc.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass                 Kessler Topac Meltzer & Check LLP                  Radnor PA 19087                                                  mmcutcheon@ktmc.com                      Email

                                                                                                                                          Attn: Connor K. Casas
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ       Kirkland & Ellis LLP Kirkland & Ellis International 333 West Wolf Point Plaza
Owner LLC                                                                             LLP                                                 Chicago IL 60654                                                connor.casas@kirkland.com                Email

                                                                                                                                          Attn: Steven N. Serajeddini P.C.
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ       Kirkland & Ellis LLP Kirkland & Ellis International 601 Lexington Avenue
Owner LLC                                                                             LLP                                                 New York NY 10022                                               steven.serajeddini@kirkland.com          Email

                                                                                                                                         Attn: Domenic E. Pacitti
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ                                                          919 N. Market Street, Suite 1000
Owner LLC                                                                             Klehr Harrison Harvey Branzburg LLP                Wilmington DE 19801‐3062                                         dpacitti@klehr.com                       Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                       Page 4 of 11
                                                                               Case 24-12480-JTD                              Doc 685             Filed 01/08/25                   Page 8 of 149
                                                                                                                                         Exhibit A
                                                                                                                                    Core/2002 Service List
                                                                                                                                   Served as set forth below

                                       DESCRIPTION                                                          NAME                                                    ADDRESS                                          EMAIL         METHOD OF SERVICE

                                                                                                                                       Attn: Morton R. Branzburg
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ                                                        1835 Market Street, Suite 1400
Owner LLC                                                                             Klehr Harrison Harvey Branzburg LLP              Philadelphia PA 19103                                  mbranzburg@klehr.com             Email

                                                                                                                                       Attn: Jeffrey Kurtzman
                                                                                                                                       101 N. Washington Avenue
                                                                                                                                       Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                                        Kurtzman Steady LLC                              Margate NJ 08402                                       kurtzman@kurtzmansteady.com      Email

                                                                                                                                       Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                                       919 Market Street Suite 1800                           landis@lrclaw.com
                                                                                                                                       P.O. Box 2087                                          mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                     Landis Rath & Cobb LLP                           Wilmington DE 19801                                    erogers@lrclaw.com               First Class Mail and Email

                                                                                                                                       Attn: Andrew Sorkin
                                                                                                                                       555 Eleventh Street NW
                                                                                                                                       Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                        Latham & Watkins LLP                             Washington DC 20004                                    andrew.sorkin@lw.com             Email

                                                                                                                                       Attn: James Kstanes, Timothy Beau Parker
                                                                                                                                       330 N Wabash Avenue
                                                                                                                                       Suite 2800                                             james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                        Latham & Watkins LLP                             Chicago IL 60611 Canada                                beau.parker@lw.com               Email

                                                                                                                                       Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin    Jennifer.Ezring@lw.com
                                                                                                                                       1271 Avenue of the Americas                            James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                                    Latham & Watkins LLP                             New York NY 10020                                      andrew.sorkin@lw.com             First Class Mail and Email

Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties
Retail, Inc., Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL                                                    Attn: Susan E. Kaufan
Property Management (Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc.,                                                          919 N. Market Street, Suite 460
Regency Centers, L.P., Shamrock A. Owner LLC, and SITE Centers Corp.                  Law Office of Susan E. Kaufman                   Wilmington DE 19801                                    skaufman@skaufmanlaw.com         Email

                                                                                                                                       Attn: Diane W. Sanders
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County, City of                                                        PO Box 17428
McAllen                                                                               Linebarger Goggan Blair & Sampson, LLP           Austin TX 78760‐7428                                   austin.bankruptcy@lgbs.com       Email

                                                                                                                                       Attn: Don Stecker
                                                                                                                                       112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                              Linebarger Goggan Blair & Sampson, LLP           San Antonio TX 78205                                   sanantonio.bankruptcy@lgbs.com   Email

                                                                                                                                       Attn: John K. Turner
                                                                                                                                       2777 N. Stemmons Freeway
                                                                                                                                       Suite 1000
Counsel to Dallas County                                                              Linebarger Goggan Blair & Sampson, LLP           Dallas TX 75207                                        dallas.bankruptcy@lgbs.com       Email

Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall CAD,
Tarrant County, Navarro County, Smith County, Ellis County, City of Sulphur Springs,                                                   Attn: John Kendrick Turner
Wise County, Tom Green CAD, Grayson County, Gregg County, Prosper ISD, Town of                                                         3500 Maple Avenue
Prosper, City of Carrollton, Northwest ISD, City of Allen, City of Wylie, Lewisville ISD,                                              Suite 800
Allen ISD, City of Frisco, Irving ISD, Parker CAD                                         Linebarger Goggan Blair & Sampson, LLP       Dallas TX 75219                                        dallas.bankruptcy@lgbs.com       Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                     Page 5 of 11
                                                                              Case 24-12480-JTD                             Doc 685            Filed 01/08/25                     Page 9 of 149
                                                                                                                                      Exhibit A
                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

                                       DESCRIPTION                                                      NAME                                                      ADDRESS                                          EMAIL       METHOD OF SERVICE

Counsel to Cypress‐Fairbanks ISD, Harris County, Galveston County, Montgomery
County, Ford Bend County, Katy ISD, Harris CO ESD # 08, City of Houston,
Montgomery County, Harris CO ESD # 48, Lone Star College System, Harris CO ESD #
16, Harris CO ESD # 11, Houston ISD, Galveston County, Harris CO ESD # 09, Cypress‐                                                 Attn: Tara L. Grundemeier
Fairbanks ISD, Deer Park ISD, Fort Bend County, Houston Comm Coll System, City of                                                   PO Box 3064
Pasadena, Jefferson County                                                          Linebarger Goggan Blair & Sampson, LLP          Houston TX 77253‐3064                                  houston_bankruptcy@lgbs.com     Email

                                                                                                                                    Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                                         One Lowenstein Drive                                   metkin@lowenstein.com
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                Lowenstein Sandler LLP                            Roseland NJ 07068                                      mpapandrea@lowenstein.com       Email

Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central
Appraisal District, Bowie Central Appraisal District, Denton County, Guadalupe
County, Hays County, Midland Central Appraisal District, City of Waco/Waco                                                          Attn: Julie Anne Parsons
Independent School District/La Vega Independent School District, and Williamson                                                     700 Jeffrey Way, Suite 100
County                                                                            McCreary, Veselka, Bragg, & Allen, P.C.           Round Rock TX 78665                                    jparsons@mvbalaw.com            Email

Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central
Appraisal District, Bowie Central Appraisal District, Denton County, Guadalupe
County, Hays County, Midland Central Appraisal District, City of Waco/Waco                                                          Attn: Julie Anne Parsons
Independent School District/La Vega Independent School District, and Williamson                                                     P.O. Box 1269
County                                                                            McCreary, Veselka, Bragg, & Allen, P.C.           Round Rock TX 78680‐1269                               jparsons@mvbalaw.com            Email

                                                                                                                                    Attn: David A. Shapiro
                                                                                                                                    33 N. LaSalle Street
                                                                                                                                    Suite 1400                                             dshapiro@mckenna‐law.com
Counsel to Parm Golf Center LLC                                                   McKenna Storer                                    Chicago IL 60602                                       service@mckenna‐law.com         Email

                                                                                                                                    Attn: Nicole C. Kenworthy
                                                                                                                                    6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                       Meyers, Rodbell & Rosenbaum, P.A.                 Riverdale MD 20737‐1385                                bdept@mrrlaw.net                Email

                                                                                                                                    Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                                    1800 West Park Dr., Suite 400                          jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                                  Mirick, O’Connell, DeMallie & Lougee, LLP         Westborough MA 01581                                   scolbert@mirickoconnell.com     Email

                                                                                                                                    Attn: Rachel B. Mersky
                                                                                                                                    1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC                  Monzack Mersky and Browder, P.A.                  Wilmington DE 19801                                    rmersky@monlaw.com              Email

                                                                                                                                    Attn: Carl N. Kunz, III, Christopher M. Donnelly
                                                                                                                                    500 Delaware Avenue, Suite 1500                        ckunz@morrisjames.com
Counsel for RCG‐PSC Camp Creek Owner, LLC, University Realty Associates, LLC      Morris James LLP                                  Wilmington DE 19801                                    cdonnelly@morrisjames.com       Email

                                                                                                                                    Attn: Deborah M. Perry
                                                                                                                                    500 N. Akard Street
                                                                                                                                    Suite 4000
Counsel to BC Exchange Salt Pond                                                  Munsch Hardt Kopf & Harr, P.C.                    Dallas TX 75201‐6659                                   dperry@munsch.com               Email


                                                                                                                                    Attn: Timothy J. Fox, Esq
                                                                                                                                    844 King Street, Suite 2207
                                                                                  Office of the United States Trustee for the       Lockbox 35
United States Trustee for the District of Delaware                                District of Delaware                              Wilmington DE 19801                                    timothy.fox@usdoj.gov           Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                  Page 6 of 11
                                                                          Case 24-12480-JTD                         Doc 685                Filed 01/08/25                       Page 10 of 149
                                                                                                                                   Exhibit A
                                                                                                                             Core/2002 Service List
                                                                                                                            Served as set forth below

                                      DESCRIPTION                                                  NAME                                                         ADDRESS                                                 EMAIL             METHOD OF SERVICE

                                                                                                                                 Attn: Brian J. McLaughlin
                                                                                                                                 222 Delaware Avenue
                                                                                                                                 Suite 1105
Counsel to Rockfirm, LLC                                                      Offit Kurman, PA                                   Wilmington DE 19801                                               Brian.McLaughlin@offitkurman.com   Email

                                                                                                                                 Attn: Tammy Jones
                                                                                                                                 320 Robert S. Kerr
                                                                                                                                 Room 307
Counsel to Oklahoma County Treasurer                                          Oklahoma County Treasurer                          Oklahoma City OK 73102                                            tammy.jones@oklahomacounty.org     Email

                                                                                                                                 Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                                 919 North Market Street, 17th Floor
                                                                                                                                 P.O. Box 8705                                                     bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                      Pachulski Stang Ziehl & Jones LLP                  Wilmington DE 19899‐8705                                          crobinson@pszjlaw.com              Email

                                                                                                                                 Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S. Heckel   rfeinstein@pszjlaw.com
                                                                                                                                 780 Third Avenue, 34th Floor                                      akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                      Pachulski Stang Ziehl & Jones LLP                  New York NY 10017                                                 theckel@pszjlaw.com                Email

                                                                                                                                 Attn: Joseph C. Barsalona II
                                                                                                                                 824 North Market Street
                                                                                                                                 Suite 800
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass         Pashman Stein Walder Hayden, PC                    Wilmington DE 19801                                               jbarsalona@pashmanstein.com        Email

                                                                                                                                 Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel         jaymegoldstein@paulhastings.com
                                                                                                                                 Fliman                                                            jeremyevans@paulhastings.com
                                                                                                                                 200 Park Avenue                                                   isaacsasson@paulhastings.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders             Paul Hastings LLP                                  New York NY 10166                                                 danfliman@paulhastings.com         First Class Mail and Email

                                                                                                                                 Attn: Nicholas A. Bassett
                                                                                                                                 2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders             Paul Hastings LLP                                  Washington DC 20036                                               nicholasbassett@paulhastings.com   Email

                                                                                                                                 Attn: Hiram Gutierrez
                                                                                                                                 P.O. Box 2916
Cousnel to Brownsville Independent School District                            Perdue, Brandon, Fielder, Collins & Mott, L.L.P    McAllen TX 78502                                                  edinburgbankruptcy@pbfcm.com       Email

                                                                                                                                 Attn: Laura J. Monroe
                                                                                                                                 PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                   Perdue, Brandon, Fielder, Collins & Mott, L.L.P    Lubbock TX 79408                                                  lmbkr@pbfcm.com                    Email

                                                                                                                                 Attn: Sergio E. Garcia
                                                                                                                                 3301 Northland Drive
Counsel to Kerrville Independent School District, Copperas Cove Independent                                                      Suite 505
School District                                                               Perdue, Brandon, Fielder, Collins & Mott, L.L.P    Austin TX 78731                                                   sgarcia@pbfcm.com                  Email

                                                                                                                                 Attn: Melissa E. Valdez
                                                                                                                                 1235 North Loop West
                                                                                                                                 Suite 600
Counsel to Magnolia Independent School District and City of Montgomery        Perdue, Brandon, Fielder, Collins & Mott, L.L.P.   Houston TX 77008                                                  mvaldez@pbfcm.com                  Email

                                                                                                                                 Attn: Alysia Córdova
                                                                                                                                 P.O. Box 9132                                                     acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office             Perdue, Brandon, Fielder, Collins and Mott, L.L.P. Amarillo TX 79105                                                 amabkr@pbfcm.com                   Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                Page 7 of 11
                                                                            Case 24-12480-JTD                           Doc 685               Filed 01/08/25                   Page 11 of 149
                                                                                                                                      Exhibit A
                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

                                       DESCRIPTION                                                         NAME                                                ADDRESS                                                     EMAIL       METHOD OF SERVICE

                                                                                                                                    Attn: Elisa Hyder
                                                                                                                                    Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc. and Mars Fishcare                                                     1717 Arch Street, Suite 2800
North America, Inc.                                                                  Polsinelli PC                                  Philadelphia PA 19103                                          ehyder@polsinelli.com           Email

                                                                                                                                    Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc. and Mars Fishcare                                                     222 Delaware Avenue, Suite 1101                                skatona@polsinelli.com
North America, Inc.                                                                  Polsinelli PC                                  Wilmington DE 19801                                            kdevanney@polsinelli.com        Email

                                                                                                                                    Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                                    1313 N. Market Street                                          jryan@potteranderson.com
                                                                                                                                    6th Floor                                                      bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                       Potter Anderson & Corroon LLP                  Wilmington DE 19801                                            esulik@potteranderson.com       Email

                                                                                                                                    Attn: L. Kate Mason
                                                                                                                                    411 E. Wisconsin Avenue
                                                                                                                                    Suite 2400
Counsel to Whirlpool Corporation                                                     Quarles & Brady LLP                            Milwaukee WI 53202                                             Katie.Mason@quarles.com         Email

                                                                                                                                    Attn: John H. Knight, Amanda R. Steele, Alexander R. Steiger
                                                                                                                                    One Rodney Square                                              knight@rlf.com
                                                                                                                                    920 North King Street                                          steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates                    Richards Layton & Finger PA                    Wilmington DE 19801                                            steiger@rlf.com                 Email

                                                                                                                                    Attn: Steven Fox
                                                                                                                                    Times Square Tower Suite 2506
                                                                                                                                    Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                             Riemer & Braunstein LLP                        New York NY 10036                                                                              First Class Mail
Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC,
Harvest Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood
(Ohio) Station LLC, Shoregate Station LLC, Hartville Station LLC, Jensen Beach
Station LLC, Chapel Hill North Station LLC, Five Town Station LLC, Golden Station
LLC, Hamilton Ridge Station LLC, Hampton Village Station LLC, Memorial Kirkwood
Station LLC, Orchard Square Station LLC, Rainbow Station North LLC, Southfield                                                      Attn: Monique B. DiSabatino, Mark Minuti
Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                                  1201 North Market Street, Suite 2300
Summerville Station LLC, and Phillips Edison & Company, Beral, LLLP, Laurel Lakes,                                                  P.O. Box 1266                                                  monique.disabatino@saul.com
LLC                                                                                   Saul Ewing LLP                                Wilmington DE 19899                                            mark.minuti@saul.com            Email


Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC,
Harvest Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood
(Ohio) Station LLC, Shoregate Station LLC, Hartville Station LLC, Jensen Beach
Station LLC, Chapel Hill North Station LLC, Five Town Station LLC, Golden Station
LLC, Hamilton Ridge Station LLC, Hampton Village Station LLC, Memorial Kirkwood                                                     Attn: Turner N. Falk
Station LLC, Orchard Square Station LLC, Rainbow Station North LLC, Southfield                                                      Centre Square West
Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                                  1500 Market Street, 38th Floor
Summerville Station LLC, and Phillips Edison & Company                                Saul Ewing LLP                                Philadelphia PA 19102                                          turner.falk@saul.com            Email

                                                                                                                                    Attn: Bankruptcy Department
                                                                                                                                    Brookfield Place
                                                                                                                                    200 Vesey Street, Suite 400                                    bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                                   Securities & Exchange Commission ‐ NY Office   New York NY 10281‐1022                                         nyrobankruptcy@sec.gov          First Class Mail and Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                  Page 8 of 11
                                                                            Case 24-12480-JTD                         Doc 685              Filed 01/08/25                 Page 12 of 149
                                                                                                                                    Exhibit A
                                                                                                                              Core/2002 Service List
                                                                                                                             Served as set forth below

                                        DESCRIPTION                                                      NAME                                                  ADDRESS                                                 EMAIL          METHOD OF SERVICE

                                                                                                                                   Attn: Bankruptcy Department
                                                                                                                                   One Penn Center
                                                                                   Securities & Exchange Commission ‐ Philadelphia 1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                                 Office                                          Philadelphia PA 19103                                        secbankruptcy@sec.gov             First Class Mail and Email

                                                                                                                                 Attn: Alan J. Taylor
                                                                                                                                 29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)                  Segal McCambridge Singer & Mahoney            Southfield MI 48034                                            ataylor@smsm.com                  Email

                                                                                                                                 Attn: J. David Forsyth
                                                                                                                                 400 Poydras Street
                                                                                                                                 Suite 2550
Counsel to Shanri Holdings Corporation                                             Sessions, Fishman & Nathan, LLC               New Orleans LA 70130                                           jdf@sessions‐law.com              Email
                                                                                                                                                                                                bateman@sewkis.com
                                                                                                                                                                                                patel@sewkis.com
                                                                                                                                 Attn: Gregg Bateman, Sagar Patel, Michael Danenberg, John R.   danenberg@sewkis.com
                                                                                                                                 Ashmead, Gregg S. Bateman, Andrew J. Matott                    ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as Prepetition                                                 One Battery Park Plaza                                         bateman@sewkis.com
First Lien Agent and DIP Agent                                                     Seward & Kissel LLP                           New York NY 10004                                              matott@sewkis.com                 First Class Mail and Email

                                                                                                                                 Attn: Eric S. Goldstein                                        egoldstein@goodwin.com
                                                                                                                                 One Constitution Plaza                                         bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                         Shipman & Goodwin LLP                         Hartford CT 06103‐1919                                         bankruptcyparalegal@goodwin.com   Email

                                                                                                                                 Attn: William F. McDonald III
                                                                                                                                 10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                            ShopCore Properties                           San Diego CA 92127                                             wmcdonald@shopcore.com            Email

                                                                                                                                 Attn: Ronald M. Tucker
                                                                                                                                 225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                     Simon Property Group, Inc.                    Indianapolis IN 46204                                          rtucker@simon.com                 Email

                                                                                                                                 Attn: Dana S. Plon
                                                                                                                                 123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                     Sirlin Lesser & Benson, P.C.                  Philadelphia PA 19109                                          dplon@sirlinlaw.com               Email

                                                                                                                                 Attn: Joseph H. Lemkin
                                                                                                                                 PO Box 5315
Counsel to Peoria Rental Properties, LLC                                           Stark & Stark, P.C.                           Princeton NJ 08543                                             jlemkin@stark‐stark.com           Email

                                                                                                                                 Attn: Sabrina L. Streusand
                                                                                                                                 1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                           Streusand, Landon Ozburn & Lemmon, LLP        Austin TX 78746                                                streusand@slollp.com              Email

                                                                                                                                 Attn: William A. Hazeltine
                                                                                                                                 919 N. Market Street
                                                                                                                                 Suite 420
Counsel to Whirlpool Corporation                                                   Sullivan Hazeltine Allinson LLC               Wilmington DE 19801                                            whazeltine@sha‐llc.com            Email

                                                                                                                                 Attn: Charles S. Stahl, Jr.
                                                                                                                                 2525 Cabot Drive
                                                                                                                                 Suite 204
Counsel to Raymond Leasing Corporation                                             Swanson, Martin & Bell, LLP                   Lisle IL 60532                                                 cstahl@smbtrials.com              Email




              In re: Franchise Group, Inc., et al.
              Case No. 24‐12480 (JTD)                                                                                               Page 9 of 11
                                                                             Case 24-12480-JTD                            Doc 685               Filed 01/08/25                   Page 13 of 149
                                                                                                                                        Exhibit A
                                                                                                                                   Core/2002 Service List
                                                                                                                                  Served as set forth below

                                       DESCRIPTION                                                          NAME                                                  ADDRESS                                                  EMAIL           METHOD OF SERVICE

Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan
LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC, Fundamentals Company,                                                           Attn: Jeffrey Rhodes
Kinpark Associates, Laurie Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited                                              2001 L Street, NW, Suite 500
Partnership, Esue LLC, Alisan LLC, and Roseff LLC                                        Tayman Lane Chaverri LLP                     Washington DC 20036                                          jrhodes@tlclawfirm.com              Email

                                                                                                                                      Attn: Bradshaw Rost
                                                                                                                                      4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                                     Tenenbaum & Saas, P.C.                          Chevy Chase MD 20815                                         BRost@tspclaw.com                   Email

                                                                                                                                      Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                                      Bankruptcy & Collections Division
                                                                                                                                      P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                                   Texas Attorney General's Office                 Austin TX 78711‐2548                                         christopher.murphy@oag.texas.gov    Email

                                                                                                                                      Attn: Louis F Solimine
                                                                                                                                      312 Walnut Street
                                                                                                                                      Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                          Thompson Hine LLP                               Cincinnati OH 45202‐4029                                     Louis.Solimine@ThompsonHine.com     Email

                                                                                                                                      Attn: Michael B. Pugh
                                                                                                                                      2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                             Thompson O'Brien Kappler & Nasuti PC            Peachtree Corners GA 30092                                   mpugh@tokn.com                      Email

                                                                                                                                      Attn: Stephen B. Gerald
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing                                                             200 Continental Drive, Suite 401
Herbs                                                                                 Tydings & Rosenberg LLP                         Newark DE 19713                                              sgerald@tydings.com                 Email

                                                                                                                                      Attn: David C. Weiss & Ellen Slights
                                                                                                                                      U.S. Attorney's Office
                                                                                                                                      1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                            U.S. Attorney for Delaware                      Wilmington DE 19801                                                                              First Class Mail

                                                                                                                                      Secretary of the Treasury
                                                                                      U.S. Securities and Exchange Commission ‐       100 F. Street NE
Securities and Exchange Commission                                                    Headquarters                                    Washington DC 20549                                          secbankruptcy@sec.gov               First Class Mail and Email

                                                                                                                                      Attn: Geoffrey J. Peters
                                                                                                                                      5475 Rings Road
                                                                                                                                      Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                           Weltman, Weinberg & Reis Co. LPA                Dublin OH 43017                                              bronationalecf@weltman.com          Email

                                                                                                                                      Attn: Bojan Guzina
                                                                                                                                      111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                            White & Case LLP                                Chicago IL 60606                                                 bojan.guzina@whitecase.com      First Class Mail and Email
                                                                                                                                                                                                       cshore@whitecase.com
                                                                                                                                      Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, Erin sam.hershey@whitecase.com
                                                                                                                                      Smith, Brett Bakemeyer                                           azatz@whitecase.com
                                                                                                                                      1221 Avenue of the Americas                                      erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                            White & Case LLP                                New York NY 10020‐1095                                           brett.bakemeyer@whitecase.com   Email

                                                                                                                                      Attn: Thomas Lauria
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of                                                           200 South Biscayne Boulevard, Suite 4900
Freedom Lenders                                                                       White & Case LLP                                Miami FL 33131                                               tlauria@whitecase.com               First Class Mail and Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                    Page 10 of 11
                                                    Case 24-12480-JTD                     Doc 685           Filed 01/08/25                  Page 14 of 149
                                                                                                    Exhibit A
                                                                                               Core/2002 Service List
                                                                                              Served as set forth below

                                      DESCRIPTION                           NAME                                            ADDRESS                                                        EMAIL       METHOD OF SERVICE

                                                                                                  Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L. Feldman,   dsinclair@willkie.com
                                                                                                  Joseph R. Brandt                                                 mfeldman@willkie.com
                                                                                                  787 Seventh Avenue                                               bfeldman@willkie.com
Counsel to Debtors and Debtors In Possession           Willkie Farr & Gallagher LLP               New York NY 10019                                                jbrandt@willkie.com             Email

                                                                                                  Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke,
                                                                                                  Shella Borovinskaya                                              emorton@ycst.com
                                                                                                  Rodney Square                                                    mlunn@ycst.com
                                                                                                  1000 N. King Street                                              amielke@ycst.com
Counsel to Debtors and Debtors In Possession           Young Conaway Stargatt & Taylor, LLP       Wilmington DE 19801                                              sborovinskaya@ycst.com          Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                 Page 11 of 11
Case 24-12480-JTD   Doc 685   Filed 01/08/25   Page 15 of 149




                        Exhibit B
                                              Case 24-12480-JTD        Doc 685       Filed 01/08/25         Page 16 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                            Name                                   Address                                   City   State Postal Code   Country
                                                      c/o First Capital Realty Inc., 600 N. 2nd Street,
29783760 100 Brentwood Associates L.P.                Suite 401                                           Harrisburg         PA    17101
29783761 1010data Retail Solutions LLC                750 Third Avenue, 4th Floor                         New York           NY    10017
29783762 1010data Service LLC                         750 Third Avenue, 4th Floor                         Detroit            MI    48267‐5085
29783763 1010data, Inc.                               750 Third Avenue, 4th Floor                         New York           NY    10017
29783764 1050 Sunrise LLC                             101 Alma Street, #203                               Palo Alto          CA    94301
29783765 11:11 Systems, Inc.                          1235 North Loop West, Suite 800                     Houston            TX    77008
29783766 1170 Northern Boulevard LLC                  40 Harbor Park Drive North                          Port Washington    NY    11050
29783767 123.Net, Inc.                                24700 Northwestern Hwy                              Southfield         MI    48075
29783768 123NET                                       24700 Northwestern Hwy                              Southfield         MI    48075
29783769 1250 Niagra Falls Boulevard Tonawanda LLC    1250 Niagra Falls Boulevard                         Tonawanda          NY    14150
29783770 12550 LLC                                    PO BOX 300439                                       BROOKLYN           NY    11230
29776573 1313 Apalachee Parkway, LLC                  c/o SVN / Southland, 2057 Delta Way                 Tallahassee        FL    32303
29776574 1480 Cafe LLC                                10 East 120th Avenue                                Northglenn         CO    80233
                                                      c/o Ohio Equities LLC, 605 S Front Street, Suite
29776575 1499 Rome Hilliard LLC                       200                                                 Columbus           OH    43215
                                                      c/o Burkwood Associates, 255 Butler Avenue,
29776576 1515 Lititz Partners, LLC                    Suite 203                                           Lancaster          PA    17601
29776577 1522 14th Street LLC                         c/o Goldberg Group, P.O. Box 8195, Suite 400        White Plains       NY    10602
29776578 1584 Flatbush Avenue Partners, LLC           539 Eastern Parkway Third Floor,                    Brooklyn           NY    11216
                                                      c/o Century Investment Co., 181 Park Ave., Suite
29776579 175 Memorial Ave., LLC                       1                                                   West Springfield   MA    01089
                                                      c/o Comstock Crosser & Assoc. Development Co.
29776580 1800 Rosecrans Partners LLC                  Inc., 3760 Kilroy Airport Way, Suite 130            Long Beach         CA    90806
29776581 1803 Rockville Pike LLC                      107 W Jefferson Street                              Rockville          MD    20850
29776582 195 Harbison, LLC                            3253 Harrison Rd.,                                  Columbia           SC    29204
29776583 2013 Massey Blvd LLC                         PO BOX 4217,                                        Hagerstown         MD    21741‐4217
29783771 211 Wallkill Realty LLC                      430 Park Avenue                                     New York City      NY    10022
29783772 212 Design, Inc. dba Two One Two Design      45 West 21st Street Suite 403                       New York           NY    10010
                                                      c/o Newmark Grubb Knight, 3424 Peachtree
29783773 2130 Pleasant Hill Rd                        Road NE, Suite 800                                  Atlanta            GA    30326
29783774 2205 Federal Investors, LLC                  177 Fox Meadow Road                                 Scarsdale          NY    10583

      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                 Page 1 of 134
                                                Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 17 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                             Name                                   Address                        City                 State Postal Code        Country
29783775 2229 2nd Street North‐Millville, LLC           1000 Portside Drive,                    Edgewater                       NJ     07020
29783776 2397 S. Stemmons LLC                           7802 Goddard Ave.                       Los Angeles                     CA     90045
                                                        1851 NORTH SOUTHERN ROAD, ATTN ACCOUNTS
29783777 24 Seven Inc.                                  PAYABLE                                 Kansas City                     MO    64120
29783778 244 East 86th Street LLC                       19 West 21st Street, Suite 902          New York City                   NY    10010
29783779 250 Three Springs, LP                          4041 Liberty Avenue, Suite 201          Pittsburgh                      PA    15224
29783780 27386 Carronade, LLC                           2600 West Big Beaver Rd, Suite 410      Troy                            MI    48084

29783781 280 Metro Limited Partnership                  c/o Kimco Realty Corporation, 2429 Park Avenue Tustin                   CA    92782
         2nd Watch, Inc.
29783782 Aptitive                                       Aptitive, 2310 N Molter Suite 340                  Liberty Lake         WA    99019
                                                        c/o Crosspoint Associates Inc., 188 Needham
29776584 30 Worcester Road LLC                          Street, Suite 255                                  Newton Upper Falls   MA    02464
                                                        C/O Schuckman Management LLC, 120 North
29776585 300 West 23rd Street Retail LLC                Village Avenue                                     Rockville Centre     NY    11570
29776586 313 Presents, LLC                              2525 Woodward Avenue                               Detroit              MI    48201
29776587 327 EH LLC                                     46 Main Street,                                    Millburn             NJ    07041
            335 MMR Development, LLC and Who is John    c/o Boulos Asset Management, 100 Middle
29776588 Galt? LLC                                      Street, East Tower ‐ Suite 230                     Portland             ME    04101
                                                        c/o Serota Properties, 70 East Sunrise Hwy., Suite
29776589 3644 Long Beach Road, LLC                      610                                                Valley Stream        NY    11581
29776590 365 Data Centers Services, LLC                 200 Connecticut Avenue, Suite 5A                   Norwalk              CT    06854
                                                        Unit 706, 7/F., South Seas Centre, Tower 2, 75
29783742 37POINT HK Co., Ltd. dba Seven‐Hub             Mody Road, TsimShaTsui                                                                       Hong Kong
                                                        c/o Adelphia Properties, 1314 Kensington Road
29776591 383 Army Trail LLC                             #4974,                                             Oak Brook            IL    60523
29776592 3841 Kirkland Highway, LLC                     200 Airport Road                                   New Castle           DE    19720
            385 Fifth Avenue LLC by Hilson Management
29776593 Corp. as agent for the Landlord                185 Madison Avenue,                              New York City          NY    10016
29783783 385 S Colorado Blvd LLC                        c/o NEG Propery Services                         Fort Lauderdale        FL    33308
29783784 3Deez, LLC                                     4712 Ocean Blvd.                                 Destin                 FL    32541
29783785 4 Healthy Paws, Inc.                           11040 Pinevale Lane                              Franktown              CO    80116


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 2 of 134
                                                Case 24-12480-JTD       Doc 685       Filed 01/08/25       Page 18 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                   Address                                  City    State Postal Code   Country
29783786 4 Paws Partners, LLC                           1100 US Highway 287, Suite 1400                  Broomfield          CO     80020
29783787 4 Pets Enterprises, LLC                        10705 NE. 156th Avenue                           Vancouver           WA     98682
29783788 400 Success LLC                                P.O. Box 148                                     Croton‐on‐Hudson    NY     10520
29783789 400‐688 N. Alafaya Trail, LLC                  543 N. Wymore Road, Suite 106                    Maitland            FL     32751
29783790 401 Federal Investments, LLC                   215 N. Federal Highway,                          Boca Raton          FL     33432
29783791 4015 Veterans, LLC                             1200 South Clearview Pkwy, Suite 1166            New Orleans         LA     70123
29783792 4077814 Delaware Inc. DBA Canus USA            26 Leonard Ave                                   Leonardo            NJ     07737
29783793 415 State Route 18 LLC                         415 State Route 18                               East Brunswick      NJ     08816
29783794 434 Southbridge LLC                            532 Great Road,                                  Acton               MA     01720
                                                        c/o Northpath Investments, 144 East 44th Street,
29783795 4405 Milestrip HD Lessee LLC                   Suite 601                                        New York            NY    10017
                                                        c/o DLC Management Corporation, 565 Taxter
29776594 4405 Milestrip HD Lessee LLC                   Road, Suite 400                                  Elmsford            NY    10523
29776595 462 Express LLC                                3725 N 128th Ave                                 Avondale            AZ    85392
29776596 470 French Road L.L.C.                         P.O. Box 213                                     Yorkville           NY    13495
29776597 4701 Cooper Street Arlington, L.L.C.           11035 Lavender Hill Drive, Suite 160             Las Vegas           NV    89135
29776598 4801 Hulen LLC                                 8100 E. 22nd North Bldg. 1700‐2,                 Wichita             KS    67226
                                                        c/o Gold Seal Equity Partnership, 2 Wendling
29776599 4968 Transit Road LLC                          Court                                            Lancaster           NY    14086
29776600 4968 Transit Road LLC                          Ralph C. Lorigo, 101 Slade Avenue                West Seneca         NY    14224
29776601 4R Systems, Inc.                               801 Cassatt Road, Suite 202                      Berwyn              PA    19312
29776602 5055 Monroe Street, LLC                        864 8th Street,                                  Manhattan Beach     CA    90266
29776603 5501 LR LLC                                    36 Maple Place, Suite 303                        Manhasset           NY    11030
29776604 5510‐5520 Broadway LLC                         One Independent Drive, Suite 114                 Jacksonville        FL    32202
29783796 5592 Santa Teresa Blvd., LLC                   333 W. El Camino Real, Suite 240                 Sunnyvale           CA    94087
                                                        c/o Benderson Development, 7978 Cooper Creek
29783797 570 Associates III, LLC                        Blvd., Suite 100                                 University Park     FL    34201
                                                        c/o Benderson Properties Inc., 7978 Cooper
29783798 570 DAB 29, LLC                                Creek Boulevard, Suite #100                      Bradenton           FL    34201
29783799 5702 Johnston, LLC                             408 Worth Ave,                                   Lafayette           LA    70508
                                                        c/o Avison Young Nevada, 10845 Griffith Peak
29783800 5J's Vegas Rainbow LLC                         Drive, Suite 100                                 Las Vegas           NV    89135

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 3 of 134
                                                Case 24-12480-JTD              Doc 685       Filed 01/08/25        Page 19 of 149

                                                                                      Exhibit B
                                                                                Cure Parties Service List
                                                                               Served via First Class Mail

AddressID                             Name                                         Address                                  City     State Postal Code   Country
29783801 6 Pack Fitness, LLC                                  395 Mendell Street                                San Francisco       CA     94124
29783802 6 Wags, Inc.                                         900 Nina Court                                    Mendota Heights     MN     55118
29783803 601 Plaza, LLC                                       1000 Grand Central Mall                           Vienna              WV     26105
                                                              c/o Regency Centers Corporation, One
29783804 60617 Balboa Mesa, LLC                               Independent Drive, Suite 114                      Jacksonville        FL    32202‐5019
                                                              c/o Comar Properties Managing Agent, 17W220
29783805 6310 West 95th LLC                                   22nd Street, Suite 350                            Villa Park          IL    60181
29783806 66 Holyoke LLC                                       63 Myron St., Ste C                               West Springfield    MA    01089
29783807 7708 W Bell Road LLC                                 700 E Ogden Avenue, Suite 305                     Westmont            IL    60559
29776605 78 Lawrence Street LLC                               231 Hawthorne Avenue                              Yonkers             NY    10705
29776606 81‐01 37TH Avenue LLC                                60 Crossways Park Drive West, Suite 301           Woodbury            NY    11797
29776607 8246 Delaware, Inc.                                  295 Main Street, Suite 210                        Buffalo             NY    14203
                                                              c/o Comar Properties managing agent, 17W220
29776608 8600 West Golf LLC                                   22nd Street, Suite 350                            Villa Park          IL    60181
29776609 8x8, inc.                                            1350 Broadway                                     New York            NY    10018
29776610 8x8, Inc.                                            675 Creekside Way                                 Campbell            CA    95008

29776611 9‐27 NATICK LLC                                      c/o Crosspoint Associates, Inc., 300 Third Avenue Waltham             MA    02451
                                                              c/o Benderson Development, 7978 Cooper Creek
29776612 95 NYRPT, LLC                                        Blvd, Suite 100                                   University Park     FL    34201
                                                              c/o Benderson Development, Attn: Lease
29776613 95 NYRPT, LLC                                        Administration, 570 Delaware Ave.                 Buffalo             NY    14202
29776614 A & B Properties Hawaii, LLC, Series R               220 South King St., Suite 1800                    Honolulu            HI    96813
29776615 A C Grace CO                                         111 East Gilmer Street                            Big Sandy           TX    75755
29783808 A Guerrero, LLC                                      825 W. Chicago Ave.                               Chicago             IL    60642
29783809 A Pet's Life, LLC                                    16915 Turkey Point Street                         San Antonio         TX    78232‐1830
29783810 A&C Snacks LLC                                       935 Gravier St, 10th Floor                        New Orleans         LA    70112
29783811 A&F Distributors 786, Inc.                           15 Stirrup Lane                                   Salonga             NY    11768
29783812 A&G Realty Partners, LLC                             445 Broadhollow Road, Suite 410                   Melville            NY    11747
29783813 A/P Recovery, Inc.                                   975 Johnnie Dodds Blvd.                           Mt. Pleasant        SC    29464
            A+ Secure Packaging, LLC, d/b/a Cardinal Health
29783814 Packaging Solutions                                  339 Mason Road                                    LaVergne            TN    37086

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                       Page 4 of 134
                                             Case 24-12480-JTD          Doc 685       Filed 01/08/25      Page 20 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                            Name                                   Address                                 City    State Postal Code    Country
29783815 A360 Enterprises, LLC                        4600 W. 77th Street Suite 295                    Edina               MN     55435
29783816 a360 Media                                   4 New York Plaza, 2nd Floor                      New York            NY     10004
29783817 AAD:FITCH, LLC                               16435 N. Scottsdale Road, Suite 195              Scottsdale          AZ     85254
29783818 Aanjaney LLC                                 11132 Ashbury Meadows Drive                      Dayton              OH     45458
29783819 Abbott Laboratories Inc.                     3300 Stelzer Road                                Columbus            OH     43219
                                                      c/o Carl M. Freeman Companies, 111 Rockville
29783820 Aberdeen   Marketplace,    LLC               Pike, Suite 1100                                 Rockville           MD    20850
         Aberdeen Oklahoma Assoc & Pasan Trustc/o Kin c/o Kin Properties Inc., 185 NW Spanish River
29776616 Properties                                   Blvd., Suite 100                                 Boca Raton          FL    33431
                                                      c/o TIG Real Estate Services, 901 South MoPac,
29776617 Aberfeldy Properties, Inc.                   Suite 285                                        Austin              TX    78746
29776618 Abhishek Singla (Entity Pending)             21341 Abbeyfields Drive                          Ashburn             VA    20147
29776619 Abra  Health, LLC                            103  Eisenhower Parkway, Suite 102               Roseland            NJ    07068
29783700 Absorb Software Inc.                         #2500 ‐ 685 Centre St. S                         Calgary             AB    T2G 1S5    Canada
29776620 ACA‐SC  Limited  Partnership                 P.O. Box 52428                                   Atlanta             GA    30355
29776621 Acceleration Partners, LLC                   16 Rae Ave                                       Needham             MA    02492
29776622 Access  Development                          1012 W. Beardsley Place                          Salt Lake City      UT    84119
29776623 Access Staffing, LLC                         360 Lexington Avenue                             New York            NY    10017
29776624 Accounting   Principals, Inc.                DEPT  CH 14031                                   Palatine            IL    60055‐4031
29776625 Accruent, LLC                                11500 Alterra Pkwy Suite 110                     Austin              TX    78758
29776626 Accruent,  LLC                               10801‐2 N. Mopac Expressway, Suite 400           Austin              TX    78759‐5458
29783821 Accruent, LLC                                10801‐2 N. Mopac Expressway, Suite 400           Austin              TX    78759
29783822 AccuFitness  LLC                             P.O. Box 4411                                    Greenwood Village   CO    80155‐4411
29783823 Ace Asphalt of Arizona, Inc.                 3030 South 7th St                                Phoenix             AZ    85040
29783824 Ace Host                                     412 E Madison St                                 Tampa               FL    33602
29783825 Ackerman Law Firm, PA                        3300 Shopton Road                                Charlotte           NC    28217
29783826 ACS  Fort Smith  Pavilion AR,  LLC           350  Pine Street, Suite 800                      Beaumont            TX    77701
29783827 Action Staffing Group                        1137 ELIZABETH AVENUE                            Elizabeth           NJ    07201
29783828 Active Interest Media                        300 N. Continental Blvd., Suite 650              El Segundo          CA    90245
29783829 ACTIVLAB, LLC                                119 S. Main Street Suite 500                     Memphis             TN    38103
29783830 Acuative  Corporation                        27460   Network Place                            Chicago             IL    60673‐1274


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                 Page 5 of 134
                                              Case 24-12480-JTD            Doc 685       Filed 01/08/25     Page 21 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                    Address                                 City    State Postal Code         Country
29783831 Acxiom Corporation                              301 East Dave Ward Drive                         Conway             AR     72032‐7114
29783832 Adaptogen Science                               11601 Biscayne Blvd Suite 201                    Miami              FL     33181
29783833 Adaptogen Science, LLC                          11601 Biscayne Blvd Suite 201                    Miami              FL     33181
29776627 Adapty Inc.                                     101 Carnegie Center STE 102                      Princeton          NJ     08540
29776628 Addison Group, LLC                              7076 SOLUTIONS CENTER                            Chicago            IL     60677
29776629 Adlucent                                        PO BOX 25277                                     OVERLAND PARK      KS     66225
29776630 Adlucent, LLC                                   2130 S. Congress                                 Austin             TX     78704
29776631 ADM / Matsutani LLC                             4666 Faries Parkway                              Decatur            IL     62521
29776632 ADP                                             PO BOX 9001007                                   Louisville         KY     40290
29776633 ADP, Inc.                                       One ADP Boulevard                                Roseland           NJ     07068
29776634 AdRoll, Inc.                                    972 Mission Street, 3rd Floor                    San Francisco      CA     94103
29776635 Aduro Products LLC                              250 Liberty Street                               Metuchen           NJ     08840
29776636 Advance Trailer Systems, Inc.                   5160 Commerce Road                               Richmond           VA     23234
29776637 Advanced Business Solutions                     801 W Big Beaver Rd Ste 300                      Troy               MI     48084
29776638 Advanced Construction                           2201 Babcock Blvd                                Pittsburgh         PA     15237
         Advanced Food Concepts (AFC) d/b/a Gu Energy
29783834 Labs                                            1204 10th St                                     Berkeley           CA    94710
29783835 Advanced Molecular Labs, LLC.                   21 Bennetts Road Ste 101                         East Setauket      NY    11733
29783836 Advanced Muscle Science                         148 SW Hami Han St.                              Portland           OR    97239
29783837 Advanced Nutrient Science Intl.                 10540 72nd Street                                Largo              FL    33777
29783838 Advanced Nutrition by Zahler Inc.               50 Lawrence Avenue                               Brooklyn           NY    11230
         Advantage Sales & Marketing d/b/a Advantage
29783839 Media                                           77 North Washington St, 8th Floor                Boston             MA    02114
         Advantage Sales & Marketing LLC d/b/a Brand
29783840 Connections                                     P.O. Box 744347                                  Atlanta            GA    30374

29783841 Advantage Sales & Marketing, LLC d/b/a Adlucent P.O. Box 744347                                  Atlanta            GA    30374

29783842 Advantage Sales and Marketing LLC dba Adlucent P.O. Box 744347                                   Atlanta            GA    30374‐4347
29783843 Advantax Inc.                                  2500 Westfield Dr. Building 1‐202                 Elgin              IL    60124
29783844 AdvoCare International, L.P.                   2801 Summit Ave.                                  Plano              TX    75074
29776564 Adyen N.V.                                     Simon Carmiggeltstraat 6‐50                       Amsterdam                               The Netherlands

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 6 of 134
                                              Case 24-12480-JTD        Doc 685        Filed 01/08/25        Page 22 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                  City     State Postal Code        Country
                                                       Select Strategies Realty, 400 Techne Center
29783845 AE Holdings III, LLC                          Drive, Suite 320                                  Milford             OH     45150
         AEI Accredited Investor Fund VI LLP and AEI
29776639 National  Income Property Fund VII LP         1300 Wells Fargo Place, 30 East Seventh Street    Saint Paul          MN     55101
29776640 AEI National Income Property Fund VII LP      4502‐4508 West Wendover Ave                       Greensboro          NC     27409
29776641 AEI National Income Property Fund VII LP      2520 Sardis Road North Suite 100,                 Charlotte           NC     28227
29776642 AEI National Income Property Fund VII LP      30 East Seventh Street, Suite 1300                Saint Paul          MN     55101
29776643 AEI National Income Property Fund VII, LP     1300 Wells Fargo Place                            Saint Paul          MN     55101
29776644 AEI National Income Property Fund VIII LP     1300 Wells Fargo Place                            Saint Paul          MN     55101
29776645 AEI National Income Property Fund VIII LP     30 East Seventh Street , Suite 1300               Saint Paul          MN     55101
29776646 Aero Automatic Sprinkler Co                   21605 N Central Ave                               Phoenix             AZ     85024
29776647 AEROTEK SCIENTIFIC, LLC.                      7301 Parkway Dr.                                  Hanover             MD     21076
29776648 Aerotek, Inc.                                 7301 Parkway Dr.                                  Hanover             MD     21076
29776649 Aetea Information Technology Inc              460 NORRISTOWN ROAD, SUITE 100                    Blue Bell           PA     19422
29783846 Affinity Resources, LLC                       941 Alhambra Avenue,                              Martinez            CA     94553
29783847 AFI Greer LLC                                 1901 Avenue of the Stars, Suite 630               Los Angeles         CA     90067
29783848 AfterShokz LLC                                6311 Fly Road                                     East Syracuse       NY     13057
                                                       3a. Avenida 13‐78, Zona 10. Torre Citibank en
29783741 AFUS, S.A.                                    Intercontinental Plaza, Nivel 12                  Guatemala City             1010          Guatemala
29783849 Afzal Lokhandwala (Entity Pending)            2027 Mackenzie Place                              Wheaton             IL     60187
                                                       Income Properties of Raleigh Inc., 1049 Dresser
29783850 AG Cameron Shops LLC                          Court                                             Raleigh             NC     27609
29783851 Agilence, Inc.                                309 Fellowship Road ‐ Suite 200                   Mt. Laurel          NJ     08054
29783852 Agilysys, Inc.                                915 CORNWALL RD                                   SANFORD             FL     32773
29783853 Agropur MSI, LLC                              2340 Enterprise Avenue                            La Crosse           WI     54603
29783854 AHN International Inc dba Amazing Herbs       2709 Faith Industrial Dr Ste 500                  Buford              GA     30518
29783855 AIDP, Inc.                                    19535 East Walnut Drive South                     City of Industry    CA     91748
29783856 Airport Square NV,LLC                         2027 Mackenzie Place                              Wheaton             IL     60187
29783857 AIT Worldwide Logistics Inc.                  PO BOX 66730                                      CHICAGO             IL     60666
29776650 AIT Worldwide Logistics, Inc.                 701 N. Rohlwing Road                              Itasca              IL     60143
29776651 Aiya Company Limited                          386 Beech Avenue, Unit B3                         Torrance            CA     90501


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 7 of 134
                                              Case 24-12480-JTD         Doc 685           Filed 01/08/25      Page 23 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                             Name                                    Address                                 City      State Postal Code       Country
29776652 AJA Turnpike Properties                         2 Bellmore Road,                                  East Meadow         NY     11554
29783701 AJB Software Design Inc.                        5255 Solar Drive                                  Mississauga         ON     L4W 5B8     Canada
29776653 Akamai Technologies, Inc.                       8 Cambridge Center                                Cambridge           MA     02142
29776654 Akamai Technologies, Inc.                       8 Cambridge Center                                New York            NY     10087‐6590
29776655 Aker BioMarine Antarctic US, Inc.               312 Amboy Avenue, Suite 1                         Metuchen            NJ     08840
29776656 Akeso Health Sciences, LLC                      4607 Lakeview Canyon # 561                        Westlake Village    CA     91361
29776657 Al Sports Nutrition                             5337 N Socrum Loop Rd #189                        Lakeland            FL     33809
29776658 AL/Fred Food Enterprises, LLC                   G‐7750 South Saginaw St., Suite #5                Grand Blanc         MI     48439
29776659 Ala Moana Anchor Acquisition, LLC               110 N. Wacker Dr.,                                Chicago             IL     60606
29776660 Alaffia Sustainable Skin Care                   PO Box 11143                                      Olympia             WA     98508
29783858 Alani Nutrition LLC                             7201 Intermodal Drive Ste A                       Louisville          KY     40258
                                                         c/o Regency Centers Corporation, One
29783859 ALBA VILLAGE REGENCY                            Independent Drive, Suite 114                      Jacksonville        FL    32202
29783860 Albany Management                               4 Computer Drive West                             Albany              NY    12205
29783861 Albert Hans, LLC                                7240 West Foster Avenue                           Chicago             IL    60656
29783862 Alclear Healthpass, LLC                         65 E. 55th Street, 17th Floor                     New York            NY    10022
29783863 AlejCo Holdings, Inc.                           2081 Paseo Ynez                                   San Dimas           CA    91773
29783864 Alera Group Inc. & Subsidiaries                 3 Parkway North, Suite 500                        Deerfield           IL    60015
29783865 Aliso Medical Properties LLC                    9070 Irvine Center Drive, Suite 200               Irvine              CA    92618
29783866 Alkemist Labs                                   12661 Hoover St.                                  Garden Grove        CA    92841
         All American Pharmaceutical & Natural Foods
29783867 Company                                         2376 Main Street                                  Billings            MT    59105
         All American Pharmaceutical & Natural Foods
29783868 Corporation                                     2376 Main Street                                  Billings            MT    59105
29783869 All Natural Distributors Inc.                   11 Perry Drive                                    Foxboro             MA    02035
29783870 All Terrain                                     20 North Main Street,                             NEWPORT             NH    03773
29776661 Allera Health Products                          16935 West Bernardo Drive, Suite 224              San Diego           CA    92127
29776662 Allergy Research Group LLC                      2300 North Loop Rd                                Alameda             CA    94502
29776663 Alliance‐March III LLC                          24001 Telegraph Rd.,                              Southfield          MI    48033
29783702 Allmax Nutrition Inc + HBS International Corp   4576 Yonge St, Ste 509                            Toronto             ON    M4N 6N9     Canada
29776664 AllRetailJobs.com                               17501 Biscayne Blvd, Suite 530                    North Miami Beach   FL    33160


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 8 of 134
                                              Case 24-12480-JTD            Doc 685        Filed 01/08/25     Page 24 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                      Name                                            Address                               City      State Postal Code   Country
         AllWright Franchise Consulting, Inc DBA The You
29776665 Network                                           93 Hayden Rowe St                               Hopkinton           MA    01748
29776666 Almased USA, Inc.                                 2861 34th St S                                  St. Petersburg      FL    33711
29776667 Aloe Life International, Inc.                     11657 Riverside Dr. #169                        Lakeside            CA    92040
29776668 Aloft Beachwood                                   1010 Eaton Boulevard                            Beachwood           OH    44122
29776669 Alpha Solutions USA LLC                           120 East 23rd Street                            New York            NY    10010
29776670 Alpine Access                                     1767 Denver West Blvd Ste A                     Golden              CO    80401
29776671 Alpine Access, Inc.                               1120 Lincoln Street, Suite 1400                 Denver              CO    80203
29783871 Alpine Income Property OP, LP                     1140 N. Williamson Blvd., Suite 140             Daytona Beach       FL    32114
29783872 Alta Health Products INC                          300 Main St                                     Idaho City          ID    83631
29783873 Alteya Inc                                        1846 South Elmhurst Road                        Mount Prospect      IL    60056
29783874 Alturas Metro Towne Center LLC                    500 E. Shore Dr, Suite 120                      Eagle               ID    83616
29783875 Always Young LLC                                  95 Old Indian De                                Milton              NY    12547
29783876 AM Navigator LLC                                  PO Box 2707                                     Stafford            VA    22555
29783877 AMA Generation Properties Rio LLC                 9702 Gayton Rd, PMB #127                        Dumbarton           VA    23238

29783878 Amacai Information Corporation d/b/a Localeze     8010 Towers Crescent Drive, Fifth Floor         Vienna              VA    22182

29783879 Amazon Preservation Partners, Inc. dba Zola Acai 1501A Vermont Street                             San Francisco       CA    94107
29783880 Amazon Services LLC                              PO BOX 81226                                     Seattle             WA    98108
29783881 Ambrosia Nutraceuticals                          1630 Superior Ave Suite D                        Costa Mesa          CA    92627
29783882 Amer Hawatmeh (Entity Pending)                   9430 Brandon Court                               Los Angeles         CA    91325
29783883 American Biologics                               1180 Walnut Ave                                  Chula Vista         CA    91911
29776672 American Cargo Express, Inc.                     2345 Vauxhall Road                               Union               NJ    07083
29776673 American Draft  Systems  LLC                     45 Columbia Ave                                  Thornwood           NY    10594
29776674 American First Finance Inc.                      8585 N. Stemmons Fwy, Suite N‐1000               Dallas              TX    75247
29776675 American Forests                                 1220 L Street, NW, Ste. 750                      Washington          DC    20005
29776676 American Halal Co Inc.                           1111 Summer Street, 5th Floor                    Stamford            CT    06905
29776677 AMERICAN   NUTRITION,   INC.                     2813 Wall Avenue                                 Ogden               UT    84401
29776678 American Plaza Group, LLC                        106 Satsuma Drive                                Altamonte Springs   FL    32714
29776679 American Specialty  Health Fitness, Inc.         10221 Wateridge Circle                           San Diego           CA    92121


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 9 of 134
                                              Case 24-12480-JTD        Doc 685       Filed 01/08/25     Page 25 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                               City      State Postal Code   Country
29776680 America's Charities                           14150 Newbrook Drive, Suite 110                Chantilly            VA     20151
29776681 America's Finest Inc.                         20 Lake Drive                                  East Windsor         NJ     08520
29776682 Amin Sarfani (Entity Pending)                 22925 Angostura                                San Antonio          TX     78261
29783884 AMPC, Inc. (DBA Essentia Protein Solutions)   2425 SE Oak Tree Court                         Ankeny               IA     50021
29783885 Amplify Snack Brands                          500 W. 5th St, Suite 1350                      Austin               TX     78701
29783886 Anabol Naturals                               1550 Mansfield Street                          Santa Cruz           CA     95062
29783887 Analytics Pros, Inc.                          1546 NW 56th Street                            Seattle              WA     98107
29783888 Anchor Chattanooga, LLC                       3035 Rhea County Highway, Suite 150            Dayton               TN     37321
29783889 Anchor Computer, Inc.                         1900 New Hwy                                   Farmingdale          NY     11735
29783890 Ancient Naturals                              1540 International Pkwy, Suite 2000            Lake Mary            FL     32746
29783891 ANDALOU NATURALS                              7250 REDWOOD BLVD, SUITE 208                   NOVATO               CA     94945
29783892 Anderson Global Group, LLC                    2030 Main Street Suite 430                     Irvine               CA     92614
29783893 Andover Inc. dba IQ Workforce                 51 REMINGTON CIRCLE                            Princeton Junction   NJ     08550
29783894 Andrea Marchese                               535 East 78th Street 4A                        New York             NY     10075
29783895 Andrew Arcangel                               576 Fifth Avenue, Suite 903                    New York             NY     10036
29783896 Andrew Zafir                                  935 Broadway                                   New York City        NY     10010
29776683 Angeion Group LLC                             1801 MARKET STREET, SUITE 660                  Philadelphia         PA     19103
29776684 Angie's Artisan Treats, LLC                   151 Good Counsel Drive, Suite 100              Mankato              MN     56001
                                                       c/o Newcastle Retail Management LLC, 150
29776685 Angle Gully LLC                               North Michigan Ave.                            Chicago              IL    60601
29776686 Anne‐Elise Nutrition, LLC                     PO BOX 434                                     TENANTS HARBOR       ME    04860
29776687 Annona Company DBA Earnest Eats               444 S. Cedros Ave., Ste. 175                   Solana Beach         CA    92075
29776688 Ansell                                        163 Ralston Rd.                                Sarver               PA    16055
29776689 Answers Corporation                           6665 Delmar Blvd., Ste. 3000                   Saint Louis          MO    63130
29776690 Anti‐Aging Essentials Inc.                    PO Box 715                                     Carnegie             PA    15106
29776691 AOG Enterprises, LLC                          11173 Loveland Trace Court                     Loveland             OH    45140
29776692 Apax OTC Business Development, LLC            4833 Front Street, #415                        Castle Rock          CO    80104
29776693 APC Plus, LLC                                 2204 Camden Circle                             Southlake            TX    76092
29783897 Apex Systems                                  3750 COLLECTIONS DRIVE                         Chicago              IL    60629
29783898 Apex Wellness Group, LLC                      14362 N Frank Lloyd Wright Blvd., Suite 1000   Scottsdale           AZ    85260
29783899 APL Ventures I, LLC                           16915 Turkey Point Street                      San Antonio          TX    78232‐1830


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 10 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 26 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                                   City    State Postal Code   Country
29783900 Apollo Story                                 72 Pheasant Run                                   Millwood            NY     10546
29783901 Applied Nutriceuticals, Inc.                 8112 Statesville Road, Suite G                    Charlotte           NC     28269
29783902 Applied Sciences LLC                         1511 N Hayden Rd Suite 160‐327                    Scottsdale          AZ     85260
29783903 Aqua ViTea LLC                               153 Pond Lane                                     Middlebury          VT     05753
29783904 Aquent LLC                                   PO BOX 414552                                     Boston              MA     02241
29783905 ARAMARK UNIFORM SERVICES                     115 North First Street                            Burbank             CA     91502
                                                      c/o AR Global Investments LLC, 650 5th Avenue,
29783906 ARC CPFAYNC001, LLC                          30th Floor                                        New York City       NY    10019
29783907 ARC MCLVSNV001, LLC                          c/o American Realty Capital, 650 Fifth Avenue     New York City       NY    10019
29783908 ARC TSKCYMO001, LLC                          405 Park Ave., 15th Floor                         New York City       NY    10022
29783909 Arcadia Hub Holdings I, LLC                  1620 Fifth Ave., Suite 770                        San Diego           CA    92101
29776694 Archive Systems, Inc.                        39 Plymouth Road                                  Fairfield           NJ    06825
29776695 Arctic Ease, LLC                             200 Schell Lane Suite 204                         Phoenixville        PA    19460
29776696 ArcVision Inc.                               1950 Craig Road, Suite 300                        St. Louis           MO    63146‐4106
29776697 ArcVision, Inc.                              1950 Craig Road                                   St. Louis           MO    63146
29776698 Arden Plaza Associates, LLC                  1333 Howe Avenue, Suite 202                       Sacramento          CA    95825
                                                      c/o Global Net Lease Inc., 650 5th Avenue, 30th
29776699 ARG LSSALMD001, LLC                          Floor                                             New York City       NY    10019
29776700 Arizona Generator Technology, Inc            7901 N 70th Ave                                   Glendale            AZ    85303
29776701 Arizona Nutritional Supplements              210 South Beck Avenue                             Chandler            AZ    85224
29776702 Arizona Nutritional Supplements LLC          210 South Beck Avenue                             Chandler            AZ    85226
29776703 Arizona Nutritional Supplements, Inc.        210 S. Beck Avenue                                Chandler            AZ    85224
29776704 Arizona Nutritional Supplements, LLC         6850 West Morelos Place                           Chandler            AZ    85226
                                                      c/o DeVille Developments, 3951 Convenience
29783910 Arlington Ridge Market Place, LLC            Circle NW, Suite 301                              Canton              OH    44718

29783911 Arsenal Plaza Associates, LLC                c/o Nigro Companies, 20 Corporate Woods Blvd      Albany              NY    12211
29783912 Arthur Andrew Medical                        8350 E. Raintree Dr., #101                        Scottsdale          AZ    85260
29783913 Arvig LLC                                    2750 NE 185 Street, Suite 306                     Miami               FL    33180
29783914 ASB Resources                                4365 Route 1 S, Suite 205                         Princeton           NJ    08540
29783915 ASB Resources                                4390 Route 1 N, Suite 222                         Princeton           NJ    08540


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 11 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 27 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                  Address                                 City    State Postal Code            Country
29783916 ASB Resources LLC                            4365 ROUTE 1, SUITE 102                          Princeton           NJ     08540
29783917 Ascential Inc.                               1801 Porter Street                               Baltimore           MD     21230
29783918 ASG Group, LLC                               9818 Ricaby Drive                                Houston             TX     77064
                                                      c/o Centennial Real Estate Management LLC,
29783919 Ashley Park Property Owner LLC               8750 N. Central Expressway, Suite 1740           Dallas              TX    75231
29783920 Aspen Rt 9 LLC                               12 Lincoln Boulevard, Suite 207                  Emerson             NJ    07630
29783921 Aspire Brands, Inc.                          500 North Michigan Ave, Suite 600                Chicago             IL    60611
29783922 Associated Production Music LLC              5700 WILSHIRE BLVD, SUITE 550                    Los Angeles         CA    90036
29776556 Associazione Friend of the Sea               Via Sant’Antonio Maria Zaccaria 3                Milan                     20122      Italy
29776705 Assured Environments                         45 Broadway 18th Floor                           New York            NY    10006
29776706 AST Sports Science                           120 Capital Dr                                   Golden              CO    80439
29776707 Aston Carter, Inc.                           3689 COLLECTIONS DRIVE                           Chicago             IL    60629
29776708 At Last Naturals                             401 Columbus Ave                                 Valhalla            NY    10560
29776709 AT&T Corp.                                   One AT&T Way                                     Bedminster          NJ    07921‐0752
29776710 A‐Team Leasing, LLC                          2232 Kodiak Drive NE                             Atlanta             GA    30345
29776711 ATH Sports Nutrition, LLC                    2827 Kalawao Street                              Honolulu            HI    96819
29776712 Athlete Certified Nutrition                  201 Old Country Rd Suite 105                     Melville            NY    11556
29776713 Athletic Edge Nutrition                      3109 Grand Ave 280                               Miami               FL    33431
29776714 Atkins Nutritionals, Inc.                    1050 17th Street, Suite 1500                     Denver              CO    80265
29776715 Atkins Nutritionals, Inc.                    3212 Shadewood Drive                             Crystal Lake        IL    60014
29783923 atlantic Candy Co                            115 Whetstone Place,                             SAINT AUGUSTINE     FL    32086
                                                      c/o Phillips Edison & Company, 11501 Northlake
29783924 Atlantic Plaza Station LLC                   Drive                                            Cincinnati          OH    45249

                                                      c/o Phillips Edison & Company, 11501 Northlake
29783925 Atlantic Plaza Station LLC                   Drive, Attn: Lease Administration Department     Cincinnati          OH    45249
29783926 Atlas Copco Compressors LLC                  300 Technology Center Way Ste. 550               Rock Hill           SC    29730
29783927 Attentive Mobile Inc.                        221 River Street                                 Hoboken             NJ    07030
29783928 AudioEye, Inc.                               5210 E. Williams Circle Suite 750                Tucson              AZ    85711
29776555 Aurea Biolabs Private Limited                G‐285, Main Avenue, Panampilly Nagar             Cochin, Kerala            682036         Indian
29783929 Auroma International                         1100 E Lotus Dr Bld 3                            Silver Lake         WI    53170


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 12 of 134
                                             Case 24-12480-JTD        Doc 685       Filed 01/08/25     Page 28 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                 Address                              City      State Postal Code   Country
29783930 Aurora Corner, LLC                          13500 Aurora Avenue North, Suite A,             Seattle            WA     98133
29783931 Aurus, Inc.                                 1 Edgewater Place, Suite 200                    Norwood            MA     02062
29783932 Aurus, Inc.                                 One Edgewater Drive, Suite 200                  Norwood            MA     02062
29783933 Austin Pets, LLC                            2295 Spring Rose Road                           Verona             WI     53593
29783934 Authentic Alaska, LLC                       9301 Glacier Hwy, Ste 200                       Juneau             AK     99801
29783935 Avalara, Inc.                               Dept CH 16781                                   Palatine           IL     60055
29776716 Avalara, Inc.                               1100 2nd Ave Suite 300                          Seattle            WA     98101
29776717 Avalon Risk Management                      200 N. Martingale Rd                            Schaumburg         IL     60173
29776718 Aveni‐Chardon, Ltd.                         6690 Beta Drive, Suite 220, Mayfield Village    Cleveland          OH     44143

29776719 Aveni‐Chardon, Ltd.                         RHM Real Estate Group, 5845 Landerbrook Drive Lyndhurst            OH    44124
29776720 Avenue 34, LLC                              22651 E Twin Acres Drive                      Queen Creek          AZ    85142
29776721 AVMH Ventures of Albany, LLC                2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776722 AVMH Ventures of Altamonte Springs, LLC     2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776723 AVMH Ventures of Baytowne, LLC              2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776724 AVMH Ventures of Bluefield, LLC             2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776725 AVMH Ventures of Brighton, LLC              2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776726 AVMH Ventures of Bristol, LLC               2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783936 AVMH Ventures of Camarillo, LLC             2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783937 AVMH Ventures of Casselberry, LLC           2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783938 AVMH Ventures of Charlottesville, LLC       2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783939 AVMH Ventures of Chattanooga, LLC           2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783940 AVMH Ventures of Clearwater, LLC            2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783941 AVMH Ventures of Concord Mills, LLC         2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783942 AVMH Ventures of Concord, LLC               2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783943 AVMH Ventures of Covington, LLC             2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783944 AVMH Ventures of Durham, LLC                2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783945 AVMH Ventures of Gainesville, LLC           2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783946 AVMH Ventures of Greece, LLC                2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29783947 AVMH Ventures of Greer, LLC                 2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707
29776727 AVMH Ventures of Groton, LLC                2545 Lafayette Plaza Drive, Suite B           Albany               GA    31707


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 13 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25      Page 29 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                               City     State Postal Code       Country
29776728 AVMH Ventures of Hickory, LLC                2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776729 AVMH Ventures of Lilburn, LLC                2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776730 AVMH Ventures of Manchester, LLC             2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776731 AVMH Ventures of Manhattan, LLC              2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776732 AVMH Ventures of North Durham, LLC           2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776733 AVMH Ventures of Olathe, LLC                 2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776734 AVMH Ventures of Pinellas Park, LLC          2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776735 AVMH Ventures of Richmond IN, LLC            2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776736 AVMH Ventures of Sacramento, LLC             2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29776737 AVMH Ventures of Sarasota, LLC               2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783948 AVMH Ventures of Virginia Beach, LLC         2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783949 AVMH Ventures of Webster, LLC                2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783950 AVMH Ventures of West Hartford, LLC          2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783951 AVMH Ventures of West Union, LLC             2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783952 AVMH Ventures of Wethersfield, LLC           2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783953 AVMH Ventures of Wilmington, LLC             2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783954 AVMH Ventures of Woodland, LLC               2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783955 AVMH Ventures, LLC                           2545 Lafayette Plaza Drive, Suite B             Albany             GA     31707
29783956 AVR CPC Associates, LLC                      One Executive Boulevard,                        Yonkers            NY     10701
29783957 AW22 Franchise LLC                           8354 Cupertino Heights Way                      Las Vegas          NV     89178
29783703 AWAKE Corporation                            700‐10 Kingsbridge Garden Cir                   Mississauga        ON     L5R 3K6     Canada
29783958 AWPets2 Franchise LLC                        8354 Cupertino Heights Way                      Las Vegas          NV     89178
29783959 Axcess Global LLC, DBA Real Ketones, LLC     300 West Jennings St., Suite 201                Newburgh           IN     47630
29776738 Axe and Sledge Supplements, Inc.             1909 New Texas Road                             Pittsburgh         PA     15239
29776739 Axis Labs, Inc.                              9233 Park Meadows Dr. #46                       Lone Tree          CO     80124
29776740 Ayush Herbs, Inc.                            2239 152 Ave NE                                 Redmond            WA     98052
                                                      c/o Federal Realty Investment Trust, 909 Rose
29776741 Azalea Joint Venture, LLC                    Avenue, Suite #200                              Rockville          MD    20852
29776742 Azzarello Family Partners LP                 542 Socorro Court,                              Reno               NV    89511
29776743 B & B Pet Products, LLC                      1611 E. Dove Rd.                                Southlake          TX    76092
29776744 B Pawsitive LLC                              1282 Winfield Court                             Greenfield         IN    46143


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 14 of 134
                                              Case 24-12480-JTD      Doc 685       Filed 01/08/25      Page 30 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                             Name                                 Address                                City   State Postal Code   Country
                                                      c/o BH Properties, 11111 Santa Monica Blvd.,
29776745 B.H. 3021‐3203 South IH35, LLC               Suite 600                                      Los Angeles         CA    90025
29776746 B33 Ashley Furniture Plaza II LLC            601 Union Street, Suite 1115                   Seattle             WA    98101
29776747 B33 Metro Crossing II LLC                    601 Union Street, Suite 1115                   Seattle             WA    98101
29776748 B33 Wrangleboro II LLC                       601 Union Street, Suite 1115                   Seattle             WA    98101
29783960 B33 Yuma Palms III LLC                       601 Union Street, Suite 1115                   Seattle             WA    98101
29783961 Babo Botanicals LLC                          14 Harwood Ct. Suite 425                       Scarsdale           NY    10583
29783962 Babson Macedonia Partners, LLC               M.E. Osborne Properties                        Mentor              OH    44060
                                                      c/o Rettner Building Management Corporation, 6
29783963 BADA CT, LLC                                 Fairfield Blvd #1                              Ponte Vedra Beach   FL    32082
29783964 Baesman Group, Inc.                          4477 Reynolds Rd                               Hilliard            OH    43026
29783965 Bag Arts LLC                                 20 WEST 36TH, 5TH FLOOR                        New York            NY    10018
29783966 Bamboo Rose LLC                              17 Rogers Street                               Gloucester          MA    01930
29783967 Banana Machine, LLC                          1809 Avenida Alturas Northeast                 Albuquerque         NM    87110
29783968 Bank of America                              PO BOX 402742                                  Atlanta             GA    75284‐2425
29783969 Bank of America                              P.O. Box 27128                                 Concord             CA    75284‐2425
29783970 Barbara Friedbauer and MACK 8927, LLC        82 Agassiz Ave                                 Belmont             MA    02478
29783971 Barbara Stacy Associates, Inc.               1360 CLIFTON AVE, #90                          Clifton             NJ    07013
29783972 Barclay Brand Ferdon                         2401 South Clinton Ave                         South Plainfield    NJ    07080
29776749 Barclay Fleet Service                        2401 South Clinton Ave                         South Plainfield    NJ    07080
29776750 Barclay Square LLC                           38505 Woodward Avenue, Suite 280               Bloomfield Hills    MI    48304
29776751 Bargreen‐Ellingson, Inc.                     6626 TACOMA MALL BLVD                          Tacoma              WA    98409
29776752 Barlean 5                                    4935 Lake Terrell Road,                        FERNDALE            WA    98248
29776753 Barlean's Organic Oils                       4936 Lake Terrell Road                         Ferndale            WA    98248
29776754 Barnana                                      302 Washington St. Suite 150                   San Diego           CA    92103
29776755 Barndad Innovative Nutrition, LLC            150 Lake Drive Suite 101                       Wexford             PA    15090
29776756 Barwick Group                                330 Ratzer Road, Suite A‐4                     Wayne               NJ    07470
29776757 Basic Research, LLC                          5742 W. Harold Gatty Drive                     Salt Lake City      UT    84116
29776758 BASK Pet Supply, LLC                         6609 Yawkey Way Northeast                      Albuquerque         NM    87113
29776759 Batallure Beauty, LLC                        150 East 52nd Street                           New York            NY    10022
29776760 Battle Creek Pets, LLC                       5062 Colony Woods Dr.                          Kalamazoo           MI    49009


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                             Page 15 of 134
                                              Case 24-12480-JTD            Doc 685        Filed 01/08/25      Page 31 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                             Name                                     Address                                 City     State Postal Code           Country
29783973 Bauer & O'Callaghan LLC                         c/o Kiersey & McMillan Inc., P.O. Box 1696       Beaverton            OR     97075
29783974 Bazaarvoice, Inc.                               10901 Stonelake Blvd.                            Austin               TX     78759
29783975 bb BHF Stores LLC                               552 Wisonsin Street                              San Francisco        CA     94107
                                                         c/o Cartessa Real Estate Partners, 145 S.
29783976 BC of  St. Lucie West  LLC                      Livernois #310                                   Rochester            MI    48307
                                                         c/o American Asset Corporation, 5950 Fairview
29783977 BC Retail, LLC                                  Road, Suite 800                                  Charlotte            NC    28210
29783978 BCDPF   Radar   Distribution Center LLC         c/o Ares, 1200  17th  Street, Suite 2900         Denver               CO    80202
29783979 BCP Investors, LLC                              1500 Whetstone Way, Suite 101                    Baltimore            MD    21230
29783980 BDG Kendall 162 LLC                             2151 S Le Jeune Road, Suite 300                  Miami                FL    33134
29783981 BE Pets, LLC                                    120 Palencia Village Drive, PMB 105 Box 177      St. Augustine        FL    32095
29783982 Be Well   Nutrition, Inc.                       629 Camino   De  Los Mares,   #315               San Clemente         CA    92673
29783983 Beach Fire, Corp dba Tahiti Trader              7111 Arlington Ave. Ste F                        Riverside            CA    92503
29783984 Beatrice Home Fashions, Inc.                    151 Helen Street                                 South Plainfield     NJ    07080
29776761 Beaumont Products, Inc.                         1560 Big Shanty Drive                            Kennesaw             GA    30144
29776762 Beautyfit                                       1000  NW   105th  Ave                            Plantation           FL    33322
29776763 Beavex, Inc.                                    PO BOX 637997                                    Cincinnati           OH    45263
                                                         Attn: Jeffrey B. Gurian, 513 Central Avenue, 4th
29776764 Becker   Gurian                                 Floor                                            Highland Park        IL    60035
29776765 Become, Inc.                                    640 W California Ave, Suite 110                  Sunnyvale            CA    94086
29776766 Beefeaters Holding Company                      5801 Westside Ave.                               North Bergen         NJ    07047
         Beijing Tang‐An Nutrition & Healthcare Products A‐14‐G, Chengming Building, No. 2 Xizhimen Nan
29776545 Co., Ltd.                                       Street                                           Beijing                    100035         China
29776767 Belcam   Inc.                                   27 Montgomery     Street                         Rouses Point         NY    12979
                                                         c/o Robert L. Stark Enterprises Inc., 629 Euclid
29776768 Belden Park JV LLC                              Avenue, Suite 1300                               Cleveland            OH    44114
29783704 Bell Lifestyle Products Inc.                    3164 Pepper Mill Ct.                             Mississauga          ON    L5L 5V3        Canada
29776769 Bell Tower Associates                           3555 Washington Road                             McMurray             PA    15317
         Bella Barbies International DBA Body Complete
29776770 Rx                                              12020 Sunrise Valley Dr, Ste 100                 Reston               VA    20191
29776771 Bellrock Holdings Inc                           1908 Oakhurst Dr.                                Allison Park         PA    15101
29776772 Benefit Marketing Solutions, L.L.C.             PO Box 803507                                    Dallas               TX    75380

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 16 of 134
                                                 Case 24-12480-JTD             Doc 685       Filed 01/08/25        Page 32 of 149

                                                                                       Exhibit B
                                                                                Cure Parties Service List
                                                                               Served via First Class Mail

AddressID                             Name                                         Address                                 City      State Postal Code   Country
29783985 BeneFlex, Inc.                                       77 BRANT AVENUE, STE 206                           Clark              NJ     07066
29783986 BEO Enterprises, Inc.                                401 S 198th Street                                 Omaha              NE     68022
29783987 Beral LLLP                                           2800 Quarry Lake Drive, Suite 320                  Baltimore          MD     21209
29783988 Berkeley College                                     44 Rifle Camp Road                                 Woodland Park      NJ     07424
                                                              c/o Brixmor Property Group, 450 Lexington Ave,
29783989 Berkshire Crossing Retail LLC                        13th Floor                                         New York           NY    10017
                                                              Brixmor Property Group, Attn: VP Legal Services,
29783990 Berkshire Crossing Retail LLC                        200 Ridge Pike, Suite 100                          Conshohocken       PA    19428
29783991 Bernard Jensen Products                              535 Stevens Avenue West                            Solana Beach       CA    92075
29783992 Best Buy Stores, L.P.                                7601 Penn Avenue South                             Minneapolis        MN    55423
29783993 Best Friends Animal Society                          5001 Angel Canyon Road                             Kanab              UT    84741
29783994 Beta‐Bremerton L.L.C.                                18827 Bothell Way N.E., Suite 110                  Bothell            WA    98011
29783995 Betancourt Sports Nutrition LLC                      14620 NW 60th Avenue, Bldg A                       HIALEAH            FL    33014
29783996 Better Planet Brands LLC                             1629 SE 9th Street                                 Fort Lauderdale    FL    33316
29776773 Betty Lou's Inc.                                     750 SW Booth Bend Rd.                              McMinnville        OR    97128
29776774 Beverly International                                1768 Industrial Rd                                 Cold Spring        KY    41076
29776775 Beyond Better Foods, LLC                             101 Lincoln Avenue, Suite 100                      Bronx              NY    10454
29776776 BeyondTrust Software, Inc.                           5090 N 40th Street, Suite 400                      Phoenix            AZ    85018
29776777 Bhu Foods                                            818 Vanderbilt place                               San Diego          CA    92110
29776778 Bierbrier South Shore Place Braintree LLC            420 Bedford St.,                                   Lexington          MA    02420
         Big Flats TEI Equities LLC, Big Flats TEA LLC, Big
         Flats CEG I, LLC, Big Flats CEG III LLC, Big Flats
         Patricia Lane LLC, Big Flats Westfield Commons       c/o Time Equities Inc., 55 Fifth Avenue ‐ 15th
29776779 LLC                                                  Floor                                              New York City      NY    10003
29776780 Big Puppy Holdings, Inc.                             18378 Poplar Stand Place                           Purcellville       VA    20132
29776781 Big Sky 77, LLC                                      196 High Road                                      Kalispell          MT    59901
29776782 BIN Science LLC (dba ROEX)                           1401 N. Batavia Suite 204                          Orange             CA    92867
29776783 Bio nutrition Inc.                                   3580 Oceanside Rd. Unit 5                          Oceanside          NY    92056
29783997 Bio Nutrition Inc.                                   64 Alabama Ave                                     Island Park        NY    11558
29783998 BIOCALTH INTERNATIONAL, INC.                         1871 Wright Avenue                                 La Verne           CA    91750
29783999 Bio‐Engineered Supplements & Nutrition Inc.          5901 Broken Sound Parkway NW, Suite 600            Boca Raton         FL    33487


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                       Page 17 of 134
                                                Case 24-12480-JTD         Doc 685        Filed 01/08/25        Page 33 of 149

                                                                                  Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                   Address                                    City      State Postal Code       Country
29784000 BioForce USA                                    6 Grandinetti Drive                                 Ghent               NY     12075
29783751 BIOIBERICA, S.A.U.                              C/ Antic Camí de Tordera, 109‐119                   Barcelona                  8030        Spain
29783705 Bio‐K Plus International Inc.                   495 Armand Frappier Blvd                            Laval               QC     H7N 5W1     Canada
29784001 BioNutritional Research Group, Inc.             6 Morgan, SUITE 100                                 Irvine              CA     92618
29784002 BioPharmX, Inc.                                 1098 Hamilton Court                                 Menlo Park          CA     94025
29784003 BioRage, Inc.                                   9108 Tyler Blvd                                     Mentor              OH     44060
29783706 BioSteel Sports Nutrition Inc.                  87 Wingold Avenue,                                  North York          ON     M6L 1N7     Canada
29784004 Biotab Nutraceuticals, Inc.                     401 E. Huntington Drive                             Monrovia            CA     91016
29784005 Biotest LLC                                     1850 Reliable Cir.                                  Colorado Springs    CO     80906
29784006 Birch Benders                                   PO Box 4860                                         Boulder             CO     80306
29784007 Birdcage GRF2, LLC                              1850 Douglas Blvd., Suite 412                       Roseville           CA     95661
29784008 Bitmantitle Incorporated                        791 Remington Lane                                  North Aurora        IL     60542
29784009 BJ, Inc.                                        14240 Imboden Rd.                                   Hudson              CO     80642
29776784 BKXL EASTEX LTD.                                9121 Elizabeth Rd., # 108                           Houston             TX     77055
            Black Creek Diversified Property Operating
29776785 Partnership LP                                  518‐17th Street, 17th Floor                         Denver              Co    80202
         Black Creek Diversified Property Operating      518‐17th Street, 17th Floor, Attn: Legal
29776786 Partnership LP                                  Department                                          Denver              CO    80202
29776787 BlackLine Systems, Inc.                         21300 Victory Blvd.                                 Woodland Hills      CA    91367
29776788 BlackLine Systems, Inc.                         21300 Victory Blvd., 12th Floor                     Woodland Hills      CA    75284
29776789 Blain, Inc.                                     14240 Imboden Rd.                                   Hudson              CO    80642
29783707 Blu‐Dot Beverage Company Inc.                   1155 North Service Road West, Unit 11               Oakville            ON    L6M 3000    Canada
                                                         c/o Gershenson Realty & Investment, 31500
29776790 Blue Ash OH Center LLC                          Northwestern Hwy., Suite 100                        Farmington Hills    MI    48334
29776791 Blue Bay Technologies, LLC                      478 2nd St.                                         Excelsior           MN    55331
29776792 Blue Chip Talent                                43252 Woodward Suite 240                            Bloomfield Hills    MI    48302
29776793 Blue Green Capital, LLC                         18205 Biscayne Blvd., Ste 2202                      North Miami Beach   FL    33160
                                                         c/o Stonehenge Advisors, 4328‐42 Ridge Ave,
29776794 Blue Mountain IPG Associates, LP                Unit 104                                            Philadelphia        PA    19129
                                                         c/o Legalinc Corporate Services Inc., 606 Liberty
29784010 Blue Sky Pet Supplies LLC                       Avenue, 3rd Floor Suite #107                        Pittsburgh          PA    15222
29784011 Blue Sky Pet Supplies LLC                       Blue Sky Pet Supplies, LLC, PO Box 827              State College       PA    16804

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 18 of 134
                                              Case 24-12480-JTD      Doc 685        Filed 01/08/25     Page 34 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                Address                                 City    State Postal Code   Country
29784012 Blue Yonder, Inc.                            15059 N. Scottsdale Rd.                        Scottsdale          AZ     85254
29784013 Bluebonnet Nutrition                         12915 Dairy Ashford                            Sugar Land          TX     77478
29784014 Bluebonnet Nutrition Corp.                   12915 Dairy Ashford                            Sugar Land          TX     77478

29784015 BMA Springhurst LLC                          c/o Marquee Capital, 301 N Broadway, Suite 300 Milwaukee           WI    53202
29784016 BMO Harris Bank N.A.                         150 N Martingale Road, Suite 900               Schaumburg          IL    60173
29784017 BMS Cat, Inc.                                303 Arthur Street                              Fort Worth          TX    76107
29784018 BNC Nutrition LLC                            1448 Industry Drive                            Burlington          NC    53105
29784019 BNG Enterprises                              3312 E. Broadway Road                          Phoenix             AZ    85040
29784020 BNG Phoebe, LLC                              109 Persnickety Place                          Kiel                WI    53042
29784021 Boardman Plaza Associates LLC                20950 Libby Road                               Maple Heights       GA    30363
29776795 BoardVantage, Inc.                           4300 Bohannon Drive, Suite 110                 Menlo Park          CA    94025
29776796 BoBo's Pantry, LLC                           14090 FM 2920, Ste. G551                       Tomball             TX    77377
29776797 Bob's Red Mill                               13521 SE Pheasant Ct.                          Milwaukie           OR    97267
29776798 Bob's Red Mill Natural Foods, Inc.           13521 SE Pheasant Court                        Milwaukie           OR    97267
                                                      c/o Davis Management Company, LLC, 125 High
29776799 Bobson Portfolio Holdings LLC                Street, Suite 2111                             Boston              MA    02110‐2704
29776800 Boca Park Marketplace LV, LLC                9030 W. Sahara Avenue, #422                    Las Vegas           NV    89117
29776801 Bodhi Organics, LLC                          1800 E State St, Ste 144B                      Hamilton            NJ    08609
29776802 Body LLC (dba Body Nutrition)                2950 47 Ave N.                                 St Petersburg       FL    33714
29776803 BoeFly, LLC                                  50 West 72nd Street                            New York            NY    10023
29776804 Boiron Inc.                                  6 Campus Blvd                                  Newtown Square      PA    19073
29776805 Boiron, Inc.                                 4 campus blvd,                                 Newtown Square      PA    19073
                                                      c/o Bond Street Management Group LLC, 850
29784022 Bond Street Fund 11, LLC                     Morrison Drive, Suite 500                      Charleston          SC    29403
29784023 Bond Street Fund 8, LLC                      850 Morrison Drive, Suite 500                   Charleston         SC    29403
29784024 Bonk Breaker, LLC                            1833 Stanford Street                           Santa Monica        CA    90404
29784025 BOOM Chaga, LLC                              760 Marbury Lane, Suite B                      Longboat Key        FL    34228
29784026 Boomi, Inc.                                  1400 Liberty Ridge Drive                       Chesterbrook        PA    19087
                                                      c/o Marx Realty & Improvement Co. Inc., 155
29784027 Boswell Avenue I, LLC                        East 44th Street, 7th Floor                    New York City       NY    10017


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 19 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 35 of 149

                                                                             Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                 Address                                 City      State Postal Code   Country
29784028 Boudreaux Operating Acquisitions LLC        100 Four Paws Lane                               Maumelle             AR     72113
         Boulder Goods LLC DBA Sir Richards Condom
29784029 Company                                     PO Box 989                                       Boulder              CO    80306

29784030 Boulevard Centre LLC                        Attn: Legal Dept, 5577 Youngstown‐Warren Road Niles                   OH    44446
29784031 Bounce USA LLC                              750 SE Booth Bend Road                        McMinnville             OR    97128
29784032 Bowman MTP Center LLC                       234 Seven Farms Drive, Suite 300              Daniel Island           SC    29492
         Bowman Sales & Equipment Inc, dba Bowman
29784033 Trailer Leasing                             10233 Governor Lane Blvd.                        Williamsport         MD    21795
29776806 Boyden                                      3 RIVERWAY, SUITE #1150                          Houston              TX    77056
29776807 BPI Sports LLC                              3149 SW 42nd St. #200, #200                      Hollywood            FL    33312
                                                     c/o Bradford Real Estate, 200 South Wacker
29776808 Bradford Vernon IV LLC                      Drive, Suite 726                                 Chicago              IL    60606
29776809 Bradley Boulevard Shopping Center           12510 Property Drive, Suite 150                  Silver Spring        MA    20904‐1639
                                                     L Edward O'Hara, Jr., CFP, EA, Capital Asset
                                                     Management Services, 12510 Prosperity Drive
29776810 Bradley Boulevard Shopping Center           Suite 150                                        Silver Spring        MD    20904
29776811 Bragg Live Food Products Inc.               199 Winchester Canyon Rd                         Santa Barbara        CA    93117
29776812 Brain Pharma, Inc.                          3701 SW 47 Ave #104                              Davie                FL    33314
29776813 Brand Makers, LLC                           464 South Main Street                            Spanish Fork         UT    84660
29776814 Brand Properties IV, LLC                    2401 PGA Boulevard, Suite 150                    Palm Beach Gardens   FL    33410
29776815 Brand Shop                                  20 Constitution Blvd South                       Shelton              CT    06484
29776816 BrandBags LLC                               11601 Wilshire Blvd., Suite 1800                 Los Angeles          CA    90025
29785625 BrandStorm HBC, Inc                         7535 Woodman Place                               Van Nuys             CA    91406
29785626 BRE DDR IVA Southmont PA LLC                c/o DDR Corp., 3300 Enterprise Parkway           Beachwood            OH    44122
                                                     c/o Brixmor Property Group, 200 Ridge Pike,
29785627 BRE Retail Residual Owner 1 LLC             Suite 100                                        Conshohocken         PA    19428
                                                     c/o Brixmor Property Group, 450 Lexington Ave,
29785628 BRE Retail Residual Owner 1 LLC             13th Floor                                       New York             NY    10017
                                                     c/o Brixmor Property Group, Attn: VP of Legal
29785629 BRE Retail Residual Owner 1 LLC             Services, 8700 W. Bryn Mawr Ave., Suite 1000‐S   Chicago              IL    60631



      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 20 of 134
                                                 Case 24-12480-JTD      Doc 685        Filed 01/08/25     Page 36 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                             Name                                     Address                                City       State Postal Code   Country
                                                         c/o Brixmor Property Group, Attn: VP of Legal
                                                         Services, 8700 W. Bryn Mawr Avenue, Suite 1 000‐
29785630 BRE Retail Residual Owner 2LLC                  S                                                Chicago               IL     60631
29785631 BreakthroughFuel LLC                            1175 Lombardi Avenue                             Green Bay             WI     54304
                                                         ShopCore Properties, 50 S. 16th Street, Suite
29785632 BREIT Canarsie Owner LLC                        3325                                             Philadelphia          PA     19102
29785633 Brian Buford & Associates, Inc.                 328 North Clifton Avenue Unit IN                 Chicago               IL     60614
29785634 Brian J. McLaughlin                             c/o D'Angelo, Inc., 323 Manley Street            West Bridgewater      MA     02379
                                                         d/b/a Clearview & Northern LLC and 205‐04
                                                         Northern Boulevard LLC, 134‐01 20th Avenue,
29785635 Brick Management LLC                            20th Floor                                       Queens                NY     11356
29776817 Brick Pioneer LLC                               900 Route 9 North, Suite 301                     Woodbridge Township   NJ     07095
                                                         C/O Brixmor Property Group, 450 Lexington Ave,
29776818 Brixmor / IA Bennets Mills Plaza, LLC           13Th Floor                                       New York              NY     10017
                                                         Brixmor/IA Bennets Mills Plaza, LLC, C/O Brixmor
                                                         Property Group, 200 Ridge Pike, Suite 100, Attn:
29776819 Brixmor / IA Bennets Mills Plaza, LLC           General Counsel                                  Conshohocken          PA     19428
                                                         Brixmor Property Group, Attn: VP Legal Services,
29776820 Brixmor Berkshire Crossing LLC                  200 Ridge Pike, Suite 100                        Conshohocken          PA     19428
                                                         c/o Brixmor Property Group, 200 Ridge Pike,
29776821 Brixmor Burlington Square LLC                   Suite 100C                                       Conshohocken          PA     19428
                                                         c/o Brixmor Property Group, 450 Lexington Ave.,
29776822 Brixmor GA Arlington Heights LLC                13th Floor                                       New York              NY     10017
                                                         c/o Brixmor Property Group, 8700 W. Bryn Mawr
29776823 Brixmor GA Arlington Heights LLC                Ave., Suite 1000‐S, Attn: VP Legal Services      Chicago               IL     60631
                                                         c/o Brixmor Property Group, 450 Lexington Ave,
29776824 Brixmor GA Lunenburg Crossing LLC               13th Floor                                       New York              NY     10017
                                                         c/o Brixmor Property Group, Attn: VP Legal
29776825 Brixmor GA Lunenburg Crossing LLC               Services, 200 Ridge Pike, Suite 100              Conshohocken          PA     19428
                                                         c/o Brixmor Property Group, 450 Lexington Ave,
29776826 Brixmor GA Wilkes‐Barre LP                      13th Floor                                       New York              NY     10017
                                                         c/o Brixmore Property Group, Attn: VP Legal
29784034 Brixmor GA Wilkes‐Barre LP                      Services, 200 Ridge Pike, Suite 100              Conshohocken          PA     19428

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 21 of 134
                                                Case 24-12480-JTD       Doc 685       Filed 01/08/25       Page 37 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                   Address                                  City    State Postal Code   Country
                                                        c/o Brixmor Property Group, 200 Ridge Pike,
29784035 Brixmor Roosevelt Mall Owner, LLC              Suite 100                                        Conshohocken        PA     19428
                                                        c/o Brixmor Property Group, 450 Lexington Ave,
29784036 Brixmor SPE 5 LLC                              13th Floor                                       New York            NY     10017
                                                        Brixmor Property Group, 8700 W Bryn Mawr
29784037 Brixmor SPE 5 LLC                              Ave., Suite 1000S, Attn: Regional Counsel        Chicago             IL     60631
                                                        c/o Brixmor Property Group, 200 Ridge Pike,
29784038 Brixmor Sunshine Square LLC                    Suite 100                                        Conshohocken        PA     19428
                                                        Brixmor Property Group, 200 Ridge Pike, Suite
29784039 Brixmor Sunshine Square LLC                    100, Attn: VP Legal Services                     Conshohocken        PA     19428
29784040 Brixmor/IA Clearwater Mall, LLC                c/o Brixmor Property Group, 200 Ridge Pike       Conshohocken        PA     19428
29784041 Brookdale Shopping Center, L.L.C.              31713 Northwestern Hwy, Suite 250W               Farmington Hills    MI     48334
29784042 Brooksville Cortez, LLC                        400 Perrine Road, Suite 405                      Old Bridge (CDP)    NJ     08857
29784043 Brooksville Square Plaza, LLC                  RE: BROOKSVILLE SQUARE PLAZA LLC                 TAMPA               FL     33646
29784044 Brother International Corporation              200 Crossing Blvd                                Bridgewater         NJ     08807
            Brother International Corporation
29776827                                                200 Crossing Blvd                                Bridgewater         NJ     08807
29776828 Brother's Trading, LLC                         PO Box 2234                                      San Gabriel         CA     91778
29776829 Broven, Inc.                                   49 Friend St.                                    East Weymouth       MA     02189
29776830 Brownfield Enterprises, LLC                    211 Fantasy Lane                                 Ligonier            PA     15658
29776831 Brownie Brittle, LLC                           2253 Vista Parkway, #8                           West Palm Beach     FL     33411
         Bruce A. Goodman, Seymore Rubin and Helen      c/o Goodman Properties, 636 Old York Rd,
29776832 Rubin                                          Second Floor                                     Jenkintown          PA     19046
         Bruce A. Goodman, Seymore Rubin and Helen      Goodman Management, LLC, 636 Old York Rd,
29776833 Rubin                                          Second Floor, Attn: Legal Dept.                  Jenkintown          PA     19046

29776834 Brunswick Center Associates, L.L.C.            c/o Nigro Companies , 20 Corporate Woods Blvd. Albany                NY     12211
29776835 Brust Development Company, LLC                 4012 Colby Avenue, Suite 103                     Everett             WA     98201
                                                        c/o Baker Properties Inc., One Town Place, Suite
29776836 Bryn Mawr Plaza Associates                     100                                              Bryn Mawr           PA     19010
29776837 Bryte, Inc.                                    880 Georgetowne Lane                             Barrington          IL     60010
29784045 B‐Scott, Inc.                                  750 General Motors Rd                            Milford             MI     48381‐2220


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 22 of 134
                                               Case 24-12480-JTD          Doc 685        Filed 01/08/25        Page 38 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                     Address                                   City          State Postal Code   Country
29784046 BSP Pharma Inc.                                  Po Box 890                                         Marmora                  NJ     02062
29784047 BTMI, Ltd.                                       1045 Fifth Avenue                                  New York City            NY     10028
29784048 Buddy Mac Holdings LLC                           400 East Centre Park Blvd, Suite 101               DeSoto                   TX     75115
29784049 Buddy Mac Holdings, LLC                          400 E Centre Park Blvd., Suite 101                 Desoto                   TX     75115
29784050 Buddy West LLC                                   144 Overlook Court                                 Henderson                NV     89074
29784051 Buff Bake, LLC                                   221 20th Street                                    Huntington Beach         CA     92648
29784052 BUFFALO NEWSPRESS, INC.                          200 Broadway                                       Buffalo                  NY     14204
29784053 Buffalo‐Pittsford Square Assoc. LLC              570 Delaware Avenue,                               Buffalo                  NY     14202
29784054 Build Retail Inc.                                103 Gannaway Street                                Jamestown                NC     27282
29784055 Building Better Solutions                        9101 Schindler Dr,                                 PEARL RIVER              NY     10965
29784056 Bulletproof 360, Inc.                            1012 15th Ave. Suite 400                           Seattle                  WA     98122
29784057 Bulletproof 360Digital, Inc.                     716 Theodore Court,                                Romeoville               IL     60446
                                                          c/o Realty Advisors International, 904 Silver Spur
29776838 Bund Scenery USA, LLC                            Road, No. 266                                      Palos Verdes Peninsula   CA    90274
29776839 Burlington Development, LLC                      3101 Ingersoll Avenue, Suite 300                   Des Moines               IA    50312
                                                          c/o Eastern Real Estate, One Marina Park Drive,
29776840 Burlington U Mall Owner LLC                      Suite 1500                                         Boston                   MA    02210
29776841 Buxton Company, LLC                              2651 South Polaris Drive                           Fort Worth               TX    76137
29776842 Buy.com Inc.                                     85 Enterprise, Suite 100                           Aliso Viejo              CA    92656
         BVA Alamo SPE LLC, Alamo SPE Poplin LLC, Alamo
         SPE JT LLC, Alamo SPE Schulmann LLC, Alamo SPE c/o Big V Properties LLC, 176 North Main Street,
29776843 RFM LLC, and Alamo SPE Muir LLC                Suite #210                                       Florida                      NY    10921
                                                        c/o Big V Properties LLC, 162 North Main St,
29776844 BVA Rim GP LLC                                 Suite 5                                          Florida                      NY    10921

                                                          BRADFORD KLEEMAN PROPERTIES, LLC,APUAT
         BVIF WESTSIDE 6275 LLC, CMS PROPERTY             MANAGEMENT, LLC, ACTAGON CORPORATION,
         SOLUTIONS, LLC,R&S BUILDING VENTURES, LLC,       PEILING JIANG,and RICHARD MCINTOSH , c/o Big
29776845 602 W 9TH ST, LLC                                V Properties LLC, 176 North Main St, Suite 210    Florida                   NY    10921
29776846 BWI Westwood LLC                                 731 E. Palisade Avenue, Suite 201                 Englewood Cliffs          NJ    07632
29776847 C.H. Robinson Worldwide, Inc.                    14701 Charlson Road                               Eden Prairie              MN    55480‐9121
29784058 C.J. Foods, Inc.                                 322 Main Street                                   Bern                      KS    66408

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 23 of 134
                                                Case 24-12480-JTD           Doc 685        Filed 01/08/25       Page 39 of 149

                                                                                    Exhibit B
                                                                              Cure Parties Service List
                                                                             Served via First Class Mail

AddressID                             Name                                       Address                                  City     State Postal Code   Country
29784059 C2 Technical Resources, LLC                        408 MILL STREAM WAY                              Woodstock            GA     21163
29784060 C20 Pure Coconut Water, LLC                        400 Oceangate #750                               Long Beach           CA     90802
29784061 Caalojo Incorporated Company                       2335 Lenzie Marie Cove                           Cordova              TN     38016
                                                            c/o Terry A. Ickowicz Esq., 14320 Ventura
29784062 California Car Hikers Service                      Boulevard                                        Sherman Oaks         CA    91403
29784063 California Fragrance Co. DBA AROMAFLORIA           171 East 2ND Street                              Huntington Station   NY    11746
29784064 California Inside Out, Inc. DBA Out of Africa      12 Washington Blvd 2nd Floor                     Marina Del Ray       CA    90292
29784065 California Natural Products                        1250 E. Lathrop Road                             Lathrop              CA    95330
29784066 California Natural Vitamin Labs Inc                9044 Independence Ave                            Canoga Park          CA    91304
29784067 Callie Enterprises, LLC                            c/o Pet Supplies Plus, 1300 MacDade Boulevard    Woodlyn              PA    19094
29784068 Camden Village LLC                                 2099 Mt. Diablo Boulevard, Suite 206             Walnut Creek         CA    94596
29784069 CamelBak Products LLC                              2000 South McDowell Street, Suite 200            Petaluma             CA    94954
29776848 Camp Gladiator, Inc.                               9185 Research Blvd.                              Austin               TX    78758
29776849 Canada Post                                        2101 91ST STREET                                 NORTH BERGEN         NJ    07047
29776850 Candidate Source                                   RENT THE HELP, INC, 6402 MALLORY DRIVE           Richmond             VA    23226
29776851 CannaVest Corp                                     591 Camino de la Reina, Ste 1200                 San Diego            CA    92108
29776852 Cannon Group                                       960C Harvest Drive, Suite 100                    Blue Bell            PA    19422
29776853 Canopy Growth USA, LLC                             35715 US HWY 40, Suite D‐102                     Evergreen            CO    80439
29776854 Can't Live Without It, LLC (d/b/a S'well Bottle)   28 W 23rd St. 5th Floor,                         NEW YORK             NY    10010
29776855 Canton Aires Shopping Plaza, LLC                   361 17th Street NW, Unit 2601                    Atlanta              GA    30363
29776856 Canus USA                                          26 Leonard Ave                                   Leonardo             NJ    07737

29776857 Canyon Springs Marketplace North Corporation       c/o TDA Investment Group, 2025 Pioneer Court San Mateo                CA    94403
29776858 Capella University                                 225 South 6th Street, 9th Floor                   Minneapolis         MN    55455
29784070 Capital Brands LLC                                 11601 Wilshire Boulevard, 23rd Floor              Los Angeles         CA    90025
29784071 Capital Enterprises, Inc.                          555 City Avenue, Suite 1130                       Bala Cynwyd         PA    19004
                                                            Fox Rothschild, LLP, 2000 Market St., 20th Floor,
29784072 Capital Enterprises, Inc.                          Attn: Carrie B. Nase                              Philadelphia        PA    19103
29784073 Capitol Services, Inc.                             1675 S State St Suite B, Suite 104                Dover               DE    19901
                                                            C/O: Commercial Development, 200 Boston Post
29784074 Caplowe‐Voloshin Realty, LLC                       Rd., Suite 13                                     Orange              CT    06477


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 24 of 134
                                              Case 24-12480-JTD        Doc 685       Filed 01/08/25        Page 40 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                                    City    State Postal Code        Country
29784075 Capstone Integrated Solutions, LLC           254 Route 17K, Suite 106                            Newburgh           NY     12550
29783699 Capsugel Belgium NV                          Rijksweg 11                                         Bornem                    B‐2880      Belgium
29784076 Capsule Connection, LLC                      309 Bloom Pl.                                       Prescott           AZ     86301
29784077 Carbon & Clay Company                        1937 N Interstate 35 #100                           New Braunfels      TX     78130
29784078 Cardiac Science Corporation                  N7 W22025 Johnson Drive                             Waukesha           WI     53186
29784079 Cardinal Path LLC                            515 N. State Street                                 Chicago            IL     60654
29784080 Cardinal Path LLC                            515 N. State St., 22nd Floor                        Chicago            IL     60654
29784081 Cardiovascular Research, Ltd.                1061B Shary Circle                                  Concord            CA     94520
29776859 Career Developers Inc.                       500 N Franklin Turnpike, S. 208                     Ramsey             NJ     07446
29776860 Careerminds Group Inc.                       1601 Concord Pike, Suite 82                         Wilmington         DE     19803
29776861 Caribbean Sol, Inc.                          4495 SW 35th St, Unit H                             Orlando            FL     32811
                                                      c/o FMK Management, LLC, 14039 Sherman Way,
29776862 Carp Outparcel, LLC                          Suite 206                                           Van Nuys           CA    91405
29776863 Carrie Murphy                                1204 Lead Ave SW                                    Albuquerque        NM    87102
29776864 Carros, Inc.                                 7585 Juniper Drive                                  Colorado Springs   CO    80908
29776865 Cascade Enterprises, LLC                     16915 El Camino Real                                Houston            TX    77058
29776866 Catchpoint Systems, Inc.                     228 Park Ave S #28080                               New York           NY    10003‐1502
29776867 Causeway Square, LLC                         1801 NE 123rd St., Suite 300                        Miami              FL    33181
29776868 Cave Shake, LLC                              1386 1/2 Edgecliffe Drive                           Los Angeles        CA    90041
29776869 Caveman Foods LLC                            2950 Buskirk Ave # 170                              Walnut Creek       CA    94597
29784082 CBB Venture LLC                              38 Corbett Way                                      Eatontown          NJ    07724
29784083 CBDFit, LLC                                  701 Park of Commerce Blvd, Ste 101,                 BOCA RATON         FL    33487
29784084 CBL & Associates Management, Inc.            CBL Center, Suite 500, 2030 Hamilton Place Blvd Chattanooga            TN    37421‐6000
29784085 CBRE                                         PO BOX 406588, LOCATION CODE 2991                   Atlanta            GA    30384‐6588
29784086 CBS Ventures, LLC                            PO Box 8543                                         Omaha              NE    68108‐0543
29784087 CC Vending, Inc.                             90 Macquesten Parkway South                         Mount Vernon       NY    10550
29784088 CC&B Associates LLC                          1620 Scott Ave.,                                    Charlotte          NC    28203
29784089 CCBF Associates (Greenville), LLC            2520 Sardis Road N, Suite 100                       Charlotte          NC    28227
                                                      c/o U.S. Realty Associates, Inc. , 120 E. Lancaster
29784090 CCP&FSG, L.P.                                Ave., Suite 101                                     Ardmore            PA    19003
29784091 CD, II Properties, LLC                       P.O. Box 99                                         Demorest           GA    30535


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 25 of 134
                                               Case 24-12480-JTD        Doc 685       Filed 01/08/25      Page 41 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                 City    State Postal Code   Country
29784092 CDA Enterprises, LLC                           10 North Post, Suite 301                       Spokane             WA     99201
29784093 cdbell LLC                                     116 Five Oaks Drive                            Greer               SC     29651
29784094 CDW Direct, LLC                                200 N. Milwaukee Ave.                          Vernon Hills        IL     60061
29776870 CEA Beverly LLC                                1105 Massachusetts Avenue, Suite 2F            Cambridge           MA     02138
29776871 Cedar Equities, LLC                            1 Sleiman Parkway, Suite 220                   Jacksonville        FL     32216
         Cellco Partnership doing business as Verizon
29776872 Wireless                                       PO Box 15062                                     Albany            NY    12212
29776873 Celsius, Inc.                                  2424 North Federal Hwy, 208                      Boca Raton        FL    33431
29776874 Cenegenics Global Health, LLC                  6231 McLeod Dr. Suite G                          Las Vegas         NV    89120
                                                        c/o Carnegie Management & Development Corp.,
29776875 Centerpointe Plaza Associates LP               27500 Detroit Road, , Suite 300                  Westlake          OH    44145
29776876 Centerstone Executive Search, Inc.             4250 Fairfax Drive, Suite 600                    Arlington         VA    22203
29776877 Central Islip Holdings LLC                     1299‐B North Avenue                              New Rochelle      NY    10804
29776878 Central Park Avenue Associates, LLC            32 Quentin Road                                  Scarsdale         NY    10583
                                                        c/o Rappaport Management Company, 8405
29776879 Central Park Retail, LLC                       Greensboro Drive, 8th Floor                      McLean            VA    22102
29776880 Central Rock, LLC                              5215 Monroe Street, Suite 8                      Toledo            OH    43623
29784095 Centralis Partners, Inc.                       2822 CENTRAL STREET, SUITE 100                   Evanston          IL    60201
29784096 Centro Deptford LLC                            222 West Hills Road,                             New Canaan        CT    06840
29784097 Century Systems                                120 Selig Drive                                  Atlanta           GA    30336
29784098 CerBurg Products Ltd                           2040 South Ridgewood Avenue                      S Daytona         FL    32119
29784099 Certegy Payment Recovery Services, Inc.        550 Greensboro Avenue                            Tuscaloosa        AL    35401
29784100 C'est Si Bon Company                           1308 Sartori Ave. #205                           Torrance          CA    90501
29784101 CFH REALTY III/SUNSET VALLEY, L.P.             500 North Broadway, Suite 201                    Jericho           NY    11753
29784102 CFJ INVESTMENTS LLC                            ATTN VALERIE J FUETTE, 1423 AARHUS DRIVE         Solvang           CA    93463
29784103 CFT NorthPointe LLC                            c/o: Tiana C. Jenkins, 1767 Germano Way          Pleasanton        CA    94566
29784104 CGG, Inc.                                      125 Leafwood Dr.                                 Goldsboro         NC    27534
                                                        c/o 4Acre Property Services LLC, Attention: Gina
29784105 CH Realty VII/R Orlando Altamonte, L.L.C.      KarnesOrlando, 1818 E Robinson St.               Orlando           FL    32803
                                                        c/o Walnut Capital Management Inc, 5500
29784106 CH Retail Fund I/Pittsburgh Penn Place, LLC    Walnut Street, Suite 300                         Pittsburgh        PA    15232
29776881 CH Retail Fund I/Vestal Shops, LLC             3819 Maple Ave.,                                 Dallas            TX    75219

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 26 of 134
                                              Case 24-12480-JTD           Doc 685        Filed 01/08/25      Page 42 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                     Address                                City     State Postal Code        Country
                                                         Mid‐America Asset Management Inc., One
29776882 CH Retail Fund II/Chicago Oakbrook Terrace, LLC Parkview Plaza, 9th Floor                        Villa Park          IL     60181
         Chadds Ford Investors LPc/o Carlino             c/o Carlino Commercial Development, 100 Front
29776883 Development,                                    Street, Suite 560                                Conshohocken        PA     19428
29783708 ChainXY Solutions Inc.                          318‐1788 5th Ave W                               Vancouver           BC     V6J 1P2       Canada
29776884 Chalet East, Inc.                               22936  NE 15th  Place                            Sammamish           WA     98074
29776885 Challa Enterprises LLC                          2200 SW 6th Avenue                               Topeka              KS     66606
29776886 Chamisa   Development    Corp., LTD             c/o CREM,   5951  Jefferson St. NE, Suite A      Albuquerque         NM     87109
29776887 Champion Nutrition                              1301 Sawgrass Corporate Parkway                  Sunrise             FL     33323
29776888 Chandon   Enterprise,  LLC                      Corporation  Trust Center,  1209 Orange   Street Wilmington          DE     19801
29776889 CHARJON Enterprises, LLC                        PO Box 42                                        Bullard             TX     75757
                                                         Of CB/DB Revocable Trust dated 1/31/94, 1083
29776890 Charles Bailey & Debra Bailey Trustees          Berg Court                                       The Villages        FL     32162
29776891 Charles Kahn Jr. & Todd Vannett                 580 Virginia Drive, Suite 100                    Fort Washington     PA     19034
                                                         Trustees of the Frandson Family Trust & Ralph
29784107 Charles L. & Patricia M.Frandson as             Horowitz , 11661 San Vicente Blvd., Suite 301    Los Angeles         CA     90049
         Charles M. LaKamp and Marianne E. LaKamp
29784108 Trustees of The LaKamp Family Trust             c/o NAI Select, P.O. Box 4067                    Boise               ID     83711
29784109 Charlottes House, LLC                           10767 Adams Road                                 Galena              OH     43021
29784110 Charm Real Estate, LLC                          c/o Josh Levinson, 117 Church Lane, Ste C        Cockeysville        MD     21030
29784111 Charter Medway II LLC                           309 Greenwich Ave.                               Greenwich           CT     06830
29784112 Chase Merchant Services                         8875 Washington Blvd,                            ROSEVILLE           CA     95678
29784113 CHEP USA                                        5897 Windward Parkway                            Alpharetta          GA     30005
29784114 CHEPS CUT REAL JERKY LLC                        PO BOX 110871                                    NADIES              FL     34108
29784115 CHEPS CUT REAL JERky LLIC                       PO BOX 110871                                    NAPLES              FL     34108
29784116 Cherry Hill Retail Partners LLC                 1260 Stelton Road,                               Piscataway          NJ     08854
29784117 Chesapeake System Solutions, Inc.               10220 S. Dolfield Road, Suite 209                Owings Mills        MD     21117
29784118 Chia USA LLC (dba The Chia Co)                  270 Lafayette Street, Suite 612                  New York            NY     10012
29776892 Chiara Investments, Inc.                        3956 Ivy Road NE                                 Atlanta             GA     30342
29776893 Chicago Bar Company LLC                         225 W. Ohio St. Suite 500                        Chicago             IL     60654
29776894 ChildLife Essentials                            5335 McConnell Avenue                            Los Angeles         CA     90066
29776895 Chili MZL, LLC                                  c/o KPR Centers LLC, 535 Fifth Ave, 12th Floor   New York            NY     10017

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 27 of 134
                                                    Case 24-12480-JTD            Doc 685        Filed 01/08/25      Page 43 of 149

                                                                                         Exhibit B
                                                                                  Cure Parties Service List
                                                                                 Served via First Class Mail

AddressID                             Name                                           Address                                 City     State Postal Code   Country
29776896 Chinmay Patel (Entity Pending)                         127 Jerome Street                                Roselle Park        NJ     07204
29776897 ChocZero Inc.                                          1376 E Valencia Dr.                              Fullerton           CA     92831
29776898 ChrisLinc Properties, LLC                              2320 N Atlantic, Suite 100                       Spokane             WA     99205
29776899 Church & Dwight Co., Inc.                              500 Charles Ewing Boulevard                      Ewing               NJ     08628
29776900 Cid Botanicals LLC                                     14 NE First Avenue, Suite W224                   Miami               FL     33132
29776901 Cigniti Technologies, Inc.                             433 East Las Colinas Blvd., Ste. 1300            Irving              TX     75039
29776902 Cintas Corporation                                     4310 Metro Parkway                               Ft. Myers           FL     33916
29776903 Cintas Corporation No. 2                               4310 Metro Parkway                               Ft. Myers           FL     33916
            Cintas Corporation No. 2 d/b/a Cintas First Aid &
29784119 Safety                                                 PO BOX 631025                                    Cincinnati          OH    45263
29784120 Cintas Fire Protection                                 2929 W. Clarendon Ave.                           Phoenix             AZ    85017
            Cintas First Aid & Safety, a division of Cintas
29784121 Corporation                                            4310 Metro Parkway                               Ft. Myers           FL    33916
29784122 Cisco Systems Capital Corporation                      1111 Old Eagle School Road                       Wayne               PA    19087
29784123 City Centre of Avon Retail, LLC                        3951 Convenience Circle N.W., Suite 301          Canton              OH    44718
29784124 CK Designs LLC                                         930 E 42nd Place                                 Chicago             IL    60653
29784125 CL Creekside Plaza South CA LP                         3300 Enterprise Parkway,                         Beachwood           OH    44122
                                                                c/o Patron Property Management Company,
29784126 Clark Commons LLC                                      700A Lake Street                                 Ramsey              NJ    07446
29784127 Clarkston‐Potomac Group, Inc.                          2655 Meridian Parkway                            Durham              NC    27713
29784128 CleanWell LLC                                          755 Sansome St. Ste 300                          San Francisco       CA    94111
29784129 Clear Evaluations, LLC                                 719 Sawdust Road, Suite 101                      The Woodlands       TX    77380
29784130 Clermont AMA Group, LLC                                C/O Universal Properties Management              Miami               FL    33143
            Cleveland Browns Football Company LLC               Cleveland Browns Stadium Company LLC, 76 Lou
29776904 Cleveland Browns Stadium Company LLC                   Groza BLVD                                       Berea               OH    44017
29776905 ClickCO, Inc.                                          639 W. Enterprise Rue                            Clovis              CA    93619
29776906 Clif Bar & Company                                     1451 66 St                                       Emeryville          CA    94608
29776907 Clinical Study Applications, Inc.                      3305 N. Delaware Street                          Chandler            AZ    85225
                                                                ONE BRAND MARKETING, 3708 HEMPLAND
29776908 Clipper Magazine LLC                                   ROAD                                             Mountville          PA    17554
                                                                c/o CTW Development Corp, 970 Windham
29776909 Clocktower Plaza, LLC                                  Court,, Suite 7                                  Boardman            OH    44512

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                          Page 28 of 134
                                               Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 44 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                City     State Postal Code   Country
                                                       c/o Paynter Realty & Investments Inc., 195 South
29776910 Clovis‐Herndon Center II, LLC                 C Street, Suite 200                              Tustin              CA    92780
29776911 CLPF ‐ KSA Grocery Portfolio Woodbury, LLC    c/o Clarion Partners, 230 Park Avenue            New York City       NY    10169
29776912 Club Drive Investments Company                6030 Pennsylvania Ave.                           Lansing             MI    48911
29776913 CLVM, LLC (d.b.a. Valimenta Labs)             6598 Buttercup Drive unit 4                      Wellington          CO    80549
29776914 CMQ Enterprises, Inc.                         2501 Pennington Place                            Valparaiso          IN    46383
29784131 Co. Exist Nutrition Corp                      4552 SW 71 Avenue                                Miami               FL    33155
29784132 Coalfire Systems, Inc.                        361 Centennial Parkway, Suite 150                Louisville          CO    80027
            Coastal Pet Products Inc.
29784133                                               911 Lead Way                                      Alliance           OH    44601
29784134 Coastline Products LLC                        2222 Ave of Stars #702E                           Los Angeles        CA    90067
29784135 Cobal Garage Inc.                             225 Gordons Corner Road, Suite 1B                 Englishtown        NJ    07726
                                                       c/o Divaris Property Mgmt Corp. Agent, 4525
29784136 Cobalt Properties of Nashville, TN, LLC       Main Street, Suite 900                            Virginia Beach     VA    23462
29784137 Coborn's Inc.                                 1921 Coborn Blvd                                  St. Cloud          MN    56301
29784138 Coconut Point Town Center LLC                 225 West Washington Street,                       Indianapolis       IN    46204
                                                       c/o Fidelis Realty Partners DFW LLC, 8140
29784139 Collin Creek Associates, LLC                  Walnut Lane, Suite 400                            Dallas             TX    75231
29784140 Colonel Sun LLC                               3718 N 36th St.                                   Tacoma             WA    98407
29784141 Colonial and Herndon LLC                      1605 W. Fairbanks Ave                             Winter Park        FL    32789
29784142 ColonialWebb                                  2820 Ackley Avenue                                Richmond           VA    23228
         Columbia Banking System, Inc.
29776915 Gupton Marrs International, Inc.              Gupton Marrs International, Inc., 1301 A Street   Tacoma             WA    98402‐2156
29776916 COLUMBIA‐ BBB WESTCHESTER                     12568 N. Kendall Drive,                           Miami              FL    33186
                                                       c/o Kimco Realty Corporation, 500 North
29776917 Columbia Crossing I LLC                       Broadway, Suite 201                               Jericho            NY    11753
29776918 Columbus Consulting International, LLC        4200 Regent Street, Suite 200                     Columbus           OH    43219
         Columbus Management Systems, Inc. d/b/a CDL
29776919 Last Mile Solutions                         132 West 24th Street                                New York           NY    10011
29776920 COMCAST                                     PO Box 8587                                         Philadelphia       PA    19101
         Comcast Cable Communications Management,
29776921 LLC                                         PO Box 8587                                         Philadelphia       PA    19101


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 29 of 134
                                                 Case 24-12480-JTD     Doc 685        Filed 01/08/25     Page 45 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                   Name                                           Address                               City     State Postal Code         Country
         Comcast Cable Communications Management,
29776922 LLC                                             P O BOX 3001                                  Southeastern       PA    19398
29776923 Command Global, LLC                             8840 W. Russell Rd. #245                      Las Vegas          NV    89148
29776924 Commerce Limited Partnership #9005              1280 West Newport Center Drive,               Deerfield Beach    FL    33442
29776925 Commerce Limited Partnership #9602              1280 West Newport Center Drive                Deerfield Beach    FL    33442
29784143 Commerce Technologies, Inc.                     70 N UNION ST                                 DELAWARE           OH    43015
29784144 Commerce Technologies, LLC                      1280 W. NEWPORT CENTER DR.                    DEERFIELD BEACH    FL    33442
                                                         MMS USA HOLDINGS f/b/o Commission Junct.,
29784145 Commission Junction                             PO BOX 735538                                 Dallas             TX    75373‐5538
29784146 Commission Junction, Inc.                       530 East Montecito Street                     Santa Barbara      CA    93103
29784147 Community Veterinary Clinics, LLC               5813 Skylane Blvd.                            Windsor            CA    95492
29784148 Comm‐Works, LLC                                 1405 Xenium Lane N Suite 120                  Minneapolis        MN    55441
29784149 Compass Group USA, Inc.                         5000 Hopyard Road, Suite 322                  Pleasanton         CA    94588
29784150 Compound Solutions, Inc.                        1930 Palomar Point Way, Suite 105             Carlsbad           CA    92008
                                                         455 N. CITYFRONT PLAZA DR., NBC TOWER‐13TH
29784151 ComPsych Corporation                            FLOOR                                         CHICAGO            IL    60611
29784152 Comvita USA Inc.                                506 Chapala Street                            Santa Barbara      CA    93101
29784153 Concur Technologies, Inc.                       601 108th Ave NE                              Bellevue           WA    98004
29784154 ConnectWise, LLC                                400 N Tampa St                                Tampa              FL    33602
29776926 Connolly, a division of Cotiviti, LLC           50 Danbury Road                               Wilton             CT    06897
                                                         Unit 3B, Clapham North Art Centre, 26‐32
29776565 Conscious Food LTD                              Voltaire Road                                 London                   SW4 6DH       United Kingdom
29776927 Consumer Insights Inc. d/b/a Emicity            5455 Corporate Drive, Suite 120               Troy               MI    48098
29776928 ConsumerLab.com, LLC                            333 Mamaroneck Avenue                         White Plains       NY    10605
29776929 Continental Services                            1578 Reliable Parkway                         Chicago            IL    60686
29776930 Continental Vitamin Company, Inc.               4510 S. Boyle Ave.                            Vernon             CA    90058
29776931 Contract Flooring, LLC                          600 Wharton Drive, SW                         Atlanta            GA    30336
29776932 Controlled Labs                                 180 South Broadway Suite 206                  White Plains       NY    10605
29776933 Convertro, Inc.                                 4712 Admiralty Way, #795                      Marina del Rey     CA    90292
29776934 Conyers, LLC                                    4685 MacArthur Court, Suite 375               Newport Beach      CA    92660
29783709 CoolWhey Inc.                                   5416 Vanden Abeele                            Montreal           QC    H4SIP9        Canada


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 30 of 134
                                              Case 24-12480-JTD           Doc 685       Filed 01/08/25      Page 46 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                     Address                              City      State Postal Code   Country
29776935 Coop Enterprises, LLC                            820 Bella Vista Court S                        Jupiter             FL     33477
29776936 Copeland Cargo Solutions                         PO Box 102071                                  Pasadena            CA     91189‐2071
29785799 Coppertree Staffing LLC                          60 Turnstone Court                             Stafford            VA     22556
                                                          c/o Kimco Realty Corporation, 500 North
29785800 Copperwood Village L.P.                          Broadway, Suite 201                            Jericho             NY    11753
29785801 Coral LLC                                        38 Diamondback wy                              Carson City         NV    89706
29785802 Corben and Clay Company                          1937 N Interstate 35 #100                      New Braunfels       TX    78130
29785803 Core Acquisitions, LLC                           P.O. Box 1243                                  Northbrook          IL    60065
29785804 CORE Nutrition, LLC                              1222 E Grand Ave Suite 102                     El Segundo          CA    90245
29785805 Coremark St. Cloud, LLC                          392 Main Street                                Wyckoff             NJ    07481
29785806 CoreTrust Purchasing Group                       155 Franklin Road                              Brentwood           TN    37027
29785807 Cornerstone Research & Development, Inc.         900 South Depot Dr.                            Ogden               UT    84404
         Cornerstone Research & Development, Inc., dba
29785808 Capstone Nutrition                            900 South Depot Dr.                                Ogden              UT    84404
29785809 Coromega                                      2525 Commerce Way, B                               VISTA              CA    92081
29785810 Coronado Center LLC                           110 N. Wacker Dr.,                                 Chicago            IL    60606
                                                       San Jose‐Goicichea calle Blancos, del edificio del
                                                       Segundo circuito judicial de San Jose, cien metros
         Corporacion SDCR Costa Rica Sociedad De       oeste, cien metros norte, cien metros este,
29776937 Responsabilidad Limitada                      Edificio Gessa                                     San Jose           PR    10803
29776938 Corporate Creations Network Inc.              3411 Silverside Road, Tatnall Building #104        Wilmington         DE    19810
29776939 Corporate Health Education Solutions LLC      27941 Avenida Armijo                               Laguna Niguel      CA    92677
29776940 CorrJensen                                    1525 RALEIGH ST., 500                              DENVER             CO    80204
29776941 Corr‐Jensen, Inc.                             221  S. Cherokee  Street                           Denver             CO    80223
29776942 Cortlandt Manor Equities LLC                  244 West 39th St., 4th Floor                       New York City      NY    10018
29776943 CorVel Enterprise Comp, Inc.                  1920 Main Street, Suite 900                        Irvine             CA    92614
29776944 CorVel Enterprise Comp, Inc.                  2010 Main Street, Suite 600                        Irvine             CA    92614
29776945 Cosmonaut  Holdings, LLC                      365  W.  Taft‐Vineland Rd, Suite 105               Orlando            FL    32824
29776946 Cosmorganic Inc                               60 Broad Street Ste 3502                           New York           NY    10004

29776947 Cotapaxi Custom Design and Manufacturing LLC 466 Kinderkamack Rd., B                            Oradell             NJ    07649
29784155 Couet Corp.                                  4083 Ledgestone Dr.                                Troy                MI    48098

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 31 of 134
                                              Case 24-12480-JTD        Doc 685        Filed 01/08/25        Page 47 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                   City    State Postal Code       Country
29784156 Country Life, LLC.                           180 Vanderbilt Motor Pkwy                          Hauppauge           NY     11788
29784157 County Line Crossing Assoc. L.L.C.           8910 Purdue Rd, Suite 350                          Indianapolis        IN     46260
29784158 Covalent Medical, LLC                        7501 Greenway Center Drive, #300                   Greenbelt           MD     20770
29776518 Coveo                                        3175 Chemin des Quatre‐ Bourgeois                  Quebec City         QC     GIW 2K7     Canada
29784159 Coveo Software Corp.                         P.O. Box 8536                                      Pasadena            CA     91109‐8536
                                                      c/o Select Strategies Brokerage ‐ FL Division LLC,
29784160 CP Pembrok Pines, LLC                        708 East Colonial Drive, Suite 203                 Orlando             FL    32803
                                                      c/o Nigro Companies, 20 Corporate Woods
29784161 CPEG MALTA, L.L.C                            Boulevard                                          Albany              NY    12211
29784162 CPK Union LLC                                1089 Little Britain Road,                          New Windsor         NY    12553
                                                      c/o DuWest Management, LLC, 8522 Broadway,
29784163 CPRK‐II Limited Partnership                  Ste. 209                                           San Antonio         TX    78217
29784164 CPS/Comtech, Inc.                            22 Trails End Court                                Westfield           NJ    07090
                                                      c/o Madison Marquette Real Estate Services LLC,
29784165 CPT Settlers Market, LLC                     1615 South Congress Avenue, Suite 103              Delray Beach        FL    33445
                                                      c/o JBG SMITH Properties , 4747 Bethesda
29784166 CPYR SHOPPING CENTER, LLC                    Avenue, Suite 200                                  Bethesda            MD    20814
29776948 CR Mango, LLC                                C/O CONTINENTAL REALTY CORP                        BALTIMORE           MD    21264‐9475
                                                      c/o Continental Realty Corporation, 1427
29776949 CR Oakland Plaza LLC                         Clarkview Road, Suite 500                          Baltimore           MD    21209
                                                      c/o Paramount Development Corp., 607
29776950 Cranberry Creek Plaza, LLC                   Briarwood Drive, Suite 5                           Myrtle Beach        SC    29572
29776951 Crave Crush LLC                              535 Madison Avenue, Fl 30                          New York            NY    10016
29776952 Creative Bioscience, LLC                     5239 Green Pine Drive                              Salt Lake City      UT    84123
29776953 Creative Circle                              470 Park Avenue South, 14th Floor                  New York            NY    10016
29776954 Creative Circle, LLC                         5900 Wilshire Boulevard, 11th Floor                Los Angeles         CA    90036
29776955 CredibleCravings, LLC                        PO Box 18706                                       Irvine              CA    92623
                                                      Attn: Lee & Associates Raleigh Durham, P.O. Box
29776956 Crescent 1000 LLC and Capital 12520 LLC      33006                                              Raleigh             NC    27636
                                                      Attn: David Shenton, Managing Member, 3134
29776957 Crest Properties, LLC                        Sycamore, Lane                                     Billings            MT    59102
29776958 CRI New Albany Square, LLC                   c/o Casto, 250 Civic Center Dr, Suite 500          Columbus            OH    43215


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 32 of 134
                                              Case 24-12480-JTD            Doc 685       Filed 01/08/25        Page 48 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                       Address                                  City    State Postal Code       Country
29784167 Crio, Inc.                                        1386 W. 70 S.                                    Lindon               UT     84042
29784168 Criteo Corp.                                      411 High Street                                  Palo Alto            CA     94301
29783748 Criteo SA                                         32 rue blanche                                                               75009       Paris
29784169 Cross Grand Plaza LLC                             3155 West Big Beaver Road, Suite 110             Troy                 MI     48084
29784170 Crossroads Retail Solutions Inc.                  22 Ashford Street                                Boston               MA     02134
29784171 Crossroads‐Holt Drive Associates, LLC             20 Ridge Road , Suite 210                        Mahwah               NJ     07430
                                                           c/o Crown Acquisitions, 667 Madison Avenue,
29784172 Crown 181 Broadway Holdings, LLC                  12th Floor                                       New York City        NY    10065
                                                           c/o Paramount Newco Realty, 1195 Rt 70, Suite
29784173 CS Paramount Hooper LLC                           2000                                             Lakewood (CDP)       NJ    08701
                                                           c/o Principal Real Estate Investors, 801 Grand
29784174 CSHV 20/35, LLC                                   Avenue                                           Des Moines           IA    50392‐1370
                                                           c/o CenterSquare Investment Management LLC,
29784175 CSIM Snellville Operator LLC                      161 Washington Street, 7th Floor                 Conshohocken         PA    19428
                                                           c/o CTO Realty Growth iNC., 1140 Williamson
29784176 CTO23 Rockwall LLC                                Blvd., Suite 140                                 Daytona Beach        FL    32114
                                                           c/o CTO Realty Growth Inc., 1140 Williamson
29784177 CTO24 Millenia LLC                                Blvd., Suite 140                                 Daytona Beach        FL    32114
29784178 CTRL Holdings, LLC                                42 Madison Avenue, 31st Floor                    New York             NY    10010
29776959 Cueniverse, LLC                                   50‐17 48th St.                                   Woodside             NY    11377
29776960 Curtis Power Solutions LLC                        3915 BENSON AVE                                  Baltimore            MD    21227
29776961 Curv Group, LLC dba KeySmart                      860 Bonnie Ln                                    Elk Grove Village    IL    60007
29776962 Custom Eco Friendly                               260 Madison Avenue Suite 8081                    New York             NY    10016
         Custom Leather Canada Limited & Grizzly Fitness
29776519 Accessories                                       460 Bingemans Centre Drive                       Kitchener            ON    N2B 3X9      Canada
29776963 Cypress Woods Associates LLC                      8441 Cooper Creek Blvd,                          Bradenton            FL    34207
29776964 CytoSport, Inc.                                   4795 Industrial Way                              Benicia              CA    94510
29776965 Daisy 1, LLC                                      3314 Highlands Bridge Road                       Sarasota             FL    34235
29776966 Daiwa Health Development                          1411 West 190th Street, Suite 375                Gardena              CA    90248
         Dakota Crossing One, LLC and Dakota Crossing
29776967 Two, LLC                                          888 S. Figueroa Street, Suite 1900               Los Angeles          CA    90017
29776546 Dalian Jinyu Metal Products Co., Ltd              Room 1708, B Tower,peace Modern Town                                                     China


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 33 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 49 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                Address                                 City          State Postal Code       Country
29776968 Dallas Manufacturing                         12111 Ford Rd                                     Dallas                 TX     75234
29776520 DAMIVA INC.                                  55 Avenue Road, Suite #2400                       Toronto                ON     M5R 3L2     Canada
29776969 Dandy Ventures, Inc.                         2307 South Saginaw St.                            Flint                  MI     48503
29784179 DAS LABS LLC                                 313 South 740 East #3                             American Fork          UT     84003
29784180 Data Axle, Inc.                              13155 Noel Road                                   Dallas                 TX     75240
29784181 Davenport One, LLC and Davenport Two, LLC    4685 MacArthur Court, Suite 375                   Newport Beach          CA     92660
29784182 David Kirsch Wellness Co.                    210 Fifth Avenue, 7th Floor                       New York               NY     10010
29784183 David Powell (Entity Pending)                6630 Pinta Court                                  Charlotte              NC     28227
29784184 David Vaughan (Entity Pending)               2621 Baltimore                                    Finksburg              MD     21048
29784185 Davinci Laboratories of Vermont              20 New England Drive                              Essex Jct              VT     05452

29776560 Dawaai Private Limited                       Suite 1216, Caesars Tower, Main Shahra‐e‐Faisal   Karachi                      74400       Pakistan
29784186 Dawnbury Inc.                                7899 High Dr.                                     Indianapolis           IN    46248
29784187 DBG Partners, Inc.                           2300 Valley View Lane, Suite 110                  Irving                 TX    75062
29784188 DCHPETS LLC                                  108 Holly Grove                                   Williamsburg           VA    23185
                                                      Attn: Executive VP ‐ Leasing , 3300 Enterprise
29784189 DDR Ohio Opportunity II LLC                  Parkway                                           Beachwood              OH    44122
                                                      DDR Corp. , Attn: General Counsel , 3300
29784190 DDR Ohio Opportunity II LLC                  Enterprise Parkway                                Beachwood              OH    44122
29784191 De Mert Brands Inc.                          15402 N. Nebraska Ave Suite 102                   Lutz                   FL    33549
29776970 Dell Financial Services LLC                  ONE DELL WAY                                      Round Rock             TX    78682
29776971 DELL Marketing L.P                           One Dell Way                                      Round Rock             TX    78682
                                                      c/o Retail Property Group Inc., 101 Plaza Real
29776972 Delray Place, LLC                            South, Suite 200                                  Boca Raton             FL    33432
                                                      c/o Legend Management Services Inc., 1000
29776973 DEPG Stroud Associates II, L.P.              Fayette Street                                    Conshohocken           PA    19428
29776974 Derma E                                      2130 Ward Ave,                                    SIMI VALLEY            CA    93065
29776975 Derob Associates LLC                         10 Rye Ridge Plaza, Suite 200                     Port Chester           NY    10573
29776976 Desert Essence                               10556 Combie Road PMB 6711                        Auburn                 CA    95602
29776977 design LAB, Inc.                             19210 S. Vermont Ave                              Gardena                CA    90248
29776978 Designer Protein                             PO BOX 21469                                      Carlsbad               CA    92018
29776979 Destination Marketing                        6808 220th St SW, Suite 300                       Mountainlake Terrace   WA    98043

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 34 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25      Page 50 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                  Address                               City     State Postal Code   Country
29776980 Destiny Building LLC                         1260 NW 72rd Avenue,                           Miami               FL     33126
29784192 Detoxify LLC                                 8901 E. Pima Center Parkway, Suite 215         Scottsdale          AZ     85258
29784193 Detroit Belle Isle Grand Prix, Inc.          300 Renaissance Tower                          Detroit             MI     48243
29784194 Development Dimensions International, Inc.   1225 Washington Pike                           Bridgeville         PA     15017
29784195 Devil Dog Pets Inc.                          334 Francis Drive                              Jackson             MO     63755
29784196 DeVille Developments, LLC                    3951 Convenience Circle NW, Suite 301          Canton              OH     44718
29784197 Diamond Center Realty LLC                    27 Holly Brook Road,                           Paramus             NJ     07652
29784198 Diamond Herpanacine of PA, Inc.              1518 Grove Avenue, Suite #2B                   Jenkintown          PA     19046
29784199 Diane Stollenwerk                            3957 Cloverhill Road                           Baltimore           MD     21218
29784200 Dicks Adventure LLC                          33 Church Street,                              Montclair           NJ     07042
29784201 Dierbergs 5LP                                16690 Swingley Ridge Road, PO Box 1070         Chesterfield        MO     63017
29784202 Differt Management Group 1, LLC              7611 County Road O                             Hartford            WI     53027
29784203 Digital Prophets Network, LLC                56 SQUAW ROAD                                  East Hampton        NY     11937
29784204 DILLON CENTER, LLC,                          933, Columbia Boulevard                        Bloomsburg          PA     18815
29776981 Direct Digital LLC                           508 West 5th Street, Suite 140                 Charlotte           NC     28202
29776982 DirectPath LLC                               120 18th Street South                          Birmingham          AL     35233
29776983 DIRIGO‐Pets, LLC                             1345 George Jenkins Blvd.                      Lakeland            FL     33815
29776984 DIRIGO‐WNW, LLC                              1345 George Jenkins Blvd.                      Lakeland            FL     33815
29776985 Discover Products Inc.                       2500 Lake Cook Road                            Riverwoods          IL     60015
29776986 Discovery Benefits, Inc.                     4321 20th Avenue South                         Fargo               ND     58103
29776987 Distributed Meditation Technology LLC        1435 N Dutton Ave                              Santa Rosa          CA     95401
29776988 Diverse Staffing Services, Inc.              7135 Waldemar Drive                            Indianapolis        IN     46268
29776989 Divine Health                                1908 Boothe Circle                             Longwood            FL     32750
29776990 Divine Health, Inc.                          1908 Boothe Circle                             Longwood            FL     32750
                                                      c/o Global Realty & Management FL Inc., 4125
29776991 Dixie Pointe Shopping Center, LLC            NW 88 Avenue                                   Fort Lauderdale     FL    33351
29784205 DJ & Sons LLC                                200 Old Mountain Road                          Marion              CT    06444
29784206 DLI Properties, LLC                          2000 Brush Street                              Detroit             MI    48226
29784207 DLP Construction                             5935 Shiloh Road East                          Alpharetta          GA    30005
29784208 DLP Construction Inc.                        5935 Shiloh Road East                          Alpharetta          GA    30005
29784209 DLP Enterprises, LLC                         2537 La Rochelle Court                         Seabrook            TX    77586


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 35 of 134
                                              Case 24-12480-JTD            Doc 685       Filed 01/08/25     Page 51 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                       Address                              City            State Postal Code        Country
29784210 DMFC Incorporated                                 276 Pine Avenue                                Manasquan                  NJ     08736
29784211 DMS Natural Health, LLC (Just Thrive Probiotic)   810 Busse Highway                              Park Ridge                 IL     60068
29784212 Doctor's Best, Inc.                               197 Avenida La Pata, Suite A                   San Clemente               CA     92673
29784213 DocuSign Inc.                                     3003 Tasman Drive                              Santa Clara                CA     95054
29784214 Dog Days in Paradise LLC                          2565 4th Avenue West                           Seattle                    WA     98119
29784215 Don Pet Supplies                                  8121 Norton Ave Unit 101                       West Hollywood             CA     90046
29784216 Donmar, Inc.                                      382 Adams St.                                  Plymouth                   MI     48170
29784217 Donnelly Industries, Inc.                         557 Route 23 South                             Wayne                      NJ     07470
29776992 DoorDash G&C, LLC                                 303 2nd Street                                 San Francisco CA 94107     CA     94107
29776993 DoorDash, Inc.                                    303 2nd Street, South Tower, Suite 800         San Francisco              CA     94107
29776994 DoorDash, Inc.                                    303 2nd Street                                 San Francisco              CA     94107
29776995 Dorroh Pet Enterprises, LLC                       4531 Fountain View Trace                       Owensboro                  KY     42303
29776996 Douglas Campbell (Entity Pending)                 5307 Morningside Avenue                        Dallas                     TX     75206
29776997 Douglasville Promenade LLC                        3350 Riverwood Parkway, Suite 450              Atlanta                    GA     30339
29776998 Dov & P Holding Corp.                             49 Murray Hill Terrace                         Lauvsnes, Nord‐Trøndelag          07746
29776999 Downey Landing SPE, LLC                           200 E. Carrillo Street, Suite 200              Santa Barbara              CA     93101
29777000 Dr. Bronner's Magic Soaps                         P.O. Box 28                                    Escondido                  CA     92033
29777001 Dr. Jacobs Naturals LLC                           1178 Broadway, 5th Floor                       New York                   NY     10001
29777002 Dr. Theo's® Official                              5257 N Via Sempreverde                         Tucson                     AZ     85750
29784218 Dr. Venessa's Formulas                            2212 S Chickasaw Tri #170                      Orlando                    FL     32875
29784219 Dracula                                           PO BOX 205                                     COTTONTOWN                 TN     37048
29784220 DREAMBRANDS, INC                                  11645 N CAVE CREEK RD                          PHOENIX                    AZ     85020
29784221 Drink Chia, LLC                                   1003 Orienta Ave.                              Altamonte Springs          FL     32701
29784222 Drivepressa's Formulas                            2212 S. Chickasaw Trl #170                     Chando                     FL     32025
29784223 DRP Market Heights Property Owner, LLC            12221 Merit Dr., Suite 1220                    Dallas                     TX     75251
29784224 Drvil Inc.                                        6980 W. Warm Springs, 100                      LAS VEGAS                  NV     89113
29784225 DrVita, Inc.                                      6980 W. Warm Springs, 100                      LAS VEGAS                  NV     89113
29784226 D's Naturals, LLC                                 6125 East Kemper Road                          Cincinnati                 OH     45241
29784227 DSM MB II LLC                                     875 East Street                                Tewksbury                  MA     01876
29783757 DSM Nutritional Products AG                       Wurmisweg 576                                  Kaiseraugst                       4303        Switzerland
29784228 DSM Nutritional Products, LLC                     55 Sebethe drive, Suite 102,                   Cromwell                   CT     06416


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 36 of 134
                                                Case 24-12480-JTD       Doc 685        Filed 01/08/25        Page 52 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                             Name                                   Address                                  City     State Postal Code      Country
29784229 DSMK Wag 1, LLC                                5815 Prospect Lane                               Westerville          OH     43082
29784230 DT Prado LLC                                   3300 Enterprise Parkway                          Beachwood            OH     44122
29777003 DUDE Products, Inc.                            3501 N Southport #476                            Chicago              IL     60657
29777004 Duke Cannon Supply Company                     1000 Superior Blvd, Suite 301                    Wayzata              MN     55391
29777005 Duluth Retail 4 Guys, LLC                      7940 Via Dellagio Way, Suite 200                 Orlando              FL     32819
29777006 dunnhumby Inc.                                 3825 Edwards Road, Suite 600                     Cincinnati           OH     45209
29777007 Duo Wen, Inc. (dba Sparkle Collagen)           245 Saw Mill River Road, Suite 106               Hawthorne            NY     10532‐1547
29783739 DuPont Nutrition Biosciences ApS               Parallelvej 16                                   Kongens Lyngby              2800        Denmark
29777008 Dutch Honey, Inc.                              2220 DUTCH GOLD DRIVE,                           LANCASTER            PA     17601
29777009 Dyla LLC                                       222 Broadway 19th Floor                          New York             NY     10038
29777010 Dymatize Enterprises, Inc.                     13737 N Stemmons Frwy                            Farmers Branch       TX     75234
29777011 Dynamic Health Laboratories, Inc.              110 Bridge Street, Floor 2                       Brooklyn             NY     11201
29777012 Dynata, LLC                                    4 Research Drive, Suite 300                      Shelton              CT     06484
29777013 E & F Sales, LLC                               5889 Whitmore Lake Road, Suite C                 Brighton             MI     48116
29784231 E.V.P. Enterprises, Inc.                       323 Neptunes Bight                               Naples               FL     34103
29784232 Eagle Labs, Inc.                               5000 Park Street North                           St. Petersburg       FL     33709
29784233 Eagle Matrix LLLP                              4446‐1A Hendricks Ave., PMB#377                  Jacksonville         FL     32207
29784234 Earth Mama Angel Baby                          9866 SE Empire Ct                                Clackamas            OR     97015
29784235 Earth Science Naturals                         6383 Rose Lane, Suite B                          Carpinteria          CA     93013
29784236 Earthrise Nutritionals LLC                     2151 Michelson Drive, Suite 258                  Irvine               CA     92612
29784237 Earth's Care Natural Products, Inc.            7015 Marcelle Street                             Paramount            CA     90723
                                                        c/o Benenson Capital Partners LLC, 155 East 44th
29784238 East Broadway Tucson Co. LLC                   Street, 27th Floor                               New York City        NY    10017
29784239 East End Associates LLC                        277 Park Ave.,                                   New York City        NY    10017
29784240 East Hampton NY Enterprises LLC                P.O. Box 620712                                  New York City        NY    11362
29784241 Easton Market SC, LLC                          814 Commerce Drive, Suite 300                    Oak Brook            IL    60523
29784242 EastWing, LLC                                  733 Struck Street, Unit#44624                    Madison (town)       WI    53744
29784243 EasyVista Inc.                                 3 Columbus Circle, 15th Floor, Suite 1532        New York             NY    10019
29777014 Eat Me Guilt Free 2 Corp                       4600 SW 71st Ave                                 Miami                FL    33155
29777015 Eatontown Plaza LLC                            523 Michigan Ave.,                               Miami Beach          FL    33139
29777016 EB Brands                                      4 Executive Plaza                                Yonkers              NY    10701


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 37 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25      Page 53 of 149

                                                                           Exhibit B
                                                                     Cure Parties Service List
                                                                    Served via First Class Mail

AddressID                            Name                                  Address                              City     State Postal Code         Country
29777017 Echo Global Logistics                       600 W. Chicago Ave., Suite 725                  Chicago            IL     60654
                                                     c/o ECHO Real Estate Services Co., 560 Epsilon
29777018 Echo Solon, LLC                             Drive                                           Pittsburgh         PA    15238
29777019 Eclectic Institute Inc                      36350 SE Industrial Way                         Sandy              OR    97055
29777020 Eclipse Real Estate LLC                     601 Union Street, Suite 2300                    Seattle            WA    98101
29777021 Eco Lips                                    329 10th Ave SE                                 Cedar Rapids       IA    52401
29777022 Eco Vessel                                  5485 Conestoga Court Suite 100                  Boulder            CO    80301
29776521 Ecotrend Ecologics Ltd.                     125 West 3rd Avenue                             Vancouver          BC    V5Y 1E6        Canada
29777023 Ecova, Inc.                                 1313 North Atlantic                             Spokane            WA    99201
29777024 Ecova, Inc.                                 1313 14 Atlantic, Nt 4500                       Spokane            WA    99201
29777025 Edge Realty Partners Austin LLC             515 Congress Avenue, Suite 2325                 Austin             TX    78701
                                                     c/o North American Development Group, 360
29784244 Edgewood Retail, LLC                        South Rosemary Avenue, Suite 400                West Palm Beach    FL    33401
                                                     c/o Phillips Edison & Company, 11501 Northlake
29784245 Edgewood Station LLC                        Drive                                           Cincinnati         OH    45249
                                                     c/o 1045, LLC, 1045 South Woods Mill Rd., Suite
29784246 EGAP Crawfordsville I, LLC                  One                                             Town and Country   MO    63017
29784247 EGATE‐95, LLC                               8441 Cooper Creek Blvd.,                        Bradenton          FL    34201
29784248 Egg Whites International, LLC               630 W. Freedom Ave                              Orange             CA    92865
29776558 Egmont Honey Limited                        21 Connett Road West, Bell Block                New Plymouth             4312           New Zealand
29784249 EGP Gainesville II, LLC                     c/o 1045 LLC                                    TOWN & COUNTRY     MO    63017
29784250 Egyptian Magic Distribution LLC             3101 Clifton Ave.                               Cincinnati         OH    45220
29784251 Eight IP LLC                                860 Johnson Ferry Road, Suite 140156            Atlanta            GA    30342
29784252 Eight Mile Pets, Inc.                       1001 Grand Avenue                               West Des Moines    IA    50265
29784253 Eighteen Associates LLC                     32 Court Street                                 Brooklyn           NY    11201
                                                     c/o The Shopping Center Group LLC, 300 Galleria
29784254 EJT II, LLC                                 Pkwy, 12th Floor                                Atlanta            GA    30339
29784255 Elanco US Inc.                              28576 Network Place                             Chicago            IL    60673
29777026 Elder‐Jones General Contractor              1120 East 80th Street, Suite # 211              Bloomington        MN    55420
                                                     Black Oak Associates, 1 West Pennsylvania Ave.,
29777027 Eldersburg Sustainable Redevelopment LLC    Ste. 975                                        Towson             MD    21204
29777028 Elemental Herbs Inc.                        PO Box 203                                      Morro Bay          CA    93443

      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                             Page 38 of 134
                                              Case 24-12480-JTD        Doc 685        Filed 01/08/25       Page 54 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                 Address                                     City   State Postal Code         Country

29777029 Elements Brands, LLC DBA Natural Dog Company 4444 South Blvd                                   Charlotte             NC    28209
29777030 Elite Entertainment                          2 Hartford Drive Suite 106                        Tinton Falls          NJ    07701
29777031 Ellen Hartleb                                21 West 34th Street                               Erie                  PA    16508
29776557 Elsevier B.V.                                Radarweg  29                                      Amsterdam                   1043          Neatherland
                                                        15730 Willows Dr., Spring Lake, MI 49456 AND
29777032 Elvis & Emmett, LLC                            15700 Silver Parkway Apt. 201                   Fenton                MI    04830
29777033 Elyptol Inc.                                   2500 Broadway, Suite F‐125                      Santa Monica          CA    90404
29777034 EmBark One Eleven, LLC                         6476 Dausman Park                               Clarkville            MI    48815
29777035 Emerge Technologies, Inc.                      1431 Greenway Drive, Suite 800                  Irving                TX    75038
29777036 Emerson Healthcare                             Lock Box # 510782, 701 Market Street 199 3490   Philadelphia          PA    19175‐0782
29784256 Emerson Healthcare, LLC                        Lock Box # 510782, 701 Market Street 199 3490   Philadelphia          PA    19175‐0782
29784257 Emicity                                        5455 Corporate Drive Suite 120                  Troy                  MI    48098‐2620
29784258 Empire Today                                   2107 East Magnolia Street                       Phoenix               AZ    85034
29784259 Emporium Shoppes L.L.C.                        2924 Davie Road, Suite 202                      Fort Lauderdale       FL    33314
29784260 Empyr, Inc.                                    11010 Roselle St Ste 150                        San Diego             CA    92121
29784261 Empyrean Benefit Solutions, Inc.               3010 Briarpark Drive, Suite 8000                Houston               TX    77042
29784262 Endangered Species Chocolate LLC               5846 W. 73rd St                                 Indianapolis          IN    46278
29784263 ENGIE Insight Services Inc dba ENGIE Impact    PO Box 74008380                                 Chicago               IL    60674
29784264 Engineered Sports Technology (EST)             3839 Old Winter Garden Rd. Ste 1518             Orlando               FL    32805
29776547 Engreat Pet Products (Shenzhen) Co., Ltd.      BLDG 2                                           SHENZHEN                   518116     China
29784265 EN‐R‐G FOODS, LLC                              PO BOX 771162                                   Steamboat             CO    80477
29784266 Entara Corporation                             227 W Monroe St                                 Chicago               IL    60606
29784267 Enterprise FM Trust                            600 Corporate Park Dr                           Saint Louis           MO    63105
29784268 Entrepreneur Media, Inc.                       18061 FITCH                                     Irvine                CA    92614
29777037 Enviro Mechanical Technologies                 83 Chamberlain Ave.                             Elmwood Park          NJ    07407
29777038 Enviro Mechanical Technologies                 33‐35 Sebago Street                             Clifton               NJ    07013
29777039 Enviro Mechanical Technologies USA LLC         33‐35 Sebago Street                             Clifton               NJ    07013
29776522 Enyotics Health Sciences Inc.                  6‐295 Queen Street East Suite 289               Brampton              ON    L6W 456    Canada
29777040 Enzymedica, Inc.                               771 Commerce Dr                                 Venice                FL    34292
29777041 Epic Dental LLC                                4735 South Cherry Street                        Murray                UT    84123


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 39 of 134
                                             Case 24-12480-JTD       Doc 685       Filed 01/08/25      Page 55 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                               Address                                 City     State Postal Code       Country
29776523 Epicor Retail Solutions Corporation         2800 Trans‐Canada Highway                      Pointe‐Claire       QC     H9R 1B1     Canada
29777042 Epps Bridge Centre Property Company, LLC    6445 Powers Ferry Road, Suite 120              Atlanta             GA     30339
29777043 Epsilon Data Management, LLC                35 W Wacker Drive                              Chicago             IL     60601
         Epsilon Data Management, LLC
29777044 Conversant   LLC                            Conversant LLC, 2525 Arapahoe Ave              Boulder             CO    60601
         Epsilon Data Management, LLC
29777045 Conversant LLC                              Conversant LLC, 35 W Wacker Drive              Chicago             IL    60601
29777046 Equifax Workforce Solutions LLC             4076 Paysphere Circle                          Chicago             IL    60674
29777047 Erbaviva                                    19831 Nordhoff Place #116                      Chatsworth          CA    91311
29784269 ERG Realty LLC                              6 State Street,                                Canaman             ME    04402
29784270 Ernst & Young LLP                           99 Wood Avenue South, Metropark                Iselin              NJ    08830‐0471
29784271 Erom Inc.                                   14630 Industry Gr                              La Mirada           CA    90638
29784272 Escali, Corp.                               3203 Corporate Center Drive, Suite 150         Burnsville          MN    55306
29784273 ESPN                                        500 South Buena Vista Street                   Burbank             CA    91521
29784274 Essentia Water LLC                          27833 Bothell‐Everett Hwy, Suite 220           Bothell             WA    98021
29784275 Essential Formulas Incorporated             1861 Valley View Lane Ste 180                  Farmers Branch      TX    75234
29784276 Essential Living Foods Inc.                 3550 Hayden Avenue                             Culver City         CA    90232
29784277 Essential Source, Inc.                      625 W. Deer Valley Rd., 103‐152                Phoenix             AZ    85027
29784278 ETB North America, LLC                      200 S. College Street Suite 1530               Charlotte           NC    28202
29784279 Eternal Beverages Inc                       2950 Buskirk Ave # 312                         Walnut Creek        CA    94597
29776524 Ethoca Limited                              100 Sheppard Avenue East, Suite 605            Toronto             ON    M2N 6N5    Canada
29784280 Etkin Executive Search Group                273 MERRICK ROAD                               Lynbrook            NY    11563
29783738 Euger Lin                                   3 Joslin Lane,                                 Copenhagen                1772       Denmark
29784281 EUROCHOC AMERICAS CORPORATION               4325 INDECO COURT                              CINCINNATI          OH    45241
29777048 Europa Sports Products LLC                  11401 Granite Street                           Charlotte           NC    28273
29777049 Europa Sports Products, Inc.                11401‐H Granite Street                         Charlotte           NC    28273
29777050 EuroPharma Inc.                             955 Challenger Drive                           Green Bay           WI    54311
29777051 Eustis Covenant Group LLC                   2460 Paseo Verde Parkway, Suite 145            Henderson           NV    89074
29777052 Evalar, Inc.                                7900 Glades Road Suite 425                     Boca Raton          FL    33434
29777053 EVJA & Associates (Columbia) LLC            1620 Scott Avenue,                             Charlotte           NC    28203
29777054 Evolution Salt Co                           11212 Metric Blvd, Ste 100                     Austin              TX    78758


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 40 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25        Page 56 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                Address                                   City     State Postal Code   Country
29777055 Evolved Group, LLC, d/b/a Buy Box Experts    10808 South River Front Parkway, Suite 3053        South Jordan       UT     84095

         EW Mansell, LLC and East West Commons        c/o Colliers International Management ‐ Atlanta
29777056 Investors, LLC                               LLC, 1230 Peachtree Street NE Atlanta, Suite 800   Atlanta            GA    30309
                                                      c/o ExchangeRight Real Estate, LLC, 1055 E.
29777057 ExchangeRight Value‐Add Portfolio 1 DST      Colorado, Blvd., Suite 310                         Pasadena           CA    91106
29777058 Exclusive Supplements Inc.                   3000 Casteel Dr                                    Coraopolis         PA    15108
29784282 Exel Inc. d/b/a DHL Supply Chain (USA)       360 Westar Boulevard                               Westerville        OH    43082
29784283 EXIGIS, LLC                                  589 8th Ave, Floor 8                               New York           NY    10018
29784284 Experian Marketing Solutions LLC             53 State Street Ste 20                             Boston             MA    02109
29784285 Experience More in Store, LLC                8978 Wildlife Loop                                 Sarasota           FL    34238
29784286 Expicient Inc.                               26, Chestnut St, Suite 1 D                         Andover            MD    01810
29784287 Express Messenger Systems, Inc. dba OnTrac   2501 S. Price Rd.                                  Chandler           AZ    85286
29784288 Express Services, Inc.                       8345 W. Thunderbird Road, Suite B‐107              Peoria             AZ    85381
29784289 EyeScience Labs, LLC                         493 Village Park Drive                             Powell             OH    43065
29784290 FAAR Properties LLC                          100 Garvies Point Road, Unit 1037                  Glen Cove          NY    11542
29784291 FABIA, LLC                                   P.O. Box 2233                                      Valparaiso         IN    46384
29784292 FABWA, LLC                                   P.O. Box 2233                                      Valparaiso         IN    46384
29784293 Facebook                                     15161 COLLECTIONS CENTER DRIVE                     Chicago            IL    60693
29777059 Factor Nutrition Labs LLC                    100 Commercial St. Suite 200                       Portland           ME    04101
29777060 Fahrenheit IT                                10375 PARK MEADOWS DRIVE, SUITE 475                Littleton          CO    80124
                                                      c/o Phillips Edison and Co. , 11501 Northlake
29777061 Fairfield Station LLC                        Drive                                              Cincinnati         OH    45209
29777062 Fairlawn Station, LLC                        c/o Phillips Edison & Co., 11501 Northlake Drive   Cincinnati         OH    45249
29777063 Fairview Realty Investors, Ltd.              P.O. Box 16452                                     Rocky River        OH    44116
29777064 Fairway Equity Partners, LLC                 c/o Fairway Union, 12818 Lott Ave.                 Houston            TX    77089
29777065 Fairy Tales Hair Care, Inc.                  4 Just Road                                        Fairfield          NJ    07004
29777066 Falcon Landing LLC                           5839 Via Verona View,                              Colorado Springs   CO    80919
29777067 Family Foundation Pets, Inc.                 3860 Maiden Street                                 Waterford          MI    48329
29777068 Fastly, Inc.                                 P.O. Box 78266                                     San Francisco      CA    94107




       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 41 of 134
                                              Case 24-12480-JTD            Doc 685       Filed 01/08/25      Page 57 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                       Address                              City    State Postal Code   Country
                                                           c/o Benderson Development Co. LLC , 570
29777069 FBBT/US Properties, LLC                           Delaware Ave                                   Buffalo             NY    14202
29784294 FBMR Waite Park, LLC                              1404 Calvin Avenue                             Nashville           TN    37206
                                                           C/O: Milan Capital Management Inc., 701 S.
29784295 FC Rancho, LLC                                    Parker Street, Suite 5200                      Orange              CA    92868
29784296 FDI Management                                    12145 Summit Ct.                               Beverly Hills       CA    90210
                                                           c/o Abrams Realty & Development, 310
29784297 Feasterville Realty Associates, LP                Yorktown Plaza,                                Elkins Park         PA    19027
29784298 Federal Heath Sign Company, LLC                   1806 Rochester Industrial Dr.                  Rochester Hills     MI    48309
29784299 Federal Realty Investment Trust                   909 Rose Avenue, Suite 200                     North Bethesda      MD    20852
29784300 Federal Realty OP LP                              909 Rose Avenue, Suite #200                    Rockville           MD    20852
            Federal Way Crossings Owner, LLC and Trimark
29784301 FWC Owner, LLC                                    10655 NE 4th Street, Suite 700                 Bellevue            WA    98004
                                                           CORPORATE ACCTS. RECEIVABLE, 333 EAST
29784302 FedEx                                             LEMON ST                                       Lakeland            FL    33804‐5001
29784303 Felix Center On Kirby Ltd.                        1800 St. James Place, Suite 300                Houston             TX    77056
29784304 Ferrara & Company                                 301 College Road East                          Princeton           NJ    08540
29784305 Ferro's Restaurant, LLC                           145 East 50th Street                           New York            NY    10022
                                                           c/o Kimco Realty Corporation, 500 North
29777070 Festival of Hyannis LLC                           Broadway, Suite 201                            Jericho             NY    11753
29777071 Festival Properties, Inc.                         1215 Gessner Road                              Houston             TX    77055
29777072 Fetch ... For Cool Pets, LLC                      1407 Broadway                                  New York            NY    10018
29777073 Fetch for Cool Pets LLC                           115 Kennedy Drive,                             Sayreville          NJ    08872
29777074 Fifth & Alton (Edens) LLC                         500 East Broward Boulevard, Suite 1620,        Fort Lauderdale     FL    33301
29777075 Fifth & Alton (Edens) LLC                         1221 Main Street, Suite 1000                   Columbia            SC    29201
         Fifty144 Oak View Partners, LLC and Crescent      Oak View Hollow c/o The Lund Company, 450
29777076 Partners, LLC                                     Regency Parkway, Suite 200                     Omaha               NE    68114
29777077 Fina Bueno, Inc. dba healthy hoohoo               70 SW Century Drive Suite 100‐289              Bend                OR    97702
29777078 Financial Recovery Services, LLC                  80 Wesley Street                               South Hackensack    NJ    07606
29777079 Financial Software Innovations, Inc.              3102 Bee Caves Road, Suite 200                 Austin              TX    78746
29777080 Finnegan Dexter, LLC                              1345 George Jenkins Blvd.                      Lakeland            FL    33815



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 42 of 134
                                             Case 24-12480-JTD           Doc 685       Filed 01/08/25       Page 58 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                        Name                                        Address                                  City   State Postal Code     Country
         First Amendment & Restatement of the Massimo
         Musa Revokable Trust 2021 Gunbarrel Road,
29784306 Chattanooga TN                                 4800 No Federal Highway, Suite 201B              Boca Raton          FL    33431
29784307 FIRST CC (WEST WENDOVER) LLC                   801 East Morehead Street, Suite 301              Charlotte           NC    28202
29784308 First Data Merchant Services LLC               2900 Westside Parkway                            Alpharetta          GA    30004
29784309 First Data Services, LLC                       1307 Walt Whitman Road                           Melville            NY    11747
29784310 First Data Services, LLC Bank of America, NA   BANK OF AMERICA, NA, PO Box 1256                 Englewood           CO    11747
         First Data Services, LLC
29784311 Bank of America, N.A.                          Bank of America, N.A., PO Box 1256               Englewood           CO    11747
29784312 First Endurance                                PO Box 71661                                     Salt Lake City      UT    84171
29784313 First Reliance Standard Life Insurance Company 488 Madison Avenue, Suite 803                    New York            NY    10022
29784314 Fischer Pet Stores, Inc.                       c/o Paracorp Incorporated, 106 5th Avenue SE     Olympia             WA    98501
                                                        c/o Mosbacher Properties Group, 18 E. 48th St,
29784315 Fishkill Plaza Partners LP                     19 Floor                                         New York            NY    10017
29784316 Fishman PR & Marketing                         3400 Dundee Road Suite 300                       Northbrook          IL    60062
29784317 Fishman Public Relations                       3400 Dundee Road Suite 300                       Northbrook          IL    60062
29777081 Fishman Public Relations, Inc.                 3400 Dundee Road Suite 300                       Northbrook          IL    60062
29777082 Fit Butters LLC                                11526 Brayburn Trail                             Dayton              MN    55369
29776525 Fit Foods Distribution Inc.                    PO Box 43, STN MAIN                              Port Coquitlam      BC    V3C 3V5    Canada
29777083 Fit Products, LLC                              1606 Camerbur Drive,                             ORLANDO             FL    32805
29777084 fitlosophy, inc.                               260 Newport Center Drive, Suite 100              Newport Beach       CA    92660
29777085 FITzee Foods Inc.                              PO Box 515381, #75732                            Los Angeles         CA    90051‐6681
29777086 Five Cat Ladies, LLC                           6006 Spring Creek Grove Lane                     Spring Lake         TX    77379
29777087 Five Star Organics LLC                         2925 Adeline Street                              Oakland             CA    94608
                                                        Princeton Forrestal Village, 116 Village Blvd,
29777088 Flatworld Solutions Inc.                       Suite, 200                                       Princeton           NJ    08540
29777089 FlexPower, Inc                                 823 Gilman St                                    Berkeley            CA    94710
29777090 flexReceipts                                   201 SOUTH ORANDE AVENUE, SUITE 925               Orlando             FL    32801
29777091 Flora, Inc.                                    805 E Badger Rd.                                 Lynden              WA    98264
29784318 Florida Bottling, Inc.                         1035 NW 21st Terrace                             Miami               FL    33127
                                                        c/o One Global Property Management LLC, 900
29784319 Florida Investments 8 LLC                      North Federal Highway, Suite 300                 Hallandale Beach    FL    33009

      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                  Page 43 of 134
                                                Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 59 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                   Address                                 City    State Postal Code   Country
                                                        c/o One Global Property Management LLC, 900
29784320 Florida Investments 9 LLC                      North Federal Highway, Suite 300                 Hallandale Beach    FL    33009
29784321 FLUROWATER INC.                                44 WALL STREET, 12th FLOOR                       NEW YORK            NY    10005
29784322 FLW 101, LLC                                   1001 B. Avenue, Suite 301                        Coronado            CA    92118
29784323 Focus Nutrition LLC                            96 N 1800 W #11                                  Lindon              UT    84042
29784324 Focused Pets, LLC                              1207 W Hawthorne Street                          Arlington Heights   IL    60005
                                                        c/o Foundry Commercial LLC, 420 S. Orange
29784325 FOF II Alamance Property Owner, LLC            Ave., Suite 400                                  Orlando             FL    32801
29784326 Food for Health International                  825 E 800 N                                      Orem                UT    84097
29784327 FoodScience Corporation                        20 New England Drive                             Essex Junction      VT    05452
29784328 FoodState Inc.                                 380 & 390 Harvey Rd                              Manchester          NH    03103
                                                        c/o Capital Asset Management, 2701 E.
29784329 Foothills Shopping Center, LLC                 Camelback Rd., Ste. 170                          Phoenix             AZ    85016
                                                        c/o Vision Investment Partners, 700 N. Old
29777092 Ford Road Ventures, LLC                        Woodward Ave, Suite 300                          Birmingham          MI    48009
29777093 Fordham Retail Associates, LLC                 999 Waterside Drive, Suite 2300                  Norfolk             VA    23510
29777094 FOREMAN PRO CLEANING, LLC                      101 Production Drive, Suite 100‐b                Yorktown            VA    23693
29777095 Formulife, Inc DBA. Purus Labs, Inc.           11370 Pagemill Rd                                Dallas              TX    75243
29777096 Fort Steuben Mall Holdings LLC                 4996 Indiana Avenue                              Winston Salem       NC    27106
29777097 Fort Steuben Mall Holdings LLC                 Fort Steuben Mall Holdings LLC, 100 Mall Drive   Steubenville        OH    43952
29777098 Fortna Inc.                                    333 Buttonwood Street                            West Reading        PA    19611
29777099 ForUsAll, Inc.                                 665 3rd St                                       San Francisco       CA    94107
29777100 Forward Foods LLC                              2310 S. Carson St #6                             Carson City         NV    89701
29777101 Fountain Property LLC                          20814 Gartel Drive,                              Walnut              CA    91789
29777102 Four Sigma Foods, Inc.                         2711 Centerville Road PMB #7988, 120             Wilmington          DE    19808‐1645
29784330 Fowler Investment Company LLC                  2805 W. Horatio St. # Office,                    Tampa               FL    33609
29784331 FOXMO, Inc.                                    3860 Wabeek Lake Drive E                         Bloomfield Hills    MI    48302
                                                        c/o Federal Realty Investment Trust, 909 Rose
29784332 FR Grossmont, LLC                              Avenue, Suite 200                                Rockville           MD    20852
29784333 FranConnect Inc.                               11800 Sunrise Valley Dr.                         Reston              VA    20191
29784334 FranConnect LLC                                11800 Sunrise Valley Dr.                         Reston              VA    20191
29784335 FranConnect, LLC                               13865 Sunrise Valley Drive, Suite 150            Herndon             VA    20171

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 44 of 134
                                               Case 24-12480-JTD      Doc 685       Filed 01/08/25      Page 60 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                  Address                               City    State Postal Code   Country
29784336 Franklin Covey Client Sales, Inc.             2200 West Parkway Boulevard                   Salt Lake City      UT     84119
29784337 Franks House, LLC                             10767 Adams Road                              Galena              OH     43021
29784338 FranNet, LLC                                  10302 Brookridge Village Blvd                 Louisville          KY     40291
29784339 Freedom 45 Corporation                        2925 NE Lotno Drive                           Bend                OR     97701
29784340 Freeman Expositions, Inc.                     1600 Viceroy Drive, Suite 100                 Dallas              TX     75235
29784341 Freeport Pets, LLC                            2295 Spring Rose Road                         Verona              WI     53593
29784342 French Transit, Ltd.                          398 Beach Road                                Burlingame          CA     94010
                                                       c/o Geneva Management LLC, 2950 SW 27th
29777103 Frontier Bel Air LLC                          Avenue, Suite 300                             Miami               FL    33133
                                                       c/o Geneva Management LLC, 2950 SW 27th
29777104 Frontier Dania LLC                            Avenue, Suite 300                             Miami               FL    33133
                                                       c/o Geneva Management LLC, 2950 SW 27th
29777105 Frontier Dover LLC                            Avenue, Suite 300                             Miami               FL    33133
29777106 Frontier Essentials, LLC                      3021 78th Street, PO Box 299                  Norway              IA    46360
                                                       c/o Geneva Management LLC, 2950 SW 27th
29777107 Frontier Kissimmee LLC                        Avenue, Suite 300                             Miami               FL    33133
                                                       c/o Geneva Management LLC, 2950 SW 27th
29777108 Frontier Osceola LLC                          Avenue, Suite 300                             Miami               FL    33133
29777109 FULL CORE LLC                                 1015 Atlantic Blvd #296                       Atlantic Beach      FL    32233
29777110 Fungi Perfecti LLC                            PO Box 7634                                   Olympia             WA    98507
29777111 Funhouse Plaza LLC                            291 South Broadway,                           Salem               NH    03079
29777112 Fuse Networks                                 12628 INTERURBAN AVE S, SUITE 100             Seattle             WA    98168
29777113 Fuse Networks, LLC                            7100 FORT DENT WAY, SUITE 140                 TUKWILA             WA    98188
29784343 Futurebiotics LLC                             70 Commerce Drive                             Hauppauge           NY    11788
29784344 FW IL Riverside/Rivers Edge, LLC              3040 Solutions Center                         Chicago             IL    ‐3000
29784345 FWI 2, LLC                                    197 EIGHTH ST, SUITE 800                      BOSTON              MA    02129
29784346 FWI 23, LLC                                   c/o Flag Wharf LLC, 197 Eighth Street         Boston              MA    02129
                                                       c/o DLC Management Corporation, 565 Taxter
29784347 G & I IX Empire Williamsville Place LLC       Road                                          Elmsford            NY    10523
29784348 G UNITED, LLC                                 556 Parkview Drive                            Grand Prairie       TX    75052
                                                       c/o Pine Tree Commercial Realty LLC, 814
29784349 G&I X CenterPoint LLC                         Commerce Drive, Suite 300                     Oak Brook           IL    60523

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 45 of 134
                                                Case 24-12480-JTD        Doc 685        Filed 01/08/25        Page 61 of 149

                                                                                 Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                             Name                                    Address                                    City     State Postal Code        Country
29784350 G&T Investments LLC                            P.O. Box 1559                                       Las Cruces           NM     88004
29784351 G4S Secure Solutions (USA) Inc.                1395 University Boulevard                           Jupiter              FL     33458
29784352 Gabrielle Wolinsky                             80 Meserole Street, Apartment 2F                    Brooklyn             NY     11206
29784353 Gaithersburg Commons LLC                       c/o Milbrook Properties, 42 Bayview Avenue          Manhasset            NY     11030
                                                        c/o wpg, 4900 East Dublin Granville Road, 4th
29784354 Gaitway Plaza LLC                              Floor                                               Westerville          OH    43081
29777114 Galam, Inc                                     833 W. South Boulder Road                           Louisville           CO    80027
29777115 Galleria Alpha Plaza, Ltd.                     2001 Preston Road                                   Plano                TX    75093
29777116 Gallup & Whalen Santa Maria                    2105 Castleview Dr.,                                Turlock              CA    95382
29777117 Gamma Enterprises LLC                          113 Alder Street                                    West Babylon         NY    11704
29777118 Garden City Leasehold Properties LLC           33 Boylston Street, Suite 3000                      Chestnut Hill        MA    02467
                                                        cc: Goulston & Storrs PC, 400 Atlantic Avenue,
29777119 Garden City Leasehold Properties LLC           Attn: WS ‐ Garden Center                            Boston               MA    02110
29777120 Garden of Life, LLC                            4200 Northcorp Parkway, Suite 200                   Palm Beach Gardens   FL    33410
29777121 Garmin USA, Inc.                               1200 East 151st Street                              Olathe               KS    66062
29777122 Garner Ventures, LLC                           556 Parkview Drive                                  Grand Prairie        TX    75052
29777123 Gartner, Inc.                                  56 Top Gallant Road                                 Stamford             CT    06902‐7700
                                                        c/o Sebaly Shillito + Dyer, 40 N. Main St., Suite
29777124 Gary Froelich                                  1900                                                Dayton               OH    45423
29784355 Gaslight Alley, LLC                            12725 Ventura Boulevard, Suite A                     Studio City         CA    91604
29784356 Gaspari Nutrition, Inc.                        575 Prospect Street, SUITE 230                      Lakewood             NJ    08701
29784357 Gator Elite RTO LLC                            9003 Classic Court                                  Orlando              FL    32819
29784358 GBTWORLD1, Inc.                                10126 Challenger Circle                             Spring Valley        CA    91978
29784359 GC Baybrook, L.P.                              788 W. Sam Houston Parkway North, Suite 206         Houston              TX    77024
29784360 GCM Management LLC                             382 Adams St.                                       Plymouth             MI    48170
29784361 GE Nutrients, Inc.                             19700 Fairchild Road, Suite 380                     Irvine               CA    92612
29784362 GEAR NUTRACEUTICALS                            41 Mill Pond Road                                   Jackson              NJ    08527
29784363 Geiger JB Property, LLC                        2055 South Kanner Highway,                          Stuart               FL    34995
29784364 GELITA USA, Inc.                               2445 Port Neal Industrial Road                      Sergeant Bluff       IA    51054
29776526 Genacol International Corporation Inc.         81 Gaston‐DuMoulin                                  Blainville           QC    J7C 6B4        Canada
29784365 GENCEUTIC NATURALS                             549 A Pompton Ave, Suite 208                        Cedar Grove          NJ    07009


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 46 of 134
                                                  Case 24-12480-JTD        Doc 685       Filed 01/08/25          Page 62 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                     Address                                     City    State Postal Code       Country
29784366 Genesis Today, Inc.                              14101 W. Hwy 290, Bldg. 1900                        Austin              TX     78737
29784367 Genesys Cloud Services, Inc.                     1302 El Camino Real, Suite 300                      Menlo Park          CA     94025
29777125 Genesys Telecommunications Laboratories, Inc.    2001 Junipero Serra Blvd.                           Daly City           CA     94014
29777126 Geneva Commons Shoppes LLC                       8424 Evergreen Lane                                 Darien              IL     60561
29777127 GENEXA LLC                                       269 South Beverly Drive, Suite 510                  Beverly Hills       CA     90212
29777128 GenServe, Inc.                                   100 Newtown Road                                    Plainview           NY     11803
29776527 Genuine Health                                   317 Adelaide St. W. Suite 501                       Toronto             ON     M5V 1P9     Canada
29777129 Genuine Health Co. Ltd                           775 East Blithedale Ave #364                        Mill Valley         CA     94941
29777130 George Harriss Properties, LLC                   3905 Oleander Dr, Suite B                           Wilmington          NC     28403
                                                          d/b/a Landover Developments One LLC, 610
29777131 George N. Snelling                               Brae Burn Dr.                                       Martinez            GA    30907
29777132 George Street LLC                                151 Haggetts Pond Rd.                               Andover             MA    01810
29777133 Georgetown Square Properties                     29010 Chardon Road                                  Willoughby Hills    OH    44092
29777134 German American Technologies dba GAT             64 Sonne, Siche ave                                 SME10                     20210+
29777135 Get Real Nutrition, LLC                          1201 U.S. Highway One, Suite 350                    North Palm Beach    FL    33408
                                                          Attn: Director of Real Estate, 1385 Hancock
29784368 GFS Realty LLC                                   Street, 10th Floor                                  Quincy              MA    02169
29784369 GFX International                                333 Barron Blvd.                                    Grayslake           IL    60030
                                                          c/o Glimcher Group Inc. , 500 Grant Street, Suite
29784370 GG Garfield Commons 2012 LP                      2000                                                Pittsburgh          PA    15219
                                                          c/o Greenberg Gibbons Commercial, 10096 Red
29784371 GGCAL Edgewater, LLC                             Run Blvd, Suite 100                                 Owings Mills        MD    21117
29784372 GGPA State College 1998, L.P.                    500 Grant Street, Suite 2000                        Pittsburgh          PA    15219
29784373 GHOST Beverages, LLC                             400 N State Street                                  Chicago             IL    60654
29784374 GIC Engineering Inc.                             11806 Race Track Road                               Tampa               FL    33626
29784375 GIGLIOTTI HOLDINGS LP                            11279 Perry Hwy, Ste 509                            Wexford             PA    15090
29784376 GINCO International, Inc.                        725 E. Cochran Street, Unit C                       Simi Valley         CA    93065
29784377 Gino Animal Health Services, LLC                 29 Long Hill Road                                   New Vernon          NJ    07976
29784378 Giovanni Cosmetics, Inc.                         2064 E. University Drive                            Rancho Dominguez    CA    90220
29784379 GKT Shoppes At Legacy Park, L.L.C.               211 N. Stadium Boulevard, Suite 201                 Columbia            MO    65203
29777136 Glanbia Nutritionals (Ireland) Limited           Glanbia House, Kilkenny                                                       R95 0T88Y


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 47 of 134
                                               Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 63 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                  City    State Postal Code         Country
29777137 Glanbia Performance Nutrition, Inc.           3500 Lacey Road, Suite 1100                       Downers Grove      IL     60515
29777138 Glassboro Properties, LLC                     14000 Horizon Way, Suite 100                      Mount Laurel       NJ     08054
29777139 Gleneagles Plaza, Plano TX, LLC               10250 Constellation Blvd., Suite 2850             Los Angeles        CA     90067
                                                       c/o Macquarie Asset Management, 420 South
29777140 GLL Selection II Florida L.P.                 Orange Avenue, Suite 190                          Orlando            FL    32801
29777141 Global Amici, Inc.                            8996 Miramar Rd.                                  San Diego          CA    92126
29777142 Global Beauty Care, Inc.                      1296 East 10th Street                             Brooklyn           NY    11230
29777143 Global Distributors USA LLC                   600 Gulf Ave                                      Staten Island      NY    10314
29777144 GLOBAL HEALTHCARE CORPORATION                 47 CENTER AVENUE                                  LITTLE FALLS       NJ    07424
29777145 Global Juices and Fruits, LLC                 372 South Eagle Road, Suite 353                   Eagle              ID    83616
29777146 Global Protection Corp                        12 Channel St                                     Boston             MA    02210
29784380 Global Source                                 654 N Santa Cruz Ave Suite C747                   Los Gatos          CA    95030
29784381 Global Technology Systems, Inc.               550 Cochituate Road                               Framingham         MA    01701
29784382 Globalization Partners LLC                    175 Federal Street, 17th Floor                    Boston             MA    02110
         GLOBALIZATION PARTNERS PORTUGAL,              Av. António Augusto de Aguiar, n.º 88, 2.º andar,
29783749 Unipessoal, Lda.                              1050‐018 Lisboa                                   Lisbon                   1050‐018       Portugal
29784383 GNK Enterprises, LLC                          6541 North Range Line Rd.                          Glendale          WI    53209
29784384 Gnu Foods, LLC                                217 East 70th Street, Unit 2446                   New York           NY    10021
29784385 Go Fetch, LLC                                 22 Susan Drive                                    Newburgh           NY    12550
29784386 Go Shake International LLC                    107 W. Main Street                                Knoxville          TN    37902
29784387 Goddess Garden                                1821 Lefthand Cir., Ste D                         Longmont           CO    80501
29784388 GOFIT, LLC                                    12929 E. APACHE ST                                TULSA              OK    74116
29784389 Gold Medal LLC                                90 N. Polk Street                                 Eugene             OR    97402
29784390 Gold Star Properties                          c/o 606 Realty Team, 4653 N. Milwaukee Ave        Chicago            IL    60630
                                                       Main Road of Jeddah, Asaf District, Ashakreen
29784391 Golden Protein                                Street                                            Jeddah, Makkah           21442          Saudi Arabia
29784392 Golden Rule Enterprises, LLC                  1102 Thomas Rd.                                   Rineyville         KY    40162
29777147 Golden Temple of Oregon LLC                   950 International Way                             Springfield        OR    97477
29777148 Golden Tree Brands                            225 N. Richmond Street #104                       Appleton           WI    54411
                                                       c/o Frasier Consulting Group LLC, 1201 Macy
29777149 Goldsboro Retail Center, LLC                  Drive                                             Roswell            GA    30076


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 48 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 64 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                 Address                                 City           State Postal Code        Country
29777150 Goliath Labs NUTRALOID LABS                 1202 Ave U, 2026                                 Brooklyn                  NY     11229
29777151 Good Clean Love                             207 W. 5th Ave.                                  Eugene                    OR     97401
29777152 Good Dog Karma, LLC                         3180 W South Airport Road                        Traverse City             MI     ‐8995
29777153 Gooddog Services, LLC                       3115 N. Government Way #3                        Coeur D’Alene             ID     83815
29777154 Goodest Boys LLC                            145 Romeria Drive                                Cedar Creek               TX     78612
29777155 Goodwin & Goodwin Pet Supplies, Inc.        999 Haynes St., Suite 385                        Birmingham                MI     48009
29777156 Google Inc.                                 1600 Amphitheatre Parkway                        Mountain View             CA     94043
29777157 Gosula Realty, LTD                          6028 Trent Ct                                    Lewis Center              Oh     43035
29785636 GovDocs, Inc.                               VB Box 167, PO Box 9202                          Minneapolis               MN     55480
29785637 Governor's Square Company IB                2445 Belmont Ave,                                Youngstown                OH     44504
29785638 GP Marketplace 1750, LLC                     500 North Broadway, Suite 201                   Jericho                   NY     11753
29785639 GP Wisconsin, L.L.C.                        c/o SRS Realty, 51 Sherwood Terrace, Suite 51    Lake Bluff                IL     60044
29785640 GR PSP, LLC                                 17863 170th Avenue, Suite 101                    Spring Lake               MI     49456
                                                     c/o Shiner Management Group, Inc. , 3201 Old
29785641 Grand Avenue Associates L.L.C.              Glenview Road, Suite 235                         Wilmette                  IL    60091
29785642 Grand Canyon Center, LP                     10850 Wilshire Boulevard, Suite 1000             Los Angeles               CA    90024

29785643 Grand Rapids Retail LLC                     c/o Sartorial Properties, 3020 Palos Verdes Dr. W Palos Verdes Peninsula   CA    90274
29785644 Grandpa Brands Company                      1820 Airport Exchange Blvd.                       Erlanger                 KY    41018
29785645 Granite Telecommunications, LLC             100 Newport Ave Ext                               Quincy                   MA    02171
29785646 Granum, Inc                                 600 South Brandon Street                          Seattle                  WA    98108
29785647 Grass Advantage, Inc.                       220 Newport Center Drive, Suite 22                Newport Beach            CA    92660
29777158 Great Hills Retail Inc.                     c/o Heitman LLC, 191 N. Wacker Dr., Suite 2500 Chicago                     IL    60606
29777159 Green Foods Corporation                     2220 Camino del Sol                               Oxnard                   CA    93030
29777160 Green Imaging, LLC                          2020 Albans                                       Houston                  TX    77005
29777161 Green Park Snacks, Inc.                     245 Newtown Road, Suite 101                       Plainview                NY    11803
29777162 Green Pharmaceuticals                       591 Constitution Ave, #A                          Camarillo                CA    93012
29777163 Greenlane Search Marketing, LLC             148 WELLINGTON CT.                                Reading                  PA    19606
29783752 Greenleaf Medical AB                        Nybrogatan 59, 1tr                                Stockholm                      11440          Sweden
                                                     c/o Heitman Capital Management LLC, 191
29777164 Greenridge Shops Inc.                       Wacker Drive, Suite 2500                          Chicago                  IL    60606


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 49 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25      Page 65 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                  Address                                City    State Postal Code         Country
29777165 Greens Plus LLC                              1140 Highland Ave., #105                         Manhattan Beach    CA     90266
                                                      c/o PM Real Estate Management Inc., 4000
29777166 Greenspot Largo. LLC                         South Poplar Street                               Casper            WY    82601
29777167 Greenteaspoon Inc                            222 Bryant St                                    Palo Alto          CA    94301
29777168 Greenville Ave. Retail LP                    8400 Westchester, Suite 300                      Dallas             TX    75225
29784393 Greenwood Brands, LLC                        4455 Genesee Street                              Cheektowaga        NY    14225
29784394 Greenwood Plaza Corp. of Delaware            2400 Miracle Lane                                Mishawaka          IN    46545
                                                      c/o Bank of America Trust, 575 Maryville Centre
29784395 Greenwood Vineyards LLC                      Dr, Ste 511                                      Saint Louis        MO    63141
29784396 Gregory Poole Lift Systems                   PO BOX 60457                                     Charlotte          NC    28260
29784397 Grenade USA, LLC                             815 Reservoir Ave, Ste 1A                        Cranston           RI    02910
29784398 Grenera Nutrients Inc.                       1202 Gary Avenue Unit 12                         Ellenton           FL    34222
29784399 Grewal Ventures, LLC                         1178 Grassy Oat Lane Southwest                   Lawrenceville      GA    30045
                                                      c/o First Washington Realty Inc., 7200 Wisconsin
29784400 GRI Brookside Shops, LLC                     Avenue, Suite 600                                Bethesda           MD    20814
29784401 Griffield Enterprises, LLC                   31778 N 123rd Ave                                Peoria             AZ    85383
29784402 Ground‐Based Nutrition                       11412 Corley Ct.                                 San Diego          CA    92126
29784403 Group Nine Media, Inc.                       568 Broadway, Floor 10                           New York           NY    10012
29784404 Groupon, Inc.                                600 W. Chicago Ave.                              Chicago            IL    60654
29784405 Grove City Plaza, L.P.                       c/o Casto, 250 Civic Center Dr., Suite 500       Columbus           OH    43215
29777169 Grubhub Holdings Inc.                        111 W. Washington St.                            Chicago            IL    60602
29777170 GSR Realty, LLC                              6530 4th Ave,                                    Brooklyn           NY    11220
29777171 Güdpod Corporation                           4815 E Carefree Hwy #108‐184                     Cave Creek         AZ    85331
29776566 Guider Global Limited                        8 Devonshire Square, The Spice Building          London                   EC2M 4PL       United Kingdom
29777172 GuideSpark, Inc.                             1350 Willow Rd. Suite 201                        Menlo Park         CA    94025
29777173 Gulf Coast Nutritionals DBA Ark Naturals     6166 Taylor Rd Ste 103                           Naples             FL    34109
29777174 Gupton Marrs International, Inc.             100 Park Avenue                                  New York           NY    10017
29777175 Gurmeet Singh                                14‐A Oak Branch Drive                            Greensboro         NC    27407
29777176 Gurnee LM Properties, LLC                    1401 S Brentwood Blvd, Suite 520                  Brentwood         MO    63144
29776528 GURU Beverage Co.                            4200 St. Laurent Blvd., Suite 550                Montreal           QC    H2W 2R2        Canada




       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 50 of 134
                                              Case 24-12480-JTD          Doc 685        Filed 01/08/25     Page 66 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                      Address                              City     State Postal Code           Country
                                                          c/o Armstrong Development Properties, Inc., One
29777177 Gustine BV Associates, Ltd.                      Armstrong Place                                 Butler              PA    16001
29777178 Gutrich, LLC                                     16121 Haddam Ln                                 Westfield           IN    46062
29777179 Gym Source USA LLC                               DEPT 106042, PO BOX 150468                      HARTFORD            CT    06115
29784406 H&C Enterprise LLC                               749 Willoughby Ct.                              Winter Springs      FL    32708
29784407 H&C of Sanford LLC                               749 Willoughby Ct.                              Winter Springs      FL    32708
29784408 H.S.W. Associates Inc.                           3750 Gunn Highway, Suite 308                    Tampa               FL    33618
29784409 Haelssen & Lyon North America Corporation        39 West 38th Street, 11th Floor, Suite 11E      New York            NY    10018
29784410 Hain Celestial                                   58 South Service Road, 250                      MELVILLE            NY    11747
29784411 Haines City Mall LLC                             20200 W DIXIE HWY STE 15G                       AVENTURA            FL    33810
29784412 Hal Karas Esq.                                    Husch Blackwell, 555 East Wells St., Suite 900  Milwaukee          WI    53202‐3819
29784413 HALEO Worldwide Inc.                             4901 Morena Blvd. #810                          San Diego           CA    92117
29784414 Halico Gold LLC                                  19406 Merion Circle                             Huntington Beach    CA    92648
29784415 Hall Brands LLC                                  16285 SW 85TH Ave Suite 103                     Tigard              OR    97224
29784416 HALLO WORLDWIDE                                  4901 Morena Blvd #810                           San Diego           CA    92117
29784417 Halo, Purely for Pets, Inc.                      12400 Race Track Road                           Tampa               Fl    33626
                                                          c/o Colliers International, 3 Park Plaza, Suite
29784418 HAMC College Center LLC                          1200                                            Irvine              CA    92614
29777180 Hanan Enterprise Sales                           411 Bell Street                                 Piscataway          NJ    08854
29777181 Handling Systems Inc                             9939 Norwalk Blvd.                              Santa Fe Springs    CA    90670
29777182 HANDLING SYSTEMS, INC.                           2659 E. Magnolia St                             Phoenix             AZ    85034
29776548 HangZhou TianYuan Pet Products Co., Ltd          No.10‐1                                          Hangzhou                 311100        China
29777183 Hankins‐Kenny Ventures LLC                       151 Sawgrass Corners Drive, Suite 202           Ponte Vedra Beach   FL    32082
         Hanley LM Properties, LLC c/o Lenette Realty &
29777184 Investments Co.                                  1401 S Brentwood Blvd. Suite 520,              St. Louis            MO    63144
29776571 Hanoi Kim Lien Company Limited                   13 Lý Thai To, Hoan Kiem district              Hanoi                      100000        Vietnam
29777185 Hapa Unlimited, Inc.                             18017 Chatsworth Street                        Granado Hills        CA    91344
29777186 Hardeep Dhaliwal (Entity Pending)                6205 N President George Bush, #1205            Garland              TX    75044
29777187 Harley's Home, LLC                               8340 Queen Victoria Lane                       Tinley Park          IL    60477
29777188 Harmelin & Associates                            525 Righters Ferry Road                        Bala Cynwyd          PA    19004
29777189 Harmon Meadow Suites LLC                         199 Lee Avenue, Suite 201                      Brooklyn             NY    11211


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 51 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 67 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                  Address                                 City    State Postal Code    Country
29777190 Harmonic Innerprizes                         7705 Commercial Way                              Henderson           NV     89011
29784419 Harmony Shopping Plaza, LLC                  3980 TAMPA RD #205                               OLDSMAR             FL     34677
29784420 Harry & Ruth Ornest Trust                    3172 Abington Drive,                             Beverly Hills       CA     90210
29784421 Hart Miracle Marketplace                     925 South Federal Hwy., Suite 700                Boca Raton          FL     33432
29784422 Hartel Properties LLC                        335 E 78th St                                    Minneapolis         MN     55420
                                                      Attn: Robert F. Meyers, COO, 11501 Northlake
29784423 Hartville Station, LLC                       Drive                                            Cincinnati          OH    45249
                                                      c/o Phillips Edison & Company, 11501 Northlake
29784424 Harvest Station LLC                          Drive                                            Cincinnati          OH    45249
                                                      c/o Phillips Edison & Company, Attn: Lease
                                                      Administration Department, I 1501 Northlake
29784425 Harvest Station LLC                          Drive                                            Cincinnati          OH    45249
29784426 Harvest Trading Group                        61 Accord Park Drive                             Norwell             MA    02061
29784427 HatchBeauty Products LLC                     10951 Pico Blvd Suite 300                        Los Angeles         CA    90064
29784428 Hatteras Press Inc.                          56 Park Road                                     Tinton Falls        NJ    07724
29784429 Haute Science, Inc. dba Clean Machine        6712 Frontier Lane                               Tampa               FL    33625
29784430 Haven's Kitchen                              109 West 17th Street                             New York            NY    10011
29777191 Hawkeye Enterprises, LLC                     853 Bluff Brook Drive                            O'Fallon            MO    63366
29777192 Hawkins Point Partners, LLC                  c/o Joe Holmes, 106 East 8th Avenue              Rome                GA    30161
29777193 Hays Companies                               6711 Columbia Gateway Drive, Suite 450           Columbia            MD    21046
29777194 Hays Companies                               BMO‐88, PO BOX 1414                              Minneapolis         MN    55402‐1414
29777195 Hazel Dell & 78th Associates LLC             19767 SW 72nd Avenue, Suite 100                  Tualatin            OR    97062
29777196 HCLARE, LLC                                  c/o Jim Harris                                   Los Angeles         CA    90034
29783710 HD Muscle (2714523 Ontario Inc.)             5109 Harvester Rd Unit A2                        Burlington          ON    L7L 5Y9    Canada
29777197 Healing Solutions LLC                        4635 W. McDowell Rd, 110                         PHOENIX             AZ    85035
29777198 Health Direct                                16750 Hale Ave                                   Irvine              CA    92606
29777199 Health Matters America Inc                   125 Galleria Dr. #1482                           Cheektowaga         NY    14225
29777200 Health Plus Inc                              13837 Magnolia Ave                               Chino               CA    91710
29777201 Health Specialties Manufacturing Inc.        2465 Ash Street                                  Vista               CA    92081
29784431 Health Warrior Inc.                          1707 Summit Avenue                               Richmond            VA    23230
29784432 Healthforce, Inc.                            P.O. Box 27740                                   Las Vegas           NV    89126


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 52 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25     Page 68 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                               City    State Postal Code   Country
29784433 Healthland LLC                               560 W. Lambert Rd. Suite B                     Brea               CA     92821
29784434 Healthline Media, Inc.                       275 7th Avenue, 24th Floor                     New York           NY     10001
29784435 Healthsource International, Inc.             1785 Erika Way                                 Upland             CA     91784
29784436 Healthy and Fit                              P.O. Box 781580,                               PHILADELPHIA       PA     19178
29784437 Healthy Healing LLC                          9821 Valley View Rd                            Eden Prairie       MN     55344
29784438 Healthy N' Fit Nutritionals                  435 Yorktown Road                              Croton‐On‐Hudson   NY     10520
29784439 Healthy Origins                              206 West Bridge Drive, P.O. Box 442            Morgan             PA     15064
29784440 Healthy Pets, LLC                            4105 Sky Ranch Drive                           Glenwood Springs   CO     81601
29784441 Healy Family Trust                           1167 Sunset Cliffs Blvd.,                      San Diego          CA     92107
         Hearst Magazines, a division of Hearst
29784442 Communications,   Inc.                       300 West 57th Street, 10th Floor               New York           NY    10019
29784443 HeartWise Incorporated                       184 Clear Creek Dr. #1                         Ashland            OR    97520
29777202 Heather Management, LLC                      1165 Lakeview Rd.                              West Bend          WI    53090
29777203 Hello Products LLC                           363 Bloomfield Avenue, 2D                      Montclair          NJ    07042
29777204 Henry Thayer Company                         PO Box 56                                      Westport           CT    06881
29777205 Herb Pharm                                   Po box 116                                     Williams           OR    97544
29777206 HERBACEUTICALS INC                           35 EXECUTIVE ST.                               NAPA               CA    94558
29777207 Herbaceuticals, Inc.                         630 Airpark Rd., Suite A                       Napa               CA    94558
29777208 Herbal Answers, Inc.                         PO Box 1110                                    Saratoga Springs   NY    12866
29777209 Herban Cowboy, LLC                           PO Box 24025                                   Edina              MN    55424
29777210 Herbasway Laboratories, LLC                  857 N. Main St. Ext. Unit 6                    Wallingford        CT    06492
                                                      c/o Heritage Capital Management LLC, 123
29777211 Heritage Seymour I, LLC                      Prospect Street, PO Box 627                    Ridgewood          NJ    07451
29777212 Hero Brands, Inc                             71 Sydney Ave                                  Deal               NJ    07723
29777213 Hero Nutritional Products LLC                991 Calle Negocio                              San Clemente       CA    92673
         HEWLETT‐PACKARD FINANCIAL SERVICES
29784444 COMPANY                                      200 Connell Drive                              Berkley Heights    NJ    07922
29784445 Hiball Inc.                                  1862 Union St.                                 San Francisco      CA    94123
29784446 Hickory Plaza Shopping Center, Inc.          c/o JJ Gumberg Co., 1051 Brinton Road          Pittsburgh         PA    15221
29784447 HIGH BREW COFFEE                             PO Box 1105                                    La Mesa            CA    91944
29784448 High Point Estates Inc.                      210 Ellis Rd.                                  Westminster        MA    01473


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 53 of 134
                                              Case 24-12480-JTD          Doc 685        Filed 01/08/25        Page 69 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                    Address                                    City   State Postal Code         Country
29776563 High Youth Limited                              No.616                                                                                     Taiwan (R.O.C.)
29784449 Highbridge Development BR LLC                   2165 Technology Drive, FL 2                        Schenectady         NY    12308
                                                         c/o Aston Properties, Inc., 610 E. Morehead St.,
29784450 Highland Commons‐Boone, LLC                     Suite 100                                          Charlotte           NC    28202
29784451 Highland Laboratories                           110 South Garfield, PO Box 199                     MT Angel            OR    97362
29784452 Highland Traders, LLC                           853 Highway 35                                     Middleton           NJ    07748
                                                         c/o RREEF Management Company, 1406 Halsey
29784453 HIGHLANDS 501 (C) (25) INC.                     Way, Suite 110                                     Carrollton          TX    75007
29784454 Hillmann Consulting, LLC                        1600 Route 22 East ‐ First Floor                   Union               NJ    07083
29784455 Hill's Pet Nutrition Sales, Inc.                P.O. Box 148                                       Topeka              KS    66601‐0148
29777214 Hilo Power Partners, LLC                        18301 Von Karman Ave., Suite 850                   Irvine              CA    92612
29777215 Hip Happenings, LLC                             1712 N 13th Street                                 Boise               ID    83702
29777216 HiTech/ALR                                      790 Spring St                                      Oak View            CA    93022
29777217 HiTech/BLR 6009                                 790 Sarnast                                        Oak Views           CA    93022
29777218 HK Southpoint, LLC                              949 Orchard Ave.,                                  Moscow              ID    83843
29777219 HM Hillcroft Westheimer Ltd.                    3810 Westheimer,                                   Houston             TX    77027
29776572 Hoang Anh                                       13 Ly Thai To                                      Ha Noi                    100000     Vietnam
29777220 Hobe' Laboratories, Inc.                        6479 S. Ash Avenue                                 Tempe               AZ    85283
29777221 Hodge RTO Group Inc.                            605 Roy Coppley Road                               Lexington           NC    27292
29777222 Hoffman Unlimited LLC                           866 Prairie Drive                                  Milliken            CO    80543
29777223 Hogan, Inc.                                     14240 Imboden Rd.                                  Hudson              CO    80642
29777224 Hollender Sustainable Brands, LLC dba Sustain   212 Battery St.                                    Burlington          VT    05401
29784456 Hollister Construction Services                 339 Jefferson Road                                 Parsippany          NJ    07054
                                                         c/o Kimco Realty Corporation, 500 North
29784457 Holmdel Commons LLC                             Broadway, Suite 201                                Jericho             NY    11753
29784458 HomeoPet, LLC                                   PO Box 147                                         Westhampton Beach   NY    11978
29784459 Honestly pHresh Deodorant                       PO Box 3755                                        Huntington Beach    CA    92647
29784460 Horizon Jajo, LLC                               4112 Brookview Drive SE                            Atlanta             GA    30339
29784461 Horizon Retail                                  1500 Horizon Drive                                 Sturtevant          WI    53177
29784462 Horizontal Integration, Inc.                    1660 S. Highway 100                                St. Louis Park      MN    55416
29784463 Horizontal, Inc.                                1660 S. Hwy 100 Suite 200                          St. Louis Park      MN    55416


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 54 of 134
                                                  Case 24-12480-JTD             Doc 685        Filed 01/08/25     Page 70 of 149

                                                                                        Exhibit B
                                                                                 Cure Parties Service List
                                                                                Served via First Class Mail

AddressID                             Name                                          Address                                 City      State Postal Code         Country
29784464 Horseshoe LLC dba Mancakes                            826 Garden Drive                                 Highlands Ranch      CO     80126
29784465 HPF, LLC                                              2001 Makefield Rd                                Yardley              PA     19067
29784466 HSA Corporation                                       17863 170th Avenue, Suite 101                    Spring Lake          MI     49456
29784467 HSN Enterprise, Inc.                                  1361 Watertree Rd.                               Terre Haute          IN     47803
29784468 HSP EPI Acquisition, LLC dba Entertainment            1401 Crooks Road, Suite 150                      Troy                 MI     48084
29777225 Hub Group, Inc. d/b/a Unyson Logistics                3050 Highland Parkway, Suite 100                 Downers Grove        IL     60515
29777226 Hub Group, Inc. d/b/a Unyson Logistics                2000 Clearwater Drive                            Oak Brook            IL     60523
29777227 Huber Management Corporation                          7333 Paragon Rd., Suite 150                      Dayton               OH     45459
29783743 Hugfun International Hong Kong Ltd.                   18/F.                                            KOWLOON                                   Hong Kong
29777228 Hughes Network Systems, LLC                           11717 Exploration Lane                           Germantown           MD    20876
29777229 Humphreys Pharmacal, Inc.                             31 East High Street                              East Hampton         CT    06424
29777230 Hundred Fires Ltd                                     106 Satsuma Drive                                Altamonte Springs    FL    32714
29777231 Hungry Fish Media, LLC dba NutraClick                 24 School Street, Suite 301                      Boston               MA    02108
29777232 Hunter Building Corp.                                 12440 Oxford Park Drive, Suite # B‐101           Houston              TX    77082
            Hunter's Lake, J.M. Cox, Jr., Tracy Fleenor, and
29777233 John Speropulos                                       801 Sunset Drive, Suite D‐1                      Johnson City         TN    37604
29777234 Hutchison Enterprises, Inc.                           5360 Shoreview Avenue                            Minneapolis          MN    55417
29777235 HYALOGIC, LLC                                         600 NO PLATTEVALLEY DR                           REVERSÃOELMO         MO    14150
29784469 HYG FINANCIAL SERVICES, INC.                          5000 Riverside Dr, Suite 300 East                IRVING               TX    75039
29784470 Hylan Ross LLC                                        5655 Amboy Road,                                 Staten Island        NY    10309
29784471 Hyland's, Inc.                                        PO BOX 61067                                     Los Angeles          CA    90061
29784472 Hyper Network Solutions of Florida, LLC               11780 US Highway One, Suite 400N                 Palm Beach Gardens   FL    33408
29784473 I Heart Foods Corp                                    6552 N Oxford Ave                                Chicago              IL    60631
29784474 I Nutrition USA Corp                                  4730 South Fort Apache Road, Suite 300           Las Vegas            NV    89147
29784475 I won! nutrition                                      1350 Bayshore Hwy STE 665                        Burlingame           CA    94010
29784476 Iacono Family LP                                      c/o Kohr Royer Griffith Inc , 1480 Dublin Rd.    Columbus             Oh    43215
29784477 Ibotta, Inc.                                          1801 California Street, Suite 400                Denver               CO    80202
29784478 ICC Shaker Inc                                        587 Commerce St. Suite 100                       Southlake            TX    76092
29784479 Ice Chips Candy, LLC                                  818A 79th Ave SE                                 Olympia              WA    98501
29776551 Iceland Spring Inc.                                   GRJOTHALS 7‐11                                   Reykjavik                  130            Iceland
29784480 iCIMS, Inc.                                           101 Crawfords Corner Road                        Holmdel              NJ    07733


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                         Page 55 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 71 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                  Address                               City      State Postal Code   Country
29784481 ICON MEALS, INC                             4681 Ohio Drive Suite 108                        Frisco              TX     75035
29777236 ICU Eyewear, Inc.                           1440 4 Street Suite A                            Berkeley            CA     94710
29777237 Ideal Software Systems Inc                  3839 Highway 45 North                            Meridian            MS     39301
29777238 IDR Marketing Partners LLC                  1125 Lancaster Avenue                            Berwyn              PA     19312
29777239 IDRMP Marketing Partners, LLC               1125 Lancaster Avenue                            Berwyn              PA     19312
29777240 IFORCE Nutrition                            2101 91st Street                                 North Bergen        NJ     07047
29777241 Ignite USA                                  954 West Washington mc37 7th Floor               Chicago             IL     60607
29777242 III Hugs LLC                                1228 E. Morehead Street, Suite 200               Charlotte           NC     28204
29777243 IKPM Pet Supply, LLC                        1515 Ralston Branch Way                          Sugar Land          TX     77479
                                                     c/o RealtyLink Midwest, 201 Riverplace, Suite
29777244 IL Galesburg Veterans, LLC                  400                                              Greenville          SC    29601
29777245 ILHWA NA Inc                                PO Box 266                                       Middletown          NY    10940
29777246 Illumis, Inc.                               975 Johnnie Dodds Blvd. Ste B                    Mt. Pleasant        SC    29464
29784482 IMC Associates                              673 Ridgewood Road                               Millburn            NJ    07041
29784483 IMG College, LLC                            P.O. Box 843038                                  Kansas City         MO    64184‐3038
29784484 Immune Health Basics                        3388 Mike Collins Drive                          Eagan               MN    55121
29784485 Immune Tree, Inc.                           2764 N 675 E                                     Lehi                UT    84043
29784486 Impact Nutrition LLC                        58 River Street, Suite 8                         Milford             CT    06460
29784487 Implus Footcare, LLC                        2001 TW Alexander Drive, Box 13925               Durham              NC    27709
29784488 Improve Commerce, Inc.                      4301 Valley Blvd.                                Los Angeles         CA    90032
29784489 Incentify, LLC                              125 Sierra St                                    El Segundo          CA    90245
29784490 IncWorx, Inc. d/b/a IncWorx Consulting      1901 N. Roselle Rd                               Schaumburg          IL    60195
29784491 Indeed, Inc.                                6433 Champion Grandview Way, Building 1          Austin              TX    78750
29784492 Independence Town Center, LLC               6111A Burgundy Hill Drive                        Burlington          KY    41005
                                                     c/o Realty Resource Capital Corp, 7600 Jericho
29784493 Indian Creek Commons LLC                    Turnpike, Suite 402                              Woodbury            NY    11797
29784494 Indiana Economic Development Corporation    One North Capitol Avenue                         Indianapolis        IN    46204‐2288
29777247 Indigo Wild, LLC                            3125 Wyandotte St                                Kansas City         MO    64111
29777248 IndiTex Ventures LLC                        6742 FM 2187 Road                                Sealy               TX    77474
29777249 Indy‐C‐Kal, Inc.                            2500 Westmont Circle,                            Sterling Heights    MI    48310



      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 56 of 134
                                               Case 24-12480-JTD            Doc 685       Filed 01/08/25       Page 72 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                         Name                                             Address                              City    State Postal Code        Country
         Inergetics, Inc. DBA Millennium Biotechnologies,
29777250 Inc.                                                 550 Broad St., Suite 1212                      Newark             NJ    07102
29777251 Infinite Labs, LLC                                   7208 W Sand Lake Rd. Suite 208                 Orlando            FL    32819
         Infinity Staffing Solutions, LLC dba Lyneer Staffing
29777252 Solutions                                            134 Franklin Corner Road, Suite 100            Lawrenceville      NJ    08648
29777253 Inflow  Communications,      LLC.                    9450 SW Gemini Dr #54242                       Beaverton          OR    97008‐7105
29777254 InFocus                                              P.O. BOX 1124                                  BEDFORD PARK       IL    60499
29777255 Infogroup   Inc.                                     2 Blue Hill Plaza                              Pearl River        NY    10965
29776553 Infosys Limited                                      Electronics City, Hosur Road                   Bangalore                560100     India
29777256 Infusion  Sciences                                   2127  Espey Ct, Ste 220                        Crofton            MD    21114
29777257 Ingredion Incorporated                               5 Westbrook Corporate Center                   Westchester        IL    60154
         Inland Commercial Real Estate Services LLC/Bldg.
29784495 #75052                                               2901 Butterfield Road,                         Oak Brook          IL    60523
29784496 Inner Armour                                         1399 Blue Hills Ave                            Bloomfield         CT    06002
29784497 Innerzyme                                            3659  E. CREST LANE,                           PHOENIX            AZ    85050
29784498 Innophos Nutrition, Inc.                             680 North 700 West                             North Salt Lake    UT    84054
29784499 INRETURN     STRATEGIES,    LLC                      10308 Belinder RD                              Leawood            KS    66206
29784500 Inserra Supermarkets, Inc.                           20 Ridge Road                                  Mahwah             NJ    07430
29784501 Insight  Global, LLC                                 4170 Ashford Dunwoody Road, Suite 250          Atlanta            GA    30319
29784502 InSite Naperville, LLC                               1400 16th Street, Suite 300                    Oak Brook          IL    60523
29784503 InSite Parma,   LLC                                  1400 16th Street, Suite 300                    Oak Brook          IL    60523
29784504 InSource Technology Solutions, LLC                   2490 BOULEVARD OF THE GENERALS, SUITE 200      Norristown         PA    19403
29784505 Inspiration  Beverage   Company                      7727  W. 6th Ave Unit H                        Lakewood           CO    80214
29784506 Instavit US LLC                                      3190 Martin Rd                                 Walled Lake        MI    48390
29784507 Institute for the Future                             124 University Avenue                          Palo Alto          CA    94301
29777258 Integral Yoga Distribution Inc                       2168 Woodland Church Rd                        Buckingham         VA    23921
29777259 Integrity Express  Logistics,  LLC                   4420 Cooper Road, Suite 400                    Cincinnati         OH    45242
29777260 Integrity Retail Distribution, Inc.                  15221 Canary Ave                               La Mirada          CA    90638
29777261 Inteligent*Vitamin*C     Inc                         24W500    Maple Ave STE 107                    Naperville         IL    60540
29777262 Intelligent Direct, Inc.                             10 First Street                                Wellsboro          PA    16901
29777263 Interactive  Communications      International, Inc. 250 Williams Street, 5th Floor, Suite 5‐2002   Atlanta            GA    30303


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 57 of 134
                                               Case 24-12480-JTD             Doc 685         Filed 01/08/25      Page 73 of 149

                                                                                    Exhibit B
                                                                              Cure Parties Service List
                                                                             Served via First Class Mail

AddressID                             Name                                       Address                                   City    State Postal Code         Country
29777264 Interbrand                                          700 W. Pete Rose Way, Suite 460                  Cincinnati          OH     45203
29777265 InterHealth Nutraceuticals Incorporated             5451 Industrial Way                              Benicia             CA     94510
29777266 International Business Machines Corporation         1551 South Washington Ave                        Piscataway          NJ     08854

29777267 International Franchise Professionals Group, Inc.   499 Ernston Road                                 Parlin              NJ    08859
29777268 International Integrated Solutions, Ltd.            137 Commercial Street                            Plainview           NY    11803
29784508 International Licensing Group Corporation           9465 Wilshire Blvd. suite 300                    Beverly Hills       CA    90212
29784509 International Trade Routes                          645 Wemple Road                                  Glenmont            NY    12077
29784510 Intersand America Corp.                             1880 Great Western Drive                         Windsor             CO    80550
29784511 Intertek                                            200 Westlake Park Blvd., #400                    Houston             TX    77079
29784512 InterVision Global Inc                              L14 CIC One Broadway                             Cambridge           MA    02142‐1147
29784513 Intrinsics, Inc. (dba NameStormers)                 2201 EAST WINDSOR ROAD                           Austin              TX    78703
          Inversiones en Recreacion, Deporte y Salud S.A. ‐
29783737  BODYTECH                                          Cra. 20 #83‐20                                    Bogota                    110221         Colombia
29784514 INW Living Ecology                                 240 Crouse Dr                                     Corona              CA    92879
29784515  iPDG  (Innomark  Permanent  Display Group)        3233 South Tech Blvd.                             Miamisburg          OH    45342
29784516 ips All Natural LLC                                11911 San Vicente Blvd., Suite 348                Los Angeles         CA    90049
29784517  IQ Formulations  LLC,  DBA Metabolic Nutrition    523  Sawgrass Corporate Parkway                   Sunrise             FL    33325
                                                            C/O Inland Commercial Real Estate Services LLC/
29784518 IREIT North Myrtle Beach Coastal North, L.L.C.     Bldg. #75056, 2901 Butterfield Road               Oak Brook           IL    60523
29784519 Iron Mountain Information Management, Inc.         1101 Enterprise Drive                             Royersford          PA    19468
29777269 Iron Mountain Secure Shredding, Inc.               One Federal Street                                Boston              MA    02110
29777270  Iron‐Tek                                          180 Motor Parkway                                 Hauppauge           NY    11788
29777271 Irwin Naturals                                     5310 Beethoven St.                                Los Angeles         CA    90066
 29777272 ISALTIS                                           56 rue Paul Cazeneuve                             Lyon                      69008      France
29777273 Isatori Technologies, LLC                          15000 West 6th Avenue, Suite 202                  Golden              CO    80401
29777274  Iscott Enterprises, Inc.                          2649  E Grand River Ave                           Howell              MI    48843‐8589
29777275 Islamic Services of America                        P.O Box 521                                       Cedar Rapids        IA    52406
29777276  ISO International,  LLC                           2215 Auto Park Way,                               ESCONDIDO           CA    92029
                                                            Suntide Commercial Realty Inc. Inc., 2550
29777277 ISO Venner Plaza Holdings, LLC                     University Avenue West, Suite 305                 Saint Paul          MN    55114


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 58 of 134
                                               Case 24-12480-JTD       Doc 685        Filed 01/08/25         Page 74 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                   City      State Postal Code         Country
29777278 Istar, LLC                                    321D Lafayette Road,                               Hampton              NH     03842
29777279 ITO EN (North America) INC.                   20 Jay Street Suite 530                            Brooklyn             NY     11201
                                                       c/o InvenTrust Property Management LLC, 3025
29784520 IVT Renaissance Center Durham I, LP           Highland Parkway, Suite 350                        Downers Grove        IL    60515
29784521 IYC Family LLC                                2317 12th Ct. N.W.,                                Auburn               WA    98001
29784522 J & M Franchising, LLC                        400 Union Avenue SE, Suite 200                     Olympia              WA    98501
29784523 J&C Pet Supply, LLC                           1095 A Towbin Ave.                                 Lakewood             NJ    08701
29784524 J&M Owners NY, LLC                            33 East Camino Real, Unit 512                      Boca Raton           FL    33432
29784525 J.B. Hunt Transport, Inc.                     9101 Tonnelle Ave                                  North Bergen         NJ    07047
29784526 J.B. Hunt Transport, Inc.                     615 J.B. Hunt Corporate Drive                      Lowell               AR    72745
29784527 J.M. Baker Properties LLC                     484 Washington Street, Suite D                     Monterey             CA    93940
29784528 J.R. Carlson Laboratories, Inc                600 W University                                   Arlington Heights    IL    60004
29784529 JA Adventurers, LLC                           120 East Commons Dr.                               St. Simon's Island   GA    31522
29784530 JaceyCakes, LLC (DBA FlapJacked)              960 W. 124th Ave., Suite 950                       Westminster          CO    80234
29784531 Jack W. Eichelberger Trust                    3066 Kettering Blvd.                               Moraine              OH    45439
                                                       Gary Froelich, c/o Sebaly Shillito + Dyer, 40 N.
29784532 Jack W. Eichelberger Trust                    Main St., Suite 1900                               Dayton               OH    45423
29777280 Jacklyn Janeksela                             7719 Oakshot Lane                                  Indianapolis         IN    46268
29777281 Jackson Investors, Inc.                       c/o Pet Supplies Plus, 1300 MacDade Boulevard      Woodlyn              PA    19094
29776567 Jacquard Group Limited                        82 St John Street                                  London                     EC1M 4JN       United Kingdom
29777282 JAHCO Stonebriar LLC                          1717 Main Street, Suite 2600                       Dallas               TX    75201
29777283 Jakemans Confectioners                        114 Bay Street                                     Manchester           NH    03104
29777284 Jamaica‐88th Ave., LLC                        c/o Peter Dilis, PO Box 280‐275                    Brooklyn             NY    11228
29777285 James H. Batmasian                            215 North Federal Highway, Suite 1                 Boca Raton           FL    33432
29777286 James Long (Entity Pending)                   177 Whistlers Cove Road                            Rockport             TX    78382
29777287 Jamison Liggett (Entity Pending)              3209 Springbriar Dr.                               Castle Rock          CO    80109
29777288 Japan Health Products, Inc.                   P.O. Box 472                                       Tryon                NC    28782
29777289 Jarrow Formulas                               1824 South Robertson Blvd                          Los Angeles          CA    90035
29777290 Javazen                                       4505 Campus Drive                                  College Park         MD    20742
29777291 Jay Robb Enterprises, Inc                     6339 Paseo Del Lago                                Carlsbad             CA    92011



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 59 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25       Page 75 of 149

                                                                              Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                                  City    State Postal Code   Country
                                                      c/o JBL Asset Management LLC, 2028 Harrison
29784533 JBL Humblewood Center, LLC                   Street, Suite 202                                 Hollywood           FL    33020
29784534 JD Beauty Group                              5 Adams Avenue                                    Hauppauge           NY    11788
29784535 JDA Software, Inc.                           15059 N. Scottsdale Road, Suite 400               Scottsdale          AZ    75320‐2621
                                                      Heller Property Management, 625 Mount
29784536 Jefferson Shrewsbury Limited Partnership     Auburn Street, Suite 210                          Cambridge           MA    02138
29784537 Jeffrey James, LLC                           1627 Sunset Ave. SW                               Seattle             WA    98116
29784538 Jemal's Daily Vitamin LLC                    33 Larchwood Avenue                               Oakhurst            NJ    07755
                                                      c/o Incorporating Services, Ltd., 1540 Glenway
29784539 Jensen Beach Equities, LLC                   Drive                                             Tallahassee         FL    32301
29784540 Jensen Beach Station LLC                     Attn: Leasing Department                          Cincinnati          OH    45249
29784541 JFI Enterprises, Inc.                        1366 Whitehouse Ct.                               Rochester Hills     MI    48306
29784542 JHS Natural Products Inc.                    1025 Conger St #6                                 Eugene              OR    97402
29784543 Jindilli Beverages LLC                       8100 S Madison Street                             Burr Ridge          IL    60527
29784544 JJ International, LLC                        24784 High Plateau Court                          Stone Ridge         VA    20105
29777292 JJS Champaign Inv LLC                        1370 School House Road,                           Santa Barbara       CA    93108
29777293 JKE Property, LLC                            294 Paxton Way                                    Glastonbury         CT    06033
29777294 JLIX Milford Crossing Master Tenant, LLC     PO Box 412638                                     Boston              MA    02241‐2638
                                                      JLIX Milford Crossing Master Tenant, LLC, c/o The
                                                      Wilder Companies, Ltd., 800 Boylston Street ‐
29777295 JLIX Milford Crossing Master Tenant, LLC     Suite 1300                                        Boston              MA    02199
29777296 JMH Holdings, LLC                            16192 St. Lawrence Way                            Monument            CO    80132
                                                      c/o Silbert Realty & Mgmt. Co. Inc., 152 Liberty
29777297 JMP Marlboro Retail Unit 2, LLC              Corner Road , Suite 203                           Warren Township     NJ    07059
29777298 JMS Technical Solutions                      7600 JERICHO TPKE, SUITE 200                      Woodbury            NY    11797
29777299 Jochi Investments LLC                        106 Satsuma Drive                                 Altamonte Springs   FL    32714
29777300 Joe Reizer                                   29 Woodview Dr.                                   Howell              NJ    07731
29777301 Johanneson's of North Dakota                 2301 Johanneson Drive NW                          Bemidji             MN    56601‐4101
29777302 John Squared Capital LLC                     5 Tennis Terrace                                  Sparta              NJ    07871
29784545 John's Lone Star Distribution Inc.           922 Hempstead Turnpike, Suite # 2                 Franklin Square     NY    11010
29784546 Jones Naturals, LLC                          4960 28th Ave                                     Rockford            IL    61109



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 60 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 76 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                               City     State Postal Code   Country
                                                      c/o Joseph Brothers Company, 4133 Talmadge
29784547 Joseph Plaza, LLC                            Road                                              Toledo             OH    43623
                                                      Paul A. Radon, Barkan & Robon Ltd., 1701
29784548 Joseph Plaza, LLC                            Woodlands Drive, Suite 100                        Maumee             OH    43537
29784549 Joseph Urbana Investments, LLC               5001 N University Street                          Peoria             IL    61615
                                                      c/o Raider Hill Advisors LLC, 757 Third Avenue,
29784550 Joule Gilroy Crossing Owner, LLC             15th Floor                                        New York City      NY    10017
29784551 JP Associates LLC                            9 Hastings Road                                   Holmdel Township   NJ    07733
29784552 JTM Foods LLC                                2126 East 33 St.                                  Erie               PA    16502
29784553 JTSS Enterprises, Inc.                       15060 Eureka Rd.                                  Southgate          MI    48124
29784554 Jubilee Limited Partnership                  4300 E. Fifth Ave.,                               Columbus           OH    43219
29784555 Jubilee‐‐Coolsprings LLC                     1800 Moler Road,                                  Columbus           OH    43207
29784556 Juicero, Inc.                                2001 Bryant Street                                San Francisco      CA    94110
29777303 JUKI INC                                     99 Industrial DR                                  Northampton        MA    01060
29777304 Jumpmind, Inc.                               8999 Gemini Parkway, Suite 100                    Columbus           OH    43240
29777305 Just C Inc.                                  7700 Irvine Center Dr.                            Irvine             CA    92618
                                                      c/o Azose Commercial Properties, 8451 SE 68th
29777306 JWT LLC                                      Street, Suite 200                                 Mercer Island      WA    98040
29777307 Kaged Muscle                                 101 Main St. Suite 360                            HUNTINGTON BEACH   CA    92648
29777308 Kaged Muscle, LLC                            101 Main St. Suite 360                            Huntington Beach   CA    92648
29777309 Kaitas Group International                   4083 E. Airport Drive                             Ontario            CA    91761
         Kaitas Group International d.b.a. Organic
29777310 Evolution USA                                4083 E. Airport Drive                             Ontario            CA    91761
29777311 Kaizen Nutrition Inc NV                      14936 S Figueroa Street                           Gardena            CA    90248
29777312 Kamerade Group, LLC                          58 Brookfield Lenox Road                          Tifton             GA    31794
29777313 Kancov Investment Limited Partnership        27750 STANSBURY, STE 200                          FARMINGTON         MI    48334
29784557 Kaneka North America LLC                     6161 Underwood Rd.                                Pasadena           TX    77507
29784558 KAPPA Investments LLC                        1099 Jefferson Drive West                         Forest             VA    24551
29784559 Kare‐N‐Herbs                                 P.O. Box 99                                       York Harbor        ME    03911
29784560 Karma Culture, LLC                           30‐A Grove Street                                 Pittsford          NY    14534
29784561 KATE FARMS LLC                               1621 Central Avenue                               Cheyenne           WY    82001
29784562 Katy Freeway Properties LLC                  1051 Halsey                                       Houston            TX    77015

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 61 of 134
                                              Case 24-12480-JTD        Doc 685        Filed 01/08/25        Page 77 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                   City    State Postal Code   Country
29784563 KAWIPS Delaware Cuyahoga Falls, LLC          1590‐D Rosecrans Ave. PMB#259,                      Manhattan Beach    CA     90266
29784564 KC Sapphire Pets LLC                         2245 Tracy Ave.                                     Kansas City        MO     64108
29784565 KC's House, LLC                              208 St. James Avenue, Suite B                       Goose Creek        SC     29445
29784566 KDV Wealth Management LLC                    3800 American Boulevard W, Suite 100                Bloomington        MN     55431
29784567 Keeki Pure and Simple                        950 Vitality Drive NW, Suite C                      Comstock Park      MI     49321
29784568 KeHE Distributors LLC                        1245 E, Diehl Road, Suite 200                       Naperville         IL     60563
29784569 Kellogg Company                              1 Kellogg Square                                    Battle Creek       MI     49017
29777314 Kelsey Cannon                                473 Massachusetts Avenue, Apartment 3               Boston             MA     02118
29777315 Kemin Foods, L.C. d/b/a Kemin Health, L.C.   600 East Court Ave.                                 Des Moines         IA     50309
29777316 Kemin Health, L.C.                           600 E. Court Ave., Suite A                          Des Moines         IA     50309‐2058
29777317 Kemin Industries, Inc.                       1900 Scott Avenue                                   Des Moines         IA     50317
29777318 Kemin Industries, Inc.                       2100 Maury Street, P.O. Box 70                      Des Moines         IA     50301
29777319 Kemin Industries, Inc.                       601 E. Locust., Suite 203                           Des Moines         IA     50309
29777320 Kemin Industries, Inc.                       600 E. Court Ave., Suite A                          Des Moines         IA     50309
29777321 Kenbo, LLC                                   20525 N Plumwood Drive                              Kildeer            IL     60047
29777322 Kendall Village Associates Ltd.              2665 South Bayshore Drive, Suite 1200               Miami              FL     33133
29777323 Kenneth Crowder (Entity Pending)             910 Waterside View Drive                            Raleigh            NC     27606
                                                      c/o Versa Real Estate, LLC, 326 E. Fourth Street,
29777324 Kercheval Owner LLC                          Suite 200                                           Rotal Oak          MI    48067
                                                      c/o Dorado Development Co., 19787 West
29784570 Kerrville Dodado Partners, LLC               Interstate 10, Suite 201                            San Antonio        TX    78257
29784571 Kessel Enterprises, LLC                      G‐7750 South Saginaw St., Suite #5                  Grand Blanc        MI    48439
29784572 Kessel Investment Company, LLC               G‐7750 South Saginaw St., Suite #5                  Grand Blanc        MI    48439
                                                      C/O NATURAL ORGANICS, 548 BROADHOLLOW
29784573 Kesslersales the                             ROAD                                                Melville           NY    11747
29784574 KetoLogic, LLC                               300 W Morgan Street, Suite 1510                     Durham             NC    27701
29784575 Ketologie LLC                                5307 E. Mockingbird Lane, 5th Floor                 Dallas             TX    75206
29784576 Kettle and Fire LLC                          2643 Hyde Street                                    San Francisco      CA    94109
29784577 Keynote Systems, Inc.                        777 Mariners Island Blvd.                           San Mateo          CA    94404
29784578 Keystone Technology Management               2221 Cabot Blvd W Ste D                             Langhorne          PA    19047




       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 62 of 134
                                              Case 24-12480-JTD         Doc 685        Filed 01/08/25      Page 78 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                        Name                                       Address                                  City   State Postal Code           Country
         Keystone Technology Management, a division of
29784579 Keystone Memory Group LLC                       2221 Cabot Blvd West ‐ Suite D                 Langhorne           PA    19047
29784580 Keyview Labs, Inc.                              5737 Benjamin Center Dr.                       Tampa               FL    33634
29784581 Kheper Games                                    440 South Holgate                              Seattle             WA    98134
29776549 Kids First Toys Co., Ltd                        No.39 Dazhou Road                               Nanjing City             210012        China
29777325 Kilambe Coffee                                  5206‐B Lyngate Ct                              Burke               VA    22015
29777326 Kill Cliff, LLC                                 3715 Northside Parkway, Bldg 400, 475          Atlanta             GA    30327
29777327 Kim Investment Partners IV, LLC                 1901 Ave of the Stars, Suite 630               Los Angeles         CA    90067
29777328 Kimberly Capella                                3450 Evans Rd, Apt 131C                        Atlanta             GA    30341
                                                         c/o Kimco Realty Corporation, 500 North
29777329 Kimco Brownsville, L.P.                         Broadway, Suite 201                            Jericho             NY    11753
29777330 Kimco Webster Square, LLC                       500 North Broadway, Suite 201                  Jericho             NY    11753
29777331 Kimmerle Newman Architects                      1109 Mt. Kemble Ave.                           Harding Twp         NJ    07976
29777332 Kimmerle Newman Architects, PA                  264 South Street                               MORRISTOWN          NJ    07960
29777333 Kimzay of Florida, Inc.                         c/o Kimco Realty Corporation                   Jericho             NY    11753
                                                         Attn: General Counsel, 185 NW Spanish River
29777334 KIN Properties, Inc.                            Blvd., Suite 100                               Boca Raton          FL    33431
29777335 kin+kind                                        220 E. 5th St. #2W                             New York            NY    10003
29784582 Kinaia Family LLC                               2500 Westmont Circle                           Sterling Heights    MI    48310
29784583 KIND, LLC.                                      PO Box 705 ‐ Midtown Station                   New York            NY    10018
29784584 King Bio                                        3 Westside Drive                               Asheville           NC    28806
                                                         c/o DLC Management Corporation, 565 Taxter
29784585 King City Improvements, LLC                     Road, Suite 400                                Elmsford            NY    10523
29784586 King Fisher Media, LLC                          P.O. BOX 37                                    Midvale             UT    84047
29784587 King Hammy I, LLC                               12505 Memorial Drive, Suite 330                Houston             TX    77024‐6051
29784588 King Hammy II, LLC                              12505 Memorial Drive, Suite 330                Houston             TX    77024‐6051
29784589 Kings Highway Realty Corp.                      1326 Kings Highway,                            Brooklyn            NY    11229
29784590 Kingsville Retail Group, LP                     PO Box 204391                                  Austin              TX    78720
29784591 Kinker Press, inc.                              1681 Mountain Road                             Glen Allen          VA    23060
29784592 Kinter (K International, Inc.)                  3333 Oak Grove Ave                             Waukegan            IL    60087
                                                         c/o Kimco Realty Corporation, 500 North
29784593 KIR Brandon 011, LLC                            Broadway, Suite 201                            Jericho             NY    11753

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 63 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25       Page 79 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                                   City   State Postal Code       Country
                                                      c/o Kimco Realty Corporation, 500 North
29784594 KIR Smoketown Station, L.P.                  Broadway, Suite 201                              Jericho              NY    11753
29777336 KIR Torrance, L.P.                           500 North Broadway, Suite 201                    Jericho              NY    11753
29777337 Kiran Patel (Entity Pending)                 1166 Madison Hill Road                           Clark                NJ    07066
29777338 Kirk Palmer Associates, Inc.                 500 Fifth Avenue, 53rd Floor                     New York             NY    10110
29777339 Kirk's Natural LLC                           1820 Airport Exchange Blvd                       Erlanger             KY    41018
29777340 Kishan Enterprises LLC                       300 Galleria Parkway, 12th Floor                 Atlanta              GA    30339
29777341 Kiss My Face Corporation                     144 Main Street P.O. Box 224                     Gardiner             NY    12525
29777342 Kiss My Keto                                 8066 Melrose Ave, Suite 3                        Los Angeles          CA    90046
29777343 Kiss Nutraceuticals, LLC                     5151 Bannock Street, 8                           Denver               CO    80216
29777344 KITU Life, Inc.                              1732 1st Ave #25614                              New York             NY    10128
                                                      C/O The Summit Commercial Group Inc., 5839
29777345 KK‐BTC LLC                                   Via Verona View                                  Colorado Springs     CO    80919
29777346 Klassische                                   117 West Napa St. Site                           Sonoma               CA    95476
29784595 KLDiscovery                                  8201 Greensboro Drive, Suite 300                 McLean               VA    22102
29784596 KLDiscovery Ontrack, LLC                     PO BOX 845823                                    DALLAS               TX    75284‐5823
29784597 Klean Kanteen, Inc.                          4345 Hedstrom Way                                Chico                CA    95973
                                                      c/o 450 Rt 10 Ledgewood LLC, 36 Route 46, P.O.
29784598 Kloss Organization, LLC                      Box 197                                          Montville            NJ    07058
29784599 KLS Pets, LLC                                602 Bainbridge Drive                             Mullica Hill         NJ    08062
29784600 KNM Lee Properties LLC                       999 High Street                                  Wadsworth            OH    44281
29784601 Know Brainer Foods, LLC                      9960 Phillips Road                               Lafayette            CO    80026
29784602 Know Brands, Inc dba Know Foods              3035 Peachtree Road NE, Ste 200                  Atlanta              GA    30305
29784603 Kodiak Cakes LLC                             3247 Santa Fe Rd                                 Park City            UT    84098
29784604 Kokoro                                       17731 Irvine Blvd. Suite 102                     Tustin               CA    92780
29784605 KonaRed (Sandwich Isles Trading Co Inc.)     P.O Box                                          Kalaheo              HI    96741
29784606 KonaTex Ventures, LLC                        7911 Appomattox Drive                            Austin               TX    78745
29784607 Koosharem LLC dba Select Staffing            999 NORTH PLAZA DRIVE, SUITE200                  Schaumburg           IL    60173
29777347 Koppe Management And Investment Co. Inc.     13826 SW 102 CT,                                 Miami                FL    33176
29777348 Körber Supply Chain US, Inc.                 Dept Ch 17044                                    Palatine             IL    60055‐7091
29776517 Kosmea Australia Pty Ltd                     71 Glen Osmond Road                              EASTWOOD South             5063       Australia


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 64 of 134
                                                Case 24-12480-JTD         Doc 685        Filed 01/08/25       Page 80 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                            Name                                      Address                                 City      State Postal Code       Country
29777349 Kount Inc.                                       917 South Lusk, 3rd Floor                        Boise                ID     83706
29777350 KP Macon, LLC                                    2500 Daniels Bridge Rd., Bldg. 100 2nd floor      Athens              GA     30606
29783711 KPM Enterprises Inc.                             1056 Saginaw Crescent                            Mississauga          ON     L5H 3W5     Canada
29777351 Krave Jerky                                      117 W Napa Street, Suite C                       Sonoma               CA     95476
29777352 KRCX Del Monte Plaza 1314, LLC                   500 North Broadway, Suite 201                    Jericho              NY     11753
29777353 KRCX Price REIT, LLC                             500 North Broadway, Suite 201                    Jericho              NY     11753
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29777354 KRG Avondale McDowell, LLC                       Suite 1100                                       Indianapolis         IN    46204
29777355 KRG Brandenton Centre Point, LLC                 30 South Meridian Street, Suite 1100             Indianapolis         IN    46204
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29777356 KRG Cedar Hill Pleasant Run, LLC                 Suite 1100                                       Indianapolis         IN    46204
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29777357 KRG Houston Sawyer Heights, LLC                  Suite 1100                                       Indianapolis         IN    46204
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29784608 KRG King's Grant, LLC                            Suite 1100                                       Indianapolis         IN    46204
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29784609 KRG Pelham Manor, LLC                            Suite 1100                                       Indianapolis         IN    46204

29784610 KRG Pipeline Pointe LP                           c/o Kite Realty Group, 30 South Meridian Street Indianapolis          IN    46204
                                                          c/o Kite Realty Group, 30 South Meridian Street,
29784611 KRG Portfolio, LLC                               Suite 1100                                       Indianapolis         IN    46204
29784612 KRG Sunland, L.P.                                30 South Meridian, Ste. 1100                     Indianapolis         IN    46204
29784613 Kronos                                           900 Chelmsford Street                            Lowell               MA    01851
29784614 Kronos Incorporated                              297 Billerica Road                               Chelmsford           MA    01824
29784615 Kronos Incorporated                              PO BOX 743208                                    Atlanta              GA    30374‐3208
                                                          c/o Brixmor Property Group, 200 Ridge Pike,
29784616 KRT Property Holdings LLC                        Suite 100                                        Conshohocken         PA    19428
29784617 KS Pet Retail Five, LLC                          770 W. Bedford Euless Rd.                        Hurst                TX    76053
            KSF Acquisition Corp dba Slim Fast formerly
29784618 Hyper Network Solutions of Florida LLC           11780 U.S. Highway One, Suite 400N               Palm Beach Gardens   FL    33408
29784619 KSL Realty North Providence LLC                  1403 Douglas Avenue                              North Providence     RI    02908
29777358 K‐Tec Inc., dba Blendtec                         1206 South 1680 West                             Orem                 UT    84058


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                    Page 65 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25        Page 81 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                  City         State Postal Code       Country
29777359 Kuhl Business Concepts, LLC                  8286 E Tumbleweed Drive                            Scottsdale              AZ     85266
29777360 Kuli Kuli, Inc.                              600 Grand Ave Suite 410B                           Oakland                 CA     94610
29777361 KutKrew Productions                          6123 Woodbine St                                   Ridgewood               NY     11385
29777362 KW ABSC, Inc.                                18655 Bishop Avenue                                Carson                  CA     90746
29777363 KXP Advantage Services LLC                   11777 San Vicente Blvd, Suite 747                  Los Angeles             CA     90049
29777364 Kyowa Hakko USA, Inc.                        600 Third Ave.                                     New York                NY     10016
29777365 K‐Zoo Pet, Inc.                              5062 Colony Woods Dr.                              Kalamazoo               MI     49009
29777366 L&D Partnership LLC                          929 Kings Highway East,                            Fairfield               CT     06825
29777367 L.A. Aloe, LLC                               80 W Sierra Madre Blvd Suite 364                   Sierra Madre            CA     91024
29777368 L.P. Corporation                             5613 Lessburg Pike, Suite 40                       Bailey's Crossroads     VA     22041
29784620 La Gioia Two, LLC                            3801 PGA Boulevard, Suite 600                      Palm Beach Gardens      FL     33410
29784621 La Quinta Inn & Suites                       350 Lighting Way                                   Secaucus                NJ     07094
29784622 LabCorp Employer Services, Inc.              7221 Lee Deforest Drive, Suite 600                 Columbia                MD     21046
29784623 LABRADA NUTRITION                            333 NORTHPARK CENTRAL DRIVE                        HOUSTON                 TX     77073
29784624 Lafe's Natural Bodycare                      8204 N. Lamar Blvd, Ste B‐12                       Austin                  TX     78753
29784625 Laguna Gateway Phase 2 L.P.                  2020 L Street, 5th Floor                           Sacramento              CA     95811
29784626 Lahaina Gateway Property Owner, L.P.         5743 Corsa Avenue, Suite 215                       Thousand Oaks           CA     91362
29784627 Lakeland Crossing LLC                         226 San Clemente                                  Santa Barbara           CA     93109
29784628 Lakewood (Ohio) Station LLC                  c/o Phillips Edison & Co., 11501 Northlake Drive   Cincinnati              OH     45249
29784629 Lamas Beauty, Inc.                           6222 Wilshire Boulevard, Suite 501                 Los Angeles             CA     90048
29784630 Lane Investments                             8104 E Freeport St.                                Broken Arrow            OK     74014
29784631 LaneLabs ‐ USA, Inc.                         3 North Street                                     Waldwick                NJ     07463
29784632 Lansing Square, LLC                          30600 Northwestern Hwy., Suite 310                 Farmington              MI     48334
29777369 Larkspur Real Esate Partnership I             Four Embarcadero Center, Suite 1400               Almensilla, Andalusia          41111       Spain
29777370 Larrimore Family Partnership LLC             3951 N Ocean Blvd #603                             Delray Beach            FL     33483
29777371 LaserShip, Inc.                              1912 Woodford Road                                 Vienna                  VA     22182
29777372 Laura's Original Boston Brownies, Inc.       818 Vanderbilt Place                               San Diego               CA     92110
29777373 Laurel Lakes, LLC                            2800 Quarry LakeDrive, Suite 340                   Baltimore               MD     21209
                                                      Mid‐America Real Estate ‐ Wisconsin LLC, 600 N
29777374 Layton Partners, LLC                         Plankinton Avenue, Suite 301                       Milwaukee               WI    53203
29777375 LBI Georgia Properties, LLC                  7 Penny Lane,                                      Woodbridge              CT    06525


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 66 of 134
                                                 Case 24-12480-JTD           Doc 685       Filed 01/08/25      Page 82 of 149

                                                                                     Exhibit B
                                                                              Cure Parties Service List
                                                                             Served via First Class Mail

AddressID                             Name                                        Address                                 City    State Postal Code       Country
29777376 LC Real Estate, LLC                                 6601 Centerville Business Parkway, Suite 150   Dayton               OH     45459
29777377 LDI                                                 50 Jericho Quadrangle                          Jericho              NY     11753
29777378 LDI Color Toolbox                                   50 Jericho Quadrangle                          Jericho              NY     11753
29777379 Leaner Creamer, LLC                                 8659 Hayden Place                              Culver City          CA     90232
29783712 Leap Agents                                         955 Shadeland Ave, Suite 4, 231 Ascot Place    Burlington           ON     L7T 2M2     Canada
29784633 Ledgers Pantry, LLC                                 14090 FM 2920, Ste. G551                       Tomball              TX     77377
                                                             c/o A.J. Dwoskin & Associates, Inc., 3201
29784634 Lee Harrison Limited Partnership                    Jermantown Road, Suite 700                     Fiarfax              VA    22030‐2879
29784635 LeFort Pet Supplies, Inc.                           1548 Breezeridge Dr.                           Des Peres            MO    63131
29784636 Left Handed Libra LLC dba Jane Carter Solution      45 South 17th Street                           East Orange          NJ    07018
29784637 Left Moon Consulting Group LLC                      478 Sylvester Trail                            Highlands Ranch      CO    80129
29784638 LegacyPets Inc.                                     98 N Floral Leaf Cir                           The Woodlands        TX    77381
29784639 Legendary Foods, LLC                                10825 Queensland St                            Los Angeles          CA    90034
29784640 Legion Athletics, Inc.                              1255 Cleveland St, 4th Fl                      Clearwater           FL    33755
            Lehigh Valley Industrial Park Lot 4 Owner, LLC
29784641                                                     BCDPF Radar Distribution Center LLC            Denver               CO    80202
         Lehigh Valley Industrial Park Lot 4 Owner, LLC
         BCDPF Radar Distribution Center LLC
         Miles Tedder                                        BCDPF Radar Distribution Center LLC, Miles
29784642 Matt Devitt                                         Tedder, Matt Devitt, P.O. Box 9183433          Chicago              IL    60691‐3433
29784643 Lemmon Ave. Retail, LP                              8400 Westchester , Suite 300                   Dallas               TX    75225
29784644 Lennox Station Exchange, LLC                        6499 E. Broad St., STE 130                     Columbus             OH    43213
29777380 Lenny & Larry's, Inc.                               8803 Amigo Ave                                 Northridge           CA    91324
29777381 Leparulo Family Trust                               205 S. Rodeo Drive                             Beverly Hills        CA    90212
29777382 Leprino Performance Brands, LLC                     1830 W. 38th Avenue                            Denver               CO    80211
29777383 Leslie's Organics, LLC                              298 Miller Ave.                                Mill Valley          CA    94941
29777384 Lesser Evil LLC                                     83 Newtown Rd, 2nd Floor                       Danbury              CT    06810
29777385 Level 10, LLC                                       2495 Pembroke Ave.                             Hoffman Estates      IL    60169
29777386 Levlad LLC dba Nature's Gate                        9200 Mason Ave                                 Chatsworth           CA    91311
29777387 Levo Healthcare Consulting, Inc.                    220 W 7TH AVENUE, SUITE 210                    Tampa                FL    33602
29777388 Lexmark International, Inc.                         740 W. New Circle Road                         Lexington            KY    40511


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 67 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25        Page 83 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                                  City     State Postal Code        Country
29777389 LGM Equities, LLC                            c/o Milbrook Properties Ltd., 42 Bayview Ave.      Manhasset          NY     11030
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777390 LH Bolingbrook Weber, L.L.C.                 Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784645 LH Crystal Lake, L.L.C.                      Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784646 LH Grayslake, L.L.C.                         Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784647 LH Homer Glen, L.L.C.                        Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784648 LH LaPorte, L.L.C.                           Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784649 LH Plainfield, L.L.C                         Madison St., Suite 4200                            Chicago            IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29784650 LH Villa Park, L.L.C.                        Madison St., Suite 4200                            Chicago            IL    60606
29783744 Li & FUNG (TRADING) LIMITED                  LiFung Tower                                       Kowloon                                 Hong Kong
29784651 Liberty Elevator Corporation                 63 East 24th Street                                Paterson           NJ    07514
29784652 Liberty Mountain Sports, LLC                 9816 S Jordan Gateway (500W)                       Sandy              UT    84070
29784653 Liberty Mutual Insurance Company             175 Berkeley Street                                Boston             MA    02116
29784654 Liddell Laboratories Inc                     201 Apple Blvd, PO Box 121                         Woodbine           IA    51579
29783758 Lien Nguyen Thi Kim                          13 Ly Thai To                                      Ha Noi                   100000     Vietnam
29784655 Life Boost, LLC                              455 East Cady Street                               Northville         MI    48167
29784656 LifeAID Beverage Company, INC                2833 Mission St                                    Santa Cruz         CA    95060
29777391 Lifefactory, Inc.                            3 Harbor Drive Suite 215                           Sausalito          CA    94965‐1491
29777392 Lifespan International dba Xendurance        PO Box 6088                                        Carefree           AZ    85377
29777393 Lifetime Brands Inc. Built Division          1000 Stewart Avenue                                Garden City        NY    11530
29777394 Lifeway Foods Inc.                           6431 W. Oakton St.                                 Morton Grove       IL    60053
29777395 Lifeworks Technology Group, LLC              1412 Broadway, 7th Floor                           New York           NY    10018
29777396 Lily of the Desert                           1887 Geesling Rd                                   Denton             TX    76208
                                                      c/o Washington Properties, Inc., 400 Skokie Blvd.,
29777397 Lincoln Grace Investments, LLC               Suite 425                                          Northbrook         IL    60062
29777398 Linden Construction South Carolina           100 Brigade Street, Suite 100                      Charleston         SC    29403


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 68 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25     Page 84 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                                 City   State Postal Code     Country
                                                      c/o Linear Retail Properties, LLC, 77 South
29777399 Linear Retail #9 LLC                         Bedford Street, Suite 401                       Burlington          MA    01803
                                                      c/o Linear Retail Properties, LLC, 77 South
29777400 Linear Retail Waltham #1 LLC                 Bedford Street, Suite 401                       Burlington          MA    01803
29777401 Liquid OTC, LLC                              PO Box 1351, 336 Wolverine Dr                   Walled Lake         MI    48390
29784657 Little Moon Essentials, LLC                  2475 Lincoln Ave/PO BOX 771893                  Steamboat Springs   CO    80487
29784658 Little Paws, LLC                             7911 Platinum Ct.                               Boerne              TX    78015
29784659 Live Intent, Inc.                            100 Church, Floor 7                             New York            NY    10007
29784660 Liveclicker, Inc.                            560 South Winchester Boulevard, Suite 500       San Jose            CA    95128
29784661 Lively Holdings, LLC                         1170 Clover Hill Lane                           Elgin               IL    60120
29784662 Lively Up Your Breath, LLC                   4419 Cochran Street                             Simi Valley         CA    93063
29784663 LivePerson, Inc.                             462 Seventh Avenue, 3rd Floor                   New York            NY    10018
29784664 LiveRamp, Inc.                               667 Mission St, 4th Floor                       San Francisco       CA    94105
29784665 Liverite Products, Inc.                      15495 Redwill ave, Suite C                      Tustin              CA    92780
29784666 LiveWire MC2, LLC                            1747 Douglass Rd Unit C                         Anaheim             CA    92806
29784667 Living Ecology Manufacturing Inc.            240 Crouse Drive                                Corona              CA    92879
29784668 Living Well Innovations, Inc.                115 Engineers Rd, 2nd Floor                     Hauppauge           NY    11788
29783713 Livingston International Inc.                405 The West Mall                               Toronto             ON    M9C 5K7    Canada
29777402 LIVS Products                                10388 W. State Road 84, Suite 106               Fort Lauderdale     FL    33324
29777403 LIVS Products, LLC                           3360 Enterprise Avenue, 180                     Weston              FL    33331
29777404 Lizben Enterprises, LLC                      1776 West 7800 South,                           West Jordan         UT    84088
29777405 LMR II ‐ Palm Pointe LLC                     212 E. 3rd Street, Suite 200                    Cincinnati          OH    45202
29777406 Loadsmart, Inc.                              150 N Michigan Ave., 19th Floor                 Chicago             IL    60601
29777407 Local Sandy IL, LLC                          777 Brickell Ave., Suite 610                    Miami               FL    33131
29777408 Local Westgate LLC                           777 Brickell Ave., Suite 630                    Miami               FL    33131
29777409 LockNet, LLC                                 800 John C Watts Drive                          Nicholasville       KY    40356
29777410 Locus Robotics Corp                          PO Box 735537                                   Chicago             IL    60673‐5537
29777411 Logic Information Systems, Inc.              7760 France Avenue South, Suite 640             Bloomington         MN    55435
29777412 Logical Brands, Inc.                         4900 Centennial Blvd.                           Nashville           TN    37209
29784669 LogicSource, Inc.                            20 Marshall Street                              Norwalk             CT    06854
29784670 Logile, Inc.                                 2600 East Southlake Boulevard, Suite 120        Southlake           TX    76092


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 69 of 134
                                              Case 24-12480-JTD            Doc 685        Filed 01/08/25      Page 85 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                             Name                                      Address                                  City    State Postal Code        Country
29784671 LogMeIn, Inc.                                     320 Summer Street                               Boston               MA     02210
29784672 Lonchas Enterprises LLC                           13135 Danielson St Ste 211                      Poway                CA     92064
29784673 London Import S.A.                                PO BOX 731178                                   DALLAS               TX     75373‐1178
29784674 Lonza Consumer Health Inc.                        5451 Industrial Way                             Benicia              CA     94510
29776562 Lonza Ltd                                         Muenchensteinerstrasse 38                       Basel                       4002        Switzerland
29784675 Lord Jameson                                      413 West 14th Street, 2nd Floor                 New York             NY     10014
29783714 Lorna Vanderhaeghe Health Solutions, Inc.         106A 3430 Brighton Avenue                       Burnaby              BC     V5A 3H4     Canada
29784676 los productos                                     19 W. 44th St. Suite 811                        New York             NY     10036
29784677 Lotus Brands, Inc.                                1100 E. Lotus Dr. Bldg #3                       Silver Lake          WI     53170
         Louis Treiger Trustee of Samuel J Gree Grandson
29784678 TRust #1UTA dated 12/11/87                        6100 57th Ave. S,                               Seattle              WA    98118
29784679 Love You Foods, LLC                               300 W Morgan Street, Suite 1510                 Durham               NC    27701
29784680 Love Your Neighbor Well, LLC                      10804 Bridgeport Drive                          Temple               TX    76502
29784681 LoveBug Nutrition, Inc.                           115 East 34th Street, Suite 1506                New York             NY    10156
                                                           c/o Regency Centers Corporation, One
29777413 Lower Nazareth Commons, LP                        Independent Drive, Suite 114                    Jacksonville         FL    32202
29777414 Loyalty 360, Inc.                                 PO BOX 54407                                    Cincinnati           OH    45254
29777415 LPK Brands, Inc.                                  19 Garfield Place, 8th Floor                    Cincinnati           OH    45202
29777416 LPN Properties LLC                                5000 E. Grand River,                            Howell               MI    48843
29777417 LSREF6 Legacy LLC                                 6688 N. Central Expressway, Suite 1600          Dallas               TX    75206
29777418 Lucid Software Inc.                               10355 S Jordan Gateway #150                     South Jordan         UT    84095
29777419 Lukaluk, LLC                                      5985 Chester Way                                Denver               CO    80238
29777420 Lumina Health Products Inc.                       3693 Walden Pond Drive                          Sarasota             FL    34240
29777421 Lumos Inc.                                        7 South 1550 West #600                          Lindon               UT    84042
29777422 Luna Pharmaceuticals, Inc.                        244 Weybosset Street, 2nd Floor, Suite 3        Providence           RI    02903
29777423 Lunada Biomedical                                 6733 S. Sepulveda Blvd # 115                    Los Angeles          CA    90045
29784682 Lustig Realty Corp                                312 Washington Street, Suite # 2                Ethel                LA    70730
29784683 M & A Ventures                                    c/o REPAY                                       Atlanta              GA    30309
29784684 M & S INVESTMENT GROUP LLC                        4985 WEST COLONIAL DR                           ORLANDO              FL    32808
29784685 M&J Wilkow Properties, LLC                        20 South Clark Street, Suite 3000               Chicago              IL    60603
29784686 M&N Laurel Property, LLC                          3 South Infield Court,                          Potomac              MD    20854


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 70 of 134
                                               Case 24-12480-JTD      Doc 685        Filed 01/08/25       Page 86 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                City     State Postal Code        Country
29784687 M.I. Industries, Incorporated                 55 Westport Drive                               St. Louis           MO     63145
29784688 M2 Ingredients, Inc                           5931 Priestly Drive                             Carlsbad            CA     92008
29784689 M3 Ventures #4091, LLC                        c/o 191 Alps Rd., Suite 13‐A                    Athens              GA     30606
29784690 M3 Ventures #4105, LLC                        c/o 191 Alps Rd., Suite 13‐A                    Athens              GA     30606
29784691 M3 Ventures #8024, LLC                        c/o 191 Alps Rd., Suite 13‐A                    Athens              GA     30606
29784692 M3 Ventures #8029, LLC                        c/o 191 Alps Rd., Suite 13‐A                    Athens              GA     30606
29784693 M3 Ventures #8034, LLC                        c/o 191 Alps Rd., Suite 13‐A                    Athens              GA     30606
29784694 MAAK Corp.                                    7907 Sendero Ridge                              Fair Oaks Ranch     TX     78015
                                                       Agent for Macerich Lakewood LP, 401 Wilshire
29777424 Macerich Lakewood, LP                         Boulevard, Suite 700                            Santa Monica        CA    90401
29777425 MacroLife Naturals, Inc                       8477 Steller Drive                              Culver City         CA    90232
                                                       2nd Floor, LiFung Tower, 868 Cheung Sha Wan
29777426 Macy's China Limited                          Road                                            Kowloon                   94107          Hong Kong
29777427 Mad River Development LLC                     240 Paramus Road, P.O. Box 707                  Ridgewood           NJ    07450
29777428 Madaen Natural Products Inc.                  23811 Chagrin Blvd, Suite #10                   Beachwood           OH    44122
29777429 Madhava Natural Sweeteners                    14300 E. 1‐25 Frontage Rd                       Longmont            CO    80504
29777430 Madison Avery Partners , LLC                  c/o Pet Supplies Plus, 1300 MacDade Boulevard   Woodlyn             PA    19094
29777431 Madjef, Inc.                                  45 Longview Dr.                                 Scarsdale           NY    10583
29777432 Maggie McIntosh                               3957 Cloverhill Road                            Baltimore           MD    21218
29777433 Magnificent Seven LLC                         2671 Fort Trenholm Rd                           Johns Island        SC    29455
29777434 Magnifico Pet Holdings, LLC                   c/o Pet Supplies Plus, 1300 MacDade Boulevard   Woodlyn             PA    19094
29784695 Magnolia Enterprises, LLC                     6847 83rd Ave SE,                               Mercer Island       WA    98040
29784696 Magnolia Furniture, Inc.                      8848 Dawes Lake Road South                      Mobile              AL    36619
29784697 Main Street Pet Supply, LLC                   31500 Northwestern Highway, Suite 175           Farmington Hills    MI    48334
29784698 Malloy Properties Partnership No. 2           3 Wood Hill Drive,                               Redwood City       CA    94061
29784699 Mamma Chia LLC                                5205 Avenida Encinas, Suite E                   Carlsbad            CA    92008
29784700 MAN Sports                                    PO Box 871202                                   Mesquite            TX    75187
29784701 Management Resource Systems                   1907 Baker Road                                 High Point          NC    27263
29784702 Manhattan Associates                          2300 Windy Ridge Parkway, 10th Floor            Atlanta             GA    30339
29784703 Manhattan Associates, Inc.                    2300 Windy Ridge Parkway                        Atlanta             GA    30339
29784704 Manhattan Associates, Inc.                    2300 Windy Ridge Parkway, 10th Floor            Atlanta             GA    30339


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 71 of 134
                                               Case 24-12480-JTD          Doc 685       Filed 01/08/25      Page 87 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                    Address                               City      State Postal Code       Country
29783715 Manitoba Harvest                                 69 Eagle Dr.                                   Winnipeg            MB     RER 1V4     Canada
29784705 MANNimals, Inc.                                  2517 2nd Avenue West                           Seattle             WA     98119
29776559 Manuka Health New Zealand Ltd                    66 Weona Court                                 Te Awamutu                 3800        New Zealand
29784706 Manuka Lab North America, Inc                    859 East Sepulveda Blvd                        Carson              CA     90745
29777435 MapQuest.com, Inc.                               1730 Blake Street                              Denver              CO     80202
29777436 Marchan Enterprise, LLC                          Corporation Trust Center, 1209 Orange Street   Wilmington          DE     19801
29777437 Margand Enterprises, LLC                         1680 Route 23, Suite 330                       Wayne               NJ     07470
29777438 MaRick Inc.                                      566 Fiesta Court                               Fairfield           CA     94533

29776568 Marine Stewardship Council International Limited Marine House, 1 Snow Hill                      London                    EC1A 2DH    United Kingdom
29777439 Mark IV Operations, Inc.                         82 John Miller Way                             Kearny              NJ    07032
29777440 Mark Leevan Glendale LLC                         9454 Wilshire Boulevard, Suite 6000            Beverly Hills       CA    90212
                                                          c/o Mid‐America Asset Management Inc., 9th
29777441 Market Place at Darien, LLC                      Floor                                          Villa Park          IL    60181
29777442 MarketSpark, Inc.                                750 B Street                                   San Diego           CA    92101
29777443 MarkIV Transportation and Logistics              720 SOUTH FRONT STREET                         Elizabeth           NJ    07202
29777444 Marla Enterprise, LLC                            Corporation Trust Center, 1209 Orange Street   Wilmington          DE    19801
29777445 Marlin Lesher                                    254 Howerters Road                             Pitman              PA    17964
29784707 Marmaduke's Munchies, LLC                        9011 Sendera Dr.                               Magnolia            TX    77354
29784708 Marriott Hotel Services, Inc.                    11730 Preston Road                             Dallas              TX    75230
29784709 Mars Botanical                                   20425 Seneca Meadows Parkway                   Germantown          MD    20876
29784710 Mars Petcare US, Inc.                            800 High Street                                Hackettstown        NJ    07840
29784711 Marshfield Pets, LLC                             2295 Spring Rose Road                          Verona              WI    53593
29784712 Marz Holding Group LLC                           2795 Peachtree Street Northeast, #2108         Atlanta             GA    30305
29784713 Mass Probiotics, Inc.                            1397 Charles Street                            Boston              MA    02114
29784714 Mastek, Inc.                                     15601 Dallas Pkwy, Suite 250                   Addison             TX    75254
29784715 Master Supplements, Inc.                         PO Box 240 1600 Arboretum BLVD, 202            Victoria            MN    55386
29784716 Match.com Events LLC                             8750 N. Central Expressway, Suite 1400         Dallas              TX    75231
29784717 Mate Revolution Inc.                             PO Box 1192                                    Ashland             OR    97520
29784718 Matrix Absence Management, Inc.                  2421 W. Peoria Ave. Suite 200                  Phoenix             AZ    85029
29784719 Matrix Health Products                           9700 NE 126 Ave.                               Vancouver           WA    98682


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 72 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25     Page 88 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                              Address                                  City     State Postal Code   Country
29777446 Matrix Healthwerks Inc.                     P.O. Box 2051                                   San Marcos         CA     92079
29777447 Matthews Automation Solutions               W229 N2510 Duplainville Road                    Waukesha           WI     53186
29777448 Matthews Automation Systems                 N114 W18770 Clinton Drive                       Germantown         WI     53022
         Matthews International Corporation dba
29777449 Lightning Pick                              N114 W18770 Clinton Dr.                         Germantown         WI    53022
29777450 Matthews International DBA Lightning Pick   W229 N2510 Duplainville Road                    Waukesha           WI    53186
29777451 Matthews International DBA Lightning Pick   N114 W18770 Clinton Drive                       Germantown         WI    53022
29777452 MAVEA LLC                                   675 Tollgate Road Suite G                       Elgin              IL    60123
29777453 Maverick Brands, LLC                        2400 Wyandotte Street, Suite B103               Mountain View      CA    94043
29777454 Maverick Pets, LLC                          4068 Lenox Drive                                Cincinnati         OH    45245
29777455 Max Bull, Inc.                              14240 Imboden Rd.                               Hudson             CO    80642
29777456 Max Pets Supplies, LLC                      2214 Cortona Mist                               San Antonio        TX    78260
29784720 Maxim Chambers II, LLC                      1901 Avenue of the Stars, Suite 630             Los Angeles        CA    90067
29784721 Maximum International                       500 NE 25th St #10                              Pompano Beach      FL    33064
29784722 Mayer Laboratories, Inc.                    1950 Addison Street, Suite #101                 Berkeley           CA    94704
29784723 Maypro Industries, LLC                      2975 Westchester Avenue                         Purchase           NY    10577
29784724 Mayrich III, Ltd.                           761 East 200th Street                           Euclid             Oh    44119
29784725 Maywood Mart TEI Equities                   55 Fifth Avenue,                                New York City      NY    10003
29784726 MBABJB Holdings, FLP                        101 SE 6th Avenue                               Delray Beach       FL    33483
29784727 MBB Gateway Associates                      Pomegranate RE, 33 Rock Hill Road               Ardmore            PA    19003
29784728 mbg                                         13297 SCRUB JAY COURT                           Port Charlotte     FL    33953
         McCabe Way Irvine LLC
29784729 Mileski Living Trust                        Mileski Living Trust, 1971 W 190TH STREET       TORRANCE           CA    90504
29784730 McCabe Way Irvine, LLC                      1971 W 190TH STREET                             TORRANCE           CA    90504
29784731 McCrane Inc, DBA Harbinger                  801 Chadbourne Rd, Suite 103                    Fairfield          CA    94534
29784732 McGriff Insurance Services, Inc.            4309 Emperor Blvd, Ste 300                      Durham             NC    27703‐8046
29777457 Mckinsey & Company, Inc. United States      55 East 52nd Street                             New York           NY    10022
29777458 McMurry/TMG, LLC                            228 E. 45th Street                              New York           NY    10017
29777459 McPetsol, Inc.                              33300 Five Mile Road, Suite 200                 Livonia            MI    48154
29777460 MD Science Lab LLC                          2131 Blount Road                                Pompano Beach      FL    33069
29777461 MD2 Algonquin, LLC                          c/o Tiffany Earl Williams, 417 1st Ave SE       Cedar Rapids       IA    52401


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 73 of 134
                                             Case 24-12480-JTD          Doc 685       Filed 01/08/25     Page 89 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                            Name                                      Address                            City     State Postal Code       Country
29777462 ME Moringa LLC                                  15 Braemer Road                              East Setauket       NY     11733
29777463 Meadowbrook Shopping Center Associates, LLC     30600 Northwestern, Suite 430                Farmington Hills    MI     48334
29777464 Meadowlands Fire Protection                     348 New County Road                          Secaucus            NJ     07094
29777465 Mears Oak Investors LLC & Mears Oak             412 Oakmears Crescent, Suite 102             Virginia Beach      VA     23462
29777466 Media Brokers International                     555 North Point Center East, Suite 700       Alpharetta          GA     30022
29777467 Media Brokers International, Inc.               555 North Point Center East, Suite 700       Alpharetta          GA     30022
29784733 MediaNug, LLC                                   545 Cypress Ave                              Hermosa Beach       CA     90254
29784734 Mediaplanet Publishing House, Inc.              350 7TH AVENUE, 18TH FLOOR                   New York            NY     10001
29784735 Medical Research Institute (MRI)                444 De Haro, Suite 209                       San Francisco       CA     94107
29784736 MediNatura, Inc.                                10421 Research Road SE                       Albuquerque         NM     87123
29784737 Meditrend, Inc. DBA Professional Formulations   4820 Eubank Blvd NE                          Albuquerque         NM     87111
29784738 Medport LLC                                     23 Acorn Street                              Providence          RI     02903
29784739 Mega Kyon Inc.                                  64 N Mill Street                             Hopkinton           MA     01748
29784740 Melaleuca, Inc.                                 3910 South Yellowstone Highway               Idaho Falls         ID     83402
29784741 Melian Labs Inc. dba MyTime                     600 California Street                        San Francisco       CA     94108
29784742 Melsa, Inc.                                     125 Leafwood Dr.                             Goldsboro           NC     27534
29784743 Memphis Light, Gas and Water Division           PO BOX 2440                                  SPOKANE             WA     99210‐2440
29784744 Mendias & Milton, LLC d/b/a My Fit Foods        5000 Plaza on the Lake, Suite 380            Austin              TX     78746
29784745 MerchSource, LLC                                15 Cushing                                   Irvine              CA     92618
29777468 Mercola.com Health Resources LLC                3200 West Higgins Road                       Hoffman Estates     IL     60169
29777469 Meridian Place, LLC                             C/O NEIL WALTER CO, PO BOX 2181,             Tacoma              WA     98401
29783716 Merrithew International Inc.                    2200 Yonge Street, Suite 500                 Toronto             ON     M4S 2C6     Canada
29777470 Meshanticut Properties, Inc.                    1414 Atwood Ave.,                            Johnston            RI     02919
29777471 METACAN, INC.                                   708 Gravenstein Hwy North Suite 188          Sebastopol          CA     95472
29777472 Metro East PSP                                  664 Royal Crest Way                          O'Fallon            IL     62269
29777473 Metropolitan Trucking Inc.                      6675 Low Street                              Bloomsburg          PA     17815
                                                         RD Management LLC , 810 Seventh Avenue, 10th
29777474 MFB Glenville, LLC                              floor                                        New York            NY    10019
29777475 MHP, LLC d/b/a MuscleMeds                       21 Dwight Place                              Fairfield           NJ    07004
29777476 MIA of South Carolina, LLC                      208 St. James Avenue, Suite B                Goose Creek         SC    29445
29777477 Michael's Health Products                       6003 Randolph Blvd                           San Antonio         TX    78233


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                 Page 74 of 134
                                               Case 24-12480-JTD           Doc 685        Filed 01/08/25     Page 90 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                             Name                                     Address                                  City    State Postal Code   Country
29777478 Michelle Lambert (Entity Pending)                 Corporation Trust Center, 1209 Orange Street    Wilmington          DE     19801
29784746 Michiana Pets, Inc.                               5062 Colony Woods Dr.                           Kalamazoo           MI     49009
29784747 Michigan Office Solutions (MOS)                   40000 Grand River Ave. Ste 500                  Novi                MI     48375
         Michigan Office Solutions
29784748 Integrity One Technologies                        Integrity One Technologies, 801 N Capitol Ave   Indianapolis        IN    46204
         Michigan Office Solutions, Inc. (Xerox Business
         Solutions Midwest)
29784749                                                   40000 Grand River Ave. Ste 500                  Novi                MI    48375
29784750 Microsoft                                         6880 Sierra Center Parkway                      Reno                NV    89511
29784751 Microsoft Corporation                             6880 Sierra Center Parkway                      Reno                NV    89511
29784752 Microsoft Corporation                             P.O. BOX 842103                                 DALLAS              TX    75284‐2103
29784753 Microsoft Licensing, GP                           1401 Elm Street                                 Dallas              TX    75202
29784754 MicroStrategy Services Corporation                PO BOX 409671                                   Atlanta             GA    30384
29784755 MID Atlantic RTO, LLC                             106 Umbrella Place                              Jupiter             FL    33458
29784756 Midas                                             2450 VILLAGE COMMONS DRIVE                      ERIE                PA    16506
29784757 Mid‐Atlantic‐Lynchburg LLC                        13900 Eastbluff Road,                           Midlothian          VA    23112
29784758 Midtown Business Partners LLC                     1218 Hazel                                      Tulsa               OK    74114
                                                           c/o Madison Properties, 3611 14th Ave., Suite
29777479 Midway Market Square Elyria LLC                   420                                             Brooklyn            NY    11218
29777480 Midwestern Pet Foods, Inc.                        9634 Hedden Road                                Evansville          IN    47725
29777481 Military Makeover, LLC                            3860 N. Powerline Road                          Deerfield Beach     FL    33073
29777482 Millennium Coupon Redemption Services, Inc.       50 Mount Prospect Avenue, Suite 204             Clifton             NJ    07013
29777483 Millennium Sport Technologies                     P.O. BOX 1137, 303 W. COLVILLE,                 CHEWELAH            WA    99109
29777484 Milliman, Inc.                                    150 Clove Rd, 10th Fl                           Little Falls        NJ    07424
29777485 mindbodygreen, LLC                                2980 McFarlane Rd                               Miami               FL    33133
29777486 Minerva Research Labs Ltd.                        9465 Wilshire Blvd, Suite 300                   Beverly Hills       CA    90210
29777487 Minisoft, Inc.                                    1024 First Street                               Snohomish           WA    98290
29777488 Mission Pets                                      986 Mission Street                              San Francisco       CA    94103
29777489 MiTAC Digital Corp                                471 El Camino Real                              Santa Clara         CA    95050
29784759 Mitsubishi Electric Power Products, Inc.          547 Keystone Drive, Suite 300                   Warrendale          PA    15086
29784760 MJC Enterprises, Inc.                             42241 Garfield Rd.                              Clinton Township    MI    48038


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 75 of 134
                                             Case 24-12480-JTD       Doc 685       Filed 01/08/25       Page 91 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                  Address                               City     State Postal Code         Country
29784761 MJF/Highland RE Holding Company, LLC        1622 Willow Road, Suite 201                    Winnetka             IL     60093
29784762 MJM Sourcing, LLC                           1137 Conveyor Lane #102                        Dallas               TX     75247
29784763 MJQ Enterprises, Inc.                       2501 Pennington Place                          Valparaiso           IN     46383
                                                     MMI Realty Services Inc., 4211 Waialae Ave.,
29784764 MK Kapolei Common, LLC                      Ste. 33                                        Honolulu             HI    96816
                                                     c/o McNaughton Inc., 1288 Ala Moana
29784765 MK Kona Commons LLC                         Boulevard, Suite 208                           Honolulu             HI    96814
29784766 MKPAC, LLC                                  2500 Westmont Circle                           Sterling Heights     MI    48310
                                                     c/o MetLife Investment Management LLC, 601
29784767 MLM Chino Property, LLC                     South Figueroa, Suite 2900                     Los Angeles          CA    90071
29784768 ML‐MJW Port Chester SC Owner LLC            20 South Clark Street, Suite 3000              Chicago              IL    60603
                                                     c/o Olshan Properties, 600 Madison Avenue,
29784769 MLO Great South Bay LLC                     14th Floor                                     New York City        NY    10022
                                                     c/o Horizon Properties as agent, 18610 NW 87th
29784770 MMG Plantation CP, LLC                      Avenue, Suite 204                              Hialeah              FL    33015
                                                     c/o Horizon Properties as agent, 18610 NW 87th
29777490 MMG Plantation Square, LLC                  Avenue, Suite 204                              Hialeah              FL    33015
29777491 MO Pet Retail Three, LLC                    770 W. Bedford Euless Rd.                      Hurst                TX    76053
29777492 MO Pet Retail Two, LLC                      770 W. Bedford Euless Rd.                      Hurst                TX    76053
29777493 Modern Products, Inc.                       6425 W. Executive Dr.                          Mequon               WI    53092
29777494 Modis, Inc.                                 10151 DEERWOOD PARK BLVD, BUILDING 200         Jacksonville         FL    32256
29777495 Mohammad Tariq (Entity Pending)             1520 Eisenhower Street                         Dixon                CA    95620
29783750 Mohammed F Alhokair & Co.                   PO Box 1360                                    Riyadh                     11321          Saudi Arabia
29777496 Monona Pets, LLC                            2295 Spring Rose Road                          Verona               WI    53593
                                                     MONOPOLI MUSIC GROUP LLC, 42
29777497 Monopoli Music Group LLC                    MOUNTAINVIEW DRIVE                             Clifton              NJ    07013
                                                     c/o Epic Property Management, 12863 Eureka
29777498 Monroe Triple Net, LLC                      Rd.                                            Southgate            MI    48195
29777499 Monster Energy Company                      1 Monster Way,                                 CORONA               CA    92879
29777500 Montgomery EastChase, LLC                   c/o 5Rivers CRE LLC, 945 Heights Blvd          Houston              TX    77008
29785648 Montgomery Trading LLC                      12 East 46th St ‐ Suite 301 D,                 New York City        NY    10017
29785649 Mood Media                                  2100 S. H.35                                   AUSTIN               TX    18104


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 76 of 134
                                                Case 24-12480-JTD        Doc 685        Filed 01/08/25       Page 92 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                            Name                                    Address                                  City      State Postal Code   Country
29785650 Moody's Investors Service, Inc                  7 World Trade Center, at 250 Greenwich Street     New York            NY     10007
29785651 Moore Properties Capital Blvd LLC               8001 Skyecroft Commons Drive                      Waxhaw              NC     28173
29785652 Morgan Li, LLC                                  383 E 16th St.                                    Chicago Heights     IL     60411
29785653 Mori Burlington LLC                             16 Nolen Circle                                   Voorhees Township   NJ     08043
29785654 Morningstar Minerals                            22 Rd 3957,                                       FARMINGTON          NM     87401
29785655 Moroccan Magic LLC                              33 Thompson Lane,                                 MILTON              MA     02186
29785656 Mosaic ATM, Inc. DBA Mosaic Data Science        540 For Evans Road, NE Ste. 300                   Leesburg            VA     20176
29785657 Mosaic Reisterstown Road Owner LLC              c/o MFI Inc., 2800 Quarry Lake Drive, Suite 340   Baltimore           MD     21209
29785658 Motherlove Herbal Company                       1420 Riverside Avenue, 114                        FORT COLLINS        CO     80524
29785659 Mount Franklin Nutritionals LLC                 2720 Southgate Drive,                             SUMTER              SC     29154
                                                         c/o Synergy Property Management, 5007 S
29777501 Mount Pleasant Investments, LLC                 Howell Avenue, Suite 115                          Milwaukee           Wi    53207
29777502 Mountain Country Pet Care‐LLC                   201 Industrial                                    Okeene              OK    73763
            Mountain High Organics, Inc., d/b/a Beveri
29777503 Nutrition                                       9 South Main Street, P.O. Box 1450                New Milford         CT    06776
                                                         c/o Oxford Development Company, Property
29777504 MOUNTAIN LAUREL PLAZA ASSOCIATES                Manager, 301 Grant Street, Suite 4500             Pittsburgh          PA    15219
29777505 Movable, Inc.                                   5 Bryant Park (1065 Sixth Avenue)                 New York            NY    10018
29777506 Movable, Inc.                                   5 Bryant Park (1065 6th Avenue), 9th Floor        New York            NY    10018
29777507 Moysestra Enterprises, Inc.                     80 Valley View Terrace                            Montvale            NJ    07645
29777508 MPM Belmont,, LLC                               19154 Rosemary Road                               Spring Lake         MI    49456
29777509 MPM Gastonia, LLC                               19154 Rosemary Road                               Spring Lake         MI    49456
29777510 MPM Greensboro, LLC                             19154 Rosemary Road                               Spring Lake         MI    49456
29777511 MPM Pecan, LLC                                  19154 Rosemary Road                               Spring Lake         MI    49456
29784771 MPM Retail Holdings, LLC                        19154 Rosemary Road                               Spring Lake         MI    49456
29784772 MPMFM, LLC                                      19154 Rosemary Road                               Spring Lake         MI    49456
29784773 MPMRH, LLC                                      19154 Rosemary Road                               Spring Lake         MI    49456
29784774 MPMSC, LLC                                      19154 Rosemary Road                               Spring Lake         MI    49456
29784775 Mr Dark PSP, LLC                                4688 N. Arrow Villa Way                           Boise               ID    83703
29784776 MRM                                             2665 Vista Pacific Dr.                            Oceanside           CA    92056
29784777 MRV Dickson City, LLC                           c/o Integrated Properties, Inc., P.O. Box 988     Sudbury             MA    01776


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                   Page 77 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25       Page 93 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                  Address                                   City       State Postal Code        Country
29784778 MS Packaging and Supply Corp.               50 Rocky Point Yaphank Road                       Rocky Point             NY     11778
29784779 MSG94, II,LLC                               32680 Northwestern Highway,                       Farmington              MI     48334
29784780 MTM Ventures, LLC                           1116 Patton Avenue                                Asheville               NC     28806
                                                     c/o Kin Properties, 185 NW Spanish River Blvd.,
29784781 Muffrey LLC                                 Suite 100                                         Boca Raton              FL    33431
29784782 Muhammad Kamran Awan                        14‐A Oak Branch Drive                             Greensboro              NC    27407
29784783 MullenLowe U.S., Inc.                       40 Broad Street                                   Boston                  MA    02109
29777512 Mun Pets, LLC                               16121 Haddam Ln                                   Westfield               IN    46062
                                                     c/o Shiner Group LLC, 3201 Old Glenview Road,
29777513 Mundelein 83 LLC                            Suite 235                                         Wilmette                IL    60091
29777514 Mundy Street Square, L.P.                   1140 Route 315, Suite 201                         Wilkes‐Barre            PA    18702
29777515 MUNTECH PRODUCTS, INC.                      1010 OBICI INDUSTRIAL BLVD.                       SUFFOLK                 VA    23434
29777516 Musca Properties LLC                        1300 E. 9th St.                                   Cleveland               OH    44114
29777517 Muscle Elements Inc.                        6500 West Rogers Cir, Suite 5000                  Boca Raton              FL    33487
29777518 Muscle Foods USA                            701 Hudson Ave.,                                  SCRANTON                PA    18504
29777519 Muscle Warfare, Inc.                        3133 Fortune Way Ste 15                           Wellington              FL    33414
29777520 MusclePharm Corp                            4721 Ironton St., Building A                      DENVER                  CO    80237
29777521 Mushroom Wisdom, Inc.                       1 Madison Street, Bldg. F‐6                       East Rutherford         NJ    07073
29777522 MW Management, Inc.                         600 South Jefferson Street, Suite M               Athens                  AL    35611
29783717 My Matcha Life Products Inc                 108‐1857 West 4th Avenue,                         Vancouver               BC    V6J 1M4        Canada
29784784 MYA Ventures, Inc.                          43 Village Way, Suite 204                         Hudson                  OH    44236
29784785 MyChelle Dermaceuticals LLC                 1301 Courtesy Rd,                                 Louisville              CO    50027
29784786 N & B, LLC                                  5681 E 56th Ave                                   BIRMINGHAM              AL    35202
29784787 N & P Realty Associates, LLC                P.O. Box 590291,                                  Newton Centre           MA    02459
29784788 N & R PASTOR, L.L.C.                        2617 Beacon Hill,                                 Auburn Hills            MI    48326
29784789 N&S Developments 1, LLC                     7216 Southampton Lane                             West Chester Township   OH    45069
29784790 N&S Developments 2, LLC                     7216 Southampton Lane                             West Chester Township   OH    45069
29784791 N&S Developments 3, LLC                     7216 Southampton Lane                             West Chester Township   OH    45069
29784792 NAC Marketing Company, LLC                  95 Executive Dr., Suite 14                        Edgewood                NY    11717
                                                     c/o Centrecorp Management Services LLLP,
29784793 NADG/SG Riverdale Village LP                12761 Riverdale Blvd., Suite 104                  Minneapolis             MN    55448


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 78 of 134
                                               Case 24-12480-JTD      Doc 685        Filed 01/08/25     Page 94 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                               City       State Postal Code   Country
29784794 Naked Earth, Inc.                             PO Box 245                                     Katonah               NY     10536
29784795 Naked Whey, Inc.                              475 Brickell Ave #5408                         Miami                 FL     33131
29784796 NARS Capital LLC                              3 Grace Court                                  Plainsboro Township   NJ     08536
29777523 National Delivery Systems, Inc.               7021 Columbia Gateway Drive, Suite 420         Columbia              MD     21046
29777524 Nationwide Litho, Inc.                        11728 Goldring Road                            Arcadia               CA     91006
29777525 Natren Inc.                                   3105 Willow Lane                               Westlake Village      CA     91361
29777526 Natrient LLC                                  10624 S. Eastern Ave., A‐764                   HENDERSON             NV     89052
29777527 Natrol, Inc.                                  21411 Prairie Street                           Chatsworth            CA     91311
29777528 NATULIQUE                                     27 BLAKE AVE.,                                 LYNBROOK              NY     11563
29777529 Natural Alternatives International, Inc.      PO BOX 149348                                  Austin                TX     78714
29777530 Natural Chemistry L.P.                        40 Richards Avenue                             Norwalk               CT     06854
29777531 Natural Dynamix Inc.                          6351 Chalet Dr                                 Los Angeles           CA     90040
29777532 Natural Factors Nutritional Products Inc.     1111 80th St SW Suite 100                      Everett               WA     98203
29777533 Natural Health International                  224 6th Street,                                SAN FRANCISCO         CA     94103
29784797 Natural Health Partners, LLC                  125 SW 3rd Place                               Cape Coral            FL     33991
29784798 Natural Motives LLC                           P.O. Box 5265                                  Miami                 FL     33256‐5265
29784799 Natural Organics, Inc.                        548 Broadhollow Road                           Melville              NY     11747
29784800 Natural Path / Silver Wings                   P.O. Box 210469                                Nashville             TN     37221
29784801 Natural Sources                               P.O. Box 4298,                                 SAN CLEMENTE          CA     92674
29784802 Natural Vitality                              8500 Shoal Creek Blvd., Suite 208,             AUSTIN                TX     78757
29784803 Natural‐Immunogenics Corp.                    3265 W. McNab Rd.                              Pompano Beach         FL     33069
29784804 Naturally Uncommon, LLC                       14 Industrial Way Unit A                       Atkinson              NH     03811
29784805 NaturaNectar LLC                              1560 Sawgrass Coporate Pkwy, 4th Floor         Sunrise               FL     33323
29784806 Nature Delivered, Inc.                        36 West 25th Street                            New York              NY     10010
29784807 Nature's Answer                               75 Commerce Drive                              Hauppauge             NY     11788
29784808 Nature's Fusions, LLC                         1405 W 820 N                                   Provo                 UT     84601
29784809 Nature's Godfather LLC                        405 Waltham St. #168                           Lexington             MA     02421
29777534 Nature's Sources, LLC                         5665 W. Howard Street                          Niles                 IL     60714
29777535 Nature's Stance                               13135 Danielson St Ste 211                     Poway                 CA     92064
29777536 Nature's Value, Inc.                          468 Mill Road                                  Coram                 NY     11727
29777537 NaturMed Inc.                                 661 E. Howards Rd, Suite C                     Camp Verde            AZ     86322


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 79 of 134
                                               Case 24-12480-JTD            Doc 685        Filed 01/08/25     Page 95 of 149

                                                                                    Exhibit B
                                                                              Cure Parties Service List
                                                                             Served via First Class Mail

AddressID                             Name                                       Address                              City      State Postal Code        Country
29777538 Navitas LLC                                         9 Pamaron Way, Suite J                         NOVATO             CA     94949
29777539 Nawgan Products, LLC                                300 Hunter Ave. Ste #102                       St. Louis          MO     63124
29777540 NBTY                                                2100 SMITHTOWN AVENUE,                         RONKONKOMA         NY     11779
29777541 Ndal Manufacturing Industries Inc.                  P.O. Box 2273                                  Columbus           GA     31902
29777542 NDM Enterprises, LLC                                45243 Daniels Court                            Hollywood          MD     20636
29777543 Needham Chestnut Realty, LLC                        1234 Boylston St.,                             Chestnut Hill      MA     02467
            Nella NT, LLC, Tower NT, LLC, Stephen and Anne
29777544 NT, LLC                                             PO Box 1200                                    Woodland           CA    95776
29783718 Nelmar Security Packaging Systems Inc.              3100 rue des Batisseurs                        Terrebonne         QC    J6Y 0A2        Canada
29784810 NeoCell Corporation                                 1301 Sawgrass Corporate Parkway,               FORT LAUDERDALE    FL    33323
29784811 Neopost USA Inc.                                    478 Wheelers Farms Road                        Milford            CT    06461
29784812 Netconcepts, LLC                                    2101 91st Street                               North Bergen       NJ    07047
29784813 Netsertive, Inc.                                    2450 Perimeter Park Drive                      Morrisville        NC    27560
29784814 NetSPI, Inc.                                        800 Washington Avenue North, Suite 670         Minneapolis        MN    55401
29784815 Neuliven Health, Inc.                               10171 Pacific Mesa Blvd, St 302                San Diego          CA    92121
29784816 Never Too Hungover, LLC                             4085 W. Nevso Drive                            Las Vegas          NV    89103
29784817 New Chapter, Inc.                                   90 Technology Drive                            Brattleboro        VT    05301
29784818 New Creek II LLC                                    500 N. Broadway, Suite 201, PO Box 9010        Jericho            NY    11753
29784819 New Creek LLC                                       500 N. Broadway, Suite 201, P.O. Box 9010      Jericho            NY    11753
29784820 New Horizons                                        43 WEST 42ND ST.                               New York           NY    10036
29784821 New Nordic US Inc.                                  1000 N.W. Street, Suite 1200                   Wilmington         DE    19801
                                                             c/o Brixmor Property Group, 200 Ridge Pike,
29784822 New Plan Florida Holdings, LLC                      Suite 100                                      Conshohocken       PA    19428
                                                             c/o Brixmor Property Group, 200 Ridge Pike,
29777545 New Plan of Arlington Heights, LLC                  Suite 100                                      Conshohocken       PA    19428
                                                             c/o Brixmor Property Group, 200 Ridge Pike,
29777546 New Plan Property Holding Company                   Suite 100                                      Conshohocken       PA    19428
                                                             BRE Retail Residual Owner 2LLC, c/o Brixmor
                                                             Property Group, 8700 W. Bryn Mawr Avenue,
29777547 New Plan Property Holding Company                   Suite 1 000‐S                                  Chicago            IL    60631
29777548 New Wave Enviro Products                            6595 S. Dayton, Suite 1000                     Denver             CO    80246
29777549 New Westgate Mall LLC                               c/o New England Development, 75 Park Plaza     Boston             MA    02116

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 80 of 134
                                             Case 24-12480-JTD      Doc 685        Filed 01/08/25      Page 96 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                  Address                              City     State Postal Code   Country
29777550 NEW WHEY NUTRITION, LLC                     5707 DOT COM COURT, SUITE 1079                 OVIEDO              FL     32765
29777551 New York Bakery of Syracuse Inc             310 Lakeside Road                              Syracuse            NY     13209
29777552 Newcastle Properties/NORCOR Cadwell Assoc   1030 West Higgins Road                         Park Ridge          IL     60068
29777553 Newegg Inc.                                 16839 E. Gale Avenue                           City of Industry    CA     91745
29777554 Newington Corner LLC                        7248 Morgan Road,                              Liverpool           NY     13088
                                                     c/o Shin Yen Management Inc., 4016 Grand
29777555 Newport Property, LLC                       Avenue, Suite B                                Chino               CA    91710
29784823 Next Gen Health Solutions, LLC              500 Campus Drive Suite 203                     Morganville         NJ    07751
29784824 Next Step Staffing LLC                      725 RIVER ROAD, #200                           Edgewater           NJ    07020
29784825 Nextag                                      PO BOX 620, 270 S. Carter St.                  Okolona             MS    38860
29784826 NextFoods, Inc.                             5480 Valmont Suite 250                         Boulder             CO    80301
29784827 NGS Global Americas, LLC                    2603 Camino Ramon, Suite 200                   San Ramon           CA    94583
29784828 Nicely Done Industries                      5206‐B Lyngate Ct                              Burke               VA    22015
29784829 Nicklaus of Florida, Inc.                   4615 Gulf Blvd., Suite 119                     St. Petersburg      FL    33706
29784830 Niemann Foods, Inc.                         1501 N. 12th St.                               Quincy              IL    62301
29784831 Nine & Mack Enterprises, LLC                42475 Garfield Road                            Clinton Twp.        MI    48038
29784832 Nitro Sports Supplements LLC                1445 N. Fiesta Blvd, STE #100, STE # 100       Gilbert             AZ    85233
29784833 Nitta Gelatin NA, Inc.                      598 Airport Blvd., Suite 900                   Morrisville         NC    27560
29784834 NL Chobee Center, LLC                       %SOUTHERN MGMT & DEV                           KNOXVILLE           TN    37939
                                                     c/o Newmark Merrill Companies Inc., 24025 Park
29777556 NMC Melrose Park, LLC                       Sorrento, Suite 300                            Calabasas           CA    91302
29777557 NMHG Financial Services, Inc.               2101 91ª STREET                                NORTH BERGEN        NJ    07047
29777558 NMHG Financial Services, Inc.               2101 91st Street                               North Bergen        NJ    07047
29777559 NNC LLC                                     1 City Blvd, West, Suite 1440                  Orange              CA    92868
29777560 NNN REIT, Inc.                              450 South Orange Avenue, Suite 900             Orlando             FL    32801
29777561 Noble Creek Partners LLC                    PO Box 6147                                    Fishers             IN    46038
29777562 Non‐GMO Project                             1155 N State Street, Suite 502                 Bellingham          WA    98225
                                                     c/o Horizon Realty Services, 1540 E Dundee Rd,
29777563 Norcor‐Cadwell Associates LLC               Suite 240                                      Palatine            IL    60074
                                                     Becker Gurian, Attn: Jeffrey B. Gurian, 513
29777564 Norcor‐Cadwell Associates LLC               Central Avenue, 4th Floor                      Highland Park       IL    60035


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 81 of 134
                                              Case 24-12480-JTD        Doc 685       Filed 01/08/25         Page 97 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                            Name                                   Address                                  City    State Postal Code   Country
                                                      Newcastle Properties/NORCOR Cadwell Assoc,
29777565 Norcor‐Cadwell Associates LLC                1030 West Higgins Road                             Park Ridge          IL    60068
29777566 Nordic Naturals, Inc.                        94 Hangar Way                                      Watsonville         CA    95076
29784835 North American Herb & Spice                  13900 W. Polo Trail Drive,                         LAKE FOREST         IL    60045
29784836 North Attleboro Marketplace III, LLC         1414 Atwood Avenue,                                Johnston            RI    02919
29784837 North Point Village Two, LLC                 2964 Peachtree Road, Suite 380                     Atlanta             GA    30305
29784838 North San Gabriel, LLC                       80 South Lake Avenue, Suite 550                    Pasadena            CA    91101
29784839 NorthBound Nutrition, LLC                    2015 S. Morgan St., Ste. 107                       Granbury            TX    76048
29784840 Northcliff I‐480 LLC                         30000 Chagrin Blvd., Ste 100                       Cleveland           OH    44124
29784841 Northeast Florida Pet Nutrition, LLC         120 Palencia Village Drive, PMB 105 Box 177        St. Augustine       FL    32095
29784842 Northglenn Plaza LLC                         43 Inverness Drive East,                           Englewood           CO    80112
29784843 Northridge Crossing L.P.                     c/o Casto, 250 Civic Center Drive, Suite 500       Columbus            Oh    43215
29784844 Northtowne Associates                        c/o J.J. Gumberg Co., 1051 Brinton Road            Pittsburgh          PA    15221
29784845 Northwest Nutritional Foods LLC              10522 Lake City Way NE, Suite C104                 Seattle             WA    98125
29784846 Novi Pet Expo                                46100 Grand River Avenue                           Novi                MI    48374
29777567 NOW Health Group, Inc. dba NOW Foods         244 Knollwood Drive, Suite 300                     Bloomingdale        IL    60108
         NPC 2015, LLCc/o Graco Real Estate           c/o GRACO Real Estate Development Inc., 4010
29777568 Development, Inc.                            82nd Street, Suite 302                             Lubbock             TX    79423
                                                      c/o Last Mile Investments, 212 E 3rd Street, Suite
29777569 NRF ‐ Pennock LLC                            200                                                Cincinnati          OH    45202
29777570 Nubreed Nutrition                            28910 Ave Penn, Suite #213                         VALENCIA            CA    91355
29777571 NuGo Nutrition                               520 SECOND STREET,                                 OAKMONT             PA    15139
29777572 Nulab, Inc.                                  2151 Logan Street                                  Clearwater          FL    33765
29777573 Nuline Nutritionals, LLC                     112 West 34th, 18th Floor                          New York            NY    10120
29777574 NuLiv Science USA, Inc.                      255 Paseo Tesoro                                   Walnut              CA    91789
29777575 Numi Inc. LLC                                PO Box 20420                                       Oakland             CA    94620
29777576 Numina Group, Incorporated                   10331 Werch Drive                                  Woodridge           IL    60517
29777577 NuNaturals Inc                               2220 W. 2nd Ave, #1                                EUGENE              OR    97402
29784847 Nutiva                                       213 West Cutting Blvd,                             RICHMOND            CA    94804
29784848 NutraBio Labs, Inc                           564 Lincoln Boulevard                              Middlesex           NJ    08846
29784849 Nutraceutical Corporation                    1400 Kearns Blvd,                                  PARK CITY           UT    84060


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                Page 82 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25      Page 98 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                Address                                 City     State Postal Code   Country
29784850 NutraFusion Nutritionals                     500 Memorial Dr                                  Somerset           NJ     08873
29784851 Nutramax Laboratories Consumer Care, Inc.    2208 Lakeside Blvd.                              Edgewood           MD     21040
29784852 NutraSky LLC                                 P.O. BOX 6145                                    INDIANAPOLIS       IN     46206‐6145
29784853 Nutravail LLC                                14790 Flint Lee Road                             Chantilly          VA     20151
29784854 Nutrawise Corporation                        9600 Toledo Way,                                 IRVINE             CA     92618
29784855 Nutrex Hawaii, Inc.                          73‐4460 Queen Kaahumanu Hwy #102                 Kailua‐Kona        HI     96740
29784856 Nutrex Research, Inc.                        579 South Econ Circle                            Oviedo             FL     32765
29784857 NutriBiotic                                  865 Parallel Dr,                                 LAKEPORT           CA     95453
29784858 Nutriforce Nutrition                         14620 NW 60 AVENUE                               MIAMI LAKES        FL     33014
29784859 NutriGold Inc                                1467 W 105N,                                     OREM               UT     84057
29777578 Nutrikel, LLC                                65 Cardinal Drive,                               GLASTONBURY        CT     06033
29777579 NutriScience Innovations, LLC                2450 Reservoir Avenue                            Trumbull           CT     06611
29777580 Nutrition 53, Inc.                           3706 Mt. Diablo Blvd.                            Lafayette          CA     94549
         Nutrition Training Systems, LLC d/b/a
29777581 Muscleology                                  3901 SW 47 AVE # 409                             Davie              FL    33314
29777582 Nutritional Brands                           1610 W. Whispering Wind Drive,                   PHOENIX            AZ    85085
29777583 Nutritional Supply Corp                      317 Industrial Circle,                           LIBERTY            TX    77575
29777584 Nutritional Therapeutics, Inc.               63 Mall Drive, Suite A                           Commack            NY    11725
29777585 Nutrivo, LLC                                 1785 N Edgelawn Drive                            Aurora             IL    60506
29777586 Nuts 'N More                                 10 Almeida Street                                East Providence    RI    02914
29777587 NUUN and CO. Inc.                            800 Maynard Ave S Suite 102                      Seattle            WA    98122
29777588 NuVest Enterprises, LLC                      2670 W. Maple                                    Troy               MI    48084
29784860 NuWest Logistics, LLC                        190 East Main Street                             Huntington         NY    11743
29784861 NuZee, Inc.                                  2865 Scott St #101                               Vista              CA    92081
29784862 NWC Naturals Pet Products LLC                27071 Cabot Rd., 117                             Laguna Hills       CA    92653
29784863 Nyla's Pantry, LLC                           14090 FM 2920, Ste. G551                         Tomball            TX    77377
29784864 O.J.B. Investment Group LC                   4905 Del Ray Ave., Suite 200                     Bethesda           MD    20814
29784865 O.J.B./AJRE JV, LC                           4905 Del Ray Ave., Suite 200                     Bethesda           MD    20814
                                                      Attn: Gregory Moross, 302 Datura Street, Suite
29784866 Oak Lawn Joint Venture I, L.L.C              100                                              West Palm Beach    FL    33401
29784867 Oak Park Associates, Inc.                    8954 Hill Drive                                  North Huntington   PA    15642


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 83 of 134
                                                Case 24-12480-JTD       Doc 685        Filed 01/08/25        Page 99 of 149

                                                                                Exhibit B
                                                                          Cure Parties Service List
                                                                         Served via First Class Mail

AddressID                             Name                                    Address                                 City     State Postal Code        Country
29784868 Oakville Partners, LLC                         3012 Oakville Woods Court                          St. Louis          MO     63121
29784869 Ocala SC Company, Ltd.                         c/o RMC PROPERTY GROUP                             TAMPA              FL     33614
29784870 Oceanblue LLC                                  6501 Congress Ave,                                 BOCA RATON         FL     33487
29784871 Oceanside Associates LLC                       591 Stewart Ave., Suite 100                        Garden City        NY     11530
29783698 Octopus Deploy Pty. Ltd.                       Level 4                                            South Brisbane     QLD 4101           Australia
                                                        c/o Nellis Corporation, 7811 Montrose Road,
29784872 Odenton Shopping Center Limited Partnership    Suite 420                                          Potomac            MD    20854
29777589 Office Depot, Inc.                             6600 North Military Trail,                         Boca Raton         FL    33496
29777590 Oglethorpe Associates LLLP                     3300 Cobb Parkway, Suite 120                       Atlanta            GA    30339
29777591 OGR Tanglewood LLC                             141 Robert E. Lee Blvd ‐ 253                       New Orleans        LA    70124
29777592 OGR Tanglewood LLC                             Sirling Properties, 109 Northpark Blvd.            Covington          LA    70433
29777593 Oh My Spice, LLC.                              1599 Superior Ave. Unit B‐3                        Costa Mesa         CA    92627
29777594 Oil‐Dri Corporation of America                 410 N. Michigan Ave.                               Chicago            IL    60611
29777595 Ola Loa                                        1555 Burke Ave. Unit K,                            SAN FRANCISCO      CA    94124
29777596 Old Brandon First Colonial Assoc., LLC         1700 Wells Fargo Center, 440 Monticello Ave.       Norfolk            VA    23510
29777597 Oleinik Property Holding Co., LLC              PO Box 1568                                        Gillette           WY    82717
29777598 Oliver Wyman Actuarial Consulting, Inc.        1166 Avenue of the Americas, 28th Floor            New York           NY    10036‐2708
29777599 Olivina Napa Valley LLC                        3343 Aspen Grove Drive, Suite 200                  Franklin           TN    37067
29784873 Olly Public Benefit Corporation                1169 Gorgas Ave., A                                SAN FRANCISCO      CA    94129
29784874 Olympian Labs                                  16641 N 91st Street, Suite 101                     SCOTTSDALE         AZ    85260
29784875 Omega Products, Inc.                           3355 Enterprise Avenue, Suite 160                  Fort Lauderdale    FL    33331
                                                        Cybertech House, Ground Floor, J B Sawant
29783719 OmniActive Health Technologies Ltd             Marg, Wagle Industrial Estate                      Thane (West)       MH    400604       Canada
                                                        Phoenix House, Fifth Floor, 462, S B Marg, Lower
29776554 OmniActive Health Technologies Ltd             Parel                                              Mumbai                   40013        India
29784876 Omojo Health USA Inc.                          333 North Hill Blvd.                               Burlington         WA    98233
29784877 On Shelf Availability Retail Services (OSA)    201 S 19TH ST, SUITE P                             Rogers             AR    72758
29784878 OnDemand Resources, LLC                        5863 Free Union Rd                                 Free Union         VA    22940
29784879 One Continental Avenue Corp.                   43‐29 Bell Boulevard,                              Queens             NY    11361
29784880 One Point Logistics, Inc.                      159 4th Avenue North                               Nashville          TN    37219
29784881 One Source Technology, LLC dba Asurint         1111 Superior Avenue                               Cleveland          OH    44114


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 84 of 134
                                               Case 24-12480-JTD      Doc 685       Filed 01/08/25      Page 100 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                               City     State Postal Code       Country
29784882 Onello Innovations, Inc.                      2745 Bankers Industrial                       Atlanta              GA     30360
29784883 OneStream Software LLC                        362 South Street                              Rochester            MI     48307
29784884 Only Natural, Inc.                            31 Saratoga Blvd                              Island Park          NY     11558
29784885 Only What You Need, Inc.                      100 Passaic Avenue, Suite 100                 Fairfield            NJ     07004
29777600 Onnit Labs                                    4401 Freidrich Lane, Suite 302                AUSTIN               TX     78744
29777601 Onnit Labs, LLC                               4401 Freidrich Lane Suite 302                 Austin               TX     78744
29777602 Ontario Refrigeration Service, Inc.           5824 South 25th Street                        Phoenix              AZ     85040
29777603 Oona Health                                   803 WASHINGTON STREET,                        NEW YORK             NY     10014
29783720 Opterus Inc.                                  525 Adelaide St. W                            Toronto              ON     M5V ON7     Canada
29777604 Optimize Hire, LLC                            7413 Six Forks Road, Ste. 144                 Raleigh              NC     27615
29777605 Optimizely, Inc.                              631 Howard Street, Suite 100                  San Francisco        CA     94105
29777606 Optimum Nutrition                             975 Meridian Lake Drive                       Aurora               IL     60504
29777607 Option Three Consulting Pvt. Ltd.             2101 915 St.                                  North Bergen         NJ     07047
29777608 Optiv Security Inc.                           17197 N. Laural Park Drive                    Livonia              MI     48152
29777609 Optiv Security Inc.                           300 Harmon Meadow Blvd                        Secaucus             NJ     07094
29777610 Optiv Security Inc.                           PO BOX 561618                                 Denver               CO     80256
29784886 Optiv, Inc.                                   1144 15th St.                                 Denver               CO     80202
29784887 Oracle                                        PO BOX 203448                                 Dallas               TX     75320‐3448
29784888 OracleAmerica, Inc.                           500 Oracle Parkway                            Redwood Shores       CA     94065
29784889 Oral Essentials, Inc.                         436 N. Roxbury Drive, Suite #202              Beverly Hills        CA     90210
29784890 Orange Peel Enterprises, Inc.                 2183 Ponce de Leon Circle                     Vero Beach           FL     32960
29784891 Orange‐WNW, LLC                               26 Carriage Lane                              Troutville           VA     24011
29784892 ORB Life Sciences, LLC                        221 S. Cherokee Street                        Denver               CO     80223
29784893 Orchard Hill Park, LLC                        83 Orchard Hill Park Drive,                   Leominster           MA     01453
                                                       Attn: David Dworkin, c/o JADD Management LLC,
29784894 Orchard ParkTK Owner LLC                      415 Park Avenue                               Rochester            NY    14607
29784895 OrderGroove, Inc.                             75 Broad St., 23rd Floor                      New York             NY    10004
29784896 Oregon's Wild Harvest                         39831 HWY 26                                  Sandy                OR    97055
                                                       c/o Parth Munshi, General Counsel, 5865 North
29784897 ORF IX Freedom Plaza, LLC                     Point PKWY, Ste 345                           Alpharetta           GA    30022
29784898 Orgain, Inc.                                  PO Box 4918                                   Irvine               CA    92616


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 85 of 134
                                              Case 24-12480-JTD      Doc 685        Filed 01/08/25       Page 101 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                               Address                                   City      State Postal Code    Country
29777611 Organic Food Bar, Inc.                       209 South Stephanie Street, B235                 Henderson            NV     89012
29777612 ORGANIC INDIA USA                            944 PEARL ST,                                    BOULDER              CO     80302
29777613 Organifi LLC                                 7535 Metropolitan Dr,                            SAN DIEGO            CA     92108
29777614 Origin Labs                                  946 US RT 2                                      Wilton               ME     04294
29777615 Orion, LLC                                   17863 170th Avenue, Suite 101                    Spring Lake          MI     49456
29777616 Orkin LLC                                    10813 MIDLOTHIAN TURNPIKE                        NORTH CHESTERFIELD   VA     23235
29777617 Orkin Pest Control                           10813 MIDLOTHIAN TURNPIKE                        NORTH CHESTERFIELD   VA     23235
29777618 Otava                                        825 Victors Way                                  Ann Arbor            MI     48108
            OU UNIOIN OF ORTHODOX JEWISH
29777619 CONGREGATIONS OF AMERICA                     11 Broadway                                      New York             NY    10004
29777620 Outer Drive 39 Development Co. LLC           One Town Square, Suite #1600                     Southfield           MI    48076
                                                      c/o Capital Group Properties LLC, 259 Turnpike
29777621 Oxford Crossing LLC                          Road, Suite 100                                  Southborough         MA    01772
29784899 Oxford Valley Road Associates                PO Box 935775                                    Atlanta              GA    30354
29784900 OxyLife Nutritional Supplements Inc.         P.O. Box 6451                                    Chula Vista          CA    91909
29784901 Pacific Health Labs                          100 Matawan Road Suite 150                       Matawan              NJ    07747
29784902 Pacific National Group, LLC                  2400 South Blvd., Suite 300                      Charlotte            NC    28202
29784903 Pacific World Corp.                          25800 Commercentre Drive                         Lake Forest          CA    92630
29784904 Pacific/DSLA No.2                             One Corporate Plaza, 2nd Floor                  Newport Beach        CA    92660
29784905 Pacific/Youngman‐Woodland Hills              One Corporate Plaza, Second Floor                Newport Beach        CA    92568
29784906 Pacificore Construction                      18201 MCDURMOTT W STE B                          Irvine               CA    92614
29784907 Pack Leader, LLC                             58734 Swing Beam Court                           South Lyon           MI    48178
29784908 Package All Corp                             730 BEV ROAD, SUITE 2                            Boardman             OH    44512
29784909 Package All Corporation                      655 Church Street                                Bayport              NY    11705
29784910 Packaging Corporation of America             PO BOX 12406                                     Newark               NJ    07101‐3506
29784911 PAD4 PAD6 VV LLC                             6305 Gayton Place,                               Malibu               CA    90265
29777622 Pahrump Group, LLC                           8901 Tierra Santa Ave.                           Las Vegas            NV    89129
29777623 Paint Creek South LLC                        24255 West 13 Mile Road, Suite 220               Bingham Farms        MI    48025
29783721 Paleo Ethics Inc.                            3318 Second Street                               Cornwall             ON    KWH658     Canada
29776529 PaleoEthics Inc.                             3318 Second Street                               Cornwall             ON    KG#658     Canada
29777624 Palm Beach Outlets I, LLC                    c/o New England Development, 75 Park Plaza       Boston               MA    02116


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 86 of 134
                                              Case 24-12480-JTD          Doc 685       Filed 01/08/25      Page 102 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                     Address                              City         State Postal Code       Country
                                                          c/o Acadia Realty Trust, 411 Theodore Fremd
29777625 Palm Coast Landing Owner LLC                     Avenue, Suite 300                              New York City           NY    10580
29777626 Palm Springs Mile Associates, LTD.               419 West 49th Street, Suite 300                Hialeah                 FL    33012
29777627 Pantera LLC                                      PO BOX 26657                                   Scottsdale              AZ    85255
29777628 Panther Pets LLC                                 4343 Logan Ferry Road                          Murrysville             PA    15668
29777629 Panthera Pharmaceuticals                         11 A Lincoln Street,                           COPIAGUE                NY    11726
          Paoli Shopping Center Limited Parnership, Phase
29777630 II                                               1301 Lancaster Ave.,                             Berwyn                PA    19312
29777631 Papa & Barkley, Essentials, LLC                  303 S Broadway, Suite 200‐320,                   DENVER                CO    80209
          Papou Varvavas Anastasia Realty Trust u/a dated
29777632 September 23, 2020                               Estelle Valsamis, 5100 Poplar Avenue, Suite 2607 Memphis               TN    38137
29784912 Paracelsus Labs Inc.                             PO Box 7277                                      Boulder               CO    80306
29784913  Paradise Herbs  & Essentials                    19051  Goldenwest   St., 104‐306                 HUNTINGTON BEACH      CA    92648
29784914 Paragon Pet Supplies, LLC                        30570 Park Vista Dr.                             Castaic               CA    91384
29784915  Paragon  School of Pet Grooming, Inc.           110 Chicago  Drive                               Jenison               MI    49428
29784916 Paramount Beauty Distributing Associates Inc.    41 Mercedes Way Unit 34                          Edgewood              NY    11717
                                                          c/o Paramount Newco Realty, 1195 Rt 70, Suite
29784917 Paramount Crossroads at Pasadena, LLC            2000                                             Lakewood              NH    08701
29784918 Parfums de Coeur, Ltd.                           6 High Ridge Park Floor C2                       Stamford              CT    06902
29784919 Paridiso 2911 LLC                                241 McKinley Ave.                                Grosse Pointe Farms   MI    48236
29784920 Park Boulevard Shopping Center Ltd.              C/O: SSG Commercial LLC                          Tampa                 FL    33606
29784921 Park Place Technologies                          C/O SSG MANAGEMENT LLC, 204 N HOWARD             TAMPA                 FL    33606
                                                          c/o Knorr Management Inc., 5525 Rebecca Way,
29784922 Parker Place Group, LLC                          Suite A                                          Corning               CA    96021
29784923 Parkridge Center Retail, LLC                     c/o Willard Retail, 4800 Hampden Lane            Bethesda              MD    20814
                                                          c/o Caton Commercial, 1296 Rickert Drive, Suite
29777633 PARM Golf Center, LLC                            200                                              Naperville            IL    60540
29777634 Partnership Staffing Incorporated                PO BOX 823461                                    Philadelphia          PA    19182‐3461
29777635 Pasadena Hastings Center                         15250 Ventura Blvd., Suite 1010                  Sherman Oaks          CA    91403
29777636 Patts Pets, Inc.                                 9290 Cherry Brook Lane                           Frisco                TX    75034
 29777637 Pauhana Associates Limited                      194 Pugua Street                                 Dededo                      96929      Guam
29777638 PAUL Naturals Pet Product                        27011 Cabot Rd # 117                             Laguna Hills          CA    92683

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 87 of 134
                                              Case 24-12480-JTD            Doc 685       Filed 01/08/25       Page 103 of 149

                                                                                   Exhibit B
                                                                             Cure Parties Service List
                                                                            Served via First Class Mail

AddressID                             Name                                      Address                                City      State Postal Code    Country
29777639 Pauling Labs Inc                                   4550 Birch‐bay Lynden Road, PMB 1188            BLAINE              WA     98230
29777640 Paw & Tails, Inc.                                  14 Oak Branch Drive, Suite A                    Greensboro          NC     27407‐2120
29777641 Pawfect Pals, LLC                                  9420 Red Spruce Way                             Elk Grove           CA     95624
29777642 Pawsitive Return ‐ Marietta, LLC                   2037 Towne Lake Hills West                      Woodstock           GA     30189
29777643 Pawsitive Return, LLC                              2037 Towne Lake Hills West                      Woodstock           GA     30189
29784924 Pawsitively Pets LLC                               103 S. 29th St.                                 Wilmington          NC     28403
29784925 Pawsome Pets Okemos, LLC                           541 Wenonah Drive                               Okemos              MI     48864
29784926 Pawsome Pets Plus, LLC                             541 Wenonah Drive                               Okemos              MI     48864
29784927 Pawternity Leave Inc.                              1345 Grape Street                               Denver              CO     80220
29784928 Paychex of New York LLC                            GENERAL POST OFFICE, PO BOX 29769               New York            NY     10087‐9769
29784929 Paychex, Inc.                                      911 Panorama Trail South                        Rochester           NY     14625
29784930 PAYCOM PAYROLL, LLC                                7501 W Memorial Road                            Oklahoma City       OK     73142
29784931 PayFlex Systems USA, Inc.                          10802 Farnam Drive, Suite 100                   Omaha               NE     68154
29784932 Payment Processing Services, LLC                   236 Carmichael Way, Suite 300                   Chesapeake          VA     23322
29784933 Paymentech, LLC                                    8181 Communications Parkway                     Plano               TX     75024
29784934 Paymentech, LLC                                    14221 Dallas Parkway                            Dallas              TX     75254
29784935 Paymentech, LLC                                    4 Northeastern Boulevard                                            NH     03079
         Paymentech, LLC for itself and on behalf of
29784936 JPMorgan   Chase Bank, N.A.                        8181 Communications Pkwy                        Plano               TX    75024
29776530 PayPal CA Limited                                  Brunswick House, 44 Chipman Hill Suite 1000     Saint John          NB    E2L 2A9    Canada
29777644 PayPal, Inc.                                       eBay Park North, 2211 North First Street        San Jose            CA    35131
29777645 PBC Seguin, LLC                                    PO Box 19831                                    Houston             TX    77224
29777646 PC Connection Sales Corp.                          730 Milford Road                                Merrimack           NH    03054‐4631
         PC San Ysidro PB, LLC, PC International PB, LLC,   c/o Pacific Castle Management Inc., 2601 Main
29777647 and PC Iagio PB, LLC                               Street, Suite # 900                             Irvine              CA    92614
29777648 PCCP/LDC Pearl Kai LLC                             98‐199 Kamehameha Hwy., Suite H‐14              Aiea                HI    96701
29777649 PDQ Israel Family Northtowne, LLC                  5300 W. Atlantic Avenue, Suite 509              Delray Beach        FL    33484
29777650 PDQ Israel Family Northtowne, LLC                  Reichel Klein Group, One Seagate, 26th Floor    Toledo              OH    43604
         Peabody Center LLC, Chase Decatur LLC, and         c/o Chase Properties Ltd., 3333 Richmond Road
29777651 London Development Ltd.                            Suite 320, Suite 320                            Beachwood           OH    44122
29777652 Peaceful Mountain, Inc.                            201 Apple Blvd                                  Woodbine            IA    51579


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                    Page 88 of 134
                                              Case 24-12480-JTD     Doc 685       Filed 01/08/25    Page 104 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                             Name                                 Address                             City    State Postal Code    Country
29777653 Pear                                         5995 Wilcox Place , Suite A                  Dublin             OH     43016
29777654 Pear Therapeutics                            1000 W. Maude Ave                            Sunnyvale          CA     94085
29784937 Pear Therapeutics, Inc.                      55 Temple Place, 3rd Floor                   Boston             MA     02111
                                                      c/o Bamboo Property Management, 9500 Front
29784938 Pearl Street Retail, T.I.C.                  Street South, Suite 200                      Lakewood           WA    98499
29784939 Peico, Inc.                                  16366 COLLECTION CENTER DRVIE                Chicago            IL    60693
29784940 Pelco, Inc.                                  16366 COLLECTION CENTER DRVIE                Chicago            IL    60693
29784941 PENformance                                  905 Shotgun Rd                               Sunrise            FL    33326
29784942 Penta Water LLC                              1601 E. Steel Road,                          COLTON             CA    92324
29784943 Pentex Franchises, LLC                       1345 George Jenkins Blvd.                    Lakeland           FL    33815
29784944 Perceptyx, Inc.                              28765 Single Oak Dr #250                     Temecula           CA    92590
29784945 Perfect Shaker Inc.                          369 Lang Blvd                                Grand Island       NY    14072
29784946 Perficient                                   BOX 207094                                   Dallas             TX    75320‐7094
29784947 Perficient, Inc.                             555 Maryville University Dr., Suite 600      St. Louis          MO    63141
29784948 Perficient, Inc.                             520 Maryville Centre Drive, Suite 400        St. Louis          MO    63141
29784949 Performance Brands                           905 SHOTGUN RD.,                             FORT LAUDERDALE    FL    33326
29777655 PERFORMIX, LLC                               221 South Cherokee Street                    Denver             CO    80223
29777656 Personal Zoo Supply, Inc.                    1517 Lakeview Ave.                           Sylvan Lake        MI    48320
29777657 Pervine Foods, LLC                           111 Terence Drive                            Pittsburgh         PA    15236
29776531 Pestell Pet Products                         141 Hamilton Road                             New Hamburg             N3A 2H1    Canada
29777658 Pet Blessing, Inc.                           824 Woodington Drive                         Pataskala          OH    43062
29777659 Pet Blitz, LLC                               326 N Meramec Avenue                         Clayton            MO    63105
29777660 Pet Brands, LLC                              425 Metro Place North                        Dublin             OH    43017
29777661 Pet Bridge, Inc.                             521 Potomac Road                             Joppatowne         MD    21085
29777662 PET FACTORY, INC.                            845 EAST HIGH STREET                         MUNDELEIN          IL    60060
29777663 Pet Joy Baytown, LLC                         4618 Stoney Ridge Court                      Sugar Land         TX    77479
29777664 Pet Joy, LLC                                 4618 Stoney Ridge Court                      Sugar Land         TX    77479
29777665 Pet Maab, Inc                                15 Stirrup Lane                              Salonga            NY    11768
29777666 Pet Plus Love, L.L.C                         21 Cedar Grove Court                         Rosedale           MD    21237
29784950 Pet Stark LLC                                134 Derby Lane                               Bensalem           PA    19020
29784951 Pet Supplies Plus Dallas II, LLC             17863 170th Avenue, Suite 101                Spring Lake        MI    49456


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                             Page 89 of 134
                                              Case 24-12480-JTD       Doc 685        Filed 01/08/25         Page 105 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                   City     State Postal Code         Country
29784952 Pet Supplies Plus Dallas, LLC                17863 170th Avenue, Suite 101                       Spring Lake         MI     49456
29784953 Pet Supplies Plus of Connecticut 203, LLC    60 Orchard Road                                     Woodbridge          CT     06525
                                                      Registered Agents, Inc., 7901 4th Street N, Suite
29784954 Petcetera, Inc.                              300                                                 St. Petersburg      FL    33702
29784955 Peters Development, LLC                      c/o Dan Hill, 645 N. Main Street                    High Point          NC    27260
29784956 PetIQ, LLC                                   230 East Riverside Drive                            Eagle               ID    83616
29784957 Pets, Inc.                                   3858 Wabeek Lake Drive E                            Bloomfield Hills    MI    48302
29784958 Pets4ever LLC                                5541 Satinleaf Way                                  San Ramon           CA    94582
29784959 Petsway, Inc.                                1669 St. Louis St.                                  Springfield         MO    65802
29784960 Pettinaro Management LLC                     234 North James St.                                 Newport             DE    19804
29784961 PHD @ Western, LLC                           14768 Enclave Lakes Drive,                          Delray Beach        FL    33484
29776532 PhD Nutrition Inc                            19100 Airport Way #105,                             Pitt Meadows        BC    V3Y0E2         Canada
29777667 Phi Drinks, Inc.                             1855 Industrial St. #110                            Los Angeles         CA    90021
29777668 Philips Lighting North America Corporation   200 Franklin Square Drive                           Somerset            NJ    08873
                                                      Attn: Lease Administration, 11501 Northlake
29777669 Phillips Edison & Co. Ltd.                   Drive                                               Cincinnati          OH    45249
29777670 Phoenicia Development, LLC                   3700 34th Street, Ste 300                           Orlando             FL    32805
29777671 Phoenix Fence Company                        PO BOX 21183                                        Phoenix             AZ    85036‐1183
29777672 Phoenix Formulations, LLC                    4551 West 21st Street, Suite 101                    Tempe               AZ    85282
                                                      c/o Longview Management LP, 1055 Westlakes
29777673 Phoenixville Town Center LP                  Dr., Ste 170                                        Berwyn              PA    19312
29776569 Phrasee Limited                              Tintagel House                                      London                    SE1 7TY        United Kingdom
29777674 PHYLE INVENTORY CONTROL SPECIALISTS          4150 GRANGE HALL RD.                                Holly               MI    48442
29776533 Physical Enterprises, Inc.                   302‐2930 Arbutus St.                                Vancouver           BC    V6J 3Y9        Canada
29777675 Physical Enterprises, Inc.                   2101 91st Street                                    North Bergen        NJ    07047
29777676 PIER 1 SERVICES COMPANY                      100 PIER 1 PLACE                                    Fort Worth          TX    76102
29777677 Pierce RTO Enterprises, LLC                  106B Rock Quarry Road                               Stockbridge         GA    30281
29784962 PinckDenny LLC                               9924 Sorrel Avenue                                  Potomac             MD    20854
29784963 Pines International, Inc.                    1992 East 1400 Road                                 Lawrence            KS    66044
29784964 Pinterest, Inc.                              808 Brannan Street                                  San Francisco       CA    94103
29784965 PiperWai LLC                                 1430 Walnut St., 200                                PHILADELPHIA        PA    19102


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 90 of 134
                                              Case 24-12480-JTD          Doc 685       Filed 01/08/25         Page 106 of 149

                                                                                  Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                     Address                                  City     State Postal Code       Country
29784966 Pitney Bowes Inc.                               3001 Summer Street                                Stamford             CT     06926
29776534 Pivotree Inc.                                   6300 Northam Drive                                Mississauga          ON     L4V 1H7     Canada
29784967 PJJD L.L.C.                                     1401 Wilderness Dr.                               Schererville         IN     46375
29784968 PJS HOLDINGS LLC                                8 Greenfield Road,                                Syosset              NY     11791
29784969 PJUR GROUP USA, LLC                             1680 Michigan Ave Str. 920                        Miami Beach          FL     33139
29784970 PK I LA Verne Town Center LP                    500 North Broadway, Suite 201                     Jericho              NY     11753
                                                         c/o Kimco Realty Corporation, 500 North
29784971 PK II EL Camino North LP                        Broadway, Suite 201                               Jericho              NY    11753
                                                         c/o Kimco Realty Corporation, 500 North
29784972 PL Dulles LLC                                   Broadway, Suite 201                               Jericho              NY    11753
29784973 Placer Labs, Inc.                               340 S Lemon Ave #1277                             Walnut               CA    91789
29784974 planitretail, LLC                               360 Bloomfield Ave                                Windsor              CT    06095
29777678 Plant People, Inc.                              49 Elizabeth St, 3rd floor                        New York             NY    10013
29777679 Plantlife Natural Body Care                     961 Calle Negocio,                                SAN CLEMENTE         CA    92673
29777680 Plantlife, Inc.                                 1030 Calle Recodo                                 San Clemente         CA    92673
29777681 Platinum Pet Supply, LLC                        310 Pinnacle Way, Suite 300                       Eau Claire           WI    54701
29777682 Platzer Family Limited Partnership              218 East Park Avenue, # 527                       Long Beach           NY    11561
29777683 Playmaker Nutrition                             369 South Fair Oks Ave.,                          PASADENA             CA    91105
29777684 PlayNetwork, Inc.                               8727 148th Avenue NE                              Redmond              WA    98052
29777685 Plaza 15 Realty, LLC                            One Hospital Drive                                Lewisburg            PA    17837
                                                         c/o WP Glimcher Inc., 180 East Broad Street,
29777686 Plaza at Northwood, LLC                         Attn: General Counsel                             Columbus             OH    43215
                                                         c/o The Azarian Group L.L.C., 6 Prospect Street,
29777687 Plaza K Shopping Center, L.L.C.                 Suite 2A                                          Midland Park         NJ    07432
29777688 Plaza on Manhattan Associates, LLC              2555 Severn Ave, Suite200                         Metairie             LA    70002
29784975 Plaza West Shopping Center, LLC                 c/o Edmund Terry                                  Boca Raton           FL    33432
                                                         c/o Visconsi Companies Ltd., 30050 Chagrin Blvd.,
29784976 Pleasant Valley Shopping Center Ltd.            Suite 360                                         Pepper Pike          OH    44124
29784977 PLH Products, Inc.                              6655 Knott Avenue                                 Buena Park           CA    90620
29784978 PLT Health Solutions‐Laila Nutraceuticals LLC   119 Headquarters Plaza                            Morristown           NJ    07960
29784979 Plum Tree, Inc.                                 325 W. Huron St., Suite 215                       Chicago              IL    60654
29784980 Pluto's Pantry, LLC                             9011 Sendera Dr.                                  Magnolia             TX    77354

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 91 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25          Page 107 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                                      City    State Postal Code   Country
                                                      c/o Pine Tree Commercial Realty LLC, 814
29784981 PMAT Orland, L.L.C.                          Commerce Drive, Suite 300                           Oak Brook            IL     60523
29784982 PMX Agency LLC                               P.O. BOX #735131                                    Chicago              IL     60673
29784983 PMX Agency LLC dba ForwardPMX                P.O. BOX #735131                                    Chicago              IL     60673
29784984 PNC Bank, National Association               ATTN: IBM CORPORATION, 500 FIRST AVENUE             Pittsburgh           PA     15219
29784985 PNebel, Inc.                                 9500 Dorchester Road, Suite 350                     Summerville          SC     29485
                                                      c/o Riverview Management Co., 1765 Merriman
29784986 Pocono Retail Associates, LLC                Road                                                Akron                OH     44313
29777689 Point‐LCI, LLC                               c/o Sam Park & Co., One Center Plaza, Suite 910     Boston               MA     02108
29777690 Points East, LLC                             7743 Mentor Avenue                                  Mentor               OH     44060
29777691 Polar Electro Inc.                           1111 Marcus Ave., Suite M15                         Lake Success         NY     11042
29777692 Polar Fusion LLC                             10605 SE 240th St, #400                             KENT                 WA     98031
29777693 Polyphenolics                                12667 Road 24                                       Madera               CA     93637
29777694 Ponder Jet Inc                               3325 NW 70th Avenue                                 Miami                FL     33122
29777695 PopTime LLC                                  200 Clifton Boulevard, 1                            CLIFTON              NJ     07011
                                                      c/o Cambridge Management, LTD., 15941 S.
29777696 Portage Commons LLC                          Harlem Ave., PMB #108                               Tinley Park          IL     60477
                                                      c/o Robert L. Stark Enterprises, Inc., 629 Euclid
29777697 Portage Crossing, LLC                        Avenue, Suite 1300                                  Cleveland            OH     44114
29777698 Portier, LLC ("Uber")                        PO Box 743080                                       Los Angeles          CA     90074
                                                      c/o Woodsonia Real Estate, Inc., 20010
29777699 Portland Fixture Limited Partnership         Manderson St., Suite 101                            Elkhorn              NE     68022
29784987 Posh Pets Acquisitions, LLC                  9300 Shelbyville Rd., Suite 204                     Louisville           KY     40222
29784988 Posh Pets MN, LLC                            9300 Shelbyville Rd., Suite 204                     Louisville           KY     40222
29784989 Posh Pets NC, LLC                            9300 Shelbyville Rd., Suite 204                     Louisville           KY     40222
29784990 Posh Pets WV, LLC                            9300 Shelbyville Rd., Suite 204                     Louisville           KY     40222
29784991 Postmates Inc.                               201 3rd St                                          San Francisco        CA     94103
29784992 Potomac Environmental, Inc.                  PO Box 1836                                         Stafford             VA     22555‐1836
29784993 Poughkeepsie Plaza LLC                       275 N. Franklin Turnpike,                           Ramsey               NJ     07446
29784994 POWDER JET INC                               1800 North Bayshore Drive, 1504                     MIAMI                FL     33132
29784995 Powell‐Five Corners Associates, L.L.C.       2625 Northup Way,                                   Bellevue             WA     98004
29784996 Powell‐Maple Valley LLC                      2625 Northup Way,                                   Bellevue             WA     98004

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 92 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25    Page 108 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                  Address                             City      State Postal Code       Country
29784997 POWERFUL MEN LLC                            429 Lenox Av,                                 MIAMI BEACH          FL     33139
29784998 Powerhouse Dynamics, Inc.                   1 Bridge St                                   Newton               MA     02458
29784999 Powerhouse Dynamics, LLC                    1 Bridge St                                   Newton               MA     02458
29777700 PowerReviews, Inc.                          440 North Wells Street, Suite 720             Chicago              IL     60654
29777701 PP Gaston Mall LLC                          1422 Burtonwood Dr. Suite 200,                Gastonia             NC     28054
29777702 PPG ARCHITECTURAL FINISHES, INC.            400 Bertha Lamme Drive                        Cranberry Township   PA     16066
29777703 Practica                                    2800 Patterson Ave                            Richland             VA     23221
29777704 Pradhans Pets Empire 2, LLC                 1039 Pitch Pine Street                        Hickory Creek        TX     75065
29777705 Pradhans Pets Empire, LLC                   1039 Pitch Pine Street                        Hickory Creek        TX     75065
29777706 Pradhan's Pets, Inc.                        1039 Pitch Pine Street                        Hickory Creek        TX     75065
29777707 Prairie Dog Pet Products, LLC               907 Avenue R                                  Grand Prairie        TX     75050
29776535 Prana Biovegan Corp.                        1440 Jules Poitras                            Quebec               QC     H4N 1X7     Canada
29776536 Prana Biovegan Inc                          1440 Jules Poitras,                           Saint‐Laurent        QC     H4N 1X7     Canada
29777708 Pratt (Allentown Corrugating), LLC          3535 Piedmont Road, Building 14, Suite 440    Atlanta              GA     30305
29777709 Preet Kamal                                 14‐A Oak Branch Drive                         Greensboro           NC     27407
29777710 PREF Pasadena Collection, LLC               4370 La Jolla Village Drive , Suite 640       San Diego            CA     92122
29785000 Preferred Placement                         P.O Box 743176                                Los Angeles          CA     90074‐3176
29785001 Preferred Placement, Inc.                   200 Concord Plaza Dr Ste 240                  San Antonio          TX     78216‐6943
29785002 Pregis                                      29690 NETWORK PLACE                           Chicago              IL     60673
29785003 Premer Enterprises, Inc.                    15330 Lynndale St.                            Goddard              KS     67052
29785004 Premier Nutrition                           6215 El Camino Real, Ste 101                  Carlsbad             CA     92009
29785005 Premier Nutrition Company, LLC              1222 67th Street, Suite 210                   Emeryville           CA     94608
29785006 Premium Entertainment                       36 ALIZE DRIVE                                KINNELON             NJ     07405
29785007 Presidio Brands, Inc.                       500 Tamal Plaza, Suite 505                    Corte Madera         CA     94925
29785008 Presidio Towne Crossing LP                  16000 Dallas Parkway, Suite 300               Dallas               TX     75248
29785009 Preston Elizabeth T Squared Alpha, LLC      5 Sherwood Ave.                               Madison              NJ     07940
29785010 Preston Elizabeth T Squared Beta, LLC       5 Sherwood Ave.                               Madison              NJ     07940
29785011 Preston Elizabeth T Squared Gamma, LLC      5 Sherwood Ave.                               Madison              NJ     07940
29785012 Pretty Puppy, LLC                           3309 Post View Drive                          O'Fallon             MO     63368
29777711 Prevention Magazine                         300 West 57th Street                          New York             NY     10019
29777712 Prevention Pharmaceuticals Inc.             142 Temple Street, Suite 205                  New Haven            CT     06510


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 93 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25       Page 109 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                  Address                              City      State Postal Code     Country
29777713 PRGX USA, Inc.                              PO BOX 116501                                   Atlanta             GA     30368
29777714 PRI, LLC                                    210 Park Ave Ste 2175                           Oklahoma City       OK     73102‐5629
29777715 Primal Nutrition, Inc                       1631 S Rose Ave                                 Oxnard              CA     93033
29777716 Prime 86 Holdings LLC                       7916 5th Avenue                                 Brooklyn            NY     11209
29777717 Prime Nutrition                             1120 Holland Drive, #19                         Boca Raton          FL     33428
29777718 Prime Retail Services                       3617‐SOUTHLAND DRIVE, SUITE A                   Flowery Branch      GA     30542
                                                     c/o Federal Realty Investment Trust, 909 Rose
29777719 Prime/FRIT Mission Hills, LLC               Avenue, Suite #200                              Rockville           MD    20852
29777720 PrimePay, LLC                               1487 Dunwoody Dr                                West Chester        PA    19380
29776552 Primex ehf                                  Óskarsgata 7                                    Siglufjörour              580        Iceland
29776537 Primus Health Inc.                          3456 rue Des Castors                            Laval               QC    H7P 5W8    Canada
29777721 Prince of Peace Ent., Inc.                  3536 Arden Road                                 Hayward             CA    94545
29785013 Prinova Solutions LLC                       315 E. Fullerton Ave.                           Carol Stream        IL    60188
29785014 PrintComm, Inc                              2929 Davison Road                               Flint               MI    48506
29785015 Pristine Bay LLC DBA VIANDA                 9898 Windisch Road,                             West Chester        OH    45069
29785016 PRO Bottle LLC                              4942 Dawn Avenue, Suite 222                     EAST LANSING        MI    48823
29785017 PROBAR, LLC.                                4752 W. California Ave.                         Salt Lake City      UT    84104
29785018 Prodege                                     185 NW Spanish River Blvd, Suite 100            Boca Raton          FL    33431‐4230
29785019 Professional Supplements                    3665 East Bay Dr. Building 204, 155             LARGO               FL    33771
29785020 ProFormance Foods LLC                       44 Dobbin St, First Floor                       BROOKLYN            NY    11222
29785021 PROformance Vend USA INC                    PO BOX 6188                                     Phoenix             AZ    85005
29785022 Project Healthy Living Inc DBA ALOHA        0 Exchange Place,                               NEW YORK            NY    10005
29785023 Project X Represents                        PO Box 870                                      Old Forge           NY    13420
29785024 ProKarma, Inc.                              8705 SW Nimbus Avenue                           Beaverton           OR    97008
29785025 Prolab Nutrition, Inc.                      6 Dinglebrook Road                              Brookfield          CT    06804
29777722 Promax Nutrition Corp                       100 Bayview Circle, 200                         NEWPORT BEACH       CA    92660
29777723 PromoLeaf                                   PO Box 681465                                   Park City           UT    84068
29777724 Pronatura Inc.                              2474 East Oakton Street                         Arlington Heights   IL    60005
29777725 Pronatura Inc.                              2474 E. Oakton St.                              Arlington Heights   IL    60005
29777726 Propello Life, LLC                          7611 Coventry Woods Drive                       Dublin              OH    43017
29777727 ProTec Laboratory, Inc.                     4300 FM 2225                                    Quitman             TX    75783


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 94 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25     Page 110 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                              City         State Postal Code   Country
29777728 Protection One Alarm Monitoring, Inc.        800 E. Waterman                                Wichita                KS     67202
29777729 Protein Brothers, LLC (dba Stryve Foods)     500 W. University Dr., Suite 108               Mckinney               TX     75069
29777730 Protexin, Inc.                               1833 NW 79th AVE                               Doral                  FL     33126
29777731 Protiviti Inc.                               888 7th Ave ‐ 13th Floor                       New York               NY     10019
29777732 Protos Foods, Inc.                           449 Glenmeade Road                             Greensburg             PA     15601
29785026 Proud Source Water Inc.                      307 Miners Way,                                MACKAY                 ID     83251
29785027 Providence Holdings, LLC                     6500 Utah Ave NW,                              Washington             DC     20015
29785028 Proximus Consulting Group, LLC               111 Windsor Way                                Franklin               TN     37069
29785029 PRP Pet Supplies Inc.                        900 Green Sea Trail                            Chesapeake             VA     23323
29785030 PS1 Rocky LLC                                167 Route 9                                    Englishtown            NJ     07726
29785031 PSP 7 Detroit LLC                            8508 Golfside Dr.                              Commerce Township      MI     48382
29785032 PSP Anthem, LLC                              710 East Desert Ranch Rd.                      Phoenix                AZ     85086
29785033 PSP at CLT, LLC                              4340 Colwick Rd                                Charlotte              NC     28277
                                                      c/o National Shopping Plazas, Inc., 200 W.
29785034 PSP Bolingbrook, L.L.C.                      Madison St., Suite 4200                        Chicago                IL    60606
29785035 PSP Collins, LLC                             3620 Cole Drive                                Baton Rouge            LA    70806
29785036 PSP Dallas, LP                               17863 170th Avenue, Suite 101                  Spring Lake            MI    49456
29785037 PSP Fargo, LLC                               428 N. Highway 218, Suite #3                   Aberdeen               SD    57401
29785038 PSP Fort Myers, LLC                          737 Lake Shore                                 Grosse Pointe Shores   MI    48236
29777733 PSP Gilbert LLC                              6735 E. Greenway Pkwy, Apt. 2020               Scottsdale             AZ    85254
29777734 PSP Investments LLC                          c/o James Antonopoulos, 4117 Blake Lane        Glenview               IL    60026
29777735 PSP Lapeer, LLC                              737 Lake Shore                                 Grosse Pointe Shores   MI    48236
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777736 PSP LITH, L.L.C.                             Madison St., Suite 4200                        Chicago                IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777737 PSP Montgomery, L.L.C.                       Madison St., Suite 4200                        Chicago                IL    60606
29777738 PSP Moon Valley, LLC                         3814 S. Brush Arbor                            Flagstaff              AZ    86005
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777739 PSP Naperville Ogden, L.L.C.                 Madison St., Suite 4200                        Chicago                IL    60606
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777740 PSP Naperville South, L.L.C.                 Madison St., Suite 4200                        Chicago                IL    60606



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 95 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25      Page 111 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                                City       State Postal Code   Country
                                                      c/o National Shopping Plazas, Inc., 200 W.
29777741 PSP North Aurora, L.L.C.                     Madison St., Suite 4200                         Chicago                IL    60606
29777742 PSP North Scottsdale, LLC                    3814 S. Brush Arbor                             Flagstaff              AZ    86005
29777743 PSP of Hollywood, LLC                        3719 Condor Ct.                                 Weston                 FL    33331
                                                      c/o National Shopping Plazas, Inc., 200 W.
29785039 PSP Orland Park, L.L.C.                      Madison St., Suite 4200                         Chicago                IL    60606
29785040 PSP Oro Valley, LLC                          3814 S. Brush Arbor                             Flagstaff              AZ    86005
29785041 PSP Ortonville, LLC                          737 Lake Shore                                  Grosse Pointe Shores   MI    48236
29785042 PSP Redford, LLC                             737 Lake Shore                                  Grosse Pointe Shores   MI    48236
29785043 PSP Rockies, LLC                             336 Morning Star Way                            Castle Rock            CO    80108
                                                      c/o National Shopping Plazas, Inc., 200 W.
29785044 PSP Streamwood, L.L.C.                       Madison St., Suite 4200                         Chicago                IL    60606
29785045 PSP TS, LLC                                  16409 Lucia Gardens Lane                        Tampa                  FL    33625
                                                      c/o National Shopping Plazas, Inc., 200 W.
29785046 PSP Yorkville, L.L.C.                        Madison St., Suite 4200                         Chicago                IL    60606
29785047 Puerto Rico Telephone Company                PO Box 360998                                   San Juan               PR    00936
29785048 Puerto Rico Telephone Company, Inc.          P.O. Box 71304                                  San Juan               PR    00936
29785049 Pukka Herbs Ltd                              71 McMurray Road, 104                           PITTSBURGH             PA    15241
29785050 Pure Encapsulations, LLC                     490 Boston Post Road                            Sudbury                MA    01776
29777744 Pure Essence Labs, Inc.                      P.O. Box 95397                                  Las Vegas              NV    89193
29777745 Pure Health Inc.                             229 Calle Duarte Suite 3A, Second Floor         San Juan               PR    00917
29777746 Pure Inventions                              64 B Grant Street,                              LITTLE SILVER          NJ    07739
29777747 Pure Inventions LLC                          64 B Grant Street,                              LITTLE SILVER          NJ    07739
29777748 Pure Solutions INC                           13620 Wright Circle                             Tampa                  FL    33626
29777749 PureFit Inc.                                 2 Avellino                                      Irvine                 CA    92620
29777750 Puremedy, LLC                                1925 Angus Ave, Unit D                          Simi Valley            CA    93063
29777751 PureRED | Ferrara                            301 College Road East                           Princeton              NJ    08540
29777752 Pvolve LLC                                   415 West Broadway,                              NEW YORK               NY    10012
29777753 Pyure Brands LLC                             2277 Trade Cebter Way STE 101,                  NAPLES                 FL    34109
                                                      c/o Pearson Partners, Inc., 630 Fifth Avenue,
29777754 PZ Southern Limited Partnership              Suite 2820                                      New York               NY    10111‐0202
29785051 QNT INTERNATIONAL, Inc.                      82 Virginia Avenue                              Dobbs Ferry            NY    10522

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 96 of 134
                                             Case 24-12480-JTD       Doc 685       Filed 01/08/25    Page 112 of 149

                                                                              Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                 Address                               City       State Postal Code   Country
29785052 QOL Labs, LLC                               2975 Westchester Avenue, Suite G‐01            Purchase              NY     10577
29785053 Quadient, Inc.                              478 Wheelers Farms Road                        Milford               CT     06461
29785054 Quaker Malls, LLC                           1680 Route 23, Suite 330                       Wayne                 NJ     07470
29785055 Quaker Sales & Distribution                 300 Harmon Meadow Blvd.                        Secaucus              NJ     07094
29785056 Qualitas Health, Inc.                       1800 West Loop South                           Houston               TX     77027
29785057 Quality Pasta Company                       100 Chamber Plaza,                             CHARLEROI             PA     15022
29785058 Quality Pet Food and Supply, LLC            5543 Mahoning Avenue                           Austintown            OH     44515‐2316
29785059 Quantum, Inc.                               754 Washington Street                          Eugene                OR     97401
29785060 QueBIT Consulting LLC                       P.O. BOX 713                                   Katonah               NY     10536
29785061 Queen Bee Properties, LLC                   41 W. Highway 14 #394                          Spearfish             SD     57783
29785062 Quest Diagnostics Health & Wellness LLC     PO BOX 740709                                  Atlanta               GA     30374
29785063 Quest Nutrition, LLC                        777 S. Aviation Dr.                            El Segundo            CA     90245
29777755 Quest Nutrition, LLC                        4712 Admiralty Way, Suite 670                  Marina del Rey        CA     90292
29777756 Quick Response Home Services                2404 W. PHELPS RD, SUITE A‐2                   Phoenix               AZ     85023
29777757 Quikly®, Inc.                               1505 Woodward Ave                              Detroit               MI     48226
29777758 Quincy Bioscience Manufacturing Inc.        301 S. Westfield Road, Suite 200               Madison               WI     53717
29777759 R & R Real Properties, Inc.                 1801 Avenue of the Stars #900,                 Los Angeles           CA     90067
29777760 R&R’s Dog House, LLC                        505 S Forest Ridge                             Broken Arrow          OK     74014
29777761 R. R. Donnelley & Sons Company              P.O. BOX 13654                                 Newark                NJ     07188‐0001
29777762 R.K. West Roxbury, LLC                      c/o RK Centers, 50 Cabot St., Suite 200        Needham               MA     02494
29777763 Radiant Pets Holdings, LLC                  220 Newport Center Drive 11‐252                Newport Beach         CA     92660
29777764 RADIUS Corporation                          207 Railroad Street,                           KUTZTOWN              PA     19530
29777765 RAHI, LLC                                   3256 Westview Dr                               Northbrook            IL     60062
29785064 Rainbow Light Nutritional Systems           100 Avenue Tea,                                SANTA CRUZ            CA     95060
29785065 Rainbow Research Corp                       170 Wilbur Place,                              Bohemia               NY     11716
29785066 Rainforest Distribution Corp                360‐30 13th St,                                ASTORIA               NY     11106
29785067 Rainier Triangle II, LLC                    23707 SE 221ST St                              Maple Valley          WA     98038
29785068 RAJDC NC Properties, LLC                    2719 Graves Drive, Suite 21                    Goldsboro             NC     27534
29785069 Rakuten Card Linked Offer Network, Inc.     800 Concar Drive, Suite 175                    San Mateo             CA     94402
29785070 Ralph C. Lorigo                             101 Slade Avenue                               West Seneca           NY     14224
29785071 Ramsey Holdings, LLC                        644 Pascack Road,                              Washington Township   NJ     07676


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 97 of 134
                                             Case 24-12480-JTD        Doc 685       Filed 01/08/25     Page 113 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                      Name                                           Address                              City   State Postal Code        Country
         Rancho Dos Hermanos, LLC, as to an undivided
         88.1500% tenants in common interest and Desert as to an undivided 11.8500% tenants in common
29785072 Delite Citrus, LLC                             interest, 2655 First Street, Suite 245        Simi Valley         CA    93065
29785073 Randal Optimal Nutrients LLC                   P.O Box 7328,                                 SANTA ROSA          CA    95407
29785074 Randstad Technologies, LP                      150 Presidential Way, 4th Floor               Woburn              MA    01801
29776538 Rangle.io Inc.                                 18 York Street, 5th Floor                     Toronto             ON    M5J 2T8       Canada
29785075 Rapid Restoration, LLC                         1900 County Rd C West                         Roseville           MN    55113
                                                        c/o Mid‐America Asset Management, Inc., One
29777766 RAR2 ‐ Wicker Park Commons, LLC                Parkview Plaza, 9th Floor                     Oakbrook Terrace    IL    60181
29777767 RARI Nutrition LLC                             3410 Davie Rd. Suite 405,                     FORT LAUDERDALE     FL    33314
29777768 Raw Elements LLC                               201 Jefferson Ave., 4A                        MIAMI BEACH         FL    33139
29777769 Raw Essentials Living Foods, LLC               2934 1/2 N Beverly Glen Cir #176              Bel Air             CA    90077
29777770 RAYMEX DISTRIBUTION, INC.                      8206 KILLAM INDUSTRIAL BLVD                   LAREDO              TX    78045
29777771 Raymond Handling Solutions, Inc.               725 FAIRFIELD AVENUE                          Kenilworth          NJ    07033
29777772 RB Seminole LLC                                c/o RD MGT                                    NEW YORK            NY    10019
29777773 RBL Enterprise, LTD                            5062 Colony Woods Dr.                         Kalamazoo           MI    49009
29777774 RCA Novak                                      5020 Westridge Drive                          Fort Collins        CO    80526
29777775 RCA Novak, LLC                                 5020 Westridge Drive                          Fort Collins        CO    80526
29777776 RCBA Nutraceuticals LLC                        635 Century Point, 111                        LAKE MARY           FL    32746
29777777 RCBA Nutraceuticals, LLC                       2041 High Ridge Rd                            Boynton Beach       FL    33426
                                                        c/o RCG‐Ventures LLC., 3060 Peachtree Road
29785076 RCG‐PSC Camp Creek Owner, LLC                  NW, Suite 400                                 Atlanta             GA    30305
                                                        c/o Acadia Realty Trust, 411 Theodore Fremd
29785077 RD Branch Associates, L.P.                     Ave., Suite 300                               Rye                 NY    10580
29785078 RE Plus SP LLC                                 c/o Wafra Inc., 345 Park Avenue, 41st Floor   New York City       NY    10154
29785079 Ready Roast Nut Company, LLC.                  2805 Falcon Drive                             Madera              CA    93637
29785080 Real Asset Management Inc.                     309 Court Avenue, Suite 244                   Des Moines          IA    50309
29785081 REAL GOOD FOODS COMPANY LLC                    6316 Tapanga Canyon Blvd, 2140                WOODLAND HILLS      CA    91367
29785082 Realty Income Corporation                      Attn: Legal Dept., 11995 El Camino Real       San Diego           CA    92130
29785083 Reckitt Benckiser                              399 INTERPACE PKWY,                           PARSIPPANY          NJ    07054
29785084 Recruiting Research, LLC                       420 Canterbury Lake                           Milton              GA    30004


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                Page 98 of 134
                                             Case 24-12480-JTD     Doc 685        Filed 01/08/25    Page 114 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                 Address                              City     State Postal Code       Country
29785085 Recycline, Inc.                             657 Main Street                               Waltham             MA     02451
29785086 Red Bull North America, Inc.                1630 Stewart Street                           Santa Monica        ia     90404
29785087 Red Canary, Inc.                            1501 South Mo‐Pac Expressway Suite 400        Austin              TX     78746
29777778 Red Investments Corp                        106 Satsuma Drive                             Altamonte Springs   FL     32714
29777779 Redbarry LLC                                605 W 47th St., Suite 200                     Kansas City         MO     64112
29777780 REDCON1 LLC                                 701 Park of Commerce, 100                     BOCA RATON          FL     33487
29777781 Redcon1, LLC                                701 Park of Commerce Blvd., Suite 101         Boca Raton          FL     33487
29777782 Redd Remedies, Inc.                         211 S. Quincy Ave.                            Bradley             IL     60915
29777783 Redefine Nutrition d.b.a FINAFLEX           1190 Tidwell Road Ste 304                     Alpharetta          GA     30004
29777784 REDEFINE NUTRITION LLC DBA FINAFLEX         3615 FRANCIS CIR STE 101                      ALPHARETTA          GA     30004
29777785 REDEFINE NUTRITION LLC dba FINAFLEX         3615 Francis Cir, 100                         ALPHARETTA          GA     30004
29777786 Redlands Joint Venture LLC                  13191 Crossroads Parkway North, 6th Floor     City of Industry    CA     91796
29777787 Redmond Trading Company, dba Redmond Life   475 West 910 South                            Heber City          UT     84032
29776539 reebee Inc.                                 305 King St W Suite 902                       Kitchener           ON     N2G 1B9     Canada
29777788 Regency Centers                             28 Church Lane, Suite 200                     Westport            CT     06880
                                                     c/o Regency Centers Corporation, One
29785088 Regency Centers Corporation                 Independent Drive, Suite 114                  Jacksonville        FL    32202
29785089 Regency Centers Corporation                 One Independent Drive, Suite 114              Jacksonville        FL    32202
29785090 Rego Park II Borrower LLC                   210 Route 4 East,                             Paramus             NJ    07652
29785091 REI Asheville Rentas, LLC                   9553 Harding Avenue, #307                     Miami Beach         FL    33154
29785092 Reiber, Inc.                                14240 Imboden Rd.                             Hudson              CO    80642
29785093 Reichel Klein Group                         One Seagate, 26th Floor                       Toledo              OH    43604
29785094 Reliance Elm Holdings LLC                   120 Marvelle Road,                            Fayetteville        NY    13066
29785095 Reliance Standard Life Insurance Company    PO BOX 3124                                   SOUTHEASTERN        PA    19398‐3124
29785096 Reliance Standard Life Insurance Company    1700 Market Street, Suite 1200                Philadelphia        PA    19103‐3938
29785097 Renew Life Formulas, Inc.                   198 Alt. 19 South                             Palm Harbor         FL    34683
29785098 Residence Inn Secaucus Hotel                PO BOX 49745                                  Athens              GA    30604
29785099 Resonant Analytics                          5 VAUGHN DR, SUITE 306                        Princeton           NJ    08540
29785100 Resource Management Group                   PO BOX 616                                    West Frankfort      IL    62896
29777789 Resource1, LLC                              1140 Parsippany Blvd.                         Parsippany          NJ    07054



      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 99 of 134
                                              Case 24-12480-JTD      Doc 685        Filed 01/08/25     Page 115 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                             Address                                  City      State Postal Code   Country
                                                      C/O BGBC PARTNERS LLP, 135 N Pennsylvania
29777790 Retail Logistics Excellence ‐ RELEX Oy       Street                                         Indianapolis         IN    46204
29777791 Retail Next                                  300 Harmon Meadow Blvd                         Secaucus             NJ    07094
29777792 Retail Services WIS Corporation              PO BOX 200081                                  DALLAS               TX    75320‐0081
         Retail Services WIS Corporation, d/b/a WIS
29777793 International                                2000 Taylor Road, Suite #200                   Auburn Hills         MI    48326
29777794 RetailNext, Inc.                             60 S. Market Street, Floor 10                  San Jose             CA    95113
29777795 RetailNext, Inc.                             60 S. Market St Suite 310                      San Jose             CA    95113
29777796 RetailNext, Inc.                             60 S. Market St. 10th FI                       San Jose             CA    95113
29777797 Return Path, Inc.                            3 Park Avenue, 41st Floor                      New York             NY    10016
29777798 Revionics, Inc.                              2998 Douglas Blvd, Suite 350                   Roseville            CA    95661
29777799 Revival Labs                                 4255 CAMPUS DR., BOX 4324                      IRVINE               CA    92616
29785101 Revolution Tea LLC                           5080 N. 40th Street, 375                       PHOENIX              AZ    85018
29785102 Revolutionary Technology Nutrition           30 Nixon Lane,                                 EDISON               NJ    08837
29785103 Rexall Sundown                               2100 SMITHTOWN ROAD,                           RONKONKOMA           NY    11779
29785104 Reynolda Manor, LLC                          c/o Meridian Realty Services, P.O. Box 20429   Winston‐Salem        NC    27120
29785105 RGH Enterprises, LLC                         1810 Summit Commerce Park                      Twinsburg            OH    44087
29785106 RGIS, LLC                                    2000 Taylor Road                               Auburn Hills         MI    48326‐1771
29785107 RGIS, LLC                                    2000 East Taylor Road                          Auburn Hills         MI    48326
29785108 Rhinomed Inc                                 1311 Vine Street                               Cincinnati           OH    45202
29785109 RHM Real Estate Group                        5845 Landerbrook Drive                         Lyndhurst            OH    44124
29785110 Riceland Owner LLC                           4601 Garth Road, Suite 101                     Baytown              TX    77521
29785111 Richard Karas                                100 Populatic St                               Franklinc            MA    02038
29785112 Ricoh USA, Inc.                              300 Eagleview Blvd Ste 200                     Exton                PA    19341
29785113 RidgeCrest Herbals, Inc.                     3683 West 2270 South, Suite #A                 Salt Lake City       UT    84120‐2306
29777800 Rightpoint Consulting, LLC                   29 North Wacker Drive                          Chicago              IL    60606
29777801 Riley Holdings, Ltd.                         1246 Rt. 20 East,                              Norwalk              OH    44857
29777802 RioSoft Holdings, Inc.                       9255 Towne Centre Drive, Suite 750             San Diego            CA    92121
29777803 Rise Bar                                     16752 Millikan                                 Irvine               CA    92606
29777804 Rishi Tea                                    185 S. 33rd Court,                             MILWAUKEE            WI    53208
29777805 Risk Logic Inc.                              48 Dimmig Road                                 Upper Saddle River   NJ    07458


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 100 of 134
                                               Case 24-12480-JTD             Doc 685        Filed 01/08/25        Page 116 of 149

                                                                                      Exhibit B
                                                                               Cure Parties Service List
                                                                              Served via First Class Mail

AddressID                             Name                                       Address                                  City       State Postal Code   Country
29777806 Riskified Inc.                                      220 5th Avenue, 2nd Floor                          New York            NY     10001
29777807 Ritchie Interchange LLC                             One South Street, Suite 2800                       Baltimore           MD     21202
29777808 River Drive Construction Co. Inc.                   200 Riverfront Boulevard                           Elmwood Park        NJ     07407
29777809 River Oaks El Mercado, LLC                          5678 N. Mesa,                                      El Paso             TX     79912
            Riverchase CC, LP and Mont Belvieu Properties,
29777810 LLC                                                 945 Heights Blvd.                                  Houston             TX    77008
29785114 Riverdale Square, LLC                               61 West Palisade Avenue                            Englewood           NJ    07631
29785115 Rivers Edge RBG, LLC                                1598 Imperial Center, Suite 2001                   West Plains         MO    65775
29785116 Riverside Logistics, Inc.                           5160 Commerce Road                                 Richmond            VA    23234
29785117 RJ Two Notch LLC                                    215‐15 Northern Boulevard, Suite 301               Queens              NY    11361
29785118 RJFP LLC                                            635 W. 7th Street, Suite 310                       Cincinnati          OH    45203
                                                             c/o The Woodmont Company, 2100 W. 7th
29785119 RJS Marine Inc.                                     Street                                             Fort Worth          TX    76107
29785120 RJSB Pet Group II, LLC                              5218 Rio Grande Drive                              Raleigh             NC    27616
29785121 RJSB Pet Group, LLC                                 5218 Rio Grande Drive                              Raleigh             NC    27616
29785122 RJSJ LLC                                            PO Box 235965,                                     Encinitas           CA    92023
                                                             c/o Regency Centers Corporation, One
29785123 RK Black Rock II, LLC                               Independent Drive                                  Jacksonville        FL    32202
29785124 RKR Ventures LLC                                    701 Mike's Pike Street, Suite B                    Winslow             AZ    86047
                                                             c/o Bennet Williams Realty, Inc., 3528 Concord
29785125 RLGVS Partners, LLC                                 rd.                                                York                PA    17402
                                                             Stanley J.A. Laskowski, Esq., Caldwell & Kearns,
29785126 RLGVS Partners, LLC                                 PC, 3631 N. Front St.                              Harrisburg          PA    17110‐1533
29777811 RNU, Inc.                                           3859 Wabeek Lake Drive E                           Bloomfield Hills    MI    48302
29777812 Roanoke Venture II, LLC                             2870 Peachtree Road NW, #889                       Atlanta             GA    30305
29777813 Robert Half International Inc.                      101 Hudson Street Suite 2102                       Jersey City         NJ    07032
29777814 Rocam, Inc.                                         1437 Cantoria Avenue                               Coral Gables        FL    33146
29777815 Rockfirm, LLC                                       3100 West End Avenue, Suite 1070                   Nashville           TN    37203
                                                             C/O JRJ PROPERTIES LLC, 6671 MACARTHUR
29777816 ROGER E HERST                                       BOULEVARD                                          Bethesda            MD    20816
29777817 Roland Inc.                                         3400 West Olympic Blvd.                            Los Angeles         CA    90019
29777818 Roland Products, Inc.                               3400 West Olympic Blvd                             Los Angeles         CA    90019

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                      Page 101 of 134
                                             Case 24-12480-JTD         Doc 685       Filed 01/08/25       Page 117 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                        Name                                         Address                                City       State Postal Code        Country
         Roman PBS Acquisition Co LLC, D/B/A Paperless
29777819 Business Systems                               3131 Elliott Ave, Suite 450                     Seattle                WA     98121
29777820 Romney   Petroleum    Inc                      901  Kossuth St                                 Lafayette              IN     47905
         Rookwood Exchange Operating LLC c/o Jeffrey R.
29777821 Anderson Real Estate, Inc.                     3825 Edwards Road                               Cincinnati             OH     45209
29785127 Rooney  CV,  Inc.                              34199A Road 144                                 Visalia                CA     93292
                                                        c/o Acadia Realty Trust, 639 W. Diversey
29785128 Roosevelt Galleria LLC                         Parkway, Suite 202                              Chicago                IL     60614
                                                        c/o Investments Limited, 215 North Federal
29785129 Rosebud VS Boca One, LLC                       Highway, Suite 1                                Boca Raton             FL     33432
                                                        c/o Tanurb Developments Inc., 128A Sterling
29783722 Rosedale Commons LP                            Road, Suite 203                                 Toronto                ON     M6R 2B7       Canada
                                                        25 S. Charles Street, 21st Floor, Attention:
29785130 Rosenberg Martin Greenberg, LLP                Jennifer E. Zohorsky, Esquire                   Baltimore              MD     21201
29785131 Roseville Village L.L.C.                       4198 Orchard Lake Road, Suite 250               Orchard Lake Village   MI     48323
29785132 Roslyn Farm Corporation                        P.O. Box 727,                                   Colonial Heights       VA     23834
                                                        c/o WestCom Properties Inc., 3130 Howe Place,
29785133 Rowen Burlington OpCo, LLC                     101                                             Bellingham             WA     98226
29785134 RREEF AMERICA REIT II CORP. HH                 3340 Peachtree Road NE, Suite 250               Atlanta                GA     30326
29785135 RRR and B, LLC                                 124 Featherstone Lane SE                        Owens Cross Roads      AL     35763
29785136 RSJ Ventures LLC                               PO Box 110871,                                  NAPLES                 FL     34108
29785137 RSP Nutrition                                  4953 SW 71 Pl.                                  Miami                  FL     33155
29785138 RTi Research                                   3500 Lenox Road NE Suite 1500                   Atlanta                GA     30326
29777822 Rudra Pet Supplies Inc                         900 Green Sea Trail                             Chesapeake             VA     23323
29777823 Rumpke of Indiana, LLC                         1510 E 4h Street                                Seymour                IN     47274
29777824 Runa LLC                                       315 Flatbush Ave, # 431                         BROOKLYN               NY     11217
29777825 Rush Direct, Inc.                              890 North Wood Dale Road                        Wood Dale              IL     60191
29777826 Rushmore Superfoods, LLC                       33971 Selva Road, Suite 240                     Dana Point             CA     92629
29777827 Russell Acoustics, LLC                         170 Kinnelon Road, Suite 19M                    Kinnelon               NJ     07405
29777828 Russell Darrow III (Entity Pending)            889 S Heathwood Drive                           Marco Island           FL     34145
29777829 Ryan Law, LLP                                  PO BOX 1939                                     Lowell                 AR     72745
29777830 S & A Investment CO.                           620 S. Wayfare Tr.                              Oconomowoc             WI     53066

      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                                Page 102 of 134
                                              Case 24-12480-JTD      Doc 685       Filed 01/08/25       Page 118 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                  Address                              City      State Postal Code        Country
29777831 S and V, LLC,                                450 Main Street, Suite 200                      Pleasanton          CA     94566
29777832 S&P Global Ratings                           55 Water Street                                 New York            NY     10041
29785139 S&S Singh Partners                           555 East 28th Division Highway                  Lititz              PA     17543
29785140 SAB Investments LLC                          PO Box 194                                      Carmel              IN     46082
29785141 Saba Software, Inc.                          2400 Bridge Parkway, Redwood Shores             Redwood City        CA     94065
29785142 Saber Riverhead58, LLC                       c/o Saber Real Estate North LLC, 2453 Route 6   Brewster            NY     10509
29785143 Sabona of London Unlimited, Inc.             609 Davis Blvd.                                 Sikeston            MO     63801
                                                      28150 North Alma School Parkway, Suite
29785144 SafeSourcing Inc.                            103/283                                         Scottsdale          AZ    85262
29783723 SAGE Engineering Services Ltd.               1200 SPEERS ROAD                                OAKVILLE            ON    L6L2X4         Canada
29785145 Sageflo, Inc.                                4111 E. Madison Street                          Seattle             WA    98112
29783724 Sahah Naturals Inc.                          2244 46th Avenue                                Lachine             QC    H8T 2P3        Canada
29785146 Sahale Snacks, Inc.                          3411 S. 120 Place, STE 100                      Seattle             WA    98168
29785147 SAHB Enterprises, LLC                        18605 Arguello Avenue                           Morgan Hill         CA    95037
29785148 Salesforce, Inc.                             Salesforce Tower                                San Francisco       CA    94105
29785149 Samaya Capital Group, Inc.                   14 Sunrise Hill Road                            Orinda              CA    94563
29785150 Sambazon, Inc.                               1160 Calle Cordillera                           San Clemente        CA    92673
29785151 Samson Development Company, L.P.             636 Old York Road, 2nd Floor                    Jenkintown          PA    19046
29777833 Samson Distributing, Inc.                    2309 A Street                                   Santa Maria         CA    93455
29777834 Samson Management LLC                        97‐77 Queens Blvd, Suite 710                    Rego Park           NY    11347
29777835 Sancilio & Company, Inc.                     3874 Fiscal Ct., Suite 200                      Riviera Beach       FL    33404
29777836 Sang Rim Hwang & Chang Sook Hwang            1212 V St NW                                    Auburn              WA    98001
                                                      c/o Carnegie Companies Inc, 6190 Cochran Rd,
29777837 Sangamon North, LLC                          Suite A                                         Solon               OH    44139
29777838 Santa Barbara Essential Foods LLC.           233 E. Gutierrez Street                         Santa Barbara       CA    93101
29777839 Santa Rita GRF2, LLC                         973 Lomas Santa Fe Drive,                       Solana Beach        CA    92075
29777840 Santikos Legacy, LLC                         4630 North Loop 1604 W., Suite 501              San Antonio         TX    78249
29777841 Sanvi Pet Supplies, Inc.                     19 Madison Ave.                                 New Hyde Park       NY    11040
29777842 Sanz Branz, LLC                              83 Dumbarton Dr.                                Delmar              NY    12054
29777843 Sauer Properties Inc.                        2000 West Broad Street,                         Richmond            VA    23220



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 103 of 134
                                                Case 24-12480-JTD     Doc 685       Filed 01/08/25       Page 119 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                               City     State Postal Code      Country
                                                        c/o The Gutierrez Company, 200 Summit Drive,
29777844 Saugus Hillside Realty                         Suite 400                                      Burlington          MA    01803
29785152 Savesta LifeSciences Inc.                      9582 Topanga Canyon Blvd                       Chatsworth          CA    91311
29785153 Savills, Inc.                                  520 Newport Center Drive                       Newport Beach       CA    92660
29785154 Sayville Plaza Development LLC                 500 Old Country Road, Suite 200                Garden City         NY    11530
29785155 SB Fateh LLC                                   8355 Cinnamon Ridge Lane                       Reno                NV    89523
29785156 SBB Sterling Heights, LLC                      31500 Northwestern Highway, Suite 175          Farmington Hills    MI    48334
29785157 SC Department of Commerce                      1201 Main Street                               Columbia            SC    29201
29785158 Scales Industrial Technologies, Inc.           185 Lackawanna Avenue                          West Paterson       NJ    07424
29776570 SCB Global Ltd                                 37th floor                                     London                    E14 5AA    United Kingdom
29785159 SCC Nassau Park Pavilion NJ LLC                3300 Enterprise Parkway                        Beachwood           OH    44122
29785160 Schaefer Systems International, Inc.           10125 Westlake Dr., PO Box 7009                Charlotte           NC    28273
29785161 Schmidt's Deodorant                            5527 SE 71ST Ave                               Portland            OR    97206
29785162 Schoolcraft Commons Unit 9, L.L.C.             150 W. 2nd Street, Ste. 200                    Royal Oak           MI    48067
29785163 Schreiber Translations, Inc.                   51 Monroe Street, Suite 101                    Rockville           MD    20850
29777845 Schultz Pet Supply, LLC                        2004 Schultz Rd.                               Franklin            TX    77856
29777846 Schwabe North America                          825 Challenger Drive                           Green Bay           WI    54311
29777847 Schwabe North America, Inc.                    9672 Sweetleaf St                              Orlando             FL    32827‐6804
                                                        c/o NEI Management & Development, P.O. Box
29777848 Schwinge Village Plaza, LLC                    1838                                           McHenry             IL    60051
29777849 Scitec USA Inc.                                17470 N. Pacesetter Way                        Scottsdale          AZ    85255
29777850 Scivation, Inc.                                1448 Industry Drive                            Burlington          NC    27215
29777851 Scotlynn                                       15671 San Carlos Blvd                          Fort Myers          FL    33908
29777852 Scott Budd and Associates                      PO BOX 460664                                  CENTENNIAL          CO    80015
29777853 Scottcin Enterprises, Inc.                     2621 S. Telegraph Rd.                          Dearborn            MI    48124
29777854 ScoutRFP, Inc.                                 318 Brannan Street, 1st Floor                  San Francisco       CA    94107
29777855 Scribcor Global Lease Administration, LLC      2 Mid America Plaza, Suite 650                 Oakbrook Terrace    IL    60181
29785164 Scully Dog Enterprises, Inc.                   3150 Woodwalk Dr SE, Unit 3201                 Atlanta             GA    30339‐8495
29785165 SDBUCKS, LLC                                   1901 Avenue of the Stars, Suite 630            Easley              SC    29640
29785166 SDC Nutrition, Inc                             170 Industry Drive                             Pittsburgh          PA    15275
29785167 Sea Island‐Staples LTD                         900 Isom Road, Suite 200                       San Antonio         TX    78216


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 104 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25     Page 120 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                 Address                             City            State Postal Code        Country
29785168 Sea Mist I, LLC                               Attn: George K. Gesouras, PO Box 21381        Columbus                 OH     43211
29785169 Seafield Capital Partners II, LLC             1345 Ranch Road,                              Mount Pleasant           SC     29464
29785170 Secretary of State of California              1500 11Th St, P.O. Box 944228                 Sacramento               CA     94244‐2300
         Secure Talent, Inc. dba Eastridge Workforce
29785171 Management                                    PO Box 512220                                  Los Angeles             CA    90051‐0220
29785172 SecureWorks, Inc.                             1 Concourse Pkwy                               Atlanta                 GA    30328
29785173 Securitas Security Services USA, Inc.         20465 State Highway 249 Suite 400              Houston                 TX    77070
29785174 Security 101 LLC                              1450 Centrepark Blvd.                          West Palm Beach         FL    33401
                                                       Eagle Ranch Center, 500 4th Street NW, Suite
29785175 SED Development LLC                           200                                            Albuquerque             NM    87102
29785176 See.Spark.Go                                  815 N. CRAIG PL                                Addison                 IL    60101
                                                       c/o Selig Enterprises Inc., 1100 Spring Street
29777856 SEI Buckhead Square One, LLC                  N.W., Suite 550                                Atlanta                 GA    30309
29777857 SEI, Inc.                                     6499 S. Kings Ranch Rd. #6‐80                  Gold Canyon             AZ    85118
29777858 Seitenbacher America, LLC                     11505 Perpetual Drive                          Odessa                  FL    33556
29777859 Select Staffing                               999 NORTH PLAZA DRIVE, SUITE200                Schaumburg              IL    60173
29777860 Sembler Family Land Trust                     C/O THE SEMBLER COMPANY                        ST PETERSBURG           FL    33707
29777861 Sencha Naturals                               1101 Monterey Pass Rd,                         Monterey Park           CA    91754
29777862 Sensible Organics Inc.                        3740 W. 4th Avenue                             Beaver Falls            PA    15010
29783725 Sequel Naturals Inc.                          33‐1833 Coast Meridian Road                    Port Coquitlam          BC    V3C6G5         Canada
29777863 Service Express                               3854 Broadmoor Ave. SE                         Grand Rapids MI 49512   MI    49512
29777864 Set and Service Resources, LLC                2101 91st Street                               North Bergen            NJ    07047
                                                       c/o Watermark Property Management, LLC, 1030
29777865 Set Point Properties, LLC                     W. Chicago Ave, Suite 300                      Chicago                 IL    60642
29777866 Setter Partners, LLC                          244 W 39th St., 4th Fl.                        New York City           NY    10018
29785177 Seven Oaks Ranch Inc                          2568 Channel Drive,                            VENTURA                 CA    93003
29785178 SGH & Associates                              4267 Marina City Drive, #100 W                 Marina del Rey          CA    90292
29785179 Shaina Fishman Photography LLC                149 Huron Street #2D                           Brooklyn                NY    11222
29785180 SHAMROCK A OWNER, LLC                         122 Palmetto Commerce Parkway                  Orangeburg              SC    29115
29785181 Shamrock A Owner, LLC                         101 East Washington Street, Suite 400          Greenville              SC    29601
29785182 SHANGHAI TONGHAO INDUSTRY LTD                 PO BOX 935723                                  Atlanta                 GA    31193‐5723


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 105 of 134
                                              Case 24-12480-JTD         Doc 685          Filed 01/08/25      Page 121 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                    Address                                    City    State Postal Code           Country
29785183 Shanri Holdings Corp                            Post Office Box 160403                            Mobile               AL     36616‐1403
                                                         Shop #12, Mezzanine Floor, Sabkha Street, Al
29785184 Shark Food Supplements Trading LLC              Owais Tower                                       Deira, Dubai               28394      United Arab Emirates
29785185 Shaw + Scott, Inc.                              1513 33rd Ave.                                    Seattle              WA    98122
29785186 Shaw Industries, Inc.                           MAIL DROP ‐ 999, PO BOX 630862                    CINCINNATI           OH    45263‐0862
29785187 Shea Terra Organics                             101 E Executive Drive,                            Sterling             VA    20166
29785188 Sheer Strength Labs, LLC                        7509 Manchaca St, Suite 201                       Austin               TX    78754
29777867 SheerID, Inc.                                   2451 Willamette Street                            Eugene               OR    97405
29777868 Shelby Boulevard Fiftynine LLC                  300 Park Street, Suite 410                        Birmingham           MI    48009

29777869 Shelbyville Road Plaza LLC                      c/o Hagan Properties Inc., 12911 Reamers Road     Louisville           KY    40245
29776550 Shenzhen XingRisheng Industrial Co., Ltd        Baolong Ind. City                                 Shenzhen                                  China
29777870 Sher Lane LLC                                   4957 Lakemont Blvd. SE, #C4‐11                    Bellevue             WA    98006
29777871 Sheraton Lincoln Harbor Hotel                   ATT WENDY GONZALEZ, 500 HARBOR BLVD               WEEHAWKEN            NJ    07086
29777872 Sheridan Center, LLC                            6120 Lendell Road                                 Sanborn              NY    14132
29777873 SHERWIN‐WILLIAMS COMPANY                        101 West Prospect Avenue                          Cleveland            OH    44115
29777874 SHI                                             PO Box 952121                                     Dallas               TX    75395
29777875 SHI International Corp                          PO Box 952121                                     Dallas               TX    75395
29777876 SHI International Corp.                         290 Davidson Avenue                               Somerset             NJ    08873
29777877 SHIBARI WANDS                                   28348 Constellation Road, #850                    Valencia             CA    91355
29777878 Shikai Products                                 PO BOX 2866,                                      SANTA ROSA           CA    95405
                                                         c/o Realty Resource Capital Corp., 7600 Jericho
29785189 Shillington Partners, LLC.                      Turnpike, Suite 402                               Woodbury             NY    11797
29785190 Shine Engineering, P.A.                         6 Renshaw Drive                                   Montville            NJ    07045
29785191 Shine Holdings Ken Caryl, LLC                   15741 W Eureka Avenue                             Morrison             CO    80465
29785192 Shine Holdings, LLC                             15741 W Eureka Avenue                             Morrison             CO    80465

29785193 Shirazee, LLC Parviz and Maudie Samiee, Trustees 2418 13th Street SE,                             Salem                OR    97302
29785194 Shire City Herbals, Inc.                         15 Commercial Street                             Pittsfield           MA    01201
29785195 ShopperTrak   RCT Corporation                    233 South Wacker, Suite 4100                     Chicago              IL    60606
                                                         c/o ACF Property Management, 12411 Ventura
29785196 Shoppes at Bedford 15 A, LLC                    Blvd                                              Studio City          CA    91604

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 106 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25          Page 122 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                    City   State Postal Code   Country
                                                      Mary A. McMahon, Asset Manager, 14455 West
29785197 Shoppes at Bedford 15 A, LLC                 64th Ave., Suite Q                                  Arvada              CO    80004
29785198 Shoppes at Tower Place LLC                   2530 Scottsville Rd., Suite 21                      Bowling Green       KY    42104
29785199 Shops at St. Johns LLC                       225 W. Washington Street,                           Indianapolis        IN    46204
29785200 Shore Creek, LLC                             21650 Burbank Blvd # 110                            Los Angeles         CA    91367
                                                      c/o Phillips Edison and Co., 11501 Northlake
29777879 Shoregate Station LLC                        Drive                                               Cincinnati          OH    45249

29777880 Shoregate Station LLC                        Phillips Edison & Co. Ltd., 11501 Northlake Drive   Cincinnati          OH    45249
29777881 Shoreline Fruit LLC                          10850 E Traverse Hwy.,                              Traverse City       MI    49685
29777882 Shoutlet, Inc.                               One Erdman Place, Suite 102                         Madison             WI    53717
29777883 Shred‐it USA ELC                             5780 S. 40th Street, Suite 1                        Phoenix             AZ    85040
29777884 Shred‐it USA LLC                             5780 S. 40th Street, Suite 1                        Phoenix             AZ    85040
                                                      c/o Chesapeake Commercial Properties, Inc.,
29777885 Shrewsbury Commons, L.P.                     4750 Owings Mills Blvd.                             Owings Mills        MD    21117
                                                      Rosenberg Martin Greenberg, LLP, 25 S. Charles
                                                      Street, 21st Floor, Attention: Jennifer E.
29777886 Shrewsbury Commons, L.P.                     Zohorsky, Esquire                                   Baltimore           MD    21201
29777887 SI03, Inc.                                   P.O. Box 1715                                       Cape Girardeau      MO    63702
29777888 Siblings Enterprises Ltd.                    49 Ocean Drive                                      Jupiter             FL    33469
29777889 Sibu, LLC                                    1098 S Union Avenue                                 Midvale             UT    84047
29785201 Siddha Flower Essences, LLC                  21225 Pacific Coast Hwy, Suite B                    Malibu              CA    90265
29785202 Sidecar Interactive, Inc.                    114 South 13th Street, 3rd Floor                    Philadelphia        PA    19107
                                                      c/o Olshan Properties, 600 Madison Avenue,
29785203 Siegen Lane Properties LLC                   14th Floor                                          New York City       NY    10022
29785204 Siemens Industry, Inc.                       1000 Deerfield Parkway                              Buffalo Grove       IL    60089
29785205 Siena II Holdings LP                         c/o Laurich Properties Inc.                         Las Vegas           NV    89144
29785206 Sierra Sage Herbs                            PO BOX 435                                          Lyons               CO    80540
29785207 Sierra Sage Herbs LLC                        PO Box 439,                                         LYONS               CO    80540
29785208 SignUp Software Inc.                         3500 South DuPont Highway                           Dover               DE    19901
29785209 Silicon Valley Pricing, LLC                  119 El Altillo                                      Los Gatos           CA    95032
29785210 Silver Search, Inc.                          45 EISENHOWER DRIVE, SUITE 555                      Paramus             NJ    07652

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 107 of 134
                                               Case 24-12480-JTD      Doc 685       Filed 01/08/25         Page 123 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                   Address                                 City     State Postal Code   Country
29785211 Silverman Properties LP                       PO Box 50378,                                     Nashville           TN     37205
29785212 SilverSearch Consulting, Inc.                 2 Executive Drive, Suite 705                      Fort Lee            NJ     07024
29785213 Similasan Corp.                               1745 Shea Center Dr. Suite 380                    Highlands Ranch     CO     80129
29777890 Simmons Pet Food, Inc.                        601 N. Hico Street                                Siloam Springs      AR     72761
29777891 Simple Mills Inc                              444 N Wells St, 203                               CHICAGO             IL     60654
29777892 Simply 7 Snacks                               11300 S. Sam Houston Pkwy W.,                     HOUSTON             TX     77031
29777893 Simply Gum                                    270 Lafayette Suite 1301                          New York            NY     10012
29777894 Simply Solutions LLC                          2949 Venture Drive, Suite 170                     Janesville          WI     53546
29777895 Since Cite LLC                                2101 hongleaf To                                  BLAC                NJ     35243
29777896 Sinclair Broadcast Group, Inc.                10706 Beaver Dam Road                             Cockeysville        MD     21030
29777897 Sinclair Institute                            402 Millstone Drive,                              HILLSBOROUGH        NC     27278
29777898 Singh Pets, LLC                               7548 Morris Street #2                             Fulton              MD     20759
29777899 Single Touch Interactive, Inc.                1200 Wright Ave                                   Richmond            CA     94804
29777900 Sinister Labs LLC                             275 Commerce St, Suite 100                        Southlake           TX     76092
29785214 SIPOC Associates TIC                          7978 Cooper Creek Boulevard, Suite # 100          Bradenton           FL     34201
29785215 Sipp Eco Beverage Company                     PO Box 159                                        Uwchland            PA     19480
29785216 Sitecore USA, Inc.                            101 California St Suite 1600                      San Francisco       CA     94111
29785217 Siterra, LLC                                  10801‐2 N. Mopac Expressway                       Austin              TX     78759
29785218 Six Foods LLC                                 1885 Mission Street,                              SAN FRANCISCO       CA     94103
                                                       c/o MGM Management, 485 Metro Place South,
29785219 SJSS Powell, LLC                              Suite 270                                         Dublin              OH    43017
29785220 SK Global Software LLC                        940 Gemini                                        Houston             TX    77058
29785221 Skinnygirl Nutritional Concepts LLC           221 South Cherokee St.                            Denver              CO    80223
29785222 Skol Haus Pets L.L.C.                         8917 W Lakeside Drive                             Sioux Falls         SD    57107
29785223 Skoop, LLC                                    2438 30th Street                                  Boulder             CO    80301
29785224 SKY BOYNTON HOLDINGS LLC                      763 Raleigh Street,                               Woodmere            NY    11598
29785225 Sky Cortland, LLC                             Attn: Avi Metchik, 10101 Fondren Rd., Suite 545   Houston             TX    77096
29785226 Skyepets, LLC                                 20619 Shadow Mill Court                           Katy                TX    77450
                                                       c/o Cambridge Management, Ltd., 15941 S.
29777901 SL Yorkhouse Commons LLC                      Harlem Ave. PMB 108                               Tinley Park         IL    60477
29777902 Slickdeals, LLC                               6010 S. Durango Dr., Suite 200                    Las Vegas           NV    89113


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 108 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25       Page 124 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                Address                                City      State Postal Code    Country
29777903 Slim & Goldie, LLC                          8345 Lake Burden Circle                         Windermere          FL     34786
29777904 SLIQUID, LLC                                2544 IRVING BLVD.                               DALLAS              TX     75207
29777905 SLJ Realty LLC                              1385 Broadway, Suite 1407                       New York City       NY     10018
                                                     c/o S.L. Nusbaum realty Co., 7200 Glen Forest
29777906 SLN Bellgrade, L.L.C.                       Dr., Suite 300                                  Richmond            VA    23226
29777907 Sloans of PSP, LLC                          5771 Myers Road                                 Akron               OH    43319
29777908 Small World Trading Co.                     15 A Koch Road                                  Corte Madera        CA    94925
                                                     c/o Rimrock Companies, 343 NW Cole Terrace,
29777909 Smart Growth‐Spartanburg, LLC               Ste 201                                         Lake City           FL    32055
29777910 Smart Wear Group LLC                        1705 Singleton Ave                              Austin              TX    78702
29777911 SmartBargains, Inc.                         20 Channel Center ‐ 3rd Floor                   Boston              MA    02210
29785227 Smartgroup M. Nilsson AB                    Skrapan 1890                                    Vasteras                  72210      Sweden
29785228 SmartyPants, Inc.                           827 Marco Place                                 Venice              CA    90291
29785229 Smash My Trash                              925 W. 127th Ste 100                            Avondale            AZ    85323
29785230 SmashMallow, LLC.                           153 W Napa Street                               Sonoma              CA    95476
29785231 Smith Arnold Partners                       3 LANDMARK SQUARE, SUITE 520                    Stamford            CT    06901
29785232 Smith Land & Improvement Corporation        1810 Market Street                              Camp Hill           PA    17011
29785233 Smitty Bee Honey                            208 Main St.                                    Defiance            IA    51527
29785234 Smitty Bee Honey                            208 Main Ave, PO219                             Defiance            IA    51527
29785235 SNAC System, Inc.                           1551 INDUSTRIAL RD.,                            SAN CARLOS          CA    94070
29785236 Sneakers Plus                               318 HIGHWAY 202 NORTH                           Flemington          NJ    08822
29785237 SNI LLC                                     220 Smith St.,                                  FARMINGDALE         NY    11735
29785238 Snowflake Inc.                              450 Concar Drive                                San Mateo           CA    94402
29785239 SO Ten. LLC                                 5129 SUNSET RIDGE LN                            LIBERTY TWP         OH    45011
29777912 SoapBox Soaps                               226 N Adams Street, Floor 2                     Rockville           MD    20850
29777913 SOCi, Inc.                                  8605 Santa Monica Blvd PMB 47149                West Hollywood      CA    90069‐4109
29777914 Social Edge Consulting, LLC                 300 Harmon Meadow Blvd                          Secaucus            NJ    07094
29777915 Social Edge Consulting, LLC                 7 Stark Drive                                   Robbinsville        NJ    08691
29777916 SocialWise, Inc., d.b.a. Rallio             400 Spectrum Center Drive Suite 1250            Irvine              CA    92618
29777917 SOEMI Pet Supplies, Inc.                    2027 Mackenzie Place                            Wheaton             IL    60187
29777918 SOFAR Americas, Inc.                        141 H Street, STE A                             Petaluma            CA    94952


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                             Page 109 of 134
                                                 Case 24-12480-JTD            Doc 685          Filed 01/08/25    Page 125 of 149

                                                                                         Exhibit B
                                                                                   Cure Parties Service List
                                                                                  Served via First Class Mail

AddressID                             Name                                            Address                              City     State Postal Code   Country
29777919 Sole Pet, LLC                                          29 Long Hill Road                               New Vernon         NJ     07976
29777920 Somerset Shoppes Fla LLC                               8903 Glades Road, Unit A‐14                     Boca Raton         FL     33434
29777921 Somersets USA, LLC                                     65 Pleasant Street                              Cohasset           MA     02025
29777922 SORA Laboratories, LLC                                 15366 U.S. Highway 160                          Forsyth            MO     65653
29777923 SOTRu.LLC                                              697 N. Denver Ave                               Loveland           CO     80537
29785240 South Merrick Road Corp.                               12‐A Filmore Place,                             Freeport           NY     11520
29785241 South Pacific Elixirs, LLC.                            7559 Woodshire Cove                             Scottsdale         AZ     85258
                                                                c/o Namdar Realty Group, 150 Great Neck Road,
29785242 South Park Mall Realty LLC                             Suite 304                                       New York City      NY    11021
                                                                c/o National Realty & Development Corp., 225
29785243 South Plainfield Properties, L.P.                      Liberty Street, 31st Floor                      New York City      NY    10281
29785244 South River Mills Investments, LLC                     56 Mills Gap Road                               Asheville          NC    28803
29785245 South Shore Mall Realty LLC                            150 Great Neck Road, Suite 304                  New York City      NY    10021
29785246 South State Bank                                       c/o REPAY                                       Atlanta            GA    30309
29785247 Southbay Ventures, LLC                                 1231 Horseshoe Drive                            Greensboro         GA    30642
                                                                c/o Carnegie Companies, 6190 Cochran Rd, Suite
29785248 Southpark Retail LLC                                   A                                               Solon              OH    44139
29785249 Southport Services Group, LLC                          20098 ASHBROOK PLACE, SUITE 220                 Ashburn            VA    20147
                                                                c/o Baker and Lassiter, 3350 Riverwood Parkway,
29785250 SP EAST, LLLP                                          Suite 1800                                      Atlanta            GA    30339
29785251 Spacee, Inc.                                           3752 ARAPAHO RD                                 Addison            TX    75001
29777924 Spark Communications Group, LLC                        P.O. Box 49745                                  Athens             GA    30604
29777925 Spark:red, Inc.                                        11241 Willows Rd. N.E., Suite 220               Redmond            WA    98052
29777926 Sparklehearts LLC                                      16364 UNDERHILL LANE,                           HUNTINGTON BEACH   CA    92647
29777927 Sparrow Ridge Properties, LLC                          1835 Knapp Drive                                Crest Hill         IL    60403
29777928 Sparta Nutrition LLC                                   25 Pier Ln W,                                   FAIRFIELD          NJ    07004
29777929 Spartan Brands, Inc.                                   451 Park Avenue South Fifth Floor               New York           NY    10016
29777930 Spartan Square Limited Partnership                     1463 West Main Street, Suite P3                 Salem              VA    24153
29777931 Special D Events, Inc.                                 1420 Washington Boulevard                       Detroit            MI    48220
29777932 Spencer Stuart                                         353 N. CLARK, SUITE 2400                        Chicago            IL    60654
            Spencer Technologies, Inc. d/b/a Certified Retail
29777933 Solutions                                              One Quality Way                                 Dover              NH    03820

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                         Page 110 of 134
                                              Case 24-12480-JTD      Doc 685       Filed 01/08/25        Page 126 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                Address                                  City       State Postal Code       Country
29777934 SPI West Port, Inc                           377 Swift Ave                                    South San Francisco   CA     94080
29785252 Spiceologist, Inc.                           125 S. Cowley St.                                Spokane               WA     99202
29783726 SpiderTech Inc.                              115 Riesston Road                                Toronto               ON     M1F 4W9     Canada
29785253 Spike Enterprises, Inc.                      18914 IH 20                                      Cisco                 TX     76437
29785254 SPINS LLC                                    222 W HUBBARD STREET, SUITE 300                  Chicago               IL     60654
29785255 Sport Specifics, Inc.                        168 Solon Road                                   Chagrin Falls         OH     44022
29785256 Sports Nutrition International               10100 NW 116th Way Suite #10                     Medley                FL     33178
29785257 Sports Nutrition International               1401 BUCHANAN RD                                 Evansville            IN     47720
29785258 Sports Research Corporation                  784 W. Channel St.,                              SAN PEDRO             CA     90731
29785259 Spray Innovations, LLC                       39 Long View Road                                Trabuco Canyon        CA     92679

29785260 Spring Mall Square LLC                       c/o Fried Companies Inc., 5924 Fried Farm Road   Crozet                VA    22932
29785261 Spring Ridge LP                              217 W. Springville Road,                         Boiling Springs       PA    17007
                                                      c/o Thompson Thrift Development Inc., 901
29785262 Springdale Pointe LLC                        Wabash Ave. Suite 300                            Terre Haute           IN    47807
29785263 Springinvest LLC                             c/o Eurinvest, 407 Lincoln Road, Suite 8         Miami Beach           FL    33139
29785264 Sprocket Staffing Services                   35 Colby Avenue                                  Manasquan             NJ    08736
29777935 Sprout a Revolution, Inc.                    386 Troutman Street, 2R                          Brooklyn              NY    11237
29777936 Sprout Social, Inc.                          131 S. Dearborn Street, Suite 700                Chicago               IL    60603
29777937 SPS Commerce                                 500 Harmon Meadow Blvd                           Secaucus              NJ    07094
29777938 SPS Properties LP                            11 Cleveland Circle                              Skillman              NJ    08558

                                                      Diane Wohlfarth, Papernick & Gefsky, 34th Floor,
29777939 SPS Properties LP                            One Oxford Centre, 301 Grant Street 1407         Pittsburgh            PA    15219
                                                      The Rubinoff Company, Agent for SPS Properties,
                                                      LP, Attn: Carry Rubinoff, 925 Liberty Ave. 3rd
29777940 SPS Properties LP                            Floor                                            Pittsburgh            PA    15222
29777941 Squarebar                                    2420 Central Avenue, #3                          Alameda               CA    94501
29777942 Squatty Potty, LLC                           1664 S. Dixie Drive, Ste F102                    Saint George          UT    84770
29777943 SRBK Investments, Inc.                       16 Agawam Dr.                                    Wayne                 NJ    07470
29777944 SRK Lady Lake 21 SPE, LLC                    4053 Maple Road, Suite 200                       Buffalo               NY    14226



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                             Page 111 of 134
                                               Case 24-12480-JTD             Doc 685       Filed 01/08/25      Page 127 of 149

                                                                                     Exhibit B
                                                                               Cure Parties Service List
                                                                              Served via First Class Mail

AddressID                             Name                                        Address                               City     State Postal Code        Country
                                                             c/o Benchmark Management Corp. , 4053 Maple
29777945 SRK Painesville Associates, LLC                     Road                                             Amherst            NY    14226
                                                             c/o Professional Property Mgmt. Co. of Michigan,
29785265 SSC Associates Limited Partnership                  Inc., 115 W. Brown                               Birmingham         MI    48003
29785266 SSK Investments, Inc.                               1600 Executive Parkway, Suite 110                Eugene             OR    97401
         SSS Eldridge Marketplace, LLC, SSS Eldridge Town
         Center LLC, SSS Eldridge Square Investors LLC, SKJ c/o Wu Properties Inc., 3657 Briarpark Drive,
29785267 Eldridge Square LLC, Peach Eldridge LLC            Suite 188                                        Houston             TX    77042
29785268 SSSCR,  Inc.                                       208 St. James Avenue, Suite B                    Goose Creek         SC    29445
29785269 St. Croix Valley Holdings, Inc.                    4751 Hiawatha Avenue                             Minneapolis         MN    55406
29785270 St. Louis Cardinals, LLC                           1 Timber Valley Cove                             Little Rock         AR    72204
29785271 ST. TROPICA Inc.                                   5348 Vegas Drive Suite 1487                      Las Vegas           NV    89108
29783727 StackAdapt Inc.                                    210 King St East ‐ Suite 500                     Toronto             ON    M5A 1J7       Canada
29785272 Stafford Park Commercial IILLC                     500 Barnegat Boulevard North, Building 100       Barnegat Township   NJ    08005

29785273 STAG Industrial Holdings, LLCc/o STAG Avondale One Federal Street, 23rd floor                       Boston              MA    02110
29785274 STAG Industrial, Inc.                          One Federal Street, 23rd Floor                       Boston              MA    02110
         Stanley J. Kozicki dba SK Holdings ‐ Wilmington,
29785275 L.L.C.                                              31104 Mills Chase Drive,                        Lewes               DE    19958
29785276 Stanley J.A. Laskowski, Esq.                        Caldwell & Kearns, PC, 3631 N. Front St.        Harrisburg          PA    17110‐1533

29777946 Star Industries, LLC d/b/a STAR Building Services   167 Avenue at the Common                        Shrewsbury          NJ    07702
29777947 Star Nutrition Inc dba Incrediwear                  3120 Thorntree drive                            Chico               CA    95973
29777948 StarChem Labs                                       2035 New Highway                                Farmingdale         NY    11735
29777949 Starco Impex, Inc.                                  2710 S. 11th Street                             Beaumont            TX    77701
29777950 Stardust Partners, LLC                              c/o Pet Supplies Plus, 1300 MacDade Boulevard   Woodlyn             PA    19094
29777951 Starjack Investments L.L.C.                         1349 S. Rochester Road, Suite 210               Rochester           MI    48307
                                                             Attn: Legal Department, 7248 Morgan Road, PO
29777952 Staten Island Richmond Avenue, LLC                  Box 220                                         Liverpool           NY    13088
29777953 Stavitsky & Associates LLC                          350 PASSAIC AVENUE                              Fairfield           NJ    07004
29777954 SteadFast Digital LLC                               48 MOLLY PITCHER DRIVE                          MANALAPAN           NJ    07726
29777955 Stealth Dog, Inc.                                   382 Adams St.                                   Plymouth            MI    48170


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 112 of 134
                                               Case 24-12480-JTD             Doc 685       Filed 01/08/25        Page 128 of 149

                                                                                     Exhibit B
                                                                               Cure Parties Service List
                                                                              Served via First Class Mail

AddressID                             Name                                        Address                                  City      State Postal Code   Country
29777956 Stearns Product Inc. dba Derma E                    2130 Ward Ave                                     Simi Valley          CA     93065
29785277 Stepan Specialty Products LLC                       100 West Hunter Avenue                            Maywood              NJ     07607
29785278 Stephanie Valente                                   192 DRIGGS AVE, UNIT 1L                           Brooklyn             NY     11222
29785279 Sterling Infosystems, Inc.                          NEWARK POST OFFICE, PO BOX 35626                  Newark               NJ     07193‐5626
29785280 Sterling Technology                                 NEWARK POST OFFICE, PO BOX 35626                  Newark               NJ     07193‐5626
29785281 Steven Di Salvatore                                 345 HEATHER COURT                                 YORKTOWN HIGHTS      NY     10598
29785282 Stevens Point Pets, LLC                             2295 Spring Rose Road                             Verona               WI     53593
29785283 Stevenson Investors, LLC                            2187 Newcastle Ave, Suite 202                     Cardiff‐by‐the‐Sea   CA     92007
29785284 STICKY BE APPARELS                                  1112 Montana Ave, 371                             Santa Monica         CA     90403
29785285 STM Investments, LLC                                3106 Southern Hills Drive                         Des Moines           IA     50321
29785286 Stony Brook Realty, LLC                             3201 N Federal Highway, # 301                     Fort Lauderdale      FL     33306
29785287 Store Master Funding IV, LLC                        8501 E Princess Drive                             Scottsdale           AZ     85255
29785288 Store Property Marble, LLC                          110 Hidden Pass                                   San Antonio          TX     78323

29785289 Stored Value Solutions, a division of Comdata Inc. 101 Bullitt Lane, Suite 305                        Louisville           KY    40222
29777957 STRAIGHT PATH IT SOLUTIONS, LLC                    12 E. Side Road                                    Sanbornville         NH    03872
         Strategic Cost Control, Inc., d/b/a Corporate Cost
29777958 Control, an Experian company                       475 Anton Boulevard                                Costa Mesa           CA    92626
29777959 Strategic Defense Corporation                      30 N Gould St Ste R                                Sheridan             WY    82801
         Strategic Pharmaceutical Solutions Inc., dba
29777960 Vetsource                                          2005 SE 192nd Ave.                                 Camas                WA    98607
         Strategic Pharmaceutical Solutions Inc., dba
29777960 Vetsource                                          2005 SE 192nd Ave.                                 Camas                WA    98607
         Strategic Pharmaceutical Solutions Inc., dba
         Vetsource
         Vet Success Inc.
         V2P2, LLC dba Vet2Pet                              Vet Success Inc., V2P2, LLC dba Vet2Pet, 2005 SE
29777962                                                    192nd  Ave.                                        Camas                WA    98607
29777963 Strategic Products Group, Inc.                     450 Van Pelt Lane                                  Pensacola            FL    32505
29777964 StrategIQ  Commerce    LLC                         217 N JEFFERSON STREET, 3RD FLOOR                  Chicago              IL    60661
29777965 Stretch Wrap Systems Inc.                          65 ABERDEEN ROAD                                   York                 PA    17406
29777966 Structural Plastics Corporation                    3401 Chief Dr                                      Holly                MI    48442

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 113 of 134
                                              Case 24-12480-JTD        Doc 685       Filed 01/08/25       Page 129 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                    Address                                City    State Postal Code      Country
29777967 Suddath Relocation Systems of New York, Inc.   20 Hanes Drive                                   Wayne              NJ     07470
29783753 Sudic AS Tassone Enterprises                   Runebergsgatan 8                                 Stockholm                 11345       Sweden
29783754 Sudie AB                                       Runebergsgatan G                                 Stockholm                 11345       Sweden
29783755 Sudio AB                                       Runebergsgatan 6                                 Stockholm                 11345       Sweden
29783756 Sudio AB Tassone Enterprises                   Runebergsgatan 6, 1250 Arroyo Way #320           Stockholm                 11345       Sweden
29785290 SUGARLAND PLAZA INC.                           165 SOUTH LEE ST, SUITE 100                      LABELLE            FL     33935
29785291 Suki, Inc.                                     99 Industrial Dr.                                Northampton        MA     01060
29785292 Suluta Corp                                    56 E PINE STREET, SUITE 301                      Orlando            FL     32801
29785293 Suluta Corp DBA AffiliateManager.com           2101 91st Street                                 North Bergen       NJ     07047
29785294 Suluta Corp DBA AffiliateManager.com           1126 Wilde Drive                                 Celebration        FL     34747
29785295 Sun Brothers, LLC                              2250 N. Coral Canyon Blvd, Ste. 100              Washington         UT     84780
29785296 Sun Chlorella USA                              3305 Kashiwa Street                              Torrance           CA     90505
                                                        MetroNorth Retail Center, 3344 Peachtree Road,
29785297 Sun Life Assurance Company of Canada           Suite 1200                                       Atlanta            GA    30326
                                                        C/O COLLIERS INTERNATIONAL, 2550 WEST
29785298 Sun Life Assurance Company of Canada           TYVOLA ROAD, SUITE 300                           Charlotte          NC    28277
29785299 Sun Print Management                           1101 N. Ward St.                                 Tampa              FL    33607
29785300 Sun Warrior                                    PO Box 870                                       Overton            NV    89060
29785301 Sundesa, LLC                                   284 South 700 West                               Pleasant Grove     UT    84062
29777968 SunflowerMetro, LLC                            3191‐D Airport Loop Dr.                          Costa Mesa         CA    92626
29777969 Sunfood Corporation                            1830 GILLESPIE WAY, 101                          EL CAJON           CA    92020
29777970 Sunfoods Superfoods                            1830 Gillespie Way, Suite 101                    El Cajon           CA    92020
29777971 Sunrise Technologies, Inc.                     525 Vine Street                                  Winston Salem      NC    27101
                                                        c/o Gatski Commercial Real Estate Services, 4755
29777972 Sunset Plaza, LLC & Sunset Collection, LLC     Dean Martin Drive                                Las Vegas          NV    89103
29777973 Sunshine Lake Shore Associates, LLC            c/o Milbrook Properties Ltd., 42 Bayview Ave.    Manhasset          NY    11030
29777974 Sunshine State Trading Company, Inc.           6643 NE 25 AVE                                   Portland           OR    97211
29777975 Sunsweet Growers                               901 North Walton Avenue,                         YUBA CITY          CA    95993
                                                        c/o Sterling Retail Services, Inc., 302 Datura
29777976 SUP II Red Top Plaza, LLC                      Street, Suite 100                                West Palm Beach    Fl    33401
29783734 Super Design Manufacture Co., Ltd              3rd Floor                                        Zhongshan City           528467      China


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 114 of 134
                                              Case 24-12480-JTD      Doc 685       Filed 01/08/25      Page 130 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                                 City    State Postal Code        Country
29777977 Super Nutrition                              1925 Brush St.                                   Oakland            CA     94612
29777978 Superior Building Group                      2350 SOUTH 7TH STREET, SUITE 200                 Saint Louis        MO     63104
29785302 Superior Consulting Services, LLC            350 W Burnsville Pkwy                            Burnsville         MN     55337‐4900
29785303 Supplement Safety Solutions, LLC             5312 Thompson Farm                               Bedford            MA     01730
29785304 SupplyLogic, LLC                             1400 Universal Avenue                            Kansas City        MO     64120
29785305 SupplyOne                                    90 Packaging Drive                               Weyers Cave        VA     24486
29785306 SupplyOne Weyers Cave, Inc.                  90 Packaging Drive, PO Box 126                   Weyers Cave        VA     24486
29785307 SureFed Plus, L C                            300 W. Central Texas Expressway                  Killeen            TX     76541
29785308 SureSource LLC                               20 Constitution Blvd South                       Shelton            CT     06484
29785309 Surf City Pets, LLC                          16152 Whitecap Lane                              Huntington Beach   CA     92649
29785310 Surprise TC II Holdings LLC                  2415 E. Camelback Road, Suite 100                Phoenix            AZ     85016
29785311 Surveying and Mapping, LLC                   4801 SOUTHWEST PARKWAY                           AUSTIN             TX     78735
29785312 Surya Nature                                 1327 Second Avenue                               New Hyde Park      NY     11040
                                                      c/o Slate Asset Management L.P., 121 King Street
29783728 SUSO 1 Summit Ridge, LP                      West, Suite 200                                  Toronto            ON    M5H 3T9        Canada
29785313 Sutherland Products, Inc.                    203 N 1st Ave.                                   Mayodan            NC    27027
29785314 Suuna Life Inc DBA Extreme Health USA        1249 Boulevard Way                               Walnut Creek       CA    94595
29777979 SVAP II Park North, LLC                      302 Datura Street, Suite 100                     West Palm Beach    FL    33401
                                                      c/o American Realty Advisors LLC, 515 South
29777980 SVF Riva Annapolis, LLC                      Flower Street                                    Los Angeles        CA    90071
29777981 Swamp Land Acquisitions, LLC                 PO BOX 141105                                    GAINESVILLE        FL    32614‐1105
29777982 Swan De La Rosa                              1700 Park Street, Suite# 212                     Naperville         IL    60563
29777983 Swanblossom Investment Limited Partnership   1335 Canton Road Suite D,                        Marietta           GA    30066
29777984 Sweet Harvest Foods Company                  15100 Business Parkway                           Rosemount          MN    55068
29777985 Sweet Home Pets, LLC                         1345 George Jenkins Blvd.                        Lakeland           FL    33815
29777986 Sweet Tree Holdings 1, LLC                   One Sweet Tree Lane                              Island Pond        VT    05846
29777987 sweetriot                                    131 Varick St., 930                              NEW YORK           NY    10013
                                                      c/o Garner Group, 3715 Northside Parkway, Suite
29777988 SWG‐Reynoldsburg, LLC                        4‐325                                            Atlanta            GA    30327
29777989 Swift Transportation Services, LLC           2200 South 75th Avenue                           Phoenix            AZ    85043
29785660 SWISSE WELLNESS INC                          1735 W Diveresy Pkwy,                            CHICAGO            IL    60622


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                             Page 115 of 134
                                              Case 24-12480-JTD           Doc 685       Filed 01/08/25     Page 131 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                        Address                           City      State Postal Code   Country
29785661 Switchbacks Entertainment                         11 W. Cimarron St.                            Colorado Springs    CO     80900
29785662 SWNS Media Group                                  1111 Sixth Ave #300                           San Diego           CA     92101
29785663 Swoffle, LLC.                                     252 Shadyside Ave                             Concord             MA     01742
29785664 Swole Sports Nutrition, LLC                       4100 N Powerline RD Suite Z‐3                 Pompano Beach       FL     33073
29785665 SY WALDORF INVESTMENTS LC                         1115 Broadway, 12th Floor,                    New York City       NY     10010
29785666 Sydney's Pantry, LLC                              14090 FM 2920, Ste. G551                      Tomball             TX     77377
29785667 Sylvan Bio, Inc.                                  90 Glade Drive                                Kittanning          PA     16201
29785668 Symantec                                          1621 N Kent St, #706                          Arlington           VA     22209
                                                           Austin Skyview Limited Partnership, 11940
29785669 Synergy Center, Ltd.                              Jollyville Rd, Suite 300‐S                    Austin              TX    78759
         Synergy Franchising Corp. d/b/a Jani‐King of
29785670 Columbia                                          720 Gracern Road                              Columbia            SC    29210
                                                           c/o AZT Corporation, 16600 Dallas Parkway,
29785671 T Palmdale Mkt CA, LLC                            Suite 300                                     Dallas              TX    75248
                                                           T Pittston Crossings P A, LLC, 16600 Dallas
29777990 T PITTSTON PA CROSSINGS, LLC                      Parkway, Suite 300                            Dallas              TX    75248
         T Voorhees GPL NJ, LLC, T Voorhees BER NJ, LLC,
29777991 and T Voorhees AMC NJ, LLC                        16600 Dallas Parkway, Suite 300               Dallas              TX    75248
29777992 T&C Stillwaters, Inc.                             11930 Partridge Road Court N                  Stillwater          MN    55082
29777993 T.E. Neesby, Inc.                                 9909 N. Meridian Ave.                         Fresno              CA    93720
29777994 T2M Consulting Services, Inc                      399 Campus Drive, Suite 150                   Somerset            NJ    08873
29777995 Tabib Kashi Partnership                           574 West Lancaster Avenue,                    Bryn Mawr           PA    19010
29777996 Tahiti Naturel USA                                24 Commerce Rd, UNIT 24F                      FAIRFIELD           NJ    07004
29777997 Tahoe Capital, LLC                                1410 Curtin St.                               Houston             TX    77018
29777998 TAISTech Corporation                              14841 Dallas Parkway, Suite 494               Dallas              TX    75254
29777999 TAISTech LLC                                      15601 DALLAS PKWY, SUITE 250                  Addison             TX    75001
29778000 Taiyo International, Inc.                         5960 Golden Hills Drive                       Minneapolis         MN    55416
29785315 Takeya USA Corporation                            5301 GRANT AVENUE, SUITE 400                  CLEVELAND           OH    44125
29785316 Talal Maatouk (Entity Pending)                    1211 Lavender Lane                            Foley               AL    36535
29785317 Talaria Digital                                   12400 ALCANZA DR                              Austin              TX    78739
                                                           C/O PARAGON MGMT GRP LLC, 276 POST ROAD
29785318 Talent Hub 360 LLC                                WEST , SUITE 201                              Westport            CT    06880

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                   Page 116 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25         Page 132 of 149

                                                                               Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                  Address                                  City     State Postal Code   Country
29785319 Tallwave LLC                                 4110 N. Scottsdale Rd. Suite 300                   Scottsdale          AZ     85251
29785320 Talon Professional Services                  PO BOX 6030                                        Carol Stream        IL     60197
29785321 Tango Analytics, LLC                         6225 N State Hwy. 161, Suite 300                   Irving              TX     75038
29785322 TapFwd, Inc.                                 PO BOX 909                                         Cherryville         NC     28021
29785323 Tar Hong Melamine USA Inc.                   780 S. Nogales                                     City of Industry    CA     91748
                                                      c/o Jeffrey Taratoot, 2472 Jett Ferry Road, Suite
29785324 Tara Acworth Holdings, LLC                   400 ‐ 133                                          Atlanta             GA    30338
29785325 Tax Compliance, Inc.                         13500 Evening Creek Drive N, Suite 500             San Diego           CA    92128
29785326 Tax Compliance, Inc.                         502 CHURCHMANS ROAD                                New Castle          DE    19720
29785327 Tax Matrix Technologies, LLC                 1011 Mumma Road, Suite 101                         Wormleysburg        PA    17043
29778001 TaxStream, LLC                               95 River Street, Suite 5C                          Hoboken             NJ    07030
29778002 Taylor C. Wallace of Think Healthy Group     1301 20th Street, NW, #413                         Washington          DC    20036
29778003 Tayney Store 2 L.L.C.                        8703 Black Cherry Crossing                         Katy                TX    77494
29778004 Tayney Store 3, LLC                          8703 Black Cherry Crossing                         Katy                TX    77494
29778005 Tayney Ventures, LP                          8703 Black Cherry Crossing                         Katy                TX    77494
29778006 TBK Bank, SSB d/b/a TriumphPay               12700 Park Central Drive, Suite 1700               Dallas              TX    75251
                                                      c/o Newport Capital Partners, 353 North Clark
29778007 TCB‐Elston, LC                               Street, Suite 3625                                 Chicago             IL    60654
                                                      c/o Newport Capital Partners, 353 N. Clark Street,
29778008 TCB‐Stonebrook, LLC                          Suite 3625                                         Chicago             IL    60654
29778009 Tea Forte, Inc.                              23 Bradford Street                                 Concord             MA    01742
29778010 TEA TREE THERAPY, INC                        6019 OLIVAS PARK DR, # E                           VENTURA             CA    93003
29778011 Ted Lewis (Entity Pending)                   440 Winters Ct.                                    Gridley             CA    95948
29785328 Teikametrics, LLC                            280 Summer St, 9th Floor                           Boston              MA    02210
29785329 TEKsystems, Inc.                             7437 Race Road                                     Hanover             MD    21076
29785330 TEKsystems, Inc.                             1941 BISHOP LANE, SUITE 403                        Louisville          KY    40219
                                                      Attn: Thomas Abernathy, 2055 North Brown
29785331 Telvita, LLC                                 Road, Suite 225                                    Lawrenceville       GA    30043
29785332 Temberton Analytics, Inc.                    2701 DALLAS PARKWAY, SUITE 550                     Plano               TX    75093
29785333 TEMK Investments‐ Visalia 1 LLC              1265 Martin Ave.                                   San Jose            CA    95126
29785334 Tempur‐Pedic North America, LLC              1000 Tempur Way                                    Lexington           KY    40511‐1386


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 117 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25       Page 133 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                 Address                                 City    State Postal Code       Country
29785335 Tempus Technologies, Inc.                   120 E. Seventh St.                              Auburn              IN     46706
29785336 TEN THOUSAND OLDE U.S. 20, LLC,             1428 Albon Rd                                   Holland             OH     43528
29785337 TENGA USA, Inc.                             2807 Oregon Court Unit D‐6                      Torrance            CA     90503
29785338 Tennessee Yankee, LLC                       401 Old Pleasant Grove Road, Apartment 821      Mount Juliet        TN     37122‐7315
29785339 Terra Kai Organics                          3312 157th PL SE,                               BOTHELL             WA     98012
29785340 TerraCycle US LLC                           121 New York Ave                                Trenton             NJ     08638
29778012 Terravate Beauty                            2361 Rosecrans Ave, Suite 150                   El Segundo          CA     90245
29783729 TETRAD COMPUTER APPLICATIONS INC.           Suite 318 ‐ 1788 West 5th Avenue                Vancouver           BC     V6J1P2      Canada
29778013 Texas Pet Supplies Inc.                     9672 E Balancing Rock Rd                        Scottsdale          AZ     85262
29778014 Thakur Dangal (Entity Pending)              824 Woodington Drive                            Pataskala           OH     43062
29778015 The American National Red Cross             431 18TH Street NW                              Washington          DC     20006
29778016 The Atlantic Building LLC                   2320 N. Atlantic, Suite 100                     Spokane             WA     99205
29778017 The Birds Nest Corp                         9855 Business Way                               Manassas            VA     20110
29778018 The Blind Sebastian Corporation             3471 Wheatland Road                             Bedford             VA     24523
29778019 The Bramton Company, LLC                    P. O. Box 655450                                Dallas              TX     75265‐5450
29778020 The Carlson Group, Inc.                     350 E 22nd Street                               Lombard             IL     60148
29778021 The Chill Group, Inc.                       11825 Major Street Suite 106                    Culver City         CA     90230
29778022 The Clorox Sales Company                    1221 Broadway,                                  OAKLAND             CA     94612
29785341 The Color Run, LLC                          1957 South 4800 West                            Salt Lake City      UT     84104
29785342 The Commons at Willowbroook Inc.            5910 N. Central Expressway, Suite 1200          Dallas              TX     75206
29785343 The Cookie Department, Inc.                 710 Channing Way                                Berkeley            CA     94710
                                                     c/o Schottenstein Property Group, 1798 Frebis
29785344 The Crossings at Hobart I LLC               Avenue                                          Columbus            OH    43206
29785345 The Curiosity Compass                       PO Box 630491                                   CINCINNATI          OH    45263‐0491
29785346 The Die Shop                                7302 ADAMS STREET                               Paramount           CA    90723
29785347 The Educe Group, Inc.                       7201 Wisconsin Avenue, Suite 630                Bethesda            MD    20814
29785348 The Execu|Search Group, LLC                 114 NORTH BROAD STREET                          Salem               VA    24153
29785349 The Fort Companies, LLC                     12512 Gracie Lane                               Spanish Fort        AL    36527
29785350 The Fountains at Farah, LP                  8235 Douglas Ave., Suite 900                    El Paso             TX    79901
29785351 The Gap‐US, LLC                             411 Theodore Fremd Avenue, Suite 230            Rye                 NY    10580
29785352 The Garmon Corporation dba NaturVet         27461 Via Industrial St                         Temecula            CA    92590


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                             Page 118 of 134
                                              Case 24-12480-JTD      Doc 685       Filed 01/08/25    Page 134 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                             Name                                 Address                               City    State Postal Code       Country
29783730 The Good Fats Co. LTD                        8 Market Street, Suite 600                    Toronto             ON     M5E 1M6     Canada
29785353 The Goodkind Group, LLC                      6155 Huntley Rd , Suite F                     Columbus            OH     43229
29778023 The Grocery Pup, LLC                         1401 Lavaca Street #204                       Austin              TX     78701
29778024 The Hain Celestial Group                     58 South Service Road, Suite 250              Melville            NY     11747
29778025 The Herbalist Inc.                           2106 NE 65th ST                               Seattle             WA     98115
29778026 The Hershey Co.                              117 West Napa St. Site                        Sonoma              CA     95476
29778027 The Hertz Corporation                        8501 Williams Road                            Estero              FL     33928
29778028 The Hillman Group, Inc.                      10590 Hamilton Avenue                         Cincinnati          OH     45231
29778029 The Himalaya Drug Company                    1101 Gillingham Ln.                           Sugar Land          TX     77478
29778030 The Himalayan Drug Company                   1101 Gillingham Lane                          Sugar Land          TX     77478
29778031 The Honest Company                           2700 Pennsylvania Avenue, Suite 1200          Santa Monica        CA     90404
29778032 The Hygenic Corporation                      1245 Home Ave,                                AKRON               OH     44310
29778033 The Isopure Company LLC                      195 Engineers Road                            Hauppauge           NY     11788
29785354 The J Austria Project, LLC                   10705 Seneca Spring Way                       Gaithersburg        MD     20886
29785355 The John Maxwell Company                     2170 Satellite Boulevard, Suite 195           Duluth              GA     30097
29785356 The Midas Exchange, Inc.                     825 Seventh Avenue                            New York            NY     10019
29785357 The Natural Citizen, LLC                     1108 Lavaca St, Suite 110‐186                 Austin              TX     78701
29785358 The New Primal, LLC                          100 Bucksley Lane, Unit 102                   Daniel Island       SC     29492
29785359 The Nielsen Company (US), LLC                85 Broad Street                               New York            NY     10004
29785360 The Non‐GMO Project                          1155 N State Street, Suite 502                Bellingham          WA     98225
29785361 The Non‐GMO Project                          PO Box 5606                                   Bellingham          WA     98227
29785362 The Numina Group                             P.O. Box 490                                  Fayetteville        TN     37334
29785363 The Partnering Group                         8170 Corporate Park Drive, Suite 310          Cincinnati          OH     45242
29785364 The Partnering Group, Inc.                   8170 Corporate Park Drive Suite 310           Cincinnati          OH     45242
29785365 The Philipose Group of Connecticut , LLC     1768 Chaladay Lane,                           East Meadow         NY     11554
29785366 The Pines Center, LLC                        553 East Main Street,                         Bowling Green       KY     42101
29778034 The Procter & Gamble Distributing LLC        2 P&G Plaza                                   Cincinnati          OH     45202
29783731 The PUR Company                              23 Kodiak Crescent,                           North York          ON     M3J3E5      Canada
29778035 The Quarry Center, LP                        307 Fellowship Road, Suite 300                Mount Laurel        NJ     08054
29778036 The Real Good Foods Company, LLC             6316 Tapanga Canyon Blvd, 2140                WOODLAND HILLS      CA     91367
29778037 The Rosemyr Corporation                      231 South Garnett Street,                     Henderson           NC     27536


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                             Page 119 of 134
                                              Case 24-12480-JTD          Doc 685       Filed 01/08/25      Page 135 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                     Address                              City      State Postal Code     Country
                                                        c/o The Azarian Group L.L.C, 6 Prospect Street,
29778038 The Shoppes at North Brunswick, L.L.C.         Suite 2                                         Midland Park         NJ     07432
29778039 The Shoppes   at Raceway,  LLC                 ATTN   PATTY  SCOTT,  PO  Box 933,              Evansville           IN     47706
                                                        c/o The Broadbent Company , 117 E. Washington
29778040 The Shoppes, LP                                St, Suite 300                                   Indianapolis         IN     46204
29778041 The Shubert  Organization,  Inc.               234  West  44th Street,                         New York City        NY     10036
29778042 The Taxman Corporation                         5125 Old Orchard Rd, Suite 130                  Skokie               IL     60077
                                                        Terraco, Inc., Attn: Julie Burnham, 3201 Old
29778043 The Taxman Corporation                         Glenview Rd., Suite 300                         Wilmette             IL     60091
                                                        Glenn Taxman, Much Schelist, P.C., 660 Newport
29778044 The Taxman Corporation                         Center Dr., Suite 900                           Newport Beach        CA     92660
29785367 The Tea Spot, Inc.                             4699 Nautilus Ct S., Ste. 403                   Boulder              CO     80301
29785368 The Terracon Group                             5601 S.W. 8th Street                            Miami                FL     33134
29785369 The Triple M Partnership 2, LLC                PO BOX 2550                                     VICTORIA             TX     77902‐2550
29785370 The Ultimate Life                              P.O. Box 4308                                   Santa Barbara        CA     93140
29785371 The Ultimate Software Group Inc.               2000 Ultimate Way                               Weston               FL     33326
29785372 The Uplifters' Prima, PBC                      2633 Lincoln Blvd, #224                         Santa Monica         CA     90048
                                                        c/o Rappaport Management Company, 8405
29785373 The Vienna Shopping Center Limited Partnership Greensboro Drive, 8th Floor                     McLean               VA     22102‐5121
29785374 The Weeks‐Lerman Group, LLC                    300 Harmon Meadow Blvd                          Secaucus             NJ     07094
29785375 The Whalen Corp.                               1213 Keith Road,                                Wake Forest          NC     27587
29783732 The Winning Combination USA Inc.               Unit #6 ‐ 1099 Wilkes Ave.                      Winnipeg             MB     R3P 2S2    Canada
29785376 The Wiseman Group                              2164 ASHTON AVE                                 Menlo Park           CA     94025
29785377 Theo Chocolate, Inc.                           3400 Phinney Avenue N                           Seattle              WA     98103
         Thermopylae Sciences & Technology, LLC         Intergraph Corporation Hexagon Geospatial,
29785378 Intergraph Corporation Hexagon Geospatial      1911 N. Fort Myer Dr. Suite 700                 Arlington            VA     22209
                                                        c/o THF Realty, 2127 Innerbelt Business Center
29778045 THF Clarksburg Development Two, LLC            Dr, Suite 200                                   St. Louis            MO     63114
29778046 ThinkFun, Inc.                                 1321 Cameron Street                             Alexandria           VA     22314
29778047 ThinkOperations, LLC                           3112 Windsor Rd A342                            Austin               TX     78703
29778048 thinkThin LLC                                  12211 W. Washington Blvd, Suite 120             Los Angeles          CA     90066
29778049 Thirty Three Threads, Inc.                     1330 Park Center Drive                          Vista                CA     92081

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 120 of 134
                                             Case 24-12480-JTD      Doc 685       Filed 01/08/25       Page 136 of 149

                                                                            Exhibit B
                                                                      Cure Parties Service List
                                                                     Served via First Class Mail

AddressID                            Name                                 Address                                City     State Postal Code   Country
29778050 Thomas Family Pet Supply, Inc.              37 Overbrook Road                               Painted Post        NY     14870
29778051 Thompson Brands LLC                         80 South Vine Street                            Meriden             CT     06451
29778052 ThreeJerks LLC                              300 Heron Drive,                                SWEDESBORO          NJ     08085
29778053 Threshold Enterprises LTD                   P.O Box 775191,                                 CHICAGO             IL     60677‐5191
29778054 Thrift‐Cascade Investment LLC               808 SW Alder Street, Suite 200                  Portland            OR     97205
29778055 Thunderbird Energetica, LLC                 PO BOX 684581                                   Austin              TX     78768
29785379 TIA Holdings ETY LLC                        c/o Realty Invest, 4263 Gavin Lane              Columbus            OH     43220
29785380 TIA Holdings Mill Run, LLC                  2503 East Broad Street                          Columbus            OH     43209
29785381 Tiesta Tea Company                          730 N.Fanklin Street, 620                       CHICAGO             IL     60654
29785382 Tiffin Ave 2023 LLC                         2407 Columbia Pike, Suite 200                   Arlington           VA     22204
29785383 TiLu Pets, Inc.                             1517 Lakeview Ave.                              Sylvan Lake         MI     48320
29785384 Timber Springfield Properties, LLC          1060 W State Rd. 434, Suite 156                 Longwood            FL     32750
29785385 Times Plaza Development L.P.                562 State Street                                Brooklyn            NY     11217
29785386 Timlin Properties, LLC                      6632 Telegraph Road, Suite 320                  Bloomfield Hills    MI     48301
29785387 Timmons Group                               1001 Boulders Parkway, Suite 300                Richmond            VA     23225
29785388 TKG Management, Inc                         211 N. Stadium Boulevard, Suite 201             Columbia            MO     65203
29785389 TKG Paxton Towne Center Development, L.P.   215 N. Stadium Boulevard, Suite 201             Columbia            MO     65203
29785390 TMK II Limited Partnership                  2711 Lemon Tree Lane                            Charlotte           NC     28211
                                                     C/o Prodigy Real Estate Group, 223 W. Jackson
29785391 TMO Lincolnwood AM, LLC                     Blvd.                                           Chicago             IL    60606
29778056 T‐Mobile USA, Inc.                          12920 SE 38th Street                            Bellevue            WA    98006
29778057 To Go Brands                                65 East Ave 3rd floor                           Norwalk             CT    92121
29778058 To‐Go Ware                                  743 Addison Street, Suite A                     Berkeley            CA    94710
                                                     c/o Tolson Enterprises, 7150 W. Central Ave,
29778059 Tolson Investments, LLC                     Suite 200                                       Toledo              OH    43617
29778060 Tom Graff                                   4125 Earnings Way                               New Albany          IN    47150
29778061 Toma Investments, LLC                       11801 Larkins,                                  Brighton            MI    48114
29778062 Tomar Industries, Inc.                      300 Commerce Dr.                                Freehold            NJ    07728
29778063 Tommie Copper, Inc.                         74 South Moger Avenue                           Mount Kisco         NY    10549
29778064 Tom's Of Maine                              302 Lafayette Center                            Kennebunk           ME    04043
29778065 Tone it Up, Inc.                            1110 Manhattan Avenue                           Manhattan Beach     CA    90266


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                             Page 121 of 134
                                              Case 24-12480-JTD      Doc 685        Filed 01/08/25       Page 137 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                            Name                                  Address                                  City       State Postal Code        Country
29778066 Top Secret Nutrition, LLC                    11341 Interchange Circle S.                      Miramar                FL     33025
29785392 Topical BioMedics, Inc.                      PO Box 494                                       Rhinebeck              NY     12572
29785393 Torberg Holdings, LLC                        737 Lake Shore                                   Grosse Pointe Shores   MI     48236
29785394 Total Pet Supply Depot Inc.                  9601 Humboldt Avenue South                       Bloomington            MN     55431
29785395 TPGBHF, LLC                                  2100 N Lake Eloise Drive                         Winter Haven           FL     33884
29785396 Trader Joe's Company                         PO Box 71770                                     Chicago                IL     60694‐1770
29785397 Tradesmen International, LLC                 9760 Shepard Rd                                  Macedonia              OH     44056
29785398 Training Mask LLC                            1140 Plett Rd,                                   CADILLAC               MI     49601
29785399 Trane U.S. Inc.                              19 Chapin Rd, Building B Suite 200               Pine Brook             NJ     07058
29785400 Transplace Texas, LP                         3010 Gaylord Parkway                             Frisco                 TX     75034
29785401 Tranxition Corporation                       516 SE Morrison St, Suite 242                    Portland               OR     97214
29785402 Traver Village Limited Partnership           c/o First Martin Corporation, 115 Depot Street   Ann Arbor              MI     48104
29785403 Treeco/Elwood Limited Partnership            10 E. Palisade Avenue                            Englewood              NJ     07631
29785404 Trident4, Inc.                               4885 Ketchum Court                               Granite Bay            CA     95746
29778067 Trilliant Food & Nutrition, LLC              1101 Moasis Drive                                Little Chute           WI     54140
29778068 Trimr LLC                                    230 South 500 West, Suite 245                    Salt Lake City         UT     84101

29778069 Trindle Run LLC                              Bennett Williams Realty Inc., 3528 Concord Road York                    PA    17402
29778070 Trinity Properties, LLC                      PO Box 445                                      Raymond                 ME    04071
29778071 Triple Bar Kendig Square, LLC                c/o J.C. Bar, 224 St. Charles Way, Suite 290    York                    PA    17402
29778072 Triple Leaf Tea, Inc.                        1564 Rollins Road, Suite 1                      Burlingame              CA    94010
29778073 Trixie's Treats, LLC                         9011 Sendera Dr.                                Magnolia                TX    77354
29778074 TRM Venture Real Estate, LLC                 2409 West 104th Street                          Chicago                 IL    60655
29778075 TRP Company, Inc.                            1575 Delucchi Lane, Suite 115                   Reno                    NV    89502
29778076 TRR Enterprises Inc.                         14851 South 27th Street                         Phoenix                 AZ    85048
29778077 Tru Table                                    8954 SE Bridge Road,                            HOBE SOUND              FL    33455
29778078 TRUDERMA, LLC                                8840 W. RUSSELL RD. STE. 245                    LAS VEGAS               NV    89148
29785405 TRUE NATURE GROUP INC                        13611 NE 126th Place, 200                       Kirkland                WA    98034
29783733 True North Nutrition Limited                 88 East Beaver Creek Road, Building A, Unit 1   Richmond Hill           ON    L4B 4A8        Canada
29785406 Truly Natural Marketing                      90 Main St.                                     Bradford                NH    03221



      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 122 of 134
                                             Case 24-12480-JTD      Doc 685        Filed 01/08/25       Page 138 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                     Name                                       Address                                   City   State Postal Code        Country
         Truse Plaza LLCc/o Fogelman Investment      c/o Fogelman Investment Company, 744 South
29785407 Company                                     White Station Road                                Memphis            TN    38117
                                                     c/o Schottenstein Property Group, 4300 E. Fifth
29785408 Truss Greenwood IN LLC                      Ave.                                              Columbus           OH    43219
29785409 TryBudCoLLC                                 6200 Mountain Brook Lane NW                       Atlanta            GA    30328
29785410 TSO Winchester Station, LP                  1170 Peachtree Street, Suite 2000                 Atlanta            GA    30309
                                                     c/o Rappaport Management Company, 8405
29785411 TT Mt. Airy, LLC                            Greensboro Drive, Suite 830                       Mclean             VA    22102
29783759 Tuan Hoang Anh                              13 Ly Thai To                                     Hoan Kiem                100000        Vietnam
                                                     c/o Pine Tree Commercial Realty LLC, 814
29785412 Turkey Creek Holdings, LLC                  Commerce Drive, Suite 300                         Oak Brook          IL    60523
29785413 Turnersville Landing, LP                    100 Front Street, Suite 506                       Conshohocken       PA    19428
29785414 Tuscany Town Center Management, LLC         7420 GOLDEN POND                                  ARMARILLO          TX    79121
29785415 Tuskatella LLC                              P.O. Box 5544,                                    Orange             CA    92863
29785416 TVS & Associates (Charleston), LLC          1620 Scott Avenue                                 Charlotte          NC    28203
29778079 Twin Holdings Corp.                         10547 Meridian Place Northeast                    Lake Stevens       WA    98258
29778080 Two Nuts LP et al. c/o Midwood              430 Park Ave., 2nd Floor                          New York City      NY    10022
29778081 Tyler Broadway/Centennial LP                2525 McKinnon Street, Suite 710                   Dallas             TX    75201
29778082 Tyrone Enterprises, LLC                     5576 Bridgetown Road                              Cincinnati         OH    45248
29778083 U.S. Bank National Association              550 South Tryon Street 14th Floor                 Charlotte          NC    28202
29778084 U.S. Doctors' Clinical                      15568 Brookhurst Street STE 374                   Westminster        CA    92683
29778085 UAS Laboratories                            555 N 72nd Avenue,                                WAUSAU             WI    54401
29778086 UCL Development, LLC                        1725 S 94th Street                                Omaha              NE    68124
29778087 UE Gateway Center LLC                       210 Route 4 East                                  Paramus            NJ    07652
29778088 UE Tonnelle Commons LLC                     210 Route 4 East,                                 Paramus            NJ    07652
29778089 UKG Inc.                                    900 Chelmsford St                                 Lowell             MA    01851
29785417 Ultima Health Products, Inc.                PO Box 444                                        Southampton        NY    11969
29785418 Ultimate Nutrition, Inc.                    PO BOX 643, 21 Hyde Road                          Farmington         CT    06032
29785419 Ultimate Superfoods, Inc.                   5455 Endeavour Court                              Moorpark           CA    93021
29785420 Ultra Laboratories, Inc.                    20611 Belshaw Ave.                                Carson             CA    90746
29785421 Ultralab Nutrition, Inc.                    3100 NW Boca Raton Blvd. #213                     Boca Raton         FL    33431


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 123 of 134
                                              Case 24-12480-JTD      Doc 685        Filed 01/08/25     Page 139 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                             Address                                   City     State Postal Code   Country
29785422 Unforgettable Pets Corp.                     217 Copperwood Loop                             Conway             SC     29526‐5036
                                                      c/o DLC Management Corp., 565 Taxter Road,
29785423 Union Consumer Improvements, LLC             Suite 400                                       Elmsford           NY    10523
         Union of Orthodox Jewish Congregations of
29785424 America                                      11 Broadway, 13th Floor                         New York           NY    10004
29785425 Unique Petz Treatz, LLC                      10 West 33rd Street                             New York           NY    10001
29785426 United Laboratories Manufacturing, LLC       1541 Champion Drive                             Carrollton         TX    75006
29785427 United Natural Foods, Inc.                   313 Iron Horse Way                              Providence         RI    02908
29785428 UNITED PARCEL SERVICE                        PO BOX 650116                                   DALLAS             TX    75265‐0116
29785429 United Parcel Service, Inc.                  643 W 43rd St.                                  New York           NY    10036
29778090 Unitrex Ltd.                                 5060 Taylor Rd.                                 Cleveland          OH    44128
29778091 Universal Biosciences                        500 Wall Street,                                GLENDALE HEIGHTS   IL    60139
29778092 Universal Nutrition                          3 Terminal Road                                 New Brunswick      NJ    08901
29778093 Universal Park                               5 River Park Place West, Suite 203              Fresno             CA    93720
29778094 University of Phoenix, Inc.                  4025 South Riverpoint Parkway                   Phoenix            AZ    85040

29778095 University Plaza Associates, LLC             c/o Nigro Companies, 20 Corporate Woods Blvd.   Albany             NY    12211
29778096 Unleashed Brands, LLC                        2350 Airport Freeway, Suite 505                 Bedford            TX    76022
29778097 UpSpring, Ltd.                               4209 South Industrial Dr. Suite 200             Austin             TX    78744
29778098 Upstream Commerce Inc.                       228 Park Ave S. #89632                          New York           NY    10003‐1502
         Upstream Commerce
29778099 Client                                       Client, 228 Park Ave S. #89632                  New York           NY    10003‐1502
29778100 UPTIME Energy, Inc.                          7930 Alabama Ave                                Canoga Park        CA    91304
29785430 UR Energy, Inc.                              210 Clay Avenue, Suite 380                      Lyndhurst          NJ    07071
29785431 Urban Edge Properties LP                     210 Route 4 East,                               Paramus            NJ    07652
29785432 Urban Moonshine, Inc.                        1 Mill Street Suite 110                         Burlington         VT    05401
29785433 US Pet Goods LLC                             3535 Inland Empire Blvd.                        Ontario            CA    91764
29785434 US Retail, Inc.                              17863 170th Avenue, Suite 101                   Spring Lake        MI    49456
29785435 USA Truck, Inc.                              3200 Industrial Park Rd.                        Van Buren          AR    72956
29785436 USPG PORTFOLIO FIVE LLC                      PO BOX 64‐3906                                  Cincinnati         OH    45264
29785437 USPlabs, LLC                                 10761 King William Drive                        Dallas             TX    75220


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 124 of 134
                                              Case 24-12480-JTD           Doc 685       Filed 01/08/25     Page 140 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                       Address                               City    State Postal Code    Country
29785438 USR Tennessee, LLC                                17863 170th Avenue, Suite 101                 Spring Lake          MI     49456
29785439 USR Virginia, LLC                                 17863 170th Avenue, Suite 101                 Spring Lake          MI     49456
29785440 USRH JV3, LLC                                     17863 170th Avenue, Suite 101                 Spring Lake          MI     49456
29785441 Utrition, LLC                                     247 State Route 12                            Flemington           NJ     08822
29785442 V.S. Royal Jelly/Honey Farm Inc                   2774 N 4351 Road                              Sheridan             IL     60551
                                                           Virginia Management Entity LLC as Managing
29778101 VA C 12266 Jefferson, LLC                         Agent, 4910 W. 1st Street                     Los Angeles          CA    90004
29778102 VAA Improvements, LLC                             565 Taxter Road,                              Elmsford             NY    10523
29778103 Val Vasilet Vital Products LLC                    515 27th St E. Suite 7                        Bradenton            FL    34208
29778104 VALASSIS COMMUNICATIONS, INC.                     275 7th Ave                                   New York             NY    10018
29778105 Valassis Direct Mail, Inc                         PO Box 7678                                   San Francisco        CA    94120
29778106 Valassis Direct Mail, Inc.                        PO BOX 200324                                 Dallas               TX    75320‐0324
29778107 Valley Properties, Inc.                           875 East Street                               Tewksbury            MA    01876
29778108 VALLEY STREAM GREEN ACRES                         2034 Green Acres Mall                         Valley Stream        NY    11581
29776540 Valsoft Corporation Inc dba GbBIS                 7405 Rte Transcanadienne, Suite 100           Montreal             QC    H4T 1Z2    Canada
29778109 Vann Drive Partners                               1001 Greystone Square,                        Jackson              TN    38305
29778110 Vantage One Tax Solutions, Inc.                   6310 LBJ Freeway, STE. 208                    Dallas               TX    75240
29778111 Vantage One Tax Solutions, Inc.                   6310 LBJ Fwy, Ste. 116                        Stirling             TX    75240
29785443 VASWANI                                           75 Carter Drive                               Edison               NJ    08817
29785444 Vaswani Inc                                       75 CARTER DRIVE                               Edison               NJ    08817
29785445 Vatic Outsourcing, LLC                            1827 Powers Ferry Road                        Atlanta              GA    30339
29785446 VB Beauty Inc.                                    12801 Commonwealth Drive Suite #2             Momence              FL    33913
29785447 VBNET Investments I, LLC                          33478 US Highway 19 North,                    Palm Harbor          FL    34684
29785448 VDF FutureCeuticals, Inc.                         2692 N. State Rt. 1‐17                        Secaucus             IL    60954
29785449 VDF FutureCeuticals, Inc.                         300 Harmon Meadow Blvd.                       Momence              NJ    07094
29785450 VDF FutureCeuticals, Inc.                         2692 N. State Rt. 1‐17                        Momence              IL    60954
         Vector Intelligent Solutions, LLC, d/b/a Vector
29785451 Security Networks                                 2000 Ericsson Dr                              Warrendale           PA    15086
29785452 Vector Security, Inc.                             2000 Ericsson Dr                              Warrendale           PA    15086
29785453 Vector Security, Inc.                             2000 Ericsson Drive, Suite 250                Warrendale           PA    15086
29785454 VEI Manager LLC                                   605 South Eden Street, Suite 250              Baltimore            MD    21231


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 125 of 134
                                              Case 24-12480-JTD         Doc 685        Filed 01/08/25        Page 141 of 149

                                                                                 Exhibit B
                                                                           Cure Parties Service List
                                                                          Served via First Class Mail

AddressID                             Name                                  Address                                      City    State Postal Code         Country
29785455 Velosio, LLC                                    5747 Perimeter Drive, Suite 200                   Dublin               OH     43017
                                                         c/o Robertson Properties Group, 120 North
29778112 Ventura Gateway LLC                             Robertson Boulevard, 3rd Floor                    Los Angeles          CA    90048
         Ventura Petit LLC and La Cienga Shopping Center
29778113 Development LLC                                 2121 Avenue of the Stars, Ste. 1100               Los Angeles          CA    90067
29778114 Veolia ES Technical Solutions, L.L.C            1301 Bellwood Road                                Portsmouth           VA    23237‐6980
29778115 Vera Roasting Company, Inc.                     75 Congress St, STE L05,                          MINNEAPOLIS          NH    03801
                                                         VEREIT c/o Realty Income Corporation, 11995 El
29778116 VEREIT Real Estate, L.P.                        Camino Real                                       San Diego            CA    92130

29778117 VEREIT Real Estate, L.P.                        c/o VEREIT, Inc., 2325 E. Camelback Rd., 9th Floor Boston              MA    02110

29778118 VEREIT Real Estate, L.P.                        c/o VEREIT, Inc., 2325 E. Camelback Rd., 9th Floor Phoenix             AZ    85016
29778119 Veritiv Corporation                             2401 Dabney Road                                   Los Angeles         VA    23139
29778120 Verizon Business Network Services Inc.          4240 Blue Ridge Blvd, Suite 201                    Weymouth            MO    64133
29778121 VERO BEACH GRAND OAKS 2 LLC                     500 Skokie Blvd                                    Northbrook          IL    60062
29778122 Vero Beach Investment Group III                 701 Devonshite Drive                               Champaign           IL    61820
29785456 Vertex, Inc.                                    2301 Renaissance Blvd, Suite 200                   Newport Beach       PA    19406
29785457 Vertex, Inc.                                    608 S. Vine Street                                 Berwyn              IN    46241
29785458 Vestiage, Inc.                                  2901 W. Coast Highway, Suite 90                    SAN LUIS OBISPO     CA    92663
29785459 VF9 MATT2 LLC                                   2330 Ponce de Leon Blvd.                           Miami               FL    33134
29785460 VH Nutrition                                    51 Zaca Lane                                       San Luis Obispo     CA    93401
                                                         120 WEST WASHINGTON STREET, SUITE 2058,
29785461 ViaVid Broadcasting                             103                                                SHELTON             NC    27856
29785462 Vicente Sederberg LLP                           455 SHERMAN STREET, SUITE 390                      Irvine              CO    80203
                                                         GD Commercial Real Estate Inc., 1381 McCarthy
29785463 Victory Village, LLC                            Blvd                                               Milpitas            CA    95035
29785464 Vida Lifescience, LLC                           16691 Noyes Avenue                                 Asuncion            CA    92606
29783746 VIGOR S.A.                                      Teodoro S. Mongelos 3373                           Asuncion                  1228           Paraguay
29783747 VIGOR S.A.                                      Teodoro S. Mongelos 3373                           Asuncion                                 Paraguay
                                                         c/o Neyer Management, 3927 Brotherton Road,
29785465 Village at the Mall Holdings LLC                Suite 200                                          Cincinnati          OH    45209


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                 Page 126 of 134
                                              Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 142 of 149

                                                                              Exhibit B
                                                                        Cure Parties Service List
                                                                       Served via First Class Mail

AddressID                             Name                                   Address                                 City     State Postal Code        Country
                                                       c/o Phillips Edison & Company, 11501 Northlake
29785466 VILLAGE MOORESVILLE STATION LLC               Drive                                            Cincinnati            OH    45249
                                                       c/o Phillips Edison & Company, Attn: Lease
                                                       Administration Department , 11501 Northlake
29785467 VILLAGE MOORESVILLE STATION LLC               Drive                                            Cincinnati            OH    45249
29778123 Vindicia Inc.                                 400 Concar Dr. 2nd Floor                         Salina                CA    94402
29778124 Violet’s Pet Domain, LLC                      208 St. James Avenue, Suite B                    Goose Creek           SC    29445
29778125 Vireo Systems, Inc.                           305 Williams Avenue                              Framingham            TN    37115
29778126 Virgin Pulse, Inc.                            139 Newbury Street                               San Diego             MA    01701
29778127 Virginia Center Virginia Associates, L.L.C.   1620 Scott Avenue,                               Charlotte             NC    28203
29778128 Vishal Sudera (Entity Pending)                1419 Looomus Drive                               Watertown             NY    13601
29778129 Vitakraft Sun Seed, Inc.                      20584 Long Judson Road                           Weston                OH    43569
29778130 Vital Pharmaceuticals                         226 Plymouth Drive                               Weston                OH    44140
29778131 Vital Pharmaceuticals, Inc.                   1600 North Park Drive                            Palm Harbor           FL    33326
29778132 Vital Proteins LLC                            939 W Fulton Market,                             CHICAGO               IL    60607
29778133 Vital Proteins LLC                            939 W Fulton Market,                             WATSONVILLE           IL    60607
29778134 Vitalize Labs LLC DBA EBOOST                  560 Broadway Ste 606                             New York              NY    10012
29776541 VitalSines International Inc                  1492 Marshwood Place                             Fort Lauderdale       ON    L5J 4J6       Canada
29785468 Vitamin and Supplement Wholesalers Inc.       3600 W. Commercial Blvd                          Fort Lauderdale       FL    33309
29785469 Vitamin and Supplement Wholesalers, Inc.      3600 W. Commercial Blvd.                         Los Angeles           FL    33309
29785470 Vitamin Friends, LLC                          5300 Beethoven Street                            Los Angeles           CA    90066
                                                       c/o Baldwin Real Estate Corporation, 1950
29785471 VITAMIN SCIENCE, INC                          Brighton Henrietta Townline Road                 Huntington            NY    14623
29785472 Vitamin Science, Inc.                         755 Park Avenue, Suite 100                       North Bergen          NY    11743
29785473 Vitamin Shoppe Industries Inc.                2101 91st Street,                                Los Angeles           NJ    07047
29785474 Vitamin Well USA LLC                          3865 Grand View Blvd                             Panama                CA    90066
                                                       Corregimiento de BELLA VISTA, Urbanization
                                                       MARBELLA, Edificio TORRE MMG, Apartamento
29776561 Vitaminas Y Suplementos, S.A.                 16, Mableton, Distrito de PANAMA Calle 53        Provincia de PANAMA                       Panama
29785475 Vitamins International Inc.                   6721 Discovery Blvd,                             TUALATIN              GA    30126
29785476 Vitanica                                      PO Box 1299                                      Toronto               OR    97062



       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                              Page 127 of 134
                                               Case 24-12480-JTD            Doc 685       Filed 01/08/25       Page 143 of 149

                                                                                    Exhibit B
                                                                              Cure Parties Service List
                                                                             Served via First Class Mail

AddressID                             Name                                        Address                                City    State Postal Code        Country
                                                             100 King Street West, Suite 6100, 1 First:
29776542 Vitapath Canada Limited                             Canadian Place                                   North Bergen       ON    M5X 1B8       Canada
29785477 VitaPath, Inc.                                      2101 91st Street                                 Dana Point         NJ    07047
29785478 Vitargo Global Sciences, LLC                        32565 B Golden Lantern St PMB 232, Bella Vista Santo Domingo        CA    92629
29783740 Vitasalud                                           Avenida Nuñez De Caceres Esq. Sarasota           Cornwall                            Dominican Republic
29776543 VIVO BRAND MANAGEMENT INC.                          830 Campbell, Unit 2, #1614                      New York           ON    K6H 6L7    Canada
29785479 Volt Workforce Solutions                            2401 N. Glassell Street,                         SCOTTS VALLEY      CA    92865
29778135 VORESNOLD ENTERPRISES LTD                           23 Janis Way,                                    NEW YORK           CA    95066
29776544 VS Camelback LLC                                    1101‐3557 Sawmill Crescent                       Vancouver          BC    V5SOE2     Canada
29778136 VS Direct, Inc.                                     2109 91st Street                                 Wilmington         NJ    07047
29778137 VS Queen Creek, LLC                                 945 East Playa Del Norte, Unit 3026              Hinesburg          AZ    85281
29778138 W. B. MASON CO INC                                  PO BOX 981101                                    Secaucus           MA    02298
29778139 W.B. Mason                                          300 Harmon Meadow Blvd                           Chicago            NJ    07094
29778140 W.B. Mason                                          Lockbox 735178, PO Box 735178                    Gilsum             IL    60673‐5178
29778141 W/S Asset Management, Inc.                           33 Boyleston Street, Suite 3000                 Chestnut Hill      MA    02467
                                                             Goulston & Storrs, P.C., Attn: W/S Stoneham, 400
29778142 W/S Asset Management, Inc.                          Atlantic Avenue                                  Boston             MA    02110
29778143 Wagging Tails, LLC                                  18336 Santa Belinda Circle                       Fountain Valley    CA    92708
29778144 Wagsalot, LLC                                       61 Boxwood Lane                                  Dover              NH    03820
29778145 WaJao Inc.                                          2601 Ocean Park Blvd. Ste 104                    Mission Viejo      CA    90405
29778146 Wakunaga of America Co., Ltd.                       440 Wheelers Farm Rd, Suite 302                  Mission Viejo      CT    06461
29785480 WALDEN FARMS, INC.                                  1209 W. ST. GEORGE AVE.                          Hanson             NJ    07036
29785481 Walmart Inc.                                        702 SW 8th Street                                San Bruno          AR    72716
29785482 Wal‐Mart.com USA, LLC                               850 Cherry Avenue                                San Fruno          CA    94066
            Walt Whitman Road, LLC sucessor in interest to
29785483 Gerald Kessler                                      C/o Natural Organics Inc., 548 Broadhollow Road New York City       NY    11747
29785484 WAOP LLC                                            721 Boardman‐Poland Road,                       Youngstown          OH    44512
29785485 Ware Manufacturing Inc.                             1439 S 40th Ave                                 Phoenix             AZ    85009

29785486 Warehouse Solutions Inc. (DBA Intelligent Audit) 365 West Passaic Street                            Rochelle Park       NJ    07662

29785487 Warehouse Solutions Inc. d/b/a Intelligent Audit 365 West Passaic Street, Suite 455                 Fairview Heights    NJ    07662

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                     Page 128 of 134
                                               Case 24-12480-JTD       Doc 685       Filed 01/08/25        Page 144 of 149

                                                                                Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                  Address                                   City    State Postal Code   Country
29785488 Warehouse Solutions, Inc./Intelligent Audit    29274 NETWORK PLACE                              Abbott              IL     60673‐1293
29785489 Warren Services, Inc.                          P. O. Box 35796,                                 WINONA              VA     23235
                                                        c/o Waters Retail Group, 200 Old Forge Lane,
29785490 Warwick Devco, LP                              Suite 201                                        Kennett Square      PA    19348
29785491 Watchung UE LLC                                210 Route 4 East,                                Paramus             NJ    07652
29778147 Watkins Incorporated                           150 LIBERTY STREET                               Laguna Hills        MN    55987
                                                        c/o Omega Real Estate Management, 6151
29778148 Wayne Towne Enterprises, Ltd.                  Wilson Mills Road, Suite 100                     Highland Heights    OH    44143
         WBR 27810 Chagrin II, LLC, WRB 27810 Chagrin
29778149 III, LLC & RRR Ohio, LLC                       2400 Chagrn Blvd., Suite 100                     Chagrin Falls       OH    44022
                                                        c/o Greenberg Gibbons, 3904 Boston St., Suite
29778150 WCS PROPERTIES BUSINESS TRUST                  402                                              Baltimore           MD    21224
29778151 WDG Dallas, LLC and JSE Dallas, LLC            c/o Weitzman, 3102 Maple Avenue, Suite 500       Dallas              TX    75201
29778152 WdR Investments, LLC                           6 Stone Chimney Drive                            Wildwood            MO    63038
29778153 We Heart Pets II, LLC                          18184 Shinniecock Hills Place                    Leesburg            VA    20176
29778154 We Heart Pets, LLC                             18184 Shinniecock Hills Place                    Leesburg            VA    20176
29778155 Weber Distribution, LLC                        13530 Rosecrans Avenue                           Fontana             CA    90670
29778156 Weber Group Pets, LLC                          4277 Murfreesboro Rd.                            Franklin            TN    37067
29778157 WEBER LOGISTICS, LLC                           13265 Valley Blvd.,                              MALVERN             CA    92335
29785492 WebNoz Pets, Inc.                              4277 Murfreesboro Rd.                            Franklin            TN    37067
29785493 Webster Bank                                    145 Bank Street                                 Waterbury           CT    06702
29785494 Wedderspoon Organic                            334 Central Ave, Suite 215                       Scottsdale          PA    19355
29785495 Wee Pets 1, LLC                                118 Galvin Circle                                Kennett Square      PA    19348
29785496 Wee Pets 2, LLC                                118 Galvin Circle                                Kennett Square      PA    19348
                                                        Attn: Senior VP ‐ Real Estate & Development,
29785497 Wegmans Food Markets, Inc.                     1500 Brooks Ave., Box 30844                      New York            NY    14603
                                                        Attn: Senior VP, Real Estate Development, 1500
29785498 Wegmans Food Markets, Inc.                     Brooks Avenue, P.O. Box 30844                    Rochester           NY    14603‐0844
                                                        c/o Kimco Realty Corporation, 500 North
29785499 Weingarten Northcross JV                       Broadway, Suite 201                              Jericho             NY    11753
29785500 Wellements LLC                                 8901 E. Pima Center Parkway                      Tempe               AZ    85258
29785501 Wellements LLC                                 8901 E. Pima Center Parkway, Suite 215           Scottsdale          AZ    85258

       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                Page 129 of 134
                                             Case 24-12480-JTD      Doc 685        Filed 01/08/25       Page 145 of 149

                                                                             Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                  Address                                City     State Postal Code           Country
29785502 Wellgenix, LLC                              118 W. Julie Dr                                   Corona             AZ     85283
                                                     c/o Carlyle Management Corp, 5355 Town
29785503 Welling Realty, LLC                         Center Road, Suite 430                            Boca Raton         FL    33486
29778158 Wellington Foods, Inc.                      1930 California Avenue                            Corona             CA    92881
29778159 Wellnext LLC                                1301 Sawgrass Corporate Parkway                   New Albany         FL    33323
29778160 Wells Fargo Financial Leasing, Inc.         800 Walnut                                        Des Moines         IA    50309
29778161 Wells Property Number Five, LLC             PO Box 30067,                                     Charlotte          NC    28230
29783735 Wenzhou Yuanfei Pet Toy Products Co; Ltd.   No.1 Chongle Road                                 Zhejiang                 325405         China
29778162 Wess Hottenstein                            2101 91st St.                                     Phoenix            NJ    07047
                                                     121 Hottensteins Hill Road, Att: Larisa Sukher,
29778163 Wess Hottenstein                            Tax Manager                                       North Bergen       PA    18833
29778164 West Orlando Pets, LLC                      2502 Lake Debra Drive, Apartment 304              Orlando            FL    32835
29778165 WestBay Plaza, LLC                          c/o Carter Properties, LLC, 13 West Hanna Lane Bratenahl             OH    44108
29778166 Westech Recyclers                           220 S. 9th St. Suite 400B,                        CASTRO VALLEY      AZ    85034
                                                     c/o The Kroenke Group, 211 N. Stadium Blvd.,
29778167 Western Skies Management, Inc.              Suite 201                                         Columbia           MO    65103
29778168 Westgate Marketplace Developers, LLC        7725 W. Reno Ave., Suite 398                      Oklahoma City      OK    73127
29785504 Wetmore Plaza Shops, LLC                    6298 E. Grant Road, Suite 100                     Tucson             AZ    85712
                                                     Laurie Wheatland Trustee for the Wheatland
29785505 Wheatland Family Trust                      Family Trust, 2802 Timmons Lane, Suite 22025 Houston                 TX    77027
29785506 Whirlpool Corporation                       553 Benson Road                                   Benton Harbor      MI    49022
                                                     c/o Corporation Service Company, 251 Little Falls
29785507 Whiskers & Tails, LLC                       Drive                                             Wilmington         DE    19808
29785508 White Cloud Nutrition LLC                   PMB 2599, D                                       OGDEN              CA    94546
29785509 White Egret                                 950 West Kershaw                                  Sugar Land         UT    84401
29785510 Whitestone REIT                             c/o Whitestone REIT, 2600 South Gessner Rd        Houston            TX    77063
29785511 Wholesome Sweeteners, Inc.                  8016 Highway 90A, Flr. 17                         New York           TX    77478
29785512 WIDEN ENTERPRISES, INC.                     6911 Mangrove Lane                                Madison            WI    53713
                                                     c/o The Widewaters Group, 5845 Widewaters
29785513 Widewaters Country Squire Company, LLC      Parkway, Suite 100                                East Syracuse      NY    13057
29785514 Wig Properties, LLC‐LKPL                    4811 ‐ 134th Place Southeast,                     Bellevue           WA    98006
29785515 Wiginton Fire Systems                       14620 NW 60th Ave                                 Tualatin           FL    33014

      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                              Page 130 of 134
                                              Case 24-12480-JTD           Doc 685       Filed 01/08/25        Page 146 of 149

                                                                                  Exhibit B
                                                                            Cure Parties Service List
                                                                           Served via First Class Mail

AddressID                             Name                                     Address                                   City    State Postal Code        Country
29778169 Wildcat Pets NC, LLC                             9300 Shelbyville Rd., Suite 204                   Louisville          KY     40222
29778170 Wildpack Beverage                                1301 Edison Highway, Suite A2                     Coshocton           MD     21213
29778171 William J. Swanson Trustee of the                Missing                                           Ketchum             ID     83340
29778172 Wilmann Companies                                9601 Katy Freeway, Suite 480                      Houston             TX     77024

29778173 Wilshire Yale Enterprises c/o The Eberly Company 8383 Wilshire Blvd. Suite 906,                    Beverly Hills       CA    90211
29778174 Wilson Amcap II, LLC                             c/o AmCap Inc., 333 Ludlow Street, 8th Floor      Stamford            CT    06902
29778175 Wilson PSP, LLC                                  4135 W 9860 North Street                          Cedar Hills         UT    84062
29778176 Wilson Wags   & Whiskers,  LLC                   28419 Wild Mustang Lane                           Fulshear            TX    77441
29778177 Wilson, Inc.                                     14240 Imboden Rd.                                 Hudson              CO    80642
29778178 Windecker   Construction LLC                     2 ELIZABETH LANE                                  North Bergen        NJ    07430
29778179 Windecker Contruction LLC                        2101 91st Street                                  Fairlawn            NJ    07047
29785516 Windecker   LLC                                  39‐30 Sycamore Drive                              Fairlawn            NJ    07410
29785517 Windecker LLC.                                   39‐30 Sycamore Drive                              West Caldwell       NJ    07410
                                                          c/o McCrea Property Group, 9102 N Meridian
29785518 Windsong Indianapolis, LLC                       Street, Suite 230                                 Indianapolis        IN    46260
29785519 Windsor Marketing Group                          100 Marketing Drive                               Suffield            CT    06078
                                                          Flat/ RM B BLK 8 10/F Sea Crest Villa Phase 318
29783745 Winner Field Development Limited                 Castle Peak Road, , 999077                                                                 Hong Kong
29785520 Winston I & II, LLC                              P.O. Box 20429,                                   Winston‐Salem       NC    27120
29785521 Winter Wyman Contract Staffing                   880 Winter Street                                 Fort Lee            MA    02451

29785522 Wiregrass HoldCo, LLC                            c/o TriGate Capital, 1717 Main Street, Suite 2600 Dallas              TX    75201
29785523 Wisconsin Pets, LLC                              2295 Spring Rose Road                             Verona              WI    53593
29785524 Wisconsin Specialty Protein, LLC                 1605 John Street, Suite 201A,                     GILBERT             NJ    07024
29785525 Wisdom Natural Brands                            1203 W. SanPedro Street                           Boulder             AZ    85233
29785526 Wishire Plaza Limited Partnership                3333 Richmond Road, Suite 320                     Beachwood           OH    44122
29785527 WKA Fairfax LLC                                  2213 Concord Pike                                 Wilmington          DE    19803
29785528 WLM‐CB LLC                                       370 E. Rowland Avenue,                            Covina              CA    91723
29778180 WNW Pet, LLC                                     1345 George Jenkins Blvd.                         Lakeland            FL    33815
29778181 Wochit, Inc.                                     12 East 33rd Street, 4th Floor                    New York            NY    10016


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                                  Page 131 of 134
                                                Case 24-12480-JTD     Doc 685        Filed 01/08/25       Page 147 of 149

                                                                               Exhibit B
                                                                         Cure Parties Service List
                                                                        Served via First Class Mail

AddressID                             Name                                   Address                                  City    State Postal Code           Country
29778182 Woman's Day Magazine                           300 West 57th Street                            Tallahassee          NY     10019
29778183 WOMEN'S BEST USA, LLC                          215 S. Monroe Street, Suite 200                 Bryan                FL     32301
29778184 Wood Fayette Center, LLC                       321 Henry Street                                Lexington            KY     40508
29778185 Woodbolt Distribution, LLC                     715 N. Main Street                              Galena               TX     77803
                                                        Unit 5b Cayman Bay, SCOTTSDALE SEVILLE SUITE
29778186 Workplace Environments                         103K                                            SCOTTSDALE           AZ    85253
29778187 World Nutrition Inc                            200 % N. SCOTTSPACE RD                          Longwood             AZ    85253
29778188 World Sports Expo                              1920 Booth Circle, Suite 100, SUITE 100         Tampa                FL    32750
29778189 World Triathlon Corporation                    3407 W. DR. MARTIN LUTHER KING JR. BLVD         West Mifflin         FL    33607
29778190 World Wide Imports Enterprises, Inc.           5315 NW 10th Terrace                            Fort Lauderdale      FL    33309
29785529 WorQFlow Solutions                             650 California St                               San Francisco        CA    94108
                                                        c/o wpg, 4900 East Dublin Granville Road, 4th
29785530 WPG Wolf Ranch, LLC                            Floor                                           Westerville          OH    43081
29785531 WRCT Investments, LLC                          1036 Glendalyn Circle                           Spartanburg          SC    29302
                                                        c/o Kimco Realty Corporation, 500 North
29785532 WRI Trautmann, LP                              Broadway, Suite 201                             Jericho              NY    11753
29785533 Wrike, Inc.                                    9171 Towne Center Drive                         San Diego            CA    82122
29785534 WSG Arundel One LLC                             75 Hook Road,                                  Bayonne              NJ    07002
29785535 WW International, Inc.                         675 Avenue of the Americas                      New York             NY    10023
                                                        c/o Stonewood Investments, 18484 Preston
29785536 Wyndham Southlake Retail, LLC                  Road, Suite 208                                 Dallas               TX    75252
29785537 Xlear                                          60 S Market Street Suite 310, PO BOX 1421       American Fork        CA    95113
29785538 Xlear Inc.                                     723 S. Auto Mall Drive, Suite 400               Charlotte            UT    84003
29785539 XNZ Pets, LLC                                  10010 NW 27th Terrace                           Doral                FL    33172
29785540 XPO Logistics, LLC                             13777 Ballantyne Corporate PL                   MIAMI GARDENS        NC    28277
29785541 Yardstik, Inc.                                 4600 West 77th Street, Suite 200                Ashland              MN    55435
29778191 Yerba Prima Inc.                               PO BOX 20083                                    SAN FRANSVERS        AL    35402
29778192 YES 18 INC                                     655 4THE 2ND FLOOR                              San Francisco        CA    94107
29778193 Yeshaira Robles                                709 Guido Dr                                    Middletown           DE    19709
29778194 Yieldmo, Inc.                                  218 W. 18th St.                                 Santa Monica         NY    10011
29783736 Yong Zhen Rubber & Plastic Co., Ltd.           No. 2 Hong Teng Road                                                       214403         China


       In re: Franchise Group, Inc., et al.
       Case No. 24‐12480 (JTD)                                               Page 132 of 134
                                             Case 24-12480-JTD     Doc 685       Filed 01/08/25     Page 148 of 149

                                                                           Exhibit B
                                                                     Cure Parties Service List
                                                                    Served via First Class Mail

AddressID                            Name                                  Address                           City       State Postal Code   Country
                                                     c/o ACF Property Management Inc., 12411
29778195 Yosemite Park Shopping Center 05 A LLC      Ventura Boulevard                            Studio City           CA    91604
29778196 Yottaa, Inc.                                12725 Levan Road                             Miramar               MI    48150
29778197 You Fresh Naturals                          3551 WINDSOR SPRINGS ROAD 38                 Monterey Park         GA    30815
29778198 YouBar Inc                                  597 Monterey Pass Rd                         Las Vegas             CA    91754
29778199 YUP Brands LLC                              3960 Howard Hughes Pkwy Suite 500            Draper                NV    89169
29778200 Zarbee's Naturals                           11650 South State Street #101                Chesterfield          UT    84020
29778201 Zeavision                                   680‐F Crown Industrial Court, APT #2         Woodbridge            MO    63005
29785542 Zebra Retail Solutions, LLC                 300 Harmon Meadow Blvd,                      EDISON                NJ    07094
29785543 ZEG Ventures, LLC                           3331 Severn Ave., Suite 200                  Metairie              LA    70002
29785544 Zeikos                                      86 Northfield Ave.                           San Bruno             NJ    08837
29785545 Zenrin USA, Inc.                            851 Traeger Avenue Suite 210, Suite 580      Burlingame            CA    94066
29785546 Zephyr, LLC                                 7162 Reading Road                            Cincinnati            OH    45327
29785547 ZeroLag Communications, Inc.                289 South Robertson Blvd #441                Commerce              CA    90211
29785548 Zhena's Gypsy Tea                           6041 Triangle Dr.                            Park City             CA    90040
29785549 Zhong Bi (Entity Pending)                   20525 N Plumwood Drive                       Kildeer               IL    60047
29785550 Zhou, Inc.                                  1777 Sun Peak Drive                          Akron                 UT    84098
29785551 Zing Anything LLC                           1760 Wadsworth Rd,                           MIDDLETOWN            OH    44320
29785552 Zint LLC                                    334 County Route 49                          South San Francisco   NY    10940
29785553 Zionhealth Incorporated                     430 E Grand Avenue                           Mill Creek            CA    94080
29785554 Zipfizz Corporation                         18303 Bothell‐Everett Hwy, Suite 140,        WASHINGTON            WA    98012
29778202 ZippyApp                                    440 N Wolfe Rd # Ms177                       Sunnyvale             CA    94085
29778203 ZipRecruiter Inc.                           604 Arizona Avenue                           Santa Monica          CA    90401
29778204 Zmags                                       332 Congress St                              Boston                MA    02210
29778205 Zmags Corporation                           332 Congress St                              Boston                MA    02210
29778206 ZOA Energy LLC                              5301 Wisconsin Ave. NW Suite 570             Pleasanton            DC    20015
29778207 Zoetis US LLC                               10 Sylvan Way                                Parsippany            NJ    07054
29778208 ZOOM MEDIA CORP                             112 MADISON AVE.                             Waltham               NY    10016
29778209 ZoomInfo                                    275 Wyman St.                                Phoenix               MA    02451
29778210 Zorb Naturals, LLC dba HCP Formulas         2700 N. 3rd St. Suite 2014                   Seattle               AZ    85004
29778211 ZR&J Enterprises, LLC                       4304 Prestwick Dr.                           Erie                  PA    16506


      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                            Page 133 of 134
                                             Case 24-12480-JTD       Doc 685        Filed 01/08/25      Page 149 of 149

                                                                              Exhibit B
                                                                       Cure Parties Service List
                                                                      Served via First Class Mail

AddressID                            Name                                   Address                              City     State Postal Code   Country
                                                     c/o Ziff Properties, Inc., 200 Wingo Way, Suite
29778212 ZRP Fishers Crossing LLC                    100                                               MT. Pleasant       SC    29464
29778213 Zulily, LLC                                 2601 Elliott Avenue, Suite 200                    Seattle            WA    98121




      In re: Franchise Group, Inc., et al.
      Case No. 24‐12480 (JTD)                                               Page 134 of 134
